                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 J. DOE 1-26,

                     Plaintiffs
                                                         Case No. 8:25-cv-00462-TDC
                         v.

 ELON MUSK, in his official capacity,
 UNITED STATES DOGE SERVICE, and
 the DEPARTMENT OF GOVERNMENT
 EFFICIENCY,

                     Defendants

                                  COVER SHEET FOR EXHIBITS

Exhibits cited in Plaintiffs' Motion for Temporary Restraining Order are numbered as follows:

    1. Internet sources from Plaintiffs’ Complaint

    2. J. Doe 1 Declaration

    3. J. Doe 2 Declaration

    4. J. Doe 6 Declaration

    5. J. Doe 7 Declaration

    6. J. Doe 9 Declaration

    7. J. Doe 12 Declaration

    8. J. Doe 19 Declaration

    9. J. Doe 26 Declaration

    10. Elon Musk (@ElonMusk), X (Feb. 13, 2025, 11:35 PM)

    11. Maureen Dowd, Who Will Stand Up to Trump at High Noon, N.Y. TIMES (Feb. 15,

        2025)

    12. @ALX, X (Feb. 13, 2025, 12:41 AM)
                                                000001
13.​Tara Copp & Anthony Izaguirre, Trump Administration Fires, Then Rescinds, Firing of

   Nuclear Weapons Workers, TIME (Feb. 16, 2025)

14.​Tara Copp, Trump Begins Firings of FAA Air Traffic Control Staff Just Weeks After

   Fatal DC Plane Crash, AP (Feb. 15, 2025)

15.​David Shepardson, Musk’s DOGE Team To Visit US FAA Command Center on Monday,

   Reuters (Feb. 16, 2025)

16.​Jacob Bogage & Jeff Stein, Musk’s DOGE seeks access to personal taxpayer data, raising

   alarm at IRS, Washington Post (Feb. 16, 2025)

17.​Tim Reid, Musk Aides Lock Government Workers out of Computer Systems at US

   Agency, Sources Say, Reuters (Jan. 31, 2025)

18.​List of officers in Executive Office of the President who are appointed by Senate consent

19.​Reorganization Plan and Report Submitted by President Clinton to the Congress on

   December 30, 1998 (last revised March 1999)

20.​Savings, Department of Government Efficiency (last visited Feb. 17, 2025)

21.​Elon Musk (@elonmusk), X (Feb 7, 2025, 4:10 PM)

22.​Elon Musk (@ElonMusk), X (Feb. 17, 2025, 6:31PM)

23.​DEI Watchlist, www.deiwatchlist.com (last visited Feb. 17, 2025)

24.​Biden’s Basement, www.insidebidensbasement.org (last visited Feb. 17, 2025)




                                         000002
EXHIBIT I




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2/17/25, 8:42 PM                                                  Bloomberg Billionaires Index




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 richest people, see the biggest movers,
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 As of February 17, 2025

 The Bloomberg Billionaires Index is a daily ranking of the world’s richest people. Details
 about the calculations are provided in the net worth analysis on each billionaire’s profile
 page. The figures are updated at the close of every trading day in New York.



                                          Total net    $ Last       $ YTD
 Rank Name                                   worth    change       change          Country / Region   Industry


 1        Elon Musk                       $398B -$379M -$34.1B                     United States      Technology

          Mark
 2        Zuckerberg                      $259B +$2.83B+$52.0B                     United States      Technology
                                                                000005
 3        Jeff Bezos                      $248B -$1.26B+$9.58B                     United States      Technology

https://www.bloomberg.com/billionaires/                                                                             1/32
Elon Musk donated $288 million to 2024 election, final tally shows - The Washington Post                      2/17/25, 6:57 PM




                                                               Democracy Dies in Darkness




Elon Musk donated $288 million in
2024 election, final tally shows
The official count of Musk’s donations further cemented him as the country’s largest —
and most prominent — donor.
January 31, 2025


     4 min                                  399



By Trisha Thadani, Clara Ence Morse and Maeve Reston


Billionaire Elon Musk spent at least $288 million to help elect President Donald Trump and other Republican
candidates, according to a Washington Post analysis of new Federal Election Commission filings that offered an end-
of-year snapshot of what was spent during the 2024 election cycle.


Friday’s FEC filings cement Musk’s status as the biggest political donor of the recent presidential cycle at a moment
when he has amassed an extraordinary amount of power as a member of Trump’s inner circle — and as he is decried
by critics as a de facto, unelected co-president. He is also a driving force behind the effort to shrink the federal
workforce, helping to engineer a controversial offer this week to hundreds of thousands of career civil servants to
quit their jobs and get paid through September.


The staggering 2024 political spending by Musk and the extent of his influence over Trump, as well as the levers of
the federal government, cap a remarkable transformation for the richest man in the world, who had only dabbled in
politics before being welcomed into Trump’s inner orbit last year.




                                                                           000006
https://www.washingtonpost.com/politics/2025/01/31/elon-musk-trump-donor-2024-election/                            Page 1 of 3
Elon Musk donated $288 million to 2024 election, final tally shows - The Washington Post                     2/17/25, 6:57 PM



After the election, the then-president-elect tapped Musk to lead the newly formed “Department of Government
Efficiency,” which he tasked with cutting federal spending and regulation. The loosely defined role could give Musk
the ability to influence policy and spending decisions that directly impact his companies, such as Tesla and SpaceX.


Musk helped form America PAC last year to support Trump in part by targeting lower-propensity voters with an
expansive canvassing operation across key swing states. Because of an obscure FEC ruling in March that relaxed
some of the rules for contact between campaigns and super PACs, America PAC and other outside groups were able
to closely coordinate their messaging and plans for canvassing with Trump’s top campaign lieutenants.


Ultimately, America PAC became one of the most prominent get-out-the-vote efforts for the Republican candidate,
raising $263 million. The group was seeded with donations not just from the SpaceX CEO but also many of his close
allies, including Tesla board member Antonio Gracias, Palantir co-founder and Austin-based tech investor Joe
Lonsdale, and Sequoia Capital investor Shaun Maguire.


In the report filed Friday covering the period from Nov. 26 to the last day of December, Musk reported making an
$11.2 million in-kind contribution on Dec. 31 to America PAC for what was described as “petition incentives.”


In late October, Musk said he would hand out $1 million daily in a lottery for registered swing-state voters who
signed a petition as part of his super PAC’s voter recruitment drive. He said at the time that America PAC would give
away “$1M to someone in swing states who signed our petition to support free speech & the right to bear arms.”


An earlier FEC filing showed that Musk made an in-kind contribution of nearly $40.5 million for petition incentives
on Nov. 25 — meaning that he spent at least $51.7 million on payments for petition signatories last year. The
payments were processed through a company known as United States of America Inc.


The program was limited to registered voters in Pennsylvania, Georgia, Nevada, Arizona, Michigan, Wisconsin and
North Carolina. Those who signed the petition were encouraged to refer the form to other swing-state voters.
Individuals could receive $47 for each valid referral to a registered voter in a swing state, and the incentives were
higher in certain states such as Pennsylvania.


Democrats immediately questioned the legality of the move. Legal experts pointed out that federal law prohibits
paying Americans to register to vote. And former GOP lawmakers and Justice Department officials wrote a letter to
then-Attorney General Merrick Garland and Pennsylvania state officials asking them to review the legality of the
group’s payments.




                                                                           000007
https://www.washingtonpost.com/politics/2025/01/31/elon-musk-trump-donor-2024-election/                          Page 2 of 3
Elon Musk donated $288 million to 2024 election, final tally shows - The Washington Post                     2/17/25, 6:57 PM



Musk has said America PAC is “going to aim to weigh in heavily” on the 2026 congressional midterm elections. He
also has said he plans to get involved in local races against liberal district attorneys. Like Trump, he has argued that
some of those officeholders are too lenient on crime and directly responsible for theft and other quality-of-life issues
in cities across the country.


The billionaire’s investment in the 2024 election has already paid off enormously, as his personal wealth has soared
since Trump’s victory in November. Musk’s wealth is largely tied up in Tesla stock, which has seen massive gains in
value since the election. Investors and analysts expect the electric vehicle company will benefit significantly from
streamlined regulation on autonomous driving during the new administration.



     CORRECTION

     A previous version of this article incorrectly said that Elon Musk spent at least $52.7 million on
     payments for swing-state voters who signed petitions last year. The correct figure is $51.7
     million. The article has been corrected.




                                                                           000008
https://www.washingtonpost.com/politics/2025/01/31/elon-musk-trump-donor-2024-election/                          Page 3 of 3
Musk Floats Idea Of Joining ‘Government Efficiency Commission’ Under Trump                                                                   2/17/25, 6:58 PM




      FORBES         BUSINESS


      BREAKING



      Trump Backs Idea Of Musk
      Joining ‘Government
      E!iciency Commission’ If He
      Wins Second Term
      Siladitya Ray Forbes Staff
      Siladitya Ray is a New Delhi-based Forbes news team                                                              Follow
      reporter.


                      0                                                                               Aug 13, 2024, 12:15am EDT


      Updated Aug 13, 2024, 07:38am EDT


      TOPLINE Former President Donald Trump signaled his willingness to offer

      Elon Musk a role in his administration in a proposed “government
      efficiency commission” if he wins the presidential election in November,
      during a live chat on Musk’s X platform on Monday night that was marred
      by technical glitches.




                                                                        000009
https://www.forbes.com/sites/siladityaray/2024/08/13/trump-backs-idea…usk-joining-government-efficiency-commission-if-he-wins-second-term/        Page 1 of 5
Musk Floats Idea Of Joining ‘Government Efficiency Commission’ Under Trump                                                                                                                                                            2/17/25, 6:58 PM


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      Former President Donald Trump enthusiastically backed the idea of Musk joining a "Government ... [+] PA
      IMAGES VIA GETTY IMAGES


      KEY FACTS


     • The interview on X Spaces focused on the recent assassination attempt
          against Trump and his complaints about immigration, while offering
          little details about Trump’s plans for a second term if he won.

     • One of the policy topics raised by Musk was his idea of creating a
          “government efficiency commission” that would ensure “taxpayers
          money…is spent in a good way”—something the billionaire has spoken
          about previously.

     • Musk added he would be “happy to help out on such a commission,”
          prompting an enthusiastic response from Trump, who said he’d “love”
          it.

     • Although Musk did not specifically mention cutting government jobs,
          during the interview both he and Trump criticized government
                                                                                                                                                 000010
https://www.forbes.com/sites/siladityaray/2024/08/13/trump-backs-ide…usk-joining-government-efficiency-commission-if-he-wins-second-term/                                                                                                  Page 2 of 5
Musk Floats Idea Of Joining ‘Government Efficiency Commission’ Under Trump                                                                  2/17/25, 6:58 PM




          “overspending.”

     • Trump then used the example of cuts to the state made by Argentinian
          President Javier Milei, saying he “ran on MAGA and I hear he is doing
          really terrific;” Milei, who has expressed fondness towards Trump,
          announced plans earlier this year to slash 24,000 government jobs in a
          move that sparked nationwide protests in Argentina.

     • Trump reiterated his plan to shut down the Department of Education if
          elected, saying he wants to “move education back to the states” and
          adding that he believes at least 35 of the 50 states “would do great” in
          such a scenario.

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      CRUCIAL QUOTE

      After hailing Musk as the “greatest cutter,” Trump said: “You walk in, you
      just say ‘You want to quit?’ They go on strike—I won't mention the name
      of the company—but they go on strike. And you say: ‘That's okay, you’re
      all gone.’” Trump appeared to be referencing jobs cuts at Tesla’s
      Gigafactory 2 in Buffalo, New York, last February.

      KEY BACKGROUND

      Musk raised the idea of a government efficiency commission in an
      interview with podcast host Lex Fridman earlier this month. When
      Fridman said he wished Musk “could go into Washington for a week and
      be the head of the committee for making government smaller,” the
      billionaire said he has “discussed with Trump the idea of a government
                                                                        000011
https://www.forbes.com/sites/siladityaray/2024/08/13/trump-backs-ide…usk-joining-government-efficiency-commission-if-he-wins-second-term/        Page 3 of 5
Musk Floats Idea Of Joining ‘Government Efficiency Commission’ Under Trump                                                                  2/17/25, 6:58 PM




      efficiency commission, and I would be willing to be part of that
      commission.” When asked how hard such an operation would be, Musk
      said: “The antibody reaction would be very strong. You’re attacking the
      Matrix at that point. The Matrix will fight back.”

      TANGENT

      Musk and Trump’s discussion was marred by several technical glitches
      that delayed its start by nearly 45 minutes. When users tried to access the
      chat’s audio streaming link shared on Trump’s X account, they were met
      with a “details not available” message. Users who had managed to access
      the X Spaces link were greeted with hold music. Musk blamed the
      disruption on a “massive DDOS [distributed denial of service] attack on
      X.” However, no verified evidence of such an attack has emerged yet and
      the rest of the website remained accessible at the time.

      FURTHER READING

      Musk-Trump X Interview: Trump Takes Friendly Questions From Musk
      After Glitch-Plagued Start (Forbes)


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Trump announces plan for Elon Musk-led ‘government efficiency commission’ | US elections 2024 | The Guardian                       2/17/25, 6:59 PM



  US elections 2024                  This article is more than 5 months old


                                   Trump announces plan for Elon Musk2
                                   led ‘government eﬃciency commission’
                                   Tech billionaire has been pushing ex2president to take on
                                   policy idea, which would walk back government regulations

  Nick Robins3Early in New
  York
  Thu 5 Sep 2024 14.27 EDT




                                      Donald Trump speaks at the Economic Club of New York on 5 September 2024. Photograph:
                                   Alex Brandon/AP

                                   Donald Trump announced in a speech on Thursday that, if elected, he would
                                   form a government eﬃciency commission, a policy idea that Elon Musk has
                                   been pushing him to take on. The former president claimed the tech
                                   billionaire had agreed to lead the commission.

                                   Trump made the attention-grabbing announcement during a campaign event
                                   at the Economic Club of New York, but gave no speciﬁc details about how the
                                   commission would operate.

                                   He reiterated Musk’s argument that such a commission would cut
                                   unnecessary spending, while also saying that he would massively walk back
                                   government regulations.

                                   “I will create a government eﬃciency commission tasked with conducting a
                                   complete ﬁnancial and performance audit of the entire federal government,
                                   and making recommendations for drastic reforms,” Trump told the crowd.

                                   Musk and Trump have forged an increasingly close alliance over the past                    Most viewed
                                   year, as the SpaceX and Tesla CEO has thrown his full support behind                               Jewish man mist
                                   Trump’s presidential campaign. Musk’s backing of Trump has consequently                            Israeli tourists fo
                                   given the world’s richest man a direct line to inﬂuence Republican policy –                        Palestinians and
                                   and, if Trump were to actually create an eﬃciency commission, sweeping                             on them in Miam
                                   powers over federal agencies.
                                                                                                                                      The new world o
                                   Musk’s potential involvement in Trump’s proposed commission would create                           exactly what it lo
                                                                                                                                      Are we too frozen
                                   obvious conﬂicts of interest, as his businesses, such as SpaceX and
                                                                                                                                      to name it?
                                   Neuralink, are both regulated by, and have business with, numerous                                 Zoe Williams
                                   government agencies.
                                                                                                                                      ‘This is a coup’: T
                                   Musk reposted news of Trump’s plans on X, the platform formerly known as                           Musk’s purge is c
                                   Twitter, which he bought for $44bn, and suggested he would accept such a                           more than costs,
                                   position. “I look forward to serving America if the opportunity arises,” Musk
                                                                            000013
https://www.theguardian.com/us-news/article/2024/sep/05/trump-musk-efficiency-commission                                                Page 1 of 3
Trump announces plan for Elon Musk-led ‘government efficiency commission’ | US elections 2024 | The Guardian                                        2/17/25, 6:59 PM


                                   posted. “No pay, no title, no recognition is needed.”                                                               Trump administ
                                                                                                                                                       hundreds of FAA
                                   Musk raised the idea of an eﬃciency commission with Trump during their                                              despite four dead
                                   interview on X last month, with Musk oﬀering to “help out on such a                                                 in four weeks
                                   commission”. Musk has frequently pushed for deregulation and opposed
                                   government oversight into his businesses, while at the same time facing                                             At least 18 injure
                                                                                                                                                       plane crashes an
                                   investigations and lawsuits over a range of allegations including breaking                                          landing in Toron
                                   labor laws, violating animal-welfare protections and engaging in sexual
                                   harassment.

                                   Although Musk and Trump formerly had an acrimonious relationship –
                                   Trump once referred to Musk as a “bullshit artist”, while Musk said Trump
                                   was too old to run for president – the two have formed a symbiotic
                                   relationship in recent months.

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                                   Musk, who frequently engages with far-right activists on X and promotes
                                   anti-immigration content, has attacked Kamala Harris, the Democratic
                                   presidential nominee, as a communist, while his allies in the tech
                                   community have poured money into a Super Pac backing Trump.




  Most viewed
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Elon Musk’s Big Business and Conflicts of Interest With the U.S. Government - The New York Times      2/17/25, 6:59 PM




                                            https://www.nytimes.com/2024/10/20/us/politics/elon-musk-federal-
                                                                  agencies-contracts.html




              U.S.
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           and Fight
           With, Elon
            Musk. A
             Trump
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           Could Give
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Elon Musk’s Big Business and Conflicts of Interest With the U.S. Government - The New York Times                                2/17/25, 6:59 PM



                                                                                    Elon Musk, the richest man in the world, will be a
                                                                                       major political player no matter who wins the
                                                                                    presidential election. Haiyun Jiang for The New York
                                                                                                                                  Times



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By Eric Lipton, David A. Fahrenthold, Aaron Krolik and Kirsten Grind
Published Oct. 20, 2024 Updated Oct. 21, 2024


Elon Musk’s influence over the federal government is extraordinary, and
extraordinarily lucrative.

Mr. Musk’s rocket company, SpaceX, effectively dictates NASA’s rocket launch
schedule. The Defense Department relies on him to get most of its satellites to
orbit. His companies were promised $3 billion across nearly 100 different
contracts last year with 17 federal agencies.

             FEDERAL CONTRACTS
             Two of Elon Musk’s companies account for at least $15.4 billion in government contracts
             over the past decade.

                                                                                                      CABINET DEPARTMENTS

                                                                                                             Energy
                                                                                                             $7,000
                                                                                                             State
                                                                                                             $440,000
                   At least
                 $352,000                                                                                    Commerce
                in contracts                                                                                 $1.9 million
                                                                                                             Veterans Affairs
                                                                                                             $463,000
                                                                                                             Interior
                                                        Federal                                              $138,000
                                                       contracts
                                                                                                             Homeland Security
                                                                                                             $359,000
                                                                          000016
https://www.nytimes.com/2024/10/20/us/politics/elon-musk-federal-agencies-contracts.html                                            Page 2 of 19
Elon Musk’s Big Business and Conflicts of Interest With the U.S. Government - The New York Times                           2/17/25, 6:59 PM



                                                                                                        Agriculture
                                                                                                        $120,000
                                                                                                        Transportation
                                                                                                        $21,000

                                                                                                        Defense
                                                                                                        $3.6 billion

                                                                                                   INDEPENDENT AGENCIES
                                                                                                        General Services
                  At least                                                                              Administration
               $15.4 billion                                                                            $352,000
               in contracts
                                                                                                        Environmental
                                                                                                        Protection Agency
                                                                                                        $30,000



                                                                                                        NASA
                                                                                                        $11.8 billion




             By Jonathan Corum


His entanglements with federal regulators are also numerous and adversarial.
His companies have been targeted in at least 20 recent investigations or
reviews, including over the safety of his Tesla cars and the environmental
damage caused by his rockets.

             INVESTIGATION AND OVERSIGHT
             Mr. Musk’s companies are increasingly facing regulatory battles and overlapping federal
             investigations from all corners of the government.



                                                                                                   CABINET DEPARTMENTS

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https://www.nytimes.com/2024/10/20/us/politics/elon-musk-federal-agencies-contracts.html                                       Page 3 of 19
Elon Musk’s Big Business and Conflicts of Interest With the U.S. Government - The New York Times                          2/17/25, 6:59 PM



                   Lawsuit
                 Enforcement
                 Investigation                                                                          Interior


                                                                                                        Agriculture
               Violations, fines
             Discrimination suit
                                                                                                   INDEPENDENT AGENCIES
               OSHA violations
               Starbase review                                                                          National Labor
                                                                                                        Relations Board
                    Violation
                  Oversight,                                                                            Equal Employment
              rejected subsidies
                                                                                                        Opportunity Comm.

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                                                                                                        Exchange Comm.
                                                                                                        Federal
                                                                                                        Communications
               Investigations,                                                                          Comm.
                 court order
                 Oversight,                                                                             Federal Trade
               consent decree                                                                           Comm.

             By Jonathan Corum


Given Mr. Musk’s immense business footprint, he will be a major player no
matter who wins the election.

But he has thrown his fortune and power behind former President Donald J.
Trump and, in return, Mr. Trump has vowed to make Mr. Musk head of a new
“government efficiency commission” with the power to recommend wide-
ranging cuts at federal agencies and changes to federal rules.

That would essentially give the world’s richest man and a major government
contractor the power to regulate the regulators who hold sway over his
companies, amounting to a potentially enormous conflict of interest.

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Through a review of court filings, regulatory dockets and government
contracting data, The New York Times has compiled an accounting of Mr. Musk’s
multipronged business arrangements with the federal government, as well as
the violations, fines, consent decrees and other inquiries federal agencies have
ordered against his companies. Together, they show a deep web of relationships:
Instead of entering this new role as a neutral observer, Mr. Musk would be
passing judgment on his own customers and regulators.

Already, Mr. Musk has discussed how he would use the new position to help his
own companies.

He has questioned a rule that required SpaceX to obtain a permit for discharging
large amounts of potentially polluted water from its launchpad in Texas. He also
said that limiting this kind of oversight could help SpaceX reach Mars sooner —
“so long as it is not smothered by bureaucracy,” he wrote on X, his social-media
platform. “The Department of Government Efficiency is the only path to
extending life beyond Earth.”

Earlier this month, he attacked the Federal Communications Commission, which
oversees the internet satellites that SpaceX launches. He suggested on X that if
the commission hadn’t “illegally revoked” more than $886 million worth of
federal funding the company had sought to deliver internet access to rural areas,
satellite kits would “probably have saved lives in North Carolina” after a
hurricane devastated parts of the state.

A spokesman for the commission said it didn’t award the money because the
company was proposing to provide services in some areas that weren’t actually
rural, including the Newark Liberty International Airport.



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Mr. Musk and SpaceX did not respond to requests for comment for this article.
Brian Hughes, a spokesman for Mr. Trump, declined to directly address
questions about the potential for a conflict of interest, if Mr. Musk takes on this
new role.

“Elon Musk is a genius, an innovator, and has literally made history by building
creative, modern and efficient systems,” Mr. Hughes said in a statement.

Regardless of who is elected president, the deep ties between Mr. Musk and the
U.S. government are unlikely to change anytime soon, with agencies becoming
increasingly reliant on the vehicles, rockets, internet and other services his
companies provide.

What he delivers to the U.S. government is sprawling, according to federal
contract data:

             ROCKETS, CARS AND SATELLITES
             Some examples of the services that Mr. Musk’s companies provide to the U.S.
             government.


                                                                                                   Energy

                                                                                                   State

                                                                                                   Commerce

                                                                                                   Veterans Affairs

                                                                                                   Interior

                                                                                                   Homeland Security

                                                                                                   Agriculture

                                                                                                   Transportation
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                                                                                                   Defense


                   $2.2 billion                                                                    G.S.A.

                                                                                                   E.P.A.




                                                                                                   NASA




               SpaceX was hired to design, build and test a space landing
               system for astronauts.




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               SpaceX sold Starlink satellite internet to the U.S. embassy in
               Ashgabat, Turkmenistan, providing access to U.S. officials in a
               country that severely censors online activity.




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               Tesla provided a tactical vehicle to the U.S. embassy in Iceland.




               And the U.S. Forestry Service used Starlinks to connect
               emergency responders battling wildfires in remote parts of
               California.




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             By Jonathan Corum


The idea for an efficiency commission originated with Mr. Musk. When he
interviewed Mr. Trump on X in August, Mr. Musk brought it up three times —
returning to the topic when Mr. Trump digressed into other subjects.

“I think it would be great to just have a government efficiency commission that
takes a look at these things and just ensures that the taxpayer money — the
taxpayers’ hard-earned money — is spent in a good way,” Mr. Musk said the
third time. “And I’d be happy to help out on such a commission.”

“I’d love it,” Mr. Trump finally replied. “Well, you, you’re the greatest cutter.”



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Maya MacGuineas, president of the nonpartisan Committee for a Responsible
Federal Budget, applauded the idea of an efficiency commission, and said that
Mr. Musk’s experience in business could be good preparation to lead it.

She said Mr. Musk’s formal power would most likely be limited. Previous
presidents, going back to Theodore Roosevelt, have tried using committees of
business-minded outsiders to rethink government. For their ideas to become
law, Congress has to agree. Usually, she said, it does not.

But a suggestion from Mr. Musk could still be damaging to an agency, if he
singled it out to Mr. Trump as an example of waste or mismanagement.

Legal experts who have studied federal ethics rules and the use of outside
business executives as government advisers said Mr. Musk’s interactions with
the federal government are so broad it might not be possible for him to serve as
a prominent adviser to the president without creating major conflicts of interest.

Mr. Musk “has had very contentious interactions and entanglements with
regulators,” said Kathleen Clark, an ethics lawyer who has served as an adviser
to the District of Columbia Attorney General’s office. “It is entirely reasonable to
believe that what he would bring to this federal audit is his own set of biases and
grudges and financial interests.”

Mr. Musk and his companies often question federal regulations — particularly
when they threaten to slow plans to further expand his operations.

One such example was the test launch this month of Starship, SpaceX’s newest
rocket. NASA has agreed to pay the company as much as $4.4 billion to take
astronauts to the surface of the moon on two future missions — although the
dates will depend on when all the equipment is ready. So far, Starship has not
flown any humans.
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But the Federal Aviation Administration held up this most recent test launch for
weeks, in part because of questions about harm SpaceX has caused to wildlife
near its Texas launch site, a delay that infuriated Mr. Musk.

“We continue to be stuck in a reality where it takes longer to do the government
paperwork to license a rocket launch than it does to design and build the actual
hardware,” SpaceX said in a statement.

Last month, the F.A.A. started the process to fine SpaceX $633,009 for
disregarding license requirements related to two of its Florida launches last year
that may have compromised safety, the agency said.

This was a shift for the F.A.A., which in past instances had not imposed fines
when SpaceX ignored the agency’s direct orders. Marc Nichols, the F.A.A.’s chief
counsel, said in a statement last month that “failure of a company to comply with
the safety requirements will result in consequences.”

Mr. Musk responded on his social media site: “SpaceX will be filing suit against
the FAA for regulatory overreach.” The company followed up with a four-page
letter to Congress complaining about the F.A.A. which it said had been
“unsuccessful in modernizing and streamlining its regulations.”

The list of clashes by Mr. Musk’s companies extends to many other federal
agencies.

             FINES AND FIGHTING
             Several examples of clashes between U.S. agencies and Mr. Musk’s companies.

                                                                                                   CABINET DEPARTMENTS

                                                                                                        Transportation

                                                                                                        Justice
                                                                          000026
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                                                                                                        Labor

                                                                                                        Interior

                                                                                                        Agriculture

                                                                                                   INDEPENDENT AGENCIES

                                                                                                        N.L.R.B.

                                                                                                        E.E.O.C.

                                                                                                        E.P.A.

                                                                                                        S.E.C.

                                                                                                        F.C.C

                                                                                                        F.T.C.




               The National Highway Traffic Safety Administration has opened
               five investigations of Tesla, including for complaints of
               unexpected braking, loss of steering control and crashes while
               cars were in “self-driving” mode.




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               Tesla has tried to block at least two rulings from the National
               Labor Relations Board, including one punishing Mr. Musk for
               tweeting that factory workers would lose stock options if they
               joined a union.




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               Neuralink, Mr. Musk’s brain-implant company, was fined for
               violating Transportation Department rules regarding the
               movement of hazardous materials.




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               The Justice Department sued SpaceX, arguing that the company
               refused to hire refugees and people granted asylum because of
               their citizenship status.




             By Jonathan Corum


Mr. Musk in recent years has particularly attacked the Securities and Exchange
Commission, which in 2018 charged him with securities fraud for a series of false
and misleading tweets related to taking Tesla private. Mr. Musk had posted on
Twitter that he had planned to take the company private at $420 a share, and
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that he had “funding secured” for a transaction. As part of a later settlement
with the S.E.C., he stepped down as Tesla’s chairman and Tesla paid a $20 million
fine.

In a 2022 TED Talk, Mr. Musk lambasted regulators, calling them “bastards.”

Even before getting a formal role in the federal government, Mr. Musk has
repeatedly called for a broad effort to strike or weaken federal regulations, and
to slash federal spending. “If Trump wins, we do have an opportunity to do kind
of a once in a lifetime deregulation and reduction in the size of the government,”
Mr. Musk said at a conference in Los Angeles last month.

If Mr. Musk were to get a senior advisory role in a Trump administration,
regulators might have to consider how taking action against one of Mr. Musk’s
companies might affect their budget or regulatory authority, even if he did not
directly push those agencies to back down, Ms. Clark said.

The federal government has rules intended to prevent such conflicts. There are
1,019 advisory committees with more than 60,000 members, opining on
everything from how pesticides are used on farms to how wild horses in the
United States are managed. But these committees each have very narrow
jurisdiction, compared to a governmentwide “efficiency” review that Mr. Musk
would lead.

Another criminal law prohibits federal employees and outside advisers who are
sometimes considered “special government employees” from “participating
personally and substantially in any particular matter that affects your financial
interests, as well as the financial interests of your spouse, minor child, general
partner, an organization in which you serve as an officer.”


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But that has often not prevented problems with outside advisers — even those
with much less complicated portfolios than Mr. Musk’s. Pharmaceutical industry
advisers to the Food and Drug Administration, various studies have shown,
often appear to have made recommendations that benefit their corporate
interests, as have military contractors tapped to advise the Pentagon.

Mr. Musk has hinted at one government efficiency he would like to see: killing
NASA’s Starliner contract with Boeing, his main industry competitor.

“The world doesn’t need another capsule,” he wrote earlier this year, referring to
the long-delayed Boeing system, which returned empty this month, after
encountering trouble on its first human test flight. (He has not addressed if the
proposed efficiency committee would take this up.)

Mr. Trump has previously faced accusations that he created conflicts when he
named certain business executives as advisers.

That included his appointment of Carl Icahn, the billionaire investor, as a special
adviser on regulatory matters in 2017, even as Mr. Icahn was lobbying federal
regulators to revamp a rule that would allow a Texas oil refinery he partly
owned to save hundreds of millions of dollars. Mr. Icahn ended up stepping down
from the unpaid role only months after he was appointed, after broad criticism of
the arrangement.

Richard Briffault, a Columbia University professor of law who has served as
chair of the New York City Conflicts of Interest Board, said that there might be
an advantage to having Mr. Musk as a formal adviser to Mr. Trump — because
that would at least require some disclosure of the advice he was offering.




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“Having this in public as opposed to having Elon Musk calling up the White
House and saying, ‘Hey, this agency is coming down hard on me. Get them to
back off,’ — is that even worse?” Mr. Briffault said. “It’s an open question.”

Methodology
The New York Times analyzed transaction-level contract and grant data from usaspending.gov between the
2013 and 2023 fiscal years, calculating total obligated dollars by funding agency for businesses founded
by Elon Musk. The Times consulted experts at The Pulse, a federal research and advisory firm, and the
Center for Strategic and International Studies, a Washington think tank, to review the methodology.




Kitty Bennett contributed research.

Eric Lipton is an investigative reporter, who digs into a broad range of topics from Pentagon spending to
toxic chemicals. More about Eric Lipton

David A. Fahrenthold is an investigative reporter writing about nonprofit organizations. He has been a
reporter for two decades. More about David A. Fahrenthold

Kirsten Grind is an investigative business reporter writing stories about companies, chief executives and
billionaires across Silicon Valley and the technology industry. More about Kirsten Grind


A version of this article appears in print on , Section A, Page 1 of the New York edition with the headline: Musk the Contractor vs.
Musk the U.S. Adviser




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    OPINION        COMMENTARY             Follow



  Elon Musk and Vivek Ramaswamy: The DOGE
  Plan to Reform Government
  Following the Supreme Court’s guidance, we’ll reverse a decadeslong executive
  power grab.


  By Elon Musk and Vivek Ramaswamy
  Nov. 20, 2024 at 12:33 pm ET




  ILLUSTRATION: DAVID GOTHARD


  Our nation was founded on the basic idea that the people we elect run the government.
  That isn’t how America functions today. Most legal edicts aren’t laws enacted by Congress
  but “rules and regulations” promulgated by unelected bureaucrats—tens of thousands of
  them each year. Most government enforcement decisions and discretionary expenditures
  aren’t made by the democratically elected president or even his political appointees but by
  millions of unelected, unappointed civil servants within government agencies who view
  themselves as immune from firing thanks to civil-service protections.

  This is antidemocratic and antithetical to the Founders’ vision. It imposes massive direct
  and indirect costs on taxpayers. Thankfully, we have a historic opportunity to solve the
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  problem. On Nov. 5, voters decisively elected Donald Trump with a mandate for sweeping
  change, and they deserve to get it.

  President Trump has asked the two of us to lead a newly formed Department of
  Government Eﬃciency, or DOGE, to cut the federal government down to size. The
  entrenched and ever-growing bureaucracy represents an existential threat to our republic,
  and politicians have abetted it for too long. That’s why we’re doing things diﬀerently. We
  are entrepreneurs, not politicians. We will serve as outside volunteers, not federal oﬃcials
  or employees. Unlike government commissions or advisory committees, we won’t just
  write reports or cut ribbons. We’ll cut costs.

  We are assisting the Trump transition team to identify and hire a lean team of small-
  government crusaders, including some of the sharpest technical and legal minds in
  America. This team will work in the new administration closely with the White House
  Oﬃce of Management and Budget. The two of us will advise DOGE at every step to pursue
  three major kinds of reform: regulatory rescissions, administrative reductions and cost
  savings. We will focus particularly on driving change through executive action based on
  existing legislation rather than by passing new laws. Our North Star for reform will be the
  U.S. Constitution, with a focus on two critical Supreme Court rulings issued during
  President Biden’s tenure.

  In West Virginia v. Environmental Protection Agency (2022), the justices held that agencies
  can’t impose regulations dealing with major economic or policy questions unless Congress
  specifically authorizes them to do so. In Loper Bright v. Raimondo (2024), the court
  overturned the Chevron doctrine and held that federal courts should no longer defer to
  federal agencies’ interpretations of the law or their own rulemaking authority. Together,
  these cases suggest that a plethora of current federal regulations exceed the authority
  Congress has granted under the law.

  DOGE will work with legal experts embedded in government agencies, aided by advanced
  technology, to apply these rulings to federal regulations enacted by such agencies. DOGE
  will present this list of regulations to President Trump, who can, by executive action,
  immediately pause the enforcement of those regulations and initiate the process for review
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  and rescission. This would liberate individuals and businesses from illicit regulations never
  passed by Congress and stimulate the U.S. economy.

  When the president nullifies thousands of such regulations, critics will allege executive
  overreach. In fact, it will be correcting the executive overreach of thousands of regulations
  promulgated by administrative fiat that were never authorized by Congress. The president
  owes lawmaking deference to Congress, not to bureaucrats deep within federal agencies.
  The use of executive orders to substitute for lawmaking by adding burdensome new rules is
  a constitutional aﬀront, but the use of executive orders to roll back regulations that
  wrongly bypassed Congress is legitimate and necessary to comply with the Supreme
  Court’s recent mandates. And after those regulations are fully rescinded, a future president
  couldn’t simply flip the switch and revive them but would instead have to ask Congress to
  do so.

  A drastic reduction in federal regulations provides sound industrial logic for mass head-
  count reductions across the federal bureaucracy. DOGE intends to work with embedded
  appointees in agencies to identify the minimum number of employees required at an
  agency for it to perform its constitutionally permissible and statutorily mandated
  functions. The number of federal employees to cut should be at least proportionate to the
  number of federal regulations that are nullified: Not only are fewer employees required to
  enforce fewer regulations, but the agency would produce fewer regulations once its scope
  of authority is properly limited. Employees whose positions are eliminated deserve to be
  treated with respect, and DOGE’s goal is to help support their transition into the private
  sector. The president can use existing laws to give them incentives for early retirement and
  to make voluntary severance payments to facilitate a graceful exit.

  Conventional wisdom holds that statutory civil-service protections stop the president or
  even his political appointees from firing federal workers. The purpose of these protections
  is to protect employees from political retaliation. But the statute allows for “reductions in
  force” that don’t target specific employees. The statute further empowers the president to
  “prescribe rules governing the competitive service.” That power is broad. Previous
  presidents have used it to amend the civil service rules by executive order, and the
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  Supreme Court has held—in Franklin v. Massachusetts (1992) and Collins v. Yellen (2021)
  that they weren’t constrained by the Administrative Procedures Act when they did so. With
  this authority, Mr. Trump can implement any number of “rules governing the competitive
  service” that would curtail administrative overgrowth, from large-scale firings to
  relocation of federal agencies out of the Washington area. Requiring federal employees to
  come to the oﬃce five days a week would result in a wave of voluntary terminations that we
  welcome: If federal employees don’t want to show up, American taxpayers shouldn’t pay
  them for the Covid-era privilege of staying home.

  Finally, we are focused on delivering cost savings for taxpayers. Skeptics question how
  much federal spending DOGE can tame through executive action alone. They point to the
  1974 Impoundment Control Act, which stops the president from ceasing expenditures
  authorized by Congress. Mr. Trump has previously suggested this statute is
  unconstitutional, and we believe the current Supreme Court would likely side with him on
  this question. But even without relying on that view, DOGE will help end federal
  overspending by taking aim at the $500 billion plus in annual federal expenditures that are
  unauthorized by Congress or being used in ways that Congress never intended, from $535
  million a year to the Corporation for Public Broadcasting and $1.5 billion for grants to
  international organizations to nearly $300 million to progressive groups like Planned
  Parenthood.

  The federal government’s procurement process is also badly broken. Many federal
  contracts have gone unexamined for years. Large-scale audits conducted during a
  temporary suspension of payments would yield significant savings. The Pentagon recently
  failed its seventh consecutive audit, suggesting that the agency’s leadership has little idea
  how its annual budget of more than $800 billion is spent. Critics claim that we can’t
  meaningfully close the federal deficit without taking aim at entitlement programs like
  Medicare and Medicaid, which require Congress to shrink. But this deflects attention from
  the sheer magnitude of waste, fraud and abuse that nearly all taxpayers wish to end—and
  that DOGE aims to address by identifying pinpoint executive actions that would result in
  immediate savings for taxpayers.

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  With a decisive electoral mandate and a 6-3 conservative majority on the Supreme Court,
  DOGE has a historic opportunity for structural reductions in the federal government. We
  are prepared for the onslaught from entrenched interests in Washington. We expect to
  prevail. Now is the moment for decisive action. Our top goal for DOGE is to eliminate the
  need for its existence by July 4, 2026—the expiration date we have set for our project.
  There is no better birthday gift to our nation on its 250th anniversary than to deliver a
  federal government that would make our Founders proud.

  Mr. Musk is CEO of SpaceX and Tesla. Mr. Ramaswamy, a businessman, is author, most
  recently, of “Truths: The Future of America First” and was a candidate for the 2024
  Republican presidential nomination. President-elect Trump has named them co-heads of
  the Department of Government Eﬃciency.

  Appeared in the November 21, 2024, print edition as 'The DOGE Plan to Reform Government'.


  Videos




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           The American Presidency Project (https://www.presidency.ucsb.edu/)


                                       DONALD J. TRUMP (2ND
                                      TERM)
                                      (/PEOPLE/PRESIDENT/DON
                                      ALD-J-TRUMP-2ND-TERM)
                           Statement by President-
                           elect Donald J. Trump
                           Announcing the
           Appointment of David A. Warrington as
           Assistant to the President and Counsel to
           the President
           December 04, 2024


           I am proud to announce the appointment of David A. Warrington to serve
           as Assistant to the President and Counsel to the President. Dave will lead
           the O!ce of White House Counsel, and serve as the top attorney in the
           White House. Dave has represented me well as my personal attorney,
           and as General Counsel for my Presidential Campaign. He is an esteemed
           lawyer and Conservative leader. Dave is currently a Partner at the Dhillon
           Law Group, and a former President of the Republican National Lawyers
           Association. Dave is a Veteran of the United States Marine Corps, and a
           Magna Cum Laude Graduate of Georgetown University, and the George
           Mason University School of Law.


           Additionally, I have asked William Joseph McGinley to serve as Counsel to
           the Department of Government E!ciency ("DOGE"), something he is very
           passionate about. Bill will work with Elon Musk, Vivek Ramaswamy, and
           their team of incredible pioneers at DOGE, to rebuild a U.S. Government
           that truly serves the People. Bill will play a crucial role in liberating our
           Economy from burdensome Regulations, excess spending, and
           Government waste. He will partner with the White House and the O!ce
           of Management and Budget to provide advice and guidance to end the
           bloated Federal Bureaucracy. Bill is a great addition to a stellar team that
           is focused on making life better for all Americans. He will be at the
           forefront of my Administration's e"orts to make our Government more
           e!cient and more accountable.


           Congratulations to Dave and Bill!



           Donald J. Trump (2nd Term), Statement by President-elect Donald J.
           Trump Announcing the Appointment of David A. Warrington as Assistant
           to the President and Counsel to the President Online by Gerhard Peters

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https://www.presidency.ucsb.edu/documents/statement-president-elect-donald-j-trump-announcing-the-appointment-david-warrington                 Page 1 of 2
How Will DOGE Work? What to Know About Trump’s Government Efficiency Department - The New York Times   2/17/25, 7:06 PM




How Trump’s Department of
Government Efficiency Will Work
The structure and goals of the cost-cutting effort have changed over the past 10
weeks. Here’s how.


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                         By Madeleine Ngo and Theodore Schleifer
                         Reporting from Washington

Jan. 21, 2025


With the official establishment on Monday of President Trump’s closely watched
effort to slash federal spending — which he has called the Department of
Government Efficiency — some key information was revealed, including details
about how the group will be structured and a new focus on modernizing
technology.

But a number of critical questions have not yet been answered.

Mr. Trump’s executive order creating the group underscores how much the idea
has been worked through over the past few weeks.

In November, Mr. Trump initially said the group would provide outside advice as
it worked closely with White House budget officials. The president’s order,
however, brings the group inside the federal government. The order also follows
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https://www.nytimes.com/2025/01/21/us/politics/doge-government-efficiency-trump-musk.html                   Page 1 of 5
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a major shake-up in leadership. Elon Musk will be its sole leader after Vivek
Ramaswamy bowed out of the project.


How will the group be structured?
The order essentially means that the group will be an official unit within the
executive office of the president. The so-called “United States DOGE Service”
will take over the United States Digital Service, which was created in 2014 by
former President Barack Obama to improve government services through the
use of technology.

The order also created a temporary organization within the larger service that
will end on July 4, 2026. It is unclear how its mission will differ from that of the
broader U.S. DOGE Service, although its deadline is the same one that Mr.
Trump originally set for the group to provide recommendations to drive out
“waste and fraud” within the federal budget.

There will also be “DOGE teams” embedded within federal agencies that can
consist of special government employees, a specific category of temporary
workers who can only work for the federal government for 130 days or less in a
365-day period. Mr. Musk himself may be one of them, but the executive order
did not make that clear.


How will the “DOGE teams” work?
Each team will be made up of at least four employees, who are expected to
include a team lead, engineer, human resources specialist and attorney. Agency
heads will select team members in consultation with the U.S. DOGE Service.


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Team leads will coordinate with the U.S. DOGE Service and provide advice to
agency heads, who must ensure that the group “has full and prompt access to all
unclassified agency records, software systems and IT systems” to the
“maximum extent consistent with law.”

Mr. Trump’s order does not lay out specific tasks for the teams, other than
“implementing the president’s DOGE agenda.” But the teams are expected to
identify potential spending cuts and regulations that could be slashed.

The order did not specify a budget for the group. It is also unclear how much
those working for the service will be paid, although some are expected to be
volunteers.


What are its goals?
In November, Mr. Trump laid out several ambitious goals for the group,
including to “dismantle government bureaucracy, slash excess regulations, cut
wasteful expenditures and restructure federal agencies.”

Mr. Trump’s order on Monday did not explicitly mention efforts to slash the
budget or overhaul federal regulations. Instead, it said the group would advance
the “president’s DOGE agenda” by “modernizing federal technology and
software to maximize governmental efficiency and productivity.” The group’s
head will carry out an initiative that aims to improve government software,
network infrastructure and information technology systems, the order said.

In recent weeks, the group’s leaders have scaled back some of the initial goals.
During Mr. Trump’s campaign, Mr. Musk said the effort could result in “at least
$2 trillion” in cuts from the $6.75 trillion federal budget. But in an interview
earlier this month, Mr. Musk downplayed the total potential savings.
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“We’ll try for $2 trillion — I think that’s like the best-case outcome,” Mr. Musk
said. “You kind of have to have some overage. I think if we try for $2 trillion,
we’ve got a good shot at getting one.”

Who are the group’s leaders?
Mr. Trump initially said that Mr. Musk and Vivek Ramaswamy would lead the
cost-cutting effort together. But on the first day of the Trump administration, a
White House spokeswoman confirmed that Mr. Ramaswamy would quit.

Mr. Ramaswamy, who is expected to announce his bid for governor of Ohio next
week, left DOGE after encountering turbulence in Mr. Trump’s orbit with both
Mr. Trump and Mr. Musk.

There are some big questions remaining. Mr. Trump’s order said the U.S. DOGE
Service would have an “administrator” who will report to the White House chief
of staff. But it did not say who the administrator would be, and representatives of
the group did not return requests for clarification.

Possibilities would include Mr. Musk or the two people who have largely been
running the group during the presidential transition: Steve Davis, a trusted aide
to Mr. Musk, or Brad Smith, a health care entrepreneur and former top health
official in Mr. Trump’s first White House who is close with Jared Kushner.


Will Mr. Musk have an office in the White House?
While signing executive orders on Monday, Mr. Trump said that Mr. Musk would
have an office in the White House with about 20 people, but it is unclear whether
it will be in the West Wing.


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https://www.nytimes.com/2025/01/21/us/politics/doge-government-efficiency-trump-musk.html                  Page 4 of 5
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The New York Times reported on Monday afternoon that Mr. Musk is likely to
have office space in the West Wing, but when Mr. Trump was asked that evening
to confirm that, he said Mr. Musk would not.

Mr. Musk had been expected to be situated in the White House complex and has
a government email address. He has spent the last several weeks working out of
SpaceX’s Washington headquarters, joined by a team of engineers and aides,
some of whom carry navy blue mesh baseball caps in all-white capital letters
reading “DOGE.”


Will the work of the group be subject to public information
requests?
That, too, is unclear. The unit previously known as the U.S. Digital Service
existed within the Office of Management and Budget, which is subject to the
federal Freedom of Information Act, which provides for the release of
information upon request that has not been made public, unless it falls under an
exemption. But if the unit gets moved elsewhere within the executive office of
the president, it could be exempt from the act.

The work of the “DOGE teams” could be subject to the act, though, because they
would be embedded within federal agencies.

Madeleine Ngo covers U.S. economic policy and how it affects people across the country. More about
Madeleine Ngo

Theodore Schleifer is a Times reporter covering campaign finance and the influence of billionaires in
American politics. More about Theodore Schleifer




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   White House says
   By Kaitlan Collins and Tierney Sneed, CNN
        3 minute read · Updated 8:12 PM EST, Mon February 3, 2025




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Elon Musk is serving as a ‘special government employee,’ White House says | CNN Politics            2/17/25, 7:07 PM




    Elon Musk arrives to the inauguration of President-elect Donald Trump in the Rotunda of the US Capitol
    on January 20 in Washington, DC. Chip Somodevilla/Pool/Reuters



   Washington (CNN) — Elon Musk is oFcially serving under President Donald Trump as a
   special government employee, according to a White House oFcial.

   That designation means Musk – the billionaire tech entrepreneur who has been a force
   within the new Trump administration – is not a volunteer but also not a full-time federal
   employee.

   According to a Justice Department summary, a special government employee is “anyone
   who works, or is expected to work, for the government for 130 days or less in a 365-day
   period.” Musk is not being paid, a person familiar with his employment told CNN.


   Musk has a top secret security clearance, an oFcial familiar with the matter tells CNN.

   Musk, who is the world’s richest man and became an ardent supporter of Trump’s during the
   campaign, has an oFce on the White House campus. Within weeks of Trump taking oFce,
   Musk has shown he has a broad mandate to carry out his government eFciency initiative
   known as DOGE.

   On Monday, Trump conﬁrmed Musk has access to the Treasury Department’s critical
   payment system, which sends out money on behalf of the entire federal government. Federal
   unions and others on Monday sued the Treasury Department over the access.

   Treasury Secretary Scott Bessent was inside the Oval OFce as Trump commented on
   Musk’s purview.
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https://www.cnn.com/2025/02/03/politics/musk-government-employee/index.html                             Page 2 of 8
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   “Elon can’t do and won’t do anything without our approval. And we’ll give him the approval
   where appropriate. Where not appropriate, we won’t,” the president said.

   Musk’s business success has been partly fueled by federal money, and SpaceX has received
   billions of dollars in direct government contracts.

   As a special government employee, Musk is covered by a federal conﬂicts-of-interest statute
   that prohibits government employees from participating in matters that would aaect their
   ﬁnancial interests. That law can be enforced criminally or in the civil context, but it can only
   be enforced by the Justice Department.

   “We are relying on the Justice Department for enforcement of the ﬁnancial conﬂict-of-
   interest standards against Elon Musk and everyone else, and there is a reason to doubt that
   the Trump Justice Department will enforce any statutes, including criminal statutes, against
   a Trump ally,” said Kathleen Clark, a Washington University law professor who specializes in
   government ethics.

   The designation also makes Musk subject to many government ethics standards, but not all
   of them.

   It remains to be seen if Musk’s designation requires him to ﬁle a ﬁnancial disclosure that will
   be made public.

   According to the DOJ summary, special government employees “may be required to submit
   a ﬁnancial disclosure report within 30 days of assuming your position. If you are paid above
   the rate paid to a GS-15 and expected to serve for more than 60 days, you are required to
   submit a report that is made available to the public. If you are paid at or below that level, you
   must ﬁle a report on a conﬁdential basis if your decision making could have an economic
   eaect on a non-federal entity.”

   Musk’s link to Trump’s agenda is aaecting his outside business. After Trump announced he
   would impose a 25% taria on Canada starting at midnight Tuesday, the Canadian province of
   Ontario said it was canceling a contract with Starlink, Musk’s satellite internet service.

   This story has been updated with additional details.
                                                                           000049
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Elon Musk’s Official Title Is ‘Special Government Employee’—Here’s What That Means                                                         2/17/25, 7:07 PM




      FORBES         BUSINESS


      BREAKING



      White House Says Elon Musk
      Trusted To Claim His Own
      Conflicts Of Interest As
      ‘Special Government
      Employee’—Here’s What That
      Means
      Ty Roush Forbes Staff
      Ty Roush is a breaking news reporter based in New                                                              Follow
      York City.


                       2                                                                             Feb 5, 2025, 04:19pm EST




      TOPLINE Elon Musk will work under President Donald Trump as a “special

      government employee,” designating Musk as an unpaid employee of the
      federal government with fewer restrictions than full-time employees,
      according to the White House, as Musk’s so-called Department Of
      Government Efficiency has involved itself in multiple federal agencies in
      recent days.
                                                                         000050
https://www.forbes.com/sites/tylerroush/2025/02/05/white-house-says-…s-of-interest-as-special-government-employee-heres-what-that-means/        Page 1 of 6
Elon Musk’s Official Title Is ‘Special Government Employee’—Here’s What That Means                                                         2/17/25, 7:07 PM




      The Tesla CEO was tapped by President Donald Trump to lead the Department of Government E"iciency.
      ... [+] GETTY IMAGES


      KEY FACTS


     • Musk was named a “special government employee” and has received a
          government email address and office space within the White House, a
          White House official told multiple outlets including the Associated
          Press, though it’s not immediately clear when Musk received the
          designation (the White House did not immediately respond to a request
          for comment).

     • Musk will not be paid while working for the government, a person
          familiar with his employment told CNN, which may help Musk avoid
          having to fill out financial disclosure forms; a public financial disclosure
          report is only required if an employee is paid and serves more than 60
          days, according to the Department of Justice.

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      WHAT ARE SPECIAL GOVERNMENT EMPLOYEES?

      A special government employee is anyone working or expecting to work
      for the federal government for up to 130 days, according to Justice
      Department guidelines. The role is subject to most rules and guidelines
      that apply to full-time employees, though they are often “less restrictive”
      because their roles are temporary, including fewer restrictions on conflicts
      of interests, the agency noted. Special government employees are
      prohibited from participating in matters that may feature financial
      conflicts of interest, including matters that could affect an organization or
      company they work for. The employees are also prevented from using
      their role to influence or interfere with an election or engage in political
      activity while on duty.

      DOES ELON MUSK HAVE CONFLICTS OF INTEREST AS A FEDERAL EMPLOYEE?

      It’s not immediately clear whether Musk, whose SpaceX holds federal
      contracts worth billions of dollars, violates ethics agreements for federal
      employees. The U.S. Agency for International Development, which Musk
      has criticized and called to abolish, holds two active contracts with Musk’s
      satellite internet firm Starlink, though funds from those contracts have
      been spent. Ann Skeet, director of leadership ethics at Santa Clara
      University’s Markkula Center, suggested to the Associated Press that
      Musk was “in a position to try and curry favor” for his companies,
      including possible incentives for his social media platform X, Tesla, his AI
      startup xAI and brain implant maker Neuralink. Trump said Monday that
      Musk would be kept away from interacting with aspects of government
      that could be a conflict of interest, saying if “there’s a problem, we won’t
                                                                         000052
https://www.forbes.com/sites/tylerroush/2025/02/05/white-house-says-…s-of-interest-as-special-government-employee-heres-what-that-means/       Page 3 of 6
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      let him go near it.” However, White House press secretary Karoline
      Leavitt said Tuesday that Musk would be trusted with calling out his own
      conflicts of interest. If the tech billionaire encounters a conflict of interest
      with his companies’ contracts and the funding overseen by DOGE, “then
      Elon will excuse himself from those contracts,” Leavitt said.

      KEY BACKGROUND

      Musk’s role in the Trump administration followed months of his support
      for Trump’s campaign, during which the world’s richest man gave more
      than $200 million toward pro-Trump efforts. Trump announced Musk
      would lead his administration’s cost-cutting efforts as head of the newly-
      created Department of Government Efficiency, a task force-like
      department which Musk vowed would cut government spending and align
      federal agencies’ work with his ideological beliefs. The Trump
      administration has also reportedly granted Musk and his DOGE team
      control of the Treasury Department’s payment system, which disburses
      funds throughout the federal government. DOGE has tried to make other
      changes to the federal government in recent weeks: team members tried
      to enter offices for USAID—an agency that provides humanitarian relief to
      foreign countries—over the weekend, as Musk tweeted it was time for the
      agency “to die.”

      FURTHER READING

      AP NEWS

      Musk is a 'special government employee,' the White House conﬁrms




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https://www.forbes.com/sites/tylerroush/2025/02/05/white-house-says-…s-of-interest-as-special-government-employee-heres-what-that-means/       Page 4 of 6
Elon Musk’s Blitz Shakes U.S. Government as He Sweeps Through Agencies - The New York Times                                      2/17/25, 7:08 PM




                                Inside Musk’s Aggressive Incursion
                                   Into the Federal Government
                               The billionaire is creating major upheaval as his team sweeps through
                              agencies, in what has been an extraordinary flexing of power by a private
                                                             individual.




        Empowered by President Trump, Elon Musk is waging a largely unchecked war against the federal bureaucracy. Kenny Holston/The
        New York Times



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By Jonathan Swan, Theodore Schleifer, Maggie Haberman, Kate Conger, Ryan Mac and Madeleine Ngo
Published Feb. 3, 2025 Updated Feb. 4, 2025


In Elon Musk’s first two weeks in government, his lieutenants gained access to closely held financial and
data systems, casting aside career officials who warned that they were defying protocols. They moved
swiftly to shutter specific programs — and even an entire agency that had come into Mr. Musk’s cross
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https://www.nytimes.com/2025/02/03/us/politics/musk-federal-government.html                                                            Page 1 of 15
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hairs. They bombarded federal employees with messages suggesting they were lazy and encouraging
them to leave their jobs.

Empowered by President Trump, Mr. Musk is waging a largely unchecked war against the federal
bureaucracy — one that has already had far-reaching consequences.

Mr. Musk’s aggressive incursions into at least half a dozen government agencies have challenged
congressional authority and potentially breached civil service protections.

Top officials at the Treasury Department and the U.S. Agency for International Development who
objected to the actions of his representatives were swiftly pushed aside. And Mr. Musk’s efforts to shut
down U.S.A.I.D., a key source of foreign assistance, have reverberated around the globe.

Mr. Musk, the world’s richest man, is sweeping through the federal government as a singular force,
creating major upheaval as he looks to put an ideological stamp on the bureaucracy and rid the system of
those who he and the president deride as “the deep state.”

The rapid moves by Mr. Musk, who has a multitude of financial interests before the government, have
represented an extraordinary flexing of power by a private individual.

The speed and scale have shocked civil servants, who have been frantically exchanging information on
encrypted chats, trying to discern what is unfolding.

Senior White House staff members have at times also found themselves in the dark, according to two
officials, who spoke on the condition of anonymity to describe sensitive discussions. One Trump official,
who was not authorized to speak publicly, said Mr. Musk was widely seen as operating with a level of
autonomy that almost no one can control.

Mr. Musk, the leader of SpaceX, Tesla and X, is working with a frantic, around-the-clock energy familiar to
the employees at his various companies, flanked by a cadre of young engineers, drawn in part from
Silicon Valley. He has moved beds into the headquarters of the federal personnel office a few blocks from
the White House, according to a person familiar with the situation, so he and his staff, working late into
the night, could sleep there, reprising a tactic he has deployed at Twitter and Tesla.

This time, however, he carries the authority of the president, who has bristled at some of Mr. Musk’s
ready-fire-aim impulses but has praised him publicly.

“He’s a big cost-cutter,” Mr. Trump told reporters on Sunday. “Sometimes we won’t agree with it and we’ll
not go where he wants to go. But I think he’s doing a great job. He’s a smart guy.”




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                                          Mr. Trump has given Mr. Musk vast power over the
                                          bureaucracy that regulates his companies and awards them
                                          contracts. Haiyun Jiang for The New York Times



Mr. Musk, who leads a cost-cutting initiative the administration calls the Department of Government
Efficiency, boasted on Saturday that his willingness to work weekends was a “superpower” that gave him
an advantage over his adversary. The adversary he was referring to was the federal work force.

“Very few in the bureaucracy actually work the weekend, so it’s like the opposing team just leaves the
field for 2 days!” Mr. Musk posted on X.

There is no precedent for a government official to have Mr. Musk’s scale of conflicts of interest, which
include domestic holdings and foreign connections such as business relationships in China. And there is
no precedent for someone who is not a full-time employee to have such ability to reshape the federal work
force.



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The historian Douglas Brinkley described Mr. Musk as a “lone ranger” with limitless running room. He
noted that the billionaire was operating “beyond scrutiny,” saying: “There is not one single entity holding
Musk accountable. It’s a harbinger of the destruction of our basic institutions.”

Several former and current senior government officials — even those who like what he is doing —
expressed a sense of helplessness about how to handle Mr. Musk’s level of unaccountability. At one point
after another, Trump officials have generally relented rather than try to slow him down. Some hoped
Congress would choose to reassert itself.

Mr. Trump himself sounded a notably cautionary note on Monday, telling reporters: “Elon can’t do and
won’t do anything without our approval. And we’ll give him the approval where appropriate, where not
appropriate, we won’t.”

“If there’s a conflict,” he added, “then we won’t let him get near it.”

However, the president has given Mr. Musk vast power over the bureaucracy that regulates his
companies and awards them contracts. He is shaping not just policy but personnel decisions, including
successfully pushing for Mr. Trump to pick Troy Meink as the Air Force secretary, according to three
people with direct knowledge of his role.

Mr. Meink previously ran the Pentagon’s National Reconnaissance Office, which helped Mr. Musk secure a
multibillion-dollar contract for SpaceX to help build and deploy a spy satellite network for the federal
government.




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                                          Part of SpaceX’s Starship rocket in Boca Chica, Texas, last
                                          year. Mr. Musk is shaping both policy and personnel
                                          decisions that could benefit his companies. Meridith Kohut for
                                          The New York Times



Since Mr. Trump’s inauguration, Mr. Musk and his allies have taken over the United States Digital Service,
now renamed United States DOGE Service, which was established in 2014 to fix the federal government’s
online services.

They have commandeered the federal government’s human resources department, the Office of
Personnel Management.

They have gained access to the Treasury’s payment system — a powerful tool to monitor and potentially
limit government spending.

Mr. Musk has also taken a keen interest in the federal government’s real estate portfolio, managed by the
General Services Administration, moving to terminate leases. Internally, G.S.A. leaders have started to
discuss eliminating as much as 50 percent of the agency’s budget, according to people familiar with the
conversations.

Perhaps most significant, Mr. Musk has sought to dismantle U.S.A.I.D., the government’s lead agency for
humanitarian aid and development assistance. Mr. Trump has already frozen foreign aid spending, but
Mr. Musk has gone further.

“We spent the weekend feeding USAID into the wood chipper,” Mr. Musk gloated on X at 1:54 a.m.
Monday. “Could gone to some great parties. Did that instead.”

Mr. Musk’s allies now aim to inject artificial intelligence tools into government systems, using them to
assess contracts and recommend cuts. On Monday, Thomas Shedd, a former Tesla engineer who has been
tapped to lead a technology team at G.S.A., told some staff members that he hoped to put all federal
contracts into a centralized system so they could be analyzed by artificial intelligence, three people
familiar with the meeting said.

Mr. Musk’s actions have astounded and alarmed Democrats and government watchdog groups. They
question if Mr. Musk is breaching federal laws that give Congress the final power to create or eliminate
federal agencies and set their budgets, require public disclosure of government actions and prohibit
                                                  000058
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individuals from taking actions that might benefit themselves personally.

At least four lawsuits have been filed in federal court to challenge his authority and the moves by the new
administration, but it remains to be seen if judicial review can keep up with Mr. Musk.

The New York Times spoke to more than three dozen current and former administration officials, federal
employees and people close to Mr. Musk who described his expanding influence over the federal
government. Few were willing to speak on the record, for fear of retribution.

“Before Congress and the courts can respond, Elon Musk will have rolled up the whole government,” said
one official who works inside an agency where representatives from Mr. Musk’s cost-cutting initiative
have asserted control.

Mr. Musk says he is making long overdue reforms. So far, his team has claimed to help save the federal
government more than $1 billion a day through efforts like the cancellation of federal building leases and
contracts related to diversity, equity and inclusion, although they have provided few specifics.

Controlling the Pipes
Workers in the Eisenhower Executive Office Building, which housed some operations for the United
States Digital Service, arrived the day after Mr. Trump’s inauguration to find a sticky note with “DOGE”
on a door to a suite once used as a work space for senior technologists at the agency.

It was one of the first signs that Mr. Musk’s team had arrived. Inside, black backpacks were strewed
about, and unfamiliar young men roamed the halls without the security badges that federal employees
typically carried to enter their offices.




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Mr. Musk and his team have set up shop in the Eisenhower Executive Office Building. Eric Lee/The New York
Times



The quick takeover was similar to the playbook Mr. Musk has used in the private sector, where he has
been a ruthless cost cutter, subscribing to the philosophy that it is better to cut too deeply and fix any
problems that arise later. He routinely pushes his employees to ignore regulations they consider “dumb.”
And he is known for taking extreme risks, pushing both Tesla and SpaceX to the brink of bankruptcy
before rescuing them.

In his current role, Mr. Musk has a direct line to Mr. Trump and operates with little if any accountability or
oversight, according to people familiar with the dynamic. He often enters the White House through a side
entrance, and drops into meetings. He has a close working relationship with Mr. Trump’s top policy
adviser, Stephen Miller, who shares Mr. Musk’s contempt for much of the federal work force.

At one point, Mr. Musk sought to sleep over in the White House residence. He sought and was granted an
office in the West Wing but told people that it was too small. Since then, he has told friends he is reveling
in the trappings of the opulent Secretary of War Suite in the Eisenhower Executive Office Building, where
he has worked some days. His team is staffed heavily by engineers — at least one as young as 19 — who
have worked at his companies like X or SpaceX, but have little if any experience in government policy and
are seeking security clearances.

Officially, Mr. Musk is serving as a special government employee, according to the White House press
secretary, Karoline Leavitt. This is a status typically given to part-time, outside advisers to the federal
government who offer advice based on private sector expertise.

The White House declined to say if Mr. Musk had been granted a waiver that allowed him to get involved
in agencies whose actions could affect his own personal interests. And even if he had been given such a
waiver, four former White House ethics lawyers said they could not envision how it could be structured to
appropriately cover the range of the work Mr. Musk is overseeing.

In a statement, Ms. Leavitt said that “Elon Musk is selflessly serving President Trump’s administration as
a special government employee, and he has abided by all applicable federal laws.”
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Mr. Musk has told Trump administration officials that to fulfill their mission of radically reducing the size
of the federal government, they need to gain access to the computers — the systems that house the data
and the details of government personnel, and the pipes that distribute money on behalf of the federal
government.

Mr. Musk has been thinking radically about ways to sharply reduce federal spending for the entire
presidential transition. After canvassing budget experts, he eventually became fixated on a critical part of
the country’s infrastructure: the Treasury Department payment system that disburses trillions of dollars
a year on behalf of the federal government.

Mr. Musk has told administration officials that he thinks they could balance the budget if they eliminate
the fraudulent payments leaving the system, according to an official who discussed the matter with him. It
is unclear what he is basing that statement on. The federal deficit for 2024 was $1.8 trillion. The
Government Accountability Office estimated in a report that the government made $236 billion in
improper payments — three-quarters of which were overpayments — across 71 federal programs during
the 2023 fiscal year.

The push by Mr. Musk into the Treasury Department led to a months-in-the-making standoff last week
when a top career official, David Lebryk, resisted giving representatives from the cost-cutting effort
access to the federal payment system. Mr. Lebryk was threatened with administrative leave and then
retired. Treasury Secretary Scott Bessent subsequently approved access for the Musk team, as The Times
previously reported.




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                                          Treasury Secretary Scott Bessent approved the Musk
                                          team’s access to the Treasury payments system shortly
                                          after he was confirmed. Haiyun Jiang for The New York Times



The Treasury Department’s proprietary system for paying the nation’s financial obligations is an
operation traditionally run by a small group of career civil servants with deep technical expertise. The
prospect of an intrusion into that system by outsiders such as Mr. Musk and his team has raised alarm
among current and former Treasury officials that a mishap could lead to critical government obligations
going unpaid, with consequences ranging from missed benefits payments to a federal default.

Ms. Leavitt said the access they were granted so far was “read only,” meaning the staff members could
not alter payments.

Democrats on Monday said they would introduce legislation to try to bar Mr. Musk’s deputies from
entering the Treasury system. “The Treasury secretary must revoke DOGE’s access to the Treasury
payment system at once,” said Senator Chuck Schumer, Democrat of New York and the minority leader.
“If he does not, Congress must act immediately.”

Another key pipeline is the government’s personnel database, run out of the Office of Personnel
Management, where Mr. Musk has quickly asserted his influence. At least five people who have worked
for Mr. Musk in some capacity now have key roles in the office, according to people familiar with their
roles.

Last week, the personnel agency sent an email to roughly two million federal workers offering them the
option to resign but be paid through the end of September. The email’s subject line, “Fork in the Road,”
was the same one that Mr. Musk used in an email he sent to Twitter employees offering them severance
packages in late 2022. Since then, Mr. Musk has promoted the offer on social media and called it “very
generous.”

Mr. Musk is also studying the workings of the G.S.A., which manages federal properties. During a visit to
the agency last week, accompanied by his young son, whom Mr. Musk named “X Æ A-12,” and a nanny, he
spoke with the agency’s new acting administrator, Stephen Ehikian.




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After the meeting, officials discussed a plan to eliminate 50 percent of expenditures, according to people
familiar with the discussions. And Mr. Ehikian told staff members in a separate meeting that he wanted
them to apply a technique called “zero based budgeting,” an approach that Mr. Musk deployed during his
Twitter takeover and at his other companies. The idea is to reduce spending of a program or contract to
zero, and then argue to restore any necessary dollars.


Inflicting Trauma
Russell T. Vought, who served in Mr. Trump’s first administration and is his choice again to lead the Office
of Management and Budget, has spoken openly about the Trump team’s plans for dismantling civil
service.

“We want the bureaucrats to be traumatically affected,” Mr. Vought said in a 2023 speech. “When they
wake up in the morning, we want them to not want to go to work because they are increasingly viewed as
the villains.”




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“We want the bureaucrats to be traumatically affected,” Russell T. Vought, Mr. Trump’s pick to lead the
Office of Management and Budget, said in a 2023 speech. Tom Brenner for The New York Times



Mr. Musk, who pushed Mr. Vought for the budget office role, for which he is awaiting Senate confirmation,
has echoed that rhetoric, portraying career civil servants and the agencies they work for as enemies.

U.S.A.I.D., which oversees civilian foreign aid, is “evil,” Mr. Musk wrote in numerous posts on Sunday,
while “career Treasury officials are breaking the law every hour of every day,” he said in another post.

Mr. Musk used the same tactic during his 2022 takeover of Twitter, in which he depicted the company’s
previous management as malicious and many of its workers as inept and oppositional to his goals. In
firing Twitter executives “for cause” and withholding their exit packages, Mr. Musk accused some of them
of corruption and attacked them personally in public posts.

The tactics by Mr. Musk and his team have kept civil servants unbalanced, fearful of speaking out and
uncertain of their futures and their livelihoods.

On Jan. 27, members of the team entered the headquarters and nearby annex of the aid agency in the
Ronald Reagan Building in downtown Washington, U.S. officials said.

The team demanded and was granted access to the agency’s financial and personnel systems, according
to two U.S. officials with direct knowledge of the activity and the agency’s inner workings. During this
period, an acting administrator at the agency put about 60 senior officials on paid leave and issued stop-
work orders that led to the firing of hundreds of contractors with full-time employment and health
benefits.




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People delivering food aid in U.S.A.I.D. bags in South Sudan. By Monday, the agency was effectively
paralyzed. Jim Huylebroek for The New York Times



By Saturday, the agency’s website vanished. And when the two top security directors tried to stop
members of the team from entering a secure area that day to get classified files, they were placed on
administrative leave.

Katie Miller, a member of the Musk initiative, said on X that “no classified material was accessed without
proper security clearances.”

By Monday, U.S.A.I.D. was effectively paralyzed. In a live broadcast on his social media platform early
Monday, Mr. Musk said the president agreed “that we should shut it down.”


A Culture of Secrecy
Mr. Musk’s team has prioritized secrecy, sharing little outside the roughly 40 people who, as of
Inauguration Day, had been working as part of the effort. The billionaire has reposted messages accusing
people of trying to “dox,” or publish private information about, his aides when their names have been
made public, claiming it is a “crime” to do so.

The opacity has added to the anxiety within the civil service. A number of the employees across the
government said they had been interviewed by representatives of Mr. Musk who had declined to share
their surnames. Mr. Musk’s aides have declined to answer questions themselves, consistently describing
the sessions as “one-way interviews.”

Some workers who sat for interviews were asked what projects they were working on and who should be
fired from the agency, people familiar with the conversations said.

“My impression was not one of support or genuine understanding but of suspicion, and questioning,” one
General Services Administration employee wrote in an internal Slack message to colleagues, describing
the interview process.


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                                          A protest outside the Office of Personnel Management
                                          headquarters on Sunday. Mr. Musk has quickly asserted his
                                          influence at the agency. Kent Nishimura/Reuters



Some of the young workers on Mr. Musk’s team share a similar uniform: blazers worn over T-shirts. At
the G.S.A., some staff members began calling the team “the Bobs,” a reference to management consultant
characters from the dark comedy movie “Office Space” who are responsible for layoffs.

Many of Mr. Musk’s lieutenants are working on multiple projects at different agencies simultaneously,
using different email addresses and showing up at different offices.

One example is Luke Farritor, a 23-year-old former SpaceX intern, who was among the workers given
access to U.S.A.I.D. systems, according to people familiar with his role. He is also listed as an “executive
engineer” in the office of the secretary of health and human services, and had an email account at the
G.S.A., records show. Mr. Farritor did not respond to requests for comment.

Mr. Musk’s aides, including Mr. Farritor, have requested access to Centers for Medicare and Medicaid
Services systems that control contracts and the more than $1 trillion in payments that go out annually,
according to a document seen by The Times.

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The team reports to a longtime Musk adviser, Steve Davis, who helped lead cost-cutting efforts at X and
SpaceX, and has himself amassed extraordinary power across federal agencies.

In private conversations, Mr. Musk has told friends that he considers the ultimate metric for his success
to be the number of dollars saved per day, and he is sorting ideas based on that ranking.

“The more I have gotten to know President Trump, the more I like him. Frankly, I love the guy,” Mr. Musk
said in a live audio conversation on X early Monday morning. “This is our shot. This is the best hand of
cards we’re ever going to have.”

Reporting was contributed by Erica L. Green, Alan Rappeport, Andrew Duehren, Eric Lipton, Charlie Savage, Edward Wong, Sarah Kliff and
Karoun Demirjian.




Mr. Musk, the world’s richest man, is looking to put an ideological stamp on the bureaucracy and rid the
system of those who he and the president deride as “the deep state.” Haiyun Jiang for The New York Times



Jonathan Swan is a White House reporter covering the administration of Donald J. Trump. More about Jonathan Swan

Theodore Schleifer is a Times reporter covering billionaires and their impact on the world. More about Theodore Schleifer
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       Trump Administration

       The Elite Lawyers Working for Elon Musk’s DOGE
       Include Former Supreme Court Clerks
       Much attention has been paid to the young Silicon Valley engineers working for Musk’s Department of
       Government E?iciency, but the group has also hired high-powered legal talent.




                                          Elon Musk at the 2025 inauguration Pool/Getty Images




       by Justin Elliott, Avi Asher-Schapiro and Andy Kroll
       Feb. 7, 2025, 5:25 p.m. EST


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       published.

       As members of Elon Musk’s Department of Government E7ciency have fanned out across the
       government in recent days, attention has focused on the young Silicon Valley engineers who are
       wielding immense power in the new administration.
       But ProPublica has identiEed three lawyers with elite establishment credentials who have also joined
       the DOGE eHort.

       Two are former Supreme Court clerks — one clerked for Chief Justice John Roberts, another for Justice
       Neil Gorsuch — and the third has been selected to be a Gorsuch clerk for the OPOQ-OPOS term.
       Two of the lawyers’ names have not been previously reported as working for DOGE.

       All three — Keenan Kmiec, James Burnham and Jacob Altik — have DOGE email addresses at the
       Executive O7ce of the President, according to records reviewed by ProPublica. Altik was recently an
       attorney at the Erm Weil, Gotshal & Manges, but his bio page is now oXine. Neither the White House
       nor any of the three lawyers immediately responded to requests for comment about their roles.
       Referring to DOGE work, the White House told ProPublica in a statement earlier this week that, “Those
                                                                          000068
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       leading this mission with Elon Musk are doing so in full compliance with federal law.”
       However, DOGE’s aggressive actions across the government have already drawn lawsuits contending
       that the group has broken the law.

       The legal challenges brought by several groups could ultimately
       reach the Supreme Court. This week, for example, more than a                What We’re Watching
       dozen Democratic attorneys general said they would sue to block             During Donald Trump’s second
       DOGE’s access to the Treasury Department’s payment systems,                 presidency, ProPublica will focus on the
       and federal employee unions sued to challenge the DOGE-led                  areas most in need of scrutiny. Here are
                                                                                   some of the issues our reporters will be
       dismantling of the U.S. Agency for International Development.
                                                                                   watching — and how to get in touch
       “What’s striking is how contemptuous the administration seems               with them securely.
       to be of traditional administrative law limitations — in ways that
       might get them into trouble,” said Noah Rosenblum, a law
       professor at New York University. “When this stuH goes to the
       courts, one important question is going to be: How well-lawyered
       was it?”

       Trump formally created DOGE with an executive order on the Erst
       day of his administration. The order describes teams of at least
       four people — a leader, a lawyer, a human resources professional
       and an engineer — who would be detailed to government
       agencies. Exactly how DOGE is currently structured is not clear,
       nor are the speciEc assignments of each of the DOGE lawyers
       identiEed by ProPublica.
                                                                                     Learn more about our reporting
       Trump has granted Musk, the world’s richest man, vast powers to               team. We will continue to share
                                                                                     our areas of interest as the news
       seize control of government agencies, their o7ces and staH. “He’s
                                                                                     develops.
       a very talented guy from the standpoint of management and costs,
       and we put him in charge of seeing what he can do with certain
       groups and certain numbers,” Trump said of Musk on Monday,                    Robert Faturechi

       adding that “Elon can’t do and won’t do anything without our                  I have been reporting
                                                                                     on Trump Media, the
       approval.”
                                                                                     parent company of
       The Trump administration has declined to provide information on               Truth Social. I’m also reporting on
                                                                                     the Trump administration’s trade
       who is working in Musk’s DOGE group. More than two dozen
                                                                                     policies, including tariPs.
       members of the eHort have been identiEed, and ProPublica is
       compiling them as part of an ongoing reporting project.                        Signal   WhatsApp     Email


       A bit more about the three DOGE lawyers most recently identiEed
       by ProPublica:
                                                                                     Mark Olalde
       James Burnham, whose title at DOGE is listed internally as
                                                                                     I’m interested in
       general counsel, is a prominent lawyer in conservative legal                  Trump’s and his allies’
       circles. In Trump’s Erst term, Burnham said he was brought to the             promises to dismantle
       White House counsel’s o7ce by the o7ce’s top lawyer, Don                      the federal bureaucracy and laws
                                                                                     that protect the environment.
       McGahn. He said he worked on the administration’s judicial
       selection process, including Gorsuch’s appointment to the high                 Email    Signal

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       court. He went on to work in the Trump Justice Department and
       clerk for Gorsuch in OPOP.
                                                                                   Sharon Lerner
       "He’s a smart guy, and a very conservative lawyer,” Ty Cobb, a              I cover health and the
       lawyer in the Erst Trump White House, said of Burnham in an                 environment and the
       interview.                                                                  agencies that govern
                                                                                   them, including the Environmental
       Burnham later launched a boutique law Erm and a litigation                  Protection Agency.
       Enance fund that seeks to “ensure righteous lawsuits never falter
                                                                                    Signal   Email    Phone
       for lack of Enancial resources,” according to its website. Burnham
       was also helping DOGE with legal matters before Trump’s
       inauguration, The New York Times reported in January.
                                                                                   Maryam Jameel
       Keenan Kmiec’s career veered from elite law to, more recently,
                                                                                   I’m an engagement
       crypto. After clerking for then-Judge Samuel Alito on a federal             reporter interested in
       circuit court, he clerked on the Supreme Court for Roberts in the           immigration, labor and
       OPPS-OPPd term, according to his LinkedIn. He did a stint at a              the federal workforce.

       corporate law Erm and had his own Erm focused on insider-
                                                                                    Phone    Signal   Email
       trading litigation.

       Kmiec appears to have become interested in crypto long before it
       went mainstream. A friend wrote an essay published online
       recalling meeting Kmiec at an Irish pub in Washington’s Dupont
       Circle in the mid-OPfPs, where the men spoke about “the errors of
       central banks, the libertarian movement, and Bitcoin.”
       In OPOf, Kmiec began working for a Swiss foundation that
       promotes a blockchain called Tezos, according to his LinkedIn. He
       then served for nine months as CEO of a now-defunct startup
       called InterPop, which described itself as “forging the future of
       digital fandom with comic, game, and collectible NFTs minted
       responsibly on the Tezos blockchain.” A former staHer at InterPop
       described the company in an interview as a reEnement of the                 If you don’t have a speciRic tip or
       Magic: The Gathering card game. But the former staHer added,                story in mind, we could still use
       “We ran out of money and the game failed.”                                  your help. Sign up to be a member
                                                                                   of our federal worker source
       There’s little in the public domain about Kmiec’s political views.          network to stay in touch.
       In OPPh, he wrote a column for Politico critiquing the widespread
       use of the term “judicial activism,” which he called an ill-deEned
       “empty epithet.” The previous year, he gave iQPP to Barack          We’re trying something new.
       Obama’s campaign, according to federal election records. Kmiec’s    Was it helpful?
       father, Douglas Kmiec, a former Reagan administration lawyer
       and prominent conservative law professor, also made headlines for endorsing Obama. (Obama later
       named Douglas Kmiec ambassador to Malta.)

       DOGE lawyer Jacob Altik is a OPOf graduate of the University of Michigan Law School. Altik was selected
       to clerk for Gorsuch at the Supreme Court in the term that starts this summer, according to an
       announcement by his law school that was conErmed by a Supreme Court spokesperson.

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       Altik recently worked as a corporate litigation associate at Weil and previously clerked for D.C. Circuit
       Court of Appeals Judge Neomi Rao, a Trump appointee known for critiquing the administrative state.
       He also interned at a nonproEt called the New Civil Liberties Alliance, which has been at the forefront of
       legal eHorts to rein in the power of federal agencies.
       We’ve added these names — along with more than OP others — to ProPublica’s ongoing project tracking
       DOGE members.

       We are still reporting. Do you have information about any of the people listed below? Do you know of any other Musk associates
       who have entered the federal government? You can reach our tip line on Signal at BCD-FCG-HGHC. Please be as speci.c, detailed
       and clear as you can.




       Kirsten Berg, Christopher Bing and Annie Waldman contributed reporting.




       Justin Elliott
       I am a ProPublica reporter covering business and politics.
       MORE STORIES HAVE A TIP FOR A STORY?




       Avi Asher-Schapiro
       Avi Asher-Schapiro is a Reporter at ProPublica.
       MORE STORIES




       Andy Kroll
       I cover justice and the rule of law, including the Justice Department, U.S. attorneys and the courts.
       MORE STORIES HAVE A TIP FOR A STORY?


         Send me tips and documents about changes in administration policy, political interference, conRlicts of
         interest and abuses of power inside the DOJ, OMB, the White House and other law enforcement agencies.




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                                                                                                                           Donate




         Elon Musk’s Demolition
                 Crew
                          by Avi Asher-Schapiro, Christopher Bing, Annie Waldman, Brett Murphy, Andy Kroll, Justin
                             Elliott, Kirsten Berg, Sebastian Rotella, Alex Mierjeski, Pratheek Rebala and Al Shaw
                                                          Feb. 6, 2025 • Updated: Feb. 11, 2025


On President Donald Trump’s authority alone, Elon Musk, the world’s richest man, has been unleashed on federal
agencies. Employees from Musk’s companies and those of his allies, as well as young sta@ers he’s recruited, are
wresting authority from career workers and commandeering computer systems.
While some have been public about their involvement, others have attempted to keep their roles secret, scrubbing
LinkedIn pages and other sources of data. With little information from the White House, ProPublica is attempting
to document who is involved and what they are doing.

Musk’s team, known as the Department of Government EGciency, has already thrown entire swaths of the federal
government and its programs into disarray — programs that serve millions of Americans.
                                                                        000072
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Musk himself has made no secret of his intentions, saying that DOGE is a “wood chipper for bureaucracy” and that
he is “deleting” agencies.
A White House spokesperson wrote, “Those leading this mission with Elon Musk are doing so in full compliance
with federal law, appropriate security clearances, and as employees of the relevant agencies, not as outside advisors
or entities.” None of the people identiMed responded to requests for comment.


  We are still reporting. Do you have information about any of the people listed below? Do you know of any other
  Musk associates who have entered the federal government? You can reach our tip line on Signal at 917-512-0201.
  Please be as speciGc, detailed and clear as you can.




Sort by        Most recently added         Alphabetical




                     Jennifer Balajadia, 36
                     Connected to: Executive Of<ice of the President
                     Musk link: Worked at The Boring Company



  Balajadia, who also goes by “Jehn,” is an oQicial member of the DOGE team, according to federal records viewed by
  ProPublica. She worked as an operations coordinator at The Boring Company for seven years, according to her LinkedIn
  page. Recent media reports have described her as Musk’s assistant and close con<idant, traveling with him and assisting
  with scheduling and daily tasks.

                                                                                                      Added Feb. 11, 2025




                     Alexandra T. Beynon, 36
                     Connected to: Executive Of<ice of the President




  Beynon is an oQicial member of the DOGE team, according to federal records viewed by ProPublica and media reports.
  According to her LinkedIn page, she most recently worked as the head of engineering at her husband’s startup,
  Mindbloom, which provides “guided at-home ketamine therapy.” She previously worked as a software developer at
  investment banking company Goldman Sachs. When reached by ProPublica and asked about her involvement in the new
  administration and DOGE, she said, “I have no idea what you are talking about.” She did not respond to additional
  requests for comment.

                                                                                                      Added Feb. 11, 2025




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                     Nicole Hollander, 42
                     Connected to: General Services Administration
                     Musk link: Worked at X



  Hollander is working at the GSA. She most recently worked at X, where she handled the company's real estate. She is
  married to longtime Musk lieutenant Steve Davis, according to media reports.

                                                                                                       Added Feb. 11, 2025




                     Kendall M. Lindemann, 24
                     Connected to: Executive Of<ice of the President




  Lindemann is an oQicial member of the DOGE team, according to federal records viewed by ProPublica. According to her
  LinkedIn page, she most recently worked as an associate at Russell Street Ventures, a health care <irm founded by fellow
  DOGE associate Brad Smith. She also previously worked as a business analyst at McKinsey & Company.

                                                                                                       Added Feb. 11, 2025




                     Adam Ramada, 35
                     Connected to: Executive Of<ice of the President
                     Musk link: Previously part of an investment <irm with links to a SpaceX alumnus



  Ramada is an oQicial member of the DOGE team, according to federal records viewed by ProPublica. He previously
  worked for Spring Tide Capital, a venture capital company. Spring Tide Capital previously invested in Impulse Space, an
  aerospace company founded in 2021 by Tom Mueller, a founding member of SpaceX. Ramada has reportedly appeared
  at the Energy Department and General Services Administration, according to E&E News.

                                                                                                       Added Feb. 11, 2025




                     Ryan Riedel, 37
                     Chief Information Of<icer
                     Connected to: Department of Energy
                     Musk link: Worked as SpaceX network security engineer


  Riedel emerged in early February as the new chief information oQicer at the Department of Energy. His position was
  con<irmed in a LinkedIn post by the former CIO, Ann Dunkin, who wrote, “Handing the keys over to you, virtually.” Riedel,
  who now lists himself online as the department's CIO, has worked at SpaceX since 2020. He previously served in the U.S.
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  Army Cyber Command.

                                                                                                                      Added Feb. 11, 2025




                     Kyle Schutt, 37
                     Connected to: General Services Administration




  Schutt is a DOGE software engineer working at the GSA. He was previously the chief technology oQicer at Revv, an
  online fundraising platform that’s a frequent vendor for the Republican Party. According to his recently deleted LinkedIn
  pro<ile, Schutt led the development and launch of WinRed, the GOP’s major online fundraising platform, which helped
  raise $1.8 billion for Republicans in the 2024 election cycle.

                                                                                                                      Added Feb. 11, 2025




                     Ethan Shaotran, 22
                     Connected to: General Services Administration
                     Musk link: Participated in a hackathon organized by Musk's arti<icial intelligence company xAI



  Shaotran is part of the DOGE team. He recently attended Harvard University and studied computer science. He founded
  Spark, a scheduling assistant startup, for which he said he received a $100,000 grant from OpenAI. He was a member of
  a team that was a <inalist in a hackathon organized by xAI, Musk’s arti<icial intelligence company. Shaotran’s name <irst
  came to light in an article by Wired magazine about a group of young software engineers recruited by Musk to analyze
  internal government data and technology programs.

                                                                                                                      Added Feb. 11, 2025




                     Jordan M. Wick, 28
                     Connected to: Executive Of<ice of the President




  Wick is an oQicial member of the DOGE team, according to federal records viewed by ProPublica. According to his
  personal website, which has recently been taken oQline, he graduated from the Massachusetts Institute of Technology
  and recently worked at autonomous car company Waymo as a software engineer. Before joining the government, Wick
  was listed as the co-founder of an e-commerce startup named Intercept, which is aQiliated with the California-based
  tech incubator Y Combinator. The incubator has featured speaker events with Musk and other AI leaders.

                                                                                                                      Added Feb. 11, 2025



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                     Jacob Altik, 32
                     Lawyer
                     Connected to: Executive Of<ice of the President



  Altik is a 2021 graduate of the University of Michigan Law School. He clerked for D.C. Circuit Court of Appeals Judge
  Neomi Rao, a Trump appointee known for critiquing the administrative state. For the last year and a half, he worked as a
  corporate litigation associate at Weil, where he co-authored a detailed legal analysis on administrative law jurisprudence
  at the Supreme Court. Last year, he was selected to begin a clerkship for Supreme Court Justice Neil Gorsuch in the
  2025 term, which is set to begin this summer.

                                                                                                          Added Feb. 7, 2025




                     James Burnham, 41
                     General Counsel
                     Connected to: Executive Of<ice of the President



  Burnham is a former litigation partner at Jones Day and a high-ranking Justice Department and White House oQicial from
  the <irst Trump administration. The New York Times <irst reported his involvement with DOGE as a lawyer in January. His
  title at DOGE is listed internally as general counsel, according to records reviewed by ProPublica. Burnham previously
  served as a clerk to Supreme Court Justice Neil Gorsuch. On a website for one of his past companies, Burnham is
  described as having played a “central role” in the selection and con<irmation processes for Gorsuch, Justice Brett
  Kavanaugh and then-Judge Amy Coney Barrett.

                                                                                                          Added Feb. 7, 2025




                     Keenan D. Kmiec, 45
                     Lawyer
                     Connected to: Executive Of<ice of the President



  Keenan Kmiec’s career veered from elite law to, more recently, crypto. After clerking for then-Judge Samuel Alito on a
  federal circuit court, he clerked on the Supreme Court for Chief Justice John Roberts in the 2006-2007 term, according
  to his LinkedIn. He did a stint at a corporate law <irm and had his own <irm focused on insider-trading litigation. In 2021,
  Kmiec began working for a Swiss foundation that promotes a blockchain called Tezos, according to his LinkedIn. He then
  served for nine months as CEO of a now-defunct startup called InterPop, which described itself as “forging the future of
  digital fandom with comic, game, and collectible NFTs minted responsibly on the Tezos blockchain.”

                                                                                                          Added Feb. 7, 2025




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                     Anthony Armstrong, 57
                     Senior Adviser to the Director
                     Connected to: Of<ice of Personnel Management
                     Musk link: Worked on Musk’s purchase of Twitter


  Armstrong is a technology banker at Morgan Stanley who worked on Musk’s $44 billion acquisition of Twitter — since
  rebranded as X — in 2022. He has been given an in<luential role at OPM, which handles personnel issues across the
  federal government. Since Trump took oQice, OPM has spearheaded the new administration’s ekorts to dramatically
  reduce the federal workforce and roll back telework and remote work policies.

                                                                                                      Added Feb. 6, 2025




                     Riccardo Biasini, 39
                     Senior Adviser to the Director
                     Connected to: Of<ice of Personnel Management
                     Musk link: Former engineer at Tesla, executive at the Boring Company


  Biasini is an engineer and former executive who has worked at two of Musk’s companies, the Boring Company and Tesla.
  He has also taken a high-ranking role at OPM. Biasini was listed as the contact person for the government-wide email
  system put in place by the Trump administration and used to send messages directly from OPM to millions of federal
  workers across the government, according to a recent court <iling.

                                                                                                      Added Feb. 6, 2025




                     Brian Bjelde, 44
                     Senior Adviser
                     Connected to: Of<ice of Personnel Management
                     Musk link: Vice president of people operations at SpaceX


  Bjelde is a longtime SpaceX employee who’s spent more than 20 years at the company, according to his LinkedIn pro<ile,
  where he’s had a variety of jobs, including as managing director of the “food services group.” He previously worked for
  NASA’s Jet Propulsion Laboratory. He’s been referred to in press reports as a “top DOGE Lieutenant,” working at OPM to
  slash head count. CNN previously revealed that Bjelde had informed OPM stak of a plan to cut 70% of the agency’s
  workforce. The New York Times reported that Bjelde helped Musk cut stak at Twitter following its takeover.

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                     Akash Bobba, 21
                     Senior Adviser to the Director
                     Connected to: Of<ice of Personnel Management



  Bobba was named by Wired magazine as part of a team of six young engineers picked by Musk for his DOGE team. A
  recent graduate of the University of California, Berkeley, Bobba worked as an intern at Meta, the social media company,
  and at Palantir, the software and data analytics <irm that is a major defense contractor. Bobba is listed in personnel
  records as an “expert” at OPM, where he has reportedly been able to access internal databases. He graduated from high
  school in 2021; in his graduation speech, featured in the Spotlight New Jersey newspaper, he told his fellow graduates
  that, in life, the “answers we deserve demand discomfort.”

                                                                                                         Added Feb. 6, 2025




                     Nate Cavanaugh, 28
                     Connected to: General Services Administration




  Cavanaugh is an entrepreneur who has founded companies focused on intellectual property management and small-
  business <inance. He has been interviewing stakers at the GSA as part of the DOGE team, according to those who have
  spoken with him. GSA procures technology tools, real estate, and other services for federal government agencies. In
  published interviews, Cavanaugh has expressed an admiration for tech luminaries, including Peter Thiel, Elon Musk, and
  Mark Zuckerberg, and has said he is “very interested in crypto.”

                                                                                                         Added Feb. 6, 2025




                     Edward Coristine, 19
                     Expert
                     Connected to: Of<ice of Personnel Management
                     Musk link: Interned at Neuralink


  Coristine is a recent undergraduate student at Northeastern University and part of the group of young DOGE stakers
  detailed to OPM, the government’s human resources oQice. Wired reported that Coristine interned at Neuralink, Musk’s
  brain-computer interface company. Friends of Coristine told Northeastern University’s independent student newspaper
  that Musk was one of Coristine’s idols and that while he <inished the fall 2024 semester, he did not return to school for
  the spring term. According to CBS News, Coristine has been seeking access to the Small Business Administration’s
  internal records on behalf of DOGE.

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                     Steve Davis, 45
                     Connected to: Executive Of<ice of the President
                     Musk link: Longtime Musk lieutenant, CEO of the Boring Company



  Davis has been a senior executive and close associate of Musk’s for over two decades, working with him at SpaceX, X
  and the Boring Company. He was one of the <irst people to be associated with the DOGE ekort last year. The New York
  Times reported he was on early calls with Musk as they conceived of the DOGE ekort and explored ways to cut federal
  programs. Bloomberg reported that Davis has helped recruit stakers for DOGE.

                                                                                                       Added Feb. 6, 2025




                     Marko Elez, 25
                     Connected to: Treasury Department
                     Musk link: Worked as an engineer at X and SpaceX



  Elez works at the Treasury Department, a staker at the oQice of the Secretary of Treasury con<irmed in a call with a
  ProPublica reporter. Wired reported Feb. 4 that Elez, who graduated from Rutgers in 2021 and studied computer science,
  has gained access to the highly sensitive payment systems of the U.S. Treasury Department. According to Elez’s LinkedIn
  bio, which was recently deleted, he was most recently an engineer at X in New York for roughly a year and an engineer at
  SpaceX in the Los Angeles area for around three years before that. Elez reportedly resigned Feb. 6 after The Wall Street
  Journal reported that he has links to a social media account that posted racist comments online. Musk said publicly he
  planned to rehire the engineer, saying that “to err is human, to forgive divine.”

                                                                                                       Added Feb. 6, 2025




                     Luke Farritor, 23
                     Executive Engineer in the Of<ice of the Secretary
                     Connected to: Department of Health and Human Services
                     Musk link: Former SpaceX intern


  Farritor works as an executive engineer at the HHS, according to agency data. He studied computer science at the
  University of Nebraska-Lincoln and interned at SpaceX, working on its Starlink Wi-Fi team and Starship launchpad
  software, according to his Linkedin pro<ile. In March 2024, he received a Thiel fellowship, a two-year program founded by
  billionaire tech entrepreneur Peter Thiel that awards a $100,000 startup grant to students who drop out of college.

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                     Stephanie Holmes, 43
                     Human Resources
                     Connected to: Executive Of<ice of the President



  Holmes is running human resources at DOGE, according to government workers who have been in meetings with her. A
  former lawyer with Jones Day, a <irm that frequently represents Trump, she was previously the chief people oQicer at
  Oklo, a nuclear energy company chaired by OpenAI CEO Sam Altman. She also ran her own HR consulting <irm,
  BrighterSideHR, which advised companies to pursue “non-woke” approaches to diversity and inclusion in the workplace.

                                                                                                               Added Feb. 6, 2025




                     Gautier “Cole” Killian, 24
                     Federal Detailee
                     Connected to: Environmental Protection Agency



  Killian works at the EPA, according to agency data. His position is a federal detail, which typically allows government
  employees to transfer between agencies for temporary roles. He studied math and computer science at McGill
  University, where he conducted blockchain-related research. He recently worked as an engineer at Jump Trading, an
  algorithmic <inancial trading company, and is a member of the DOGE team, according to recent media reports.

                                                                                                               Added Feb. 6, 2025




                     Gavin Kliger, 25
                     Senior Adviser to the Director
                     Connected to: U.S. Agency for International Development, Of<ice of Personnel Management



  Kliger is a senior adviser at OPM, according to his LinkedIn pro<ile. He spent nearly <ive years as a software engineer at
  Databricks, a cloud-based AI company. He is widely reported to be part of Musk’s DOGE team. On his personal Substack,
  he wrote an essay titled “Why I gave up a seven-<igure salary to save America,” according to press reports, and described
  failed U.S. attorney general nominee Matt Gaetz, who withdrew from Congress amid allegations of sexual misconduct, as
  a “victim” of the deep state. On Feb. 3, workers at USAID received an email announcing that their Washington oQices
  would be closed that day. Replies to the email were directed to Kliger at a USAID email address.

                                                                                                               Added Feb. 6, 2025




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                     Tom Krause, 47
                     Expert
                     Connected to: Treasury Department



  Krause is a part of DOGE’s ekorts to gain access to sensitive federal payment systems as part of Musk’s larger ekort to
  root out spending perceived as wasteful. According to the Treasury Department, Krause leads a team of people who
  have been granted “read-only” access to the code for the agency’s Fiscal Service payment system, which processes
  payments for major programs such as Social Security and Medicare. The department has clari<ied he is designated as a
  “special government employee.” The New York Times reported that Krause is aQiliated with Musk’s DOGE team.

                                                                                                         Added Feb. 6, 2025




                     Katie Miller, 33
                     Spokesperson
                     Connected to: Executive Of<ice of the President



  In December, during the transition, Trump named Miller, who served in the <irst administration as a press secretary to
  Vice President Mike Pence, as one of the <irst members of DOGE. She is the wife of White House deputy chief of stak
  Stephen Miller. After reports that DOGE personnel accessed internal USAID data, Katie Miller defended the group, saying
  that “no classi<ied material was accessed without proper security clearances.”

                                                                                                         Added Feb. 6, 2025




                     Justin Monroe, 36
                     Adviser
                     Connected to: FBI
                     Musk link: Senior director for security at SpaceX


  Monroe is working as an adviser within the oQice of the director of the FBI, according to three people familiar with the
  matter. NBC News previously reported that an unnamed SpaceX employee has been placed in the FBI director’s oQice
  but said it could not con<irm the individual’s identity. Monroe is a seasoned information security professional who
  previously served in the U.S. Navy as an information warfare oQicer.

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The Key Figures Working Alongside Elon Musk at DOGE and in the Trump Administration — ProPublica                        2/17/25, 7:10 PM




                     Nikhil Rajpal, 30
                     Expert
                     Connected to: Of<ice of Personnel Management
                     Musk link: Former Twitter employee


  Rajpal is listed as an “expert” now working for OPM. An archived version of his personal website from 2018 lists his job
  title as an engineer at Twitter. Rajpal has extensive access to sensitive personnel data used by OPM, according to a
  source familiar with his role. Wired reported Feb. 5 that Rajpal also sought and was later granted access to data at the
  National Oceanic and Atmospheric Administration. Wired magazine reported that he is part of the DOGE team.

                                                                                                                Added Feb. 6, 2025




                     Rachel Riley, 33
                     Senior Adviser in the Of<ice of the Secretary
                     Connected to: Department of Health and Human Services



  Riley works as a senior adviser at HHS, according to agency data. She previously worked for consultancy <irm McKinsey
  & Company for about eight years, most recently as a partner leading teams advising the company’s state and federal
  government clients. She has been working closely with Brad Smith, a former health oQicial in Trump’s <irst administration
  who ran DOGE during the transition period, according to media reports.

                                                                                                                Added Feb. 6, 2025




                     Michael Russo, 67
                     Chief Information Of<icer
                     Connected to: Social Security Administration
                     Musk link: Former chief technology of<icer of Starlink payment processor Shift4 Payments


  Russo is a top-ranking technology oQicial at the SSA, which disburses over $1.5 trillion in bene<its annually. Russo spent
  over seven years as an executive and senior adviser with Shift4 Payments, a payment processing company that is both
  an investor in SpaceX and a payment processor for StarLink, according to his Linkedin. The CEO of Shift4 Payments,
  Jared Isaacman, has been nominated by Trump to lead NASA and is a friend of Musk’s who has purchased multiple
  spacewalks with Musk’s SpaceX company. Russo’s oQice will oversee the SSA’s over $2 billion IT budget.

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                     Amanda Scales, 34
                     Chief of Staff
                     Connected to: Of<ice of Personnel Management
                     Musk link: Previous employee of xAI


  Scales’ name came to light in the <irst week of the Trump administration as federal employees received a memo putting
  them on notice that diversity, equity, inclusion and accessibility initiatives in the federal government were now barred
  through an executive order — and to report ekorts to conceal them. The message listed Scales as the point of contact
  for questions. Scales worked in the human resources department at xAI, Musk’s arti<icial intelligence company, prior to
  OPM. Before that, she worked in recruiting at ridesharing company Uber. She is reportedly an integral part of OPM’s
  sweeping ekorts to restructure the federal workforce.

                                                                                                        Added Feb. 6, 2025




                     Thomas Shedd, 28
                     Federal Acquisition Service Deputy Commissioner and Director of Technology Transformation
                     Services
                     Connected to: General Services Administration
                     Musk link: Software engineer at Tesla


  Shedd’s work at Tesla focused on building software that operates vehicle and battery factories, according to a GSA press
  release. The oQice Shedd runs, known as TTS, helps federal agencies improve their tech practices. GSA leaders have told
  employees they plan to cut 50% of the budget. Shedd has told colleagues he plans to run TTS like a “startup software
  company,” according to Wired magazine, which will reportedly involve the use of arti<icial intelligence to analyze
  government contracts.

                                                                                                        Added Feb. 6, 2025




                     Brad Smith, 42
                     Connected to: Executive Of<ice of the President




  Smith was among the earliest names associated with DOGE outside of its founder. The New York Times reported he was
  helping lead the group. He served in a series of health-related policy roles during the <irst Trump administration,
  including being part of the board of Operation Warp Speed, the historic COVID-19 vaccine development program.
  According to The New York Times, which <irst reported Smith’s involvement in DOGE, he is a friend of Jared Kushner,
  Trump’s son-in-law.

                                                                                                        Added Feb. 6, 2025




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                     Christopher Stanley, 33
                     Connected to: Executive Of<ice of the President
                     Musk link: Senior director for security engineering at X and principal engineer at SpaceX



  Stanley is an experienced information security professional who has worked at multiple Musk-related companies. He is
  reportedly an aide to Musk at DOGE, according to The New York Times, and has a role at the White House. He was part of
  the initial transition team after Musk purchased Twitter in 2022, according to his LinkedIn pro<ile. On inauguration day,
  Stanley assisted in the release of individuals associated with the Jan. 6 riots, he wrote on X.

                                                                                                                           Added Feb. 6, 2025




  We are still reporting. Do you have information about any of the people listed above? Do you know of any other
  Musk associates who have entered the federal government? You can reach our tip line on Signal at 917-512-0201.
  Please be as speciGc, detailed and clear as you can.




Lead image: Photo illustration by Alex Bandoni/ProPublica. Source images: Kent Nishimura/Bloomberg, Boris Zhitkov, Rudy Sulgan, Sergio Flores,
and Smith Collection/Gado/Getty Images.

Headshots: Altik via his previous bio page at Weil, Gotshal and Manges; Balajadia via Patrick T. Fallon/Bloomberg/Getty Images; Beynon via
Linkedin proGle; Biasini via Silicon Valley Study Tour; Bjelde via LinkedIn proGle; Burnham via King Street Legal, a previous Grm; Cavanaugh via
LinkedIn proGle; Coristine via Instagram proGle; Davis via Adam S. Davis/Shutterstock; Elez via Github proGle; Farritor via video screenshot from
the University of Nebraska; Hollander via ULI Learning; Killian via McGill ArtiGcial Intelligence Society; Kliger via his personal website; Kmiec via
Justia Lawyers bio page; Krause via LinkedIn proGle; Lindemann via Linkedin proGle; Miller via Paul Morigi/Stringer/Getty Images; Monroe via
LinkedIn proGle; Riley via LinkedIn proGle; Russo via LinkedIn proGle; Scales via Human Capitol, a previous employer; Shedd via Instagram
proGle; Shaotran via Harvard University; Shutt via Github proGle; Stanley via LinkedIn proGle.




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19-year-old Musk surrogate has State Department email address - The Washington Post                        2/17/25, 7:11 PM




                                                            Democracy Dies in Darkness




19-year-old Musk surrogate takes
on roles at State Department and
DHS
The move illustrates that Elon Musk’s U.S. DOGE Service aides are being asked to
fulfill multiple posts at once.
Updated February 10, 2025


     6 min                                1545



By Faiz Siddiqui, John Hudson and Isaac Stanley-Becker


A 19-year-old acolyte of Elon Musk known online as “Big Balls” has taken on new roles as a senior adviser at the
State Department and at the Department of Homeland Security, raising concerns among some diplomats and others
about his potential access to sensitive information and the growing reach of his tech billionaire boss into America’s
diplomatic apparatus, said U.S. officials familiar with the matter who spoke on the condition of anonymity to discuss
a sensitive issue.


Edward Coristine, who briefly worked for Musk’s brain chip start-up Neuralink, was recently posted to the State
Department’s Bureau of Diplomatic Technology, a critical hub for data both sensitive and nonsensitive, officials said.
Coristine, who also holds positions at the U.S. DOGE Service and the Office of Personnel Management, has attracted
significant attention across Washington for his edgy online persona and the relative lack of experience he brings to
his new federal roles.




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https://www.washingtonpost.com/business/2025/02/10/musk-doge-state-department-surrogate/                       Page 1 of 4
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But his new position — and similar roles at DHS and other agencies — could give him visibility into far more than
just tech.


Some U.S. officials expressed alarm about Coristine’s new perch at the bureau, which serves as the IT department
for Washington’s diplomatic apparatus. All of the department’s IT and data management functions were centralized
at the bureau during an overhaul before President Donald Trump returned to office, making it a treasure trove of
information.


“This is dangerous,” said one of the U.S. officials, noting Coristine’s age and a report by Bloomberg News that he was
fired for leaking a data security firm’s information to a competitor.


A State Department official said Coristine’s position probably would not be confined to the Bureau of Diplomatic
Technology.


The unusual appointment reflects how Musk’s DOGE has deployed some of its personnel to multiple agencies at
once, giving young and relatively inexperienced — and largely unvetted — individuals unprecedented visibility into
the workings of government. Musk prioritized the hiring of software engineers for the initiative, which aims to cut $1
trillion in federal spending as it works out of the office of the former U.S. Digital Service, which has been renamed
the U.S. DOGE Service (the initials stand for Department of Government Efficiency).


Nowhere have the group’s tactics played out more visibly than at the Treasury Department, where 25-year-old
DOGE staffer Marko Elez was posted before leaving the administration last week after the Wall Street Journal
surfaced racist online posts. Musk, with the support of Trump and Vice President JD Vance, vowed to bring Elez
back. When they arrived at the agency as DOGE representatives, Elez and Silicon Valley executive Tom Krause were
at the center of a dispute over whether DOGE should have access to a sensitive Treasury payments system; Krause
now formally oversees that system as an assistant treasury secretary.


Elsewhere, DOGE staff members have been assigned to the Office of Personnel Management and the General
Services Administration, both of which are carrying out work related to key focuses of Musk’s: reducing the federal
workforce, shrinking the government’s real estate footprint and modernizing its outdated technology.


In federal directories, DOGE staffers are sometimes listed at multiple different agencies, making the full nature of
their roles within the government unclear.




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19-year-old Musk surrogate has State Department email address - The Washington Post                          2/17/25, 7:11 PM



A directory also lists Coristine as having a position at the U.S. Agency for International Development, the world’s
largest provider of food assistance, which Musk has boasted of destroying and which the Trump administration
plans to drastically downsize from 10,000 employees to roughly 600. Coristine’s job at USAID is listed in the Bureau
for Management in the chief information officer’s office.


Many diplomats looked with trepidation at the hollowing out of USAID, hoping the State Department would be
spared a similar fate, given its status as the federal government’s first executive department, established in 1789. But
the emergence of DOGE personnel in the halls of Foggy Bottom has heightened fears.


Coristine is also a senior adviser at both the Department of Homeland Security and FEMA, which is part of DHS,
according to screenshots of an online DHS directory obtained by The Washington Post. He has email addresses
associated with both entities, the screenshots show.


A DHS official said DOGE’s apparent inroads into the agency “may have significant national security implications,”
given DHS’s mandate over border security, disaster response and counterterrorism, among other areas.


“They’re basically touching and breaking things without knowing what they are,” the official added, speaking on the
condition of anonymity to discuss a sensitive topic.


While Coristine’s role at the State Department remains unclear, officials noted that his position at the technology
bureau could give him a foothold for obtaining unauthorized access to classified material and to compromising
information on other countries and foreign activities.


In addition to Coristine, a 23-year-old colleague of his, former SpaceX intern Luke Farritor, is also listed in the State
Department’s directory as working at the Bureau of Diplomatic Technology.


Coristine and Farritor are among a group of six engineers 25 or younger whom The Post has identified as working on
behalf of DOGE.


Katie Miller, a spokeswoman for DOGE, did not immediately respond to a request for comment, nor did the State
Department or Coristine or Farritor.


Another person who knows one of the DOGE engineers personally, speaking on the condition of anonymity to
protect that relationship, said that while the engineers’ technical ability is not in question, the amount of power the
DOGE team has amassed in a short span is a concern.




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“It’s not like they have a history of informed political opinion,” the person said. “They’re just in it for solving hard
problems: It’s like, ‘Oh, a big challenge, it’s a big puzzle.’ I’m sure he just grew up solving puzzles and doing hard
problems, and this is just another one and also has the perk of being around the president and billionaires.


“That is such a narrow view of the world,” the person said of the engineer’s tech background. “It’s not at all
appropriate, I don’t think, for something with such a broad impact.”




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https://www.washingtonpost.com/business/2025/02/10/musk-doge-state-department-surrogate/                            Page 4 of 4
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Elon Musk’s DOGE team takes over the Education Department                                                                               2/17/25, 4:13 PM




   EXCLUSIVE


     U.S. NEWS

     Inside DOGE's takeover of the Education Department
     Sta$ers at the Department of Education worry the Department of Government E9ciency is accessing sensitive information and
     spreading confusion.

                 House Democrats denied entry to the Department of Education
                 01:38




                                                           Get more news        on




                           Feb. 8, 2025, 6:00 AM EST

                           By Tyler Kingkade and Natasha Korecki

                           Members of Elon Musk’s Department of Government E6ciency team have obtained “administrator”
                           email accounts at the Department of Education, just as President Donald Trump announced that the
                           billionaire will soon be examining the agency closely.


                           The rapid deployment of Musk’s aides across multiple agencies has raised concern from federal o6cials,
                           lawmakers and watchdog groups that his team has gained access to sensitive information and is leading a
                           purge of government workers.


                           When NBC News asked Trump at a White House press conference Friday about allegations that Musk and
                           DOGE’s widespread staM cuts might be unlawful, Trump defended the approach, noting that the
                           Education Department was high on Musk’s list of targets. “He will be looking at education pretty quickly,”
                           Trump said.




                          Trump Says Musk Will Look At Cutting Pentagon And Education Spending
                          03:40




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https://www.nbcnews.com/news/us-news/elon-musk-doge-team-education-department-rcna191244                                                     Page 1 of 6
Elon Musk’s DOGE team takes over the Education Department                                                                          2/17/25, 4:13 PM




                         NBC News veriOed that Akash Bobba and Ethan Shaotran, both 22 years old and identiOed as members of
                         DOGE, have administrator-level status in the department’s email system, allowing them to potentially
                         access sensitive information. Two sources currently employed at the department also said that Shaotran
                         had accessed the back end of the ed.gov website on Friday.


                         Three employees of the department emphasized it is highly unusual for anyone from another
                         government agency to get ed.gov emails. The Department of Education did not respond to requests for
                         comment on Friday.


                         Tension is high at the Education Department, where leadership announced earlier this week that staM
                         who take the deferred resignation package oMered to much of the federal workforce would waive their
                         right to sue if the government fails to uphold the oMer. The employee union urged them not to take the
                         deal, worried that it’s “eerily similar to the situation at Twitter” during Musk’s takeover, in which
                         employees did not get the severance they expected.


                         One longtime employee at the Department of Education who spoke on the condition of anonymity to
                         describe internal sentiments said there is an urgent and deep worry sweeping across the agency’s career
                         staM as DOGE sets its sights on them.




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https://www.nbcnews.com/news/us-news/elon-musk-doge-team-education-department-rcna191244                                               Page 2 of 6
Elon Musk’s DOGE team takes over the Education Department                                                                                               2/17/25, 4:13 PM




                               President Trump has announced plans to shrink — or potentially dismantle — the U.S. Department of Education. Alex Wong / Getty Images




                         The person said they were especially concerned that Musk and his team would use information from the
                         national student loan database to target Americans, push career employees out and hamper the federal
                         government’s ability to collect on federal loans.


                         The New York Times reported that as many as 16 DOGE team members are now listed in the Education
                         Department directory, and according to The Washington Post, they have fed sensitive personal and
                         Onancial data from the department into artiOcial intelligence software.


                         On Friday morning, a group of House Democrats attempted to enter the Education Department
                         headquarters to meet with acting Education Secretary Denise Carter after 95 signed a letter expressing
                         concern about the administration’s plans to possibly try to close the department. The representatives
                         were stopped by security and denied entry, sparking a chaotic scene as lawmakers clamored to get in.


                         “They are blocking members of Congress from entering the Department of Education! Elon is allowed in
                         and not the people? ILLEGAL,” Rep. Maxwell Frost, D-Fla., posted on X, formerly known as Twitter.


                         Also on Friday, the watchdog group Public Citizen sued the department on behalf of the University of
                         California Student Association, a group of student government representatives, seeking an injunction to
                         block DOGE staM from accessing “sensitive personal and Onancial information.” The suit cites reporting
                         that DOGE-a6liated individuals accessed the department’s internal systems containing federal student
                         aid information.


                         “The scale of the intrusion into individuals’ privacy is enormous and unprecedented,” the suit states.
                                                                             000095
https://www.nbcnews.com/news/us-news/elon-musk-doge-team-education-department-rcna191244                                                                     Page 3 of 6
Elon Musk’s DOGE team takes over the Education Department                                                                                 2/17/25, 4:13 PM


                         “The personal data of over 42 million people lives in these systems.”


                         Adding to the bedlam this week, a new memo that went out across the department called for a sweeping
                         review of all grants that “promote or take part in diversity, equity, and inclusion” initiatives. The goal, it
                         states, is rooting out “discriminatory practices — including in the form of DEI — that are either contrary to
                         law or to the Department’s policy objectives,” according to the memo obtained by NBC News.


                         It isn’t unusual for a new administration to set priorities with how the billions of dollars in grants are
                         doled out. What is unusual, and could bring a torrent of legal challenges, is the potential to reopen grants
                         that were already awarded, said a former senior education o6cial. Aside from legal repercussions, the
                         o6cial said that suddenly canceling grants could cause great disruption to communities that are relying
                         on the money for resources like more teachers and tutors. Long-standing federal grants have also funded
                         magnet schools, if the schools demonstrate that they have a desegregation plan in place.


                         Now, o6cials at the department say they are still unclear on how the administration is interpreting DEI —
                         whether it includes services for students with disabilities, for instance, or those learning English as a
                         second language.


                         “I don’t know how you eliminate DEI without attacking the special needs programs,” a current
                         administration o6cial said.


                         Madison Biedermann, an Education Department spokeswoman, said the review is to ensure grant
                         programs are in compliance with civil rights laws, “i.e., that they are not supporting discriminatory
                         practices on the basis of race, national origin, or other protected characteristics.”


                         “The Department manages important grant programs that Congress has established to support schools
                         that serve speciOc populations, and will be careful in the review to ensure that these grants are both in
                         line with Administration priorities while serving the speciOc populations,” Biedermann said.


                         The rapid clip of changes has outpaced the conOrmation process for department leadership.


                         Linda McMahon, Trump’s nominee for education secretary, is scheduled to appear in a conOrmation
                         hearing before the Senate Health, Education, Labor and Pensions committee on Feb. 13. McMahon, the
                         former CEO of World Wrestling Entertainment, is currently chairperson of the America First Policy
                         Institute, a 4-year-old Trump-aligned think tank. Four of the top o6cials already appointed at the
                         Education Department worked for the think tank.




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https://www.nbcnews.com/news/us-news/elon-musk-doge-team-education-department-rcna191244                                                      Page 4 of 6
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                               Trump's nominee for education secretary, Linda McMahon, will face a conOrmation hearing next week. Valerie Plesch / Bloomberg via Getty Images




                         One current Department of Education o6cial, a military veteran, described a scene of confusion and
                         demoralization as Trump and Musk portray federal workers as lazy. Others are digging in their heels
                         because they feel as if they’re being bullied.


                         “There are people who are panicking. There are people who are eligible for retirement and still say, ‘I’m
                         not going anywhere. I’m not going to voluntarily give in to the pressure and the intimidation.’ That’s all
                         this really is.”


                         Since Trump’s inauguration, the department has already demonstrated a notable shift in priorities.


                         Earlier this week, it announced plans to launch Title IX investigations into two universities and one
                         athletic association for violating the administration’s executive order banning transgender women’s
                         participation in sports, and opened an inquiry into Denver Public Schools for changing a single girl’s
                         bathroom into a gender-neutral one. The department said that it would revert to enforcing the Title IX
                         regulation imposed during the Orst Trump administration, rather than the Biden-era rules. And it
                         canceled 11 investigations into school districts over book bans — opened due to complaints that the
                         schools targeted titles by LGBTQ authors and people of color — and called the complaints a “hoax.”


                         Department staM also received a directive this week to ensure their email signature blocks do not include
                         “extraneous information, including gender identifying pronouns, motivational quotes, and GIFs.” The
                         email was marked “high importance.”



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https://www.nbcnews.com/news/us-news/elon-musk-doge-team-education-department-rcna191244                                                                   Page 5 of 6
Elon Musk’s DOGE team takes over the Education Department                                            2/17/25, 4:13 PM




                                    Tyler Kingkade


                         Tyler Kingkade is a national reporter for NBC News, based in Los Angeles.




                                    Natasha Korecki


                         Natasha Korecki is a senior national political reporter for NBC News.



                                    Yamiche Alcindor and Garrett Haake contributed.




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https://www.nbcnews.com/news/us-news/elon-musk-doge-team-education-department-rcna191244                 Page 6 of 6
DOGE announces $881 million in cuts for Education Department contracts - POLITICO                  2/17/25, 4:18 PM




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   E D U C AT I O N

   DOGE announces $881 million in cuts for Education Department contracts
   About 170 contracts for the Institute of Education Sciences were targeted.




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https://www.politico.com/news/2025/02/10/education-department-pauses-research-contracts-00203494        Page 1 of 7
DOGE announces $881 million in cuts for Education Department contracts - POLITICO                                               2/17/25, 4:18 PM




                   The Education Department also terminated 29 training grants for diversity, equity and inclusion that total
                   $101 million, according to an announcement from the Department of Government Efficiency. | Kayla
                   Bartkowski/Getty Images


                   By REBECCA CARBALLO and JUAN PEREZ JR.
                   02/10/2025 09:04 PM EST
                   Updated: 02/10/2025 09:56 PM EST




                   Education Department funds for diversity programs and research initiatives
                   will dry up, according to a series of announcements Monday night about the
                   agency’s future.

                   The department terminated 89 contracts, worth $881 million, according to an
                   X post from the Department of Government Efficiency, but DOGE did not say
                   which contracts were ended. In a separate post, DOGE said the department
                   also terminated 29 training grants for diversity, equity and inclusion that total
                   $101 million. One of the grants sought to train teachers to “help students
                   understand / interrogate the complex histories involved in oppression, and
                   help students recognize areas of privilege and power on an individual and
                   collective basis,“ according to the post.

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                   The Trump administration is halting about 170 contracts for the Education
                   Department’s Institute of Education Sciences, according to two people familiar
                                                      000100
https://www.politico.com/news/2025/02/10/education-department-pauses-research-contracts-00203494                                    Page 2 of 7
DOGE announces $881 million in cuts for Education Department contracts - POLITICO                  2/17/25, 4:18 PM



                   with the decisions.




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                      The cuts comes as the president is expected to issue an executive order this
                      month to wind down the department, and Education Secretary nominee Linda
                      McMahon gets ready to testify before Congress on Thursday.

                      The American Institutes for Research, a nonprofit organization that conducts
                      behavioral and social science research, confirmed it received multiple notices
                      of terminations on Monday for several IES contracts. IES is a nonpartisan
                      research arm of the department that studies special education and student
                      learning outcomes, among other topics.

                      “The money that has been invested in research, data, and evaluations that are
                      nearing completion is now getting the taxpayers no return on their
                      investment,” Dana Tofig, an AIR spokesperson, said in a statement Monday. “If
                      the point of this exercise is to make sure taxpayer dollars are not wasted and
                      are used well, the evaluation and data work that has been terminated is exactly
                      the work that determines which programs are effective uses of federal dollars,
                      and which are not.”

                      The department and DOGE did not immediately respond to requests for
                      comment.


   F I L E D U N D E R : R E S E A R C H , D E PA R T M E N T O F E D U C A T I O N , D O G E

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       FORBES         BUSINESS


       BREAKING


       Trump Lawyer Downplays Elon Musk’s
       Authority In Court Hearing —Here’s What To
       Know About DOGE
       Molly Bohannon Forbes Staff
       Molly Bohannon has been a Forbes news reporter since 2023.

       Derek Saul Forbes Staff
       Derek Saul has covered markets for the Forbes news team since 2021.



                                21                                                                           Feb 17, 2025, 12:34pm EST




       TOPLINE A Trump administration lawyer claimed Monday billionaire Elon

       Musk isn’t exercising any “authority” over the federal government, after 14
       states sued Musk’s Department of Government Efficiency, or DOGE, arguing
       the alleged “unlawful delegation of executive power” to Musk has “caused
       widespread disruption”—as criticism of Musk’s increasingly powerful agency
       builds.




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https://www.forbes.com/sites/mollybohannon/2025/02/17/trump-lawyer-downplays-elon-musks-authority-in-court-hearing--heres-what-to-know-about-doge/   1/16
2/17/25, 9:33 PM                               Here’s What To Know About DOGE As Trump Administration Claims Elon Musk Has No 'Authority'




       Tesla and SpaceX CEO Elon Musk, joined by his son X, delivers remarks alongside U.S. President ... [+] GETTY
       IMAGES


       TIMELINE


      • Feb. 17
           U.S. District Judge Tanya Chutkan held a court hearing over Democratic
           state attorneys general’s request for the court to immediately stop DOGE
           from accessing data and firing federal workers—because they argue Musk
           is an “agent of chaos” unlawfully influencing the federal government—
           with a lawyer for the Trump administration arguing the states don’t have
           a case because he claimed Musk doesn’t have “any formal or actual
           authority to make any government decisions himself.”



      • Chutkan has not yet ruled on the states’ request but said she thought the
           government’s claims defending Musk went “too far”—noting Musk is a
           private citizen whose organization has essentially been granted access to
           the “entire workings of the federal government”—and also chastised the
           Trump administration after its lawyers could not confirm how many
           federal employees DOGE had recently fired.

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https://www.forbes.com/sites/mollybohannon/2025/02/17/trump-lawyer-downplays-elon-musks-authority-in-court-hearing--heres-what-to-know-about-doge/   2/16
2/17/25, 9:33 PM                               Here’s What To Know About DOGE As Trump Administration Claims Elon Musk Has No 'Authority'


      • Feb. 17
           DOGE is seeking access to a critical Internal Revenue Service system, the
           Integrated Data Retrieval System (IDRS), that could give the Musk-led
           agency the ability to see financial details of every taxpayer and business in
           the country, with CNN reporting Monday morning a DOGE official is
           expected to be “imminently” granted access.



      • On its X account, DOGE also said it is “looking into” a purported anomaly
           in the Social Security system that lists millions of Americans over the age
           of 110—which Musk implied was an example of “vampire” recipients for
           Social Security assistance.



      • Feb. 13
           Attorneys general from New Mexico, Arizona, Michigan and 11 other
           states sued Musk, DOGE and President Donald Trump alleging Musk’s
           “virtually unchecked authority” is unconstitutional, saying Trump
           “transformed a minor position that was formerly responsible for
           managing government websites into a designated agent of chaos without
           limitation.”



      • 11:40 p.m EST, Feb. 12
           DOGE tweeted out that its official site was live, though the site only had a
           feed of what the agency had been tweeting on X, a page for people apply to
           work with DOGE, a chart explaining the breakdown of government
           employees, and a savings page that read: “Receipts coming soon, no later
           than Valentine's day                💘 .”

      • In the post announcing the website—which went live almost 24 hours
           after Musk told ABC News all of DOGE’s actions were being posted to the

                                                                            000105


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2/17/25, 9:33 PM                               Here’s What To Know About DOGE As Trump Administration Claims Elon Musk Has No 'Authority'

           website to increase transparency—the department said it “will constantly
           be working to maximize the site’s utility and transparency.”



      • 5:45 p.m. EST, Feb. 11
           Trump issues an executive order directing government agencies to consult
           with DOGE on hiring approvals, hiring ratios and hiring plans aimed at
           slashing the federal workforce and “eliminating waste, bloat, and
           insularity.”



      • The order calls for massive cuts in the federal workforce, including a
           directive “that each agency hire no more than one employee for every four
           employees that depart,” with certain exceptions like the military and law
           enforcement.



      • 4:30 p.m. EST, Feb. 11
           Speaking in the Oval Office with Trump, Musk defended DOGE’s cuts,
           saying they’ve done them transparently by posting their actions on X and
           on the DOGE website, and he said he is trying to implement “common-
           sense controls that should be present that haven’t been present” to federal
           spending.



      • “We had no idea we were going to find this much,” Trump said of DOGE’s
           work so far, adding: “We’re finding tremendous fraud and tremendous
           abuse.”



      • When asked how he responds to people saying he is taking over the
           government in a non-transparent way, Musk said, “the people voted for
           major government reform, there should be no doubt about that ... they’ll
           get what they voted for … and that’s what democracy is all about.”
                                                                            000106


https://www.forbes.com/sites/mollybohannon/2025/02/17/trump-lawyer-downplays-elon-musks-authority-in-court-hearing--heres-what-to-know-about-doge/   4/16
2/17/25, 9:33 PM                               Here’s What To Know About DOGE As Trump Administration Claims Elon Musk Has No 'Authority'


      • 3:41 p.m. EST, Feb. 11
           Trump’s press secretary Karoline Leavitt posted on X, formerly known as
           Twitter, that Musk and Trump were in the Oval Office to “give the TRUTH
           about DOGE!”



      • Feb. 11
           Hegseth told reporters “there’s plenty of places where we want the keen
           eye of DOGE” to look for efficiency measures, but he said “we’ll do it in
           coordination, we’re not going to do things that are to the detriment of
           American operational or tactical capabilities,” multiple outlets reported
           (it’s unclear what kinds of cuts DOGE could target, or how large they’ll be,
           especially since members of both parties have historically been reluctant
           to cut defense spending).



      • Feb. 8
           U.S. District Judge Paul Engelmayer issued an order early Saturday
           blocking Musk’s government efficiency agency from accessing Treasury
           payments, citing an increased risk of hacking of sensitive information, and
           ordered those who are now prohibited from accessing these systems to
           destroy any information downloaded since Jan. 20.



      • 8:00 p.m. EST, Feb. 7
           Some 19 Democratic state attorneys-general are suing Trump and
           Treasury Secretary Scott Bessent for letting DOGE access the
           government’s payment systems, alleging the move violates the law,
           endangers personal information and could open the door to DOGE
           unconstitutionally slashing spending that’s already been greenlit by
           Congress.



      • 3:13 p.m. EST, Feb. 7                                               000107
           Marko Elez—a DOGE staffer who resigned Thursday after the Wall Street
https://www.forbes.com/sites/mollybohannon/2025/02/17/trump-lawyer-downplays-elon-musks-authority-in-court-hearing--heres-what-to-know-about-doge/   5/16
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           Journal uncovered numerous offensive comments from the self-
           proclaimed “racist”—is coming back to work for the agency, Musk posted
           to X, commenting, “To err is human, to forgive divine” (hours earlier, he
           polled X users on whether Elez should return).



      • Musk’s announcement on the 25-year-old Elez was in response to Vance’s
           support of the return.



      • 2:55 p.m. EST, Feb. 7
           Forbes resurfaces a number of problematic social media posts by 25-year-
           old DOGE emissary Gavin Kliger, including one calling former
           Democratic presidential candidate Hillary Clinton “retarded” and a bevy
           of anti-immigration posts.



      • 2:41 p.m. EST, Feb. 7
           Bloomberg reports 19-year-0ld DOGE agent Edward Coristine was fired
           from a previous internship for leaking sensitive company information to a
           competitor.



      • 11:26 a.m. EST, Feb. 7
           Vance posted to “bring [Elez] back,” referring to Elez, who resigned after
           The Wall Street Journal reported on his prior social media activity (a
           White House official confirmed to Forbes that Elez resigned, but did not
           comment on the reason for his departure).



      • “I obviously disagree with some of Elez’s posts, but I don’t think stupid
           social media activity should ruin a kid’s life,” explained Vance.



      • Vance said he “obviously disagree[s] with some of Elez’s posts,” which
                                             000108
           included a call to “normalize Indian hate” (Vance’s wife Usha Vance is the

https://www.forbes.com/sites/mollybohannon/2025/02/17/trump-lawyer-downplays-elon-musks-authority-in-court-hearing--heres-what-to-know-about-doge/   6/16
2/17/25, 9:33 PM                               Here’s What To Know About DOGE As Trump Administration Claims Elon Musk Has No 'Authority'

           daughter of Indian immigrants).



      • 9:14 a.m. EST, Feb. 7
           Musk appeared to test public opinion about Elez on his X social media
           site, putting out a poll asking if the administration should “bring back
           @DOGE staffer who made inappropriate statements via a now deleted
           pseudonym”—and more than 80% of respondents supported Elez’s
           return.



      • Musk, who did not reference Elez by name, whitewashed the posts as
           “inappropriate,” though Elez self-identified as “racist,” supported
           “eugenic immigration policy” and slammed interracial marriage.



      • “True,” Musk responded to an X user calling for Musk to “have a talk to
           about the racist stuff. Not cool.”



      • 8:09 p.m. EST, Feb. 6
           Rep. Val Hoyle, D-Ore., one of the two Democratic members on the 29-
           person DOGE panel, announced her resignation from the caucus in a
           statement highly critical of “unelected billionaire Elon Musk.”



      • Musk and his “lackeys” are set on “burning down the government—and
           the law—to line his own pockets and rip off Americans across the country
           who depend on government services to live with dignity,” according to
           Hoyle, who slammed DOGE’s “corrupt” access to Treasury Department
           payments data and the use of “intimidation tactics to terrorize”
           government workers.



      • 4 p.m. EST, Feb. 6
                                                                            000109
           Elez, one of the two primary DOGE emissaries embedded in the Treasury

https://www.forbes.com/sites/mollybohannon/2025/02/17/trump-lawyer-downplays-elon-musks-authority-in-court-hearing--heres-what-to-know-about-doge/   7/16
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           Department, resigned from the Musk-led agency, the White House told
           The Wall Street Journal, after the publication uncovered Elez’s ties to a
           since-deleted X account with racist posts including calling for “eugenic
           immigration policy” and to “normalize Indian hate.”



      • The 25-year-old Elez previously worked for Musk’s X and SpaceX,
           according to the Journal.



      • A White House official confirmed Elez’s resignation to Forbes, declining
           to comment on the circumstances of his exit.



      • 2 p.m. EST, Feb. 6
           Treasury Secretary Scott Bessent told Bloomberg DOGE is not “tinkering”
           with the government payment systems the agency has access to, and
           Musk’s agency is conducting an “operational review” of government
           payments, not an “ideological review” (Musk’s statements have often
           veered toward the latter, calling the U.S. Agency for International
           Development a “criminal organization.”)



      • “Elon and I are completely aligned in terms of cutting waste and
           increasing accountability and transparency for the American people,”
           Bessent added.



      • Feb. 6
           People with ties to DOGE are using AI—accessed via Microsoft’s Azure
           service—to sort through Education Department data with “personally
           identifiable information for people who manage grants, as well as
           sensitive internal financial data” while they look for ways to save the
           government money across departments, The Washington Post reported,
           citing two unnamed people (a department spokesperson told the Post
                                              000110


https://www.forbes.com/sites/mollybohannon/2025/02/17/trump-lawyer-downplays-elon-musks-authority-in-court-hearing--heres-what-to-know-about-doge/   8/16
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           they’re looking for efficiencies, and there’s “nothing inappropriate or
           nefarious”).



      • Feb. 6
           Judge Colleen Kollar-Kotelly approved an agreement that grants Tom
           Krause and Marko Elez—two Musk associates working as special
           government employees—the ability to see Treasury Department data “as
           needed” on a read-only basis.



      • The agreement is a temporary fix that will remain in place until Kollar-
           Kotelly makes a further judgment on the lawsuit, which was brought by
           nonprofits and unions seeking to limit DOGE’s access to the Treasury
           Department’s private financial data.



      • 8:40 a.m. EST, Feb. 6
           DOGE workers have access to employee data from the Office of Personnel
           Management, essentially the federal government’s human resources arm,
           The Washington Post reported Thursday, citing four anonymous U.S.
           officials—the data includes addresses, demographics and Social Security
           numbers, and DOGE’s access includes the ability to edit employee records
           (there’s no evidence DOGE staff have edited any records).



      • Feb. 5
           Justice Department lawyers agreed Wednesday to a proposal that would
           limit DOGE’s access to the critical Treasury payment system following a
           lawsuit, with only two Musk associates now permitted to have “read-only”
           access.



      • Feb. 5
                                              000111
           The Centers for Medicare and Medicaid Services released a statement on
           its collaboration with DOGE and said two senior agency veterans are
https://www.forbes.com/sites/mollybohannon/2025/02/17/trump-lawyer-downplays-elon-musks-authority-in-court-hearing--heres-what-to-know-about-doge/   9/16
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           working with DOGE and they are “taking a thoughtful approach to see
           where there may be opportunities for more effective and efficient use of
           resources in line with meeting the goals of President Trump.”



      • 12:01 p.m. EST, Feb. 5
           Musk quote-tweeted a post on X, formerly known as Twitter, with a
           screenshot of The Wall Street Journal’s reporting on DOGE being at
           Medicare and said, “Yeah, this is where the big money fraud is
           happening.”



      • 11 a.m. EST, Feb. 5
           DOGE team members were onsite at the Centers for Medicare and
           Medicaid Services to look for fraud or waste, Bloomberg and The Wall
           Street Journal reported, citing people familiar with the matter who said
           DOGE representatives had access to payment and contracting systems.



      • 5:40 p.m. EST, Feb. 4
           The Treasury sent a letter to Congress stating it is “committed to
           safeguarding the integrity and security of the system” and the “Fiscal
           Service is confident those protections are robust and effective,” adding
           that Tom Krause, who is affiliated with DOGE but is a Treasury employee,
           has “read-only access to the coded data of the Fiscal Service’s payment
           systems” in an effort to review efficiency.



      • 4 p.m. EST, Feb. 4
           Sens. Elizabeth Warren, D-Mass., and Ron Wyden, D-Ore., requested the
           Government Accountability Office investigate Bessent’s “decision to grant
           access to sensitive government payment systems to Elon Musk and other”
           DOGE employees, specifically asking them to identify if there are
           guardrails in place to protect “economic and national security and
                                                 000112


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           Americans’ privacy” and ensure there are no conflicts of interest with
           Musk.



      • 3:45 p.m EST, Feb. 3
           Senate Democrats held a news conference at which they expressed their
           concern about Musk getting access to the federal payment system, with
           Senate Minority Leader Chuck Schumer, D-N.Y., saying “an unelected
           shadow government is conducting a hostile takeover of the federal
           government,” and Sen. Patty Murray, D-Wash., saying Musk was
           “hijacking our nation's most sensitive financial systems and its
           checkbook.”



      • Feb. 3
           The American Federation of Government Employees and other unions
           sued the Treasury Department in an effort to reduce DOGE’s access to
           Treasury data.



      • Feb. 1
           The Associated Press and The New York Times reported Bessent granted
           DOGE access to the sensitive Treasury data, giving Musk a “powerful tool
           to monitor and potentially limit government spending,” according to the
           Times.

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       WHAT IS DOGE?

       Musk floated the idea of DOGE in September before Trump was elected, and
       shortly after, Trump said he would create it and have Musk lead it. After he
                                            000113
       won the election, Trump appointed Musk and Vivek Ramaswamy to lead the

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       commission and advised them to “slash excess regulations, cut wasteful
       expenditures, and restructure Federal Agencies.” DOGE was officially
       created via an executive order on Trump’s first day in office that
       restructured an existing entity, the U.S. Digital Service, to be the U.S. DOGE
       Service. It is not a new federal agency or department, and many members of
       the team are designated as “special government employees,” according to
       the Congressional Research Service.

       WHAT AUTHORITY DOES DOGE HAVE?

       There is no clear outline in the executive order establishing DOGE about
       what authority it has. Per the order, the role of it is “to implement the
       President’s DOGE Agenda, by modernizing Federal technology and software
       to maximize governmental efficiency and productivity.” The order said the
       DOGE administrator will work with agency heads to improve the efficiency
       of software and how agencies work with each other and collect data. DOGE
       officials have reportedly been gaining access to sensitive data and
       information upon request.

       DOES ELON MUSK WORK FOR THE GOVERNMENT?

       Musk is a “special government employee.” The Justice Department defines
       the role as any employee expected to work for the federal government for up
       to 130 days, and they are prohibited from participating in matters that may
       have financial conflicts of interest or from using their role to influence an
       election or engage in political activity while on duty. The role of a special
       government employee is subject to most rules and guidelines that apply to
       federal employees, but they can be “less restrictive” because the role is
       temporary. Musk is reportedly not being paid for his work in the White
       House.


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       WHO IS WORKING FOR DOGE?

       It’s unclear who works for DOGE. On Nov. 14, 2024, DOGE’s account on X
       asked people to direct message the account with their resumes if they were
       “super high-IQ small-government revolutionaries willing to work 80+ hours
       per week on unglamorous cost-cutting.” On Feb. 2, Wired published an
       article alleging they were able to identify six engineers between the ages of
       19 and 24 working for DOGE who had ties to other Musk companies or
       billionaire Peter Thiel. Katie Drummond, Wired’s global editorial director,
       told CNN “it’s a little bit difficult to ascertain exactly what they are doing,”
       but Wired was able to determine they are “working at the behest of Musk ...
       on a number of engineering related tasks.” But, in a letter sent from eight
       Senate Democrats to White House Chief of Staff Susie Wiles requesting
       more information on what DOGE is doing, the lawmakers said “no
       information has been provided to Congress or the public as to who has been
       formally hired under DOGE.”

       WHAT DEPARTMENTS IS DOGE WORKING IN?

       DOGE has appeared to so far do most of its work with the USAID, which
       Musk has said—without evidence—is “incredibly politically partisan” and a
       “radical-left political psy op.” Since Musk began discussing USAID on
       Monday, the agency has placed direct hire personnel globally on
       administrative leave, with few exceptions, and some USAID employees were
       seen clearing out their desks. Beyond that, DOGE said on Jan. 24 that in its
       first 80 hours of operating, it canceled “approx $420M of
       current/impending contracts” and two leases while focusing “mainly on DEI
       contracts and unoccupied buildings.” On Thursday, The Washington Post
       reported DOGE was analyzing the Education Department’s spending using
       artificial intelligence. It’s suspected Musk was involved in the Office of
       Personnel Management's buyout offer to all federal employees, and he
       previously suggested the government should close the Consumer Financial
       Protection Bureau, which was directed earlier this week to pause its work,
       Reuters reported.
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       WHAT ARE DEMOCRATS DOING TO STOP DOGE?
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       On Tuesday, more than 1,000 protesters gathered outside the Treasury
       building in Washington, D.C., to protest DOGE’s actions, and more than two
       dozen Democratic lawmakers spoke at the gathering, the Associated Press
       reported. Democrats also teased the “Stop the Steal” Act on Tuesday, which
       House Minority Leader Hakeep Jeffries, D-N.Y., said would “prevent
       [DOGE’s] unlawful access from taking place.” Democrats tried to subpoena
       Musk on Wednesday to get more information on his actions and DOGE’s
       work, but congressional Republicans blocked the subpoena, ABC News
       reported. The top Democrat on the House Oversight Committee, Rep.
       Gerald Connolly, D-Va., said Musk’s role is “puzzling” for many people,
       adding: “Who is this unelected billionaire that he can attempt to dismantle
       federal agencies, fire people, transfer them, offer them early retirement and
       have sweeping changes to agencies without any congressional review,
       oversight or concurrence?” Democrats have limited power in opposing
       DOGE, or Trump’s actions more broadly, though, as Republicans control the
       House and Senate.

       FURTHER READING

       Unions Sue To Stop Elon Musk’s DOGE From Accessing Treasury
       Department Data (Forbes)

       Elon Musk’s Team Now Has Access to Treasury’s Payments System (New
       York Times)

       Elon Musk’s DOGE Team Mines for Fraud at Medicare and Medicaid Agency
       CMS (Bloomberg)

       What Is Elon Musk's Role, Exactly? White House Calls Him 'Special
       Government Employee'—Here’s What That Means (Forbes)

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                   Derek Saul


       Derek Saul is a New Jersey-based Senior Reporter on Forbes' news team. He graduated in
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Young Aides Emerge as Enforcers in Musk’s DOGE Team Efforts - The New York Times                            2/17/25, 4:23 PM




Young Aides Emerge as Enforcers in
Musk’s Broadside Against Government
Much of the billionaire’s handiwork — gaining access to internal systems and
asking employees to justify their jobs — is being driven by a group of
engineers operating in secrecy.


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                                                   By Theodore Schleifer, Nicholas Nehamas, Kate Conger and Ryan Mac

Feb. 7, 2025


At the end of his third week bulldozing through the federal government, Elon
Musk sat down to give Vice President JD Vance a 90-minute briefing on his
efforts to dismantle the bureaucracy. Mr. Musk was not alone.

Invited to join him on Thursday morning in Mr. Vance’s stately ceremonial office
suite in the Eisenhower Executive Office Building, next to the White House,
were a clutch of young aides whose presence at federal agencies has served as a
harbinger of the upheaval that would follow them.

Across the federal government, civil servants have witnessed the sudden
intrusion in the last two weeks of these young members of the billionaire’s team,
labeled the Department of Government Efficiency. As Mr. Musk traipses through

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Washington, bent on disruption, these aides have emerged as his enforcers,
sweeping into agency headquarters with black backpacks and ambitious
marching orders.

While Mr. Musk is flanked by some seasoned operatives, his dizzying blitz on the
federal bureaucracy is, in practice, largely being carried out by a group of male
engineers, including some recent college graduates and at least one as young as
19.

Unlike their 20-something peers in Washington, who are accustomed to doing
the unglamorous work ordered up by senior officials, these aides have been
empowered to break the system.

Of the roughly 40 people on the team, just under half of them have some
previous ties to the billionaire — but many have little government experience,
The New York Times found. This account of their background and activities is
based on public records, internal government databases and more than 20
people familiar with their roles, who spoke on the condition of anonymity out of
fear of retaliation.

Some on the Musk team are former interns at his companies. Others are
executives who have served in his employ for as long as two decades. They all
appear to have channeled his shoot-first, aim-later approach to reform as they
have overwhelmed the bureaucracy.

A 23-year-old who once used artificial intelligence to decode the word “purple”
on an Ancient Greek scroll has swiftly gained entree to at least five federal
agencies, including the Centers for Medicare and Medicaid Services, where he
has been seeking access to sensitive databases. He was part of a group that
helped effectively shutter the United States Agency for International

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Development, joined by the 19-year-old, a onetime Northeastern student who
was fired from a data security firm after an investigation into the leaking of
internal information, as Bloomberg first reported.




            The United States Agency for International Development is one of several federal
            agencies that young representatives of Mr. Musk’s team have been tasked to root out
            what he perceives as wasteful spending and left-wing ideology. Haiyun Jiang for The New
            York Times




In the past week, his aides have descended upon the Education, Energy, Housing
and Urban Development, Health and Human Services, Transportation and
Veterans Affairs Departments, along with the National Oceanic and
Atmospheric Administration, the Federal Emergency Management Agency and
the Consumer Financial Protection Bureau, according to people familiar with
their activities.
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Mr. Musk has praised his team as talented and relentless, defending its work as
crucial to rooting out what he perceives as wasteful spending and left-wing
ideology in the federal government.

“Time to confess,” he wrote on X this week. “Media reports saying that @DOGE
has some of world’s best software engineers are in fact true.”

Mr. Musk did not respond to a request for comment.

On Friday, Mr. Trump told reporters that he was “very proud of the job that this
group of young people, generally young people, but very smart people, they’re
doing.

“They’re doing it at my insistence,” he added. “It would be a lot easier not to do
it, but we have to take some of these things apart to find the corruption.”

Even as Mr. Musk’s team members upend the government, their identities have
been closely held, emerging only piecemeal when the new arrivals press career
officials for information and access to agency systems.

The opacity with which they are operating is highly unusual for those working in
government. Aside from those conducting classified or intelligence work, the
names of public employees are not generally kept secret.

Harrison Fields, a White House spokesman, said the cost-cutting team has gone
through the same vetting as other federal employees, but declined to say what
the vetting consisted of or whether Mr. Musk’s aides have security clearances.

The Times identified members of Mr. Musk’s initiative through internal emails
identifying their roles and interviews with employees across the government
who have interacted with them. None of the Musk aides responded to requests
for comment.
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The secrecy, Musk allies have said, is necessary so the team members do not
become targets.

Several of Mr. Musk’s aides have resisted being listed in government databases
out of fear of their names leaking out, according to people familiar with the
situation. Others have worked to remove information about themselves from the
internet, scrubbing résumés and social media accounts.

When their names have been made public by news organizations such as Wired,
they have been scrutinized by online sleuths. Mr. Musk has asserted, falsely, that
the exposure of their roles is a “crime,” and X has removed some posts and
issued suspensions to those who publicize their identities.

One Musk aide whose name surfaced, Marko Elez, a 25-year-old former
employee of X, resigned on Thursday, according to a White House official, after
The Wall Street Journal revealed that he had made racist posts on X, writing in
one message that “you could not pay me to marry outside of my ethnicity.” Mr.
Elez, a former employee at both X and xAI, Mr. Musk’s artificial intelligence
company, was one of two staff members affiliated with Mr. Musk’s team who had
gained access to the Treasury Department’s closely held payment system.

Mr. Elez was among those who had been invited to attend Mr. Musk’s meeting
with the vice president before he resigned, according to documents seen by The
Times. On Friday, Mr. Musk called for The Journal reporter to be fired and said
he was reinstating Mr. Elez, a move that both the president and the vice
president said they supported. “We shouldn’t reward journalists who try to
destroy people,” Mr. Vance posted on X.

A spokesman for Mr. Vance declined to comment.


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Some of Mr. Musk’s top advisers are more seasoned. Senior players include Brad
Smith, a health care entrepreneur and an official during President Trump’s first
term; Amy Gleason, a former U.S. Digital Service official who has been helping
at the Centers for Medicare and Medicaid Services; and Chris Young, a top
Republican field operative whom Mr. Musk hired as a political adviser last year.
Others bring extensive private sector backgrounds, including from firms like
McKinsey and Morgan Stanley.




            Brad Smith, left, was a health care official during President Trump’s first term and now
            is counted among the top advisers to Mr. Musk. Doug Mills/The New York Times



But Washington is a town where much is run by twentysomethings. And much of
Mr. Musk’s handiwork — gutting federal websites, demanding access to internal
systems, sending late-night all-staff emails and asking veteran employees to
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justify their jobs — is being executed by young aides, some of them pulling all-
nighters as they burrow into agencies.

Last week, young representatives of Mr. Musk’s team with backpacks stuffed
with a half-dozen laptops and phones arrived at the headquarters of U.S.A.I.D.,
demanding access to financial and personnel records. On Friday, a dozen stayed
into the night, powered by a bulk order of coffee. The next day, the agency’s
website went dark.

At the Education Department alone, as many as 16 team members are listed in
an employee directory, including Jehn Balajadia, who has effectively served as
Mr. Musk’s assistant for years.




                                                                      Jehn Balajadia, who has long worked
                                                                      for Mr. Musk, is now listed in the
                                                                      Education Department’s employee
                                                                      directory.
                                                                      Patrick T. Fallon/Bloomberg




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At the Office of Personnel Management, the nerve center of the federal
government’s human resources operation, a small group of coders on Mr. Musk’s
team sometimes sleep in the building overnight. They survive on deliveries of
pizza, Mountain Dew, Red Bull and Doritos, working what Mr. Musk has
described as 120-hour weeks.

At the General Services Administration, another central hub for Mr. Musk’s
aides, beds have been installed on the sixth floor, with a security guard keeping
people from entering the area.

While most senior employees wear suits, the aides favor jeans, sneakers and T-
shirts, sometimes under a blazer, with one sporting a navy-blue baseball cap
with white lettering reading “DOGE.”

The culture clash is evident. Perhaps unsurprisingly, career employees who
have worked for decades in the government have bristled at taking orders from
the young newcomers. One coder has openly referred to federal workers as
“dinosaurs.” Some staff members at the personnel office, in turn, derisively call
the young men “Muskrats.”

As they assess the workings of the government, Mr. Musk’s aides have been
conducting 15-minute video interviews with federal workers. Some of their
questions have been pointed, such as querying employees about whom they
would choose to fire from their teams if they had to pick one person. At times,
the aides have not turned on their cameras or given their last names, feeding
suspicion.

In one video interview heard by The Times, a young team representative who
introduced himself by his first name said he was an “adviser” to government
leadership and a startup founder. He pressed the interviewee to describe their
contributions with “highest impact” and to list any technical “superpowers.”
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It is not always clear which employees are formally part of the team. Even the
putative head of the department, Steve Davis, a decades-long lieutenant of Mr.
Musk who has accompanied the billionaire on his meetings in Washington, has
not been formally announced.




            Steve Davis, right, has been a decades-long lieutenant of Mr. Musk and now seemingly
            has a leadership role in his Department of Government Efficiency. Patrick Fallon/Zuma, via
            Alamy




Many of Mr. Musk’s aides, including Mr. Davis, hold multiple roles
simultaneously, working for one of the team’s central hubs — the personnel
office or the General Services Administration — while also maintaining email
addresses and offices at other agencies.



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Luke Farritor, who won the award for using artificial intelligence to decipher an
ancient scroll, joined Mr. Musk’s initiative after dropping out of the University of
Nebraska-Lincoln to pursue a fellowship funded by the billionaire PayPal
founder Peter Thiel. A former SpaceX intern, Mr. Farritor, in preparation to join
the team, started learning COBOL, a coding language considered retrograde in
Silicon Valley but common in government.




                                                                      Luke Farritor, a former University of
                                                                      Nebraska-Lincoln student and
                                                                      SpaceX intern, is one of many of Mr.
                                                                      Musk’s aides who hold multiple roles
                                                                      simultaneously, working for one of
                                                                      the team’s central hubs while also
                                                                      maintaining email addresses and
                                                                      offices at other agencies.
                                                                      University of Nebraska-Lincoln




He and Rachel Riley, a former McKinsey consultant who works closely with Mr.
Smith, are now both listed as employees in the Office of the Secretary at the
Department of Health and Human Services. This week, they requested access to
payment systems at the Medicare agency, according to a document seen by The
Times.




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Mr. Farritor, who also has email accounts at the General Services
Administration, the Education Department and the Centers for Disease Control
and Prevention, was at the Energy Department on Wednesday, and has told
others that he is getting deployed to additional agencies. He is one of about a
half-dozen aides who are holed up in a corner around the G.S.A. administrator’s
offices, interviewing tech staff members about their work.




            The General Services Administration has served as a central hub for Mr. Musk’s aides,
            with beds installed on the sixth floor and a security guard to keep people from
            entering. Graeme Sloan/Sipa, via AP Images



Other figures often on hand include Ethan Shaotran and Edward Coristine, who
have been accompanying a top Musk ally, Thomas Shedd, who oversees the
agency’s tech division. Mr. Shaotran, a 22-year-old Harvard student, was part of
a team that was the runner-up in a hackathon competition run by xAI last year.
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Mr. Coristine, 19, graduated from high school in Rye, N.Y., last year, according to
a school magazine that noted his outstanding performance on the Advanced
Placement exams. Nowadays, he has an email address at the Education
Department.

Before joining the government, Mr. Coristine was fired in June 2022 from an
internship at Path, an Arizona-based data security company, after “an internal
investigation into the leaking of proprietary company information that coincided
with his tenure,” the company said in a statement Friday.

One Musk acolyte has leaned into his new status as a Washington celebrity.

Gavin Kliger, a newly minted senior adviser at the personnel office, wrote a
Substack post this week titled “Why DOGE: Why I gave up a seven-figure salary
to save America” — and asked users to pay a $1,000-per-month subscription fee
to read it.

The post behind the paywall appeared to have been left intentionally blank,
according to users who saw it.

Mr. Kliger, 25, a software engineer, amplified a message posted on X in
December by Nick Fuentes, one of the country’s most prominent young white
supremacists, which mocked those who celebrate their interracial families. The
post was removed from Mr. Kliger’s page after The Times inquired about it. He
did not respond to requests for comment.

Mr. Kliger and Mr. Farritor were among those who obtained access to U.S.A.I.D.
websites and tried to get into a secure area at the agency before being turned
away by security last week, according to people familiar with the matter. After



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midnight on Monday, Mr. Kliger sent an email from a U.S.A.I.D. email account
informing thousands of staff members that the agency’s headquarters would be
closed.

On X, Mr. Kliger has defended cuts to the agency. He also responded to one
person who criticized him as “one of the men carrying out Musk’s coup.”

“A ‘coup’ is when a duly elected president wins a democratic election and
delivers on campaign promises,” Mr. Kliger wrote on X on Monday. “Got it.”

Reporting was contributed by Maggie Haberman, Mattathias Schwartz, Edward Wong, Erica L. Green,
Madeleine Ngo, Zach Montague, Christopher Flavelle, Andrew Duehren, Brad Plumer, Kellen Browning
and Aric Toler. Kitty Bennett contributed research.

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Nicholas Nehamas is a Times political reporter covering the presidential campaign of Vice President
Kamala Harris. More about Nicholas Nehamas

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Ryan Mac covers corporate accountability across the global technology industry. More about Ryan Mac


A version of this article appears in print on , Section A, Page 1 of the New York edition with the headline: Young Enforcers Carry Out
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Treasury Official Quits After Resisting
Musk’s Requests on Payments
Elon Musk’s cost-cutting team sought access to the government’s vast payment
system, part of its bid to choke off federal funding.



By Andrew Duehren, Alan Rappeport, Theodore Schleifer, Jonathan Swan and Maggie Haberman
Reporting from Washington
Jan. 31, 2025



The Trump administration pushed out a top Treasury Department official this
week after he refused to give Elon Musk’s cost-cutting team access to the
government’s vast payment system, part of a bid by the so-called Department of
Government Efficiency to choke off federal funding.

David Lebryk, a career civil servant who oversaw the more than one billion
payments that the federal government makes every year, was placed on
administrative leave this week after resisting requests from Mr. Musk’s
lieutenants, according to people familiar with the circumstances, who spoke on
the condition of anonymity to describe sensitive internal dynamics.

On Friday, Mr. Lebryk — who had briefly served as acting Treasury secretary
until the confirmation of Scott Bessent this week — told colleagues that he would
retire after more than 35 years of working for the government.

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Treasury Official Quits After Resisting Musk’s Requests on Payments - The New York Times   2/17/25, 4:24 PM




Mr. Lebryk’s abrupt departure raises questions about whether Mr. Musk will
now gain control of the payment system — and, if so, how he could use it. His
exit also underscores the extraordinary amount of power that Mr. Musk, whose
current employment status inside the federal government remains unclear, is
accumulating at the opening of the second Trump administration.

Mr. Musk, a billionaire, has dispatched aides across the bureaucracy to try to
radically reduce spending. He has told Trump administration officials that he
aims to take control of the Treasury computers used to complete payments in
order to identify fraud and abuse, according to three people familiar with his
remarks.

The Treasury Department executes payments on behalf of agencies across the
government, disbursing $5.4 trillion, or 88 percent of all federal payments, in the
last fiscal year. The system is run out of the Bureau of the Fiscal Service, a little-
known but critical office that is responsible for getting money to Social Security
recipients, government employees, contractors and others.

Former Treasury officials said they were not aware of a political appointee ever
seeking access to details of the payment system, which includes reams of
sensitive personal information about American citizens. Control of the system
could give Mr. Musk’s allies the ability to unilaterally cut off money intended for
federal workers, bondholders and companies, and open a new front in the Trump
administration’s efforts to halt federal payments.

“The fiscal service performs some of the most vital functions in government,”
Mr. Lebryk wrote to his colleagues in an email announcing his retirement on
Friday, according to a copy of the email viewed by The New York Times. “Our
work may be unknown to most of the public, but that doesn’t mean it isn’t
exceptionally important.” He did not respond to requests for comment.
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The White House and a representative of Mr. Musk’s Department of
Government Efficiency did not return requests for comment.

A spokesman for the Treasury Department declined to comment.

The departure of Mr. Lebryk, which was reported earlier by The Washington
Post, and the potential for interference with the nation’s payment systems comes
at a precarious moment for the U.S. economy. The Treasury Department had to
begin using so-called extraordinary measures last week to prevent a
government default after a suspension of the debt limit expired. The ability to
use those accounting tools could expire as soon as this summer, and it will be
critical for the department to accurately track federal expenditures.

Mr. Musk has told senior administration officials that he believes the federal
government is sending out hundreds of billions to people who either do not exist
or are fraudsters, according to people familiar with his remarks. The
Government Accountability Office estimated in a report that the government
made $236 billion in improper payments — three-quarters of which were
overpayments — across 71 federal programs during the 2023 fiscal year.

Mr. Musk has been fixated on the Treasury system as a key to cutting federal
spending. Representatives from his government efficiency initiative began
asking Mr. Lebryk about source code information related to the nation’s
payment system during the presidential transition in December, according to
three people familiar with the conversations.

Mr. Lebryk raised the request to Treasury officials at the time, noting that it was
the type of proprietary information that should not be shared with people who
did not work for the federal government. Members of the departing Biden


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administration were alarmed by the request, according to people familiar with
their thinking. The people making the requests were on the Trump landing team
at the Treasury Department, according to a current White House official.

The inquiries into the Treasury Department’s payment processes have been led
by the Musk allies Baris Akis and Tom Krause. Mr. Akis, a relative newcomer to
Mr. Musk’s circle, is a venture capitalist who during the transition has focused on
the Treasury and the Internal Revenue Service.

Last weekend, Mr. Krause, the chief executive of a Silicon Valley company, Cloud
Software Group, again pressed Mr. Lebryk for access to the system, according to
two people familiar with the request. Mr. Lebryk declined, the people said.

Mr. Akis and Mr. Krause did not respond to requests for comment.

After the request, Mr. Lebryk sought meetings with Mr. Bessent, the agency’s
new secretary, and the Treasury Department’s new chief of staff, Dan Katz, to
discuss the situation, according to the people familiar with the matter.

After meetings with Mr. Katz and Mr. Bessent, Mr. Lebryk was placed on
administrative leave, two people said. Other career officials will oversee the
payment processes after Mr. Lebryk’s departure.

“For many years, Dave Lebryk’s leadership has helped to make our payment
systems reliable and trusted at home and abroad,” said Jacob Lew, a Treasury
secretary under President Barack Obama. “The American people should not
have to worry about political interference when it comes to receiving Social
Security and other payments the fiscal service makes.”

Mr. Akis has made similar inquiries at the I.R.S. about its information technology
as part of an effort to automate tax collection, according to people familiar with
the matter. During the transition, Mr. Akis asked to visit a major fiscal service
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center in Kansas City, but was rejected by agency officials, one of the people
said.

It is not clear if Mr. Akis has an official government role.

Mr. Krause is now working at the Treasury Department and has an employee
badge, according to three people familiar with the matter. Mr. Krause has also
led interviews of current U.S. Digital Service employees, many of whom are
expecting to be laid off after the technology unit was renamed the U.S. DOGE
Service.

The decision by Mr. Musk’s efficiency team to integrate into the federal
government, rather than set up an outside body, has been driven by its view that
burrowing into the existing U.S. Digital Service will give it greater visibility into
federal spending. That, Mr. Musk’s team believes, could give it the ability to take
drastic action over spending by giving it access to computer systems across the
government.

During last year’s presidential campaign, Mr. Musk pledged to secure about $2
trillion in spending cuts. More recently, he has halved that goal. On Thursday
evening, Mr. Musk claimed on X that cutting $1 trillion “would mean no inflation”
because of anticipated economic growth. “Super big deal,” he said.

Andrew Duehren covers tax policy for The Times from Washington. More about Andrew Duehren

Alan Rappeport is an economic policy reporter, based in Washington. He covers the Treasury Department
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Theodore Schleifer is a Times reporter covering billionaires and their impact on the world. More about
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Maggie Haberman is a White House correspondent, reporting on the second, nonconsecutive term
of Donald J. Trump. More about Maggie Haberman


A version of this article appears in print on , Section A, Page 13 of the New York edition with the headline: Official Leaving After
Refusing Access To Musk on Treasury Payment System




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                                     BY FATIMA HUSSEIN
                                     Updated 5:18 PM EST, February 6, 2025




                      WASHINGTON (AP) — Officials working with Elon Musk’s Department of Government Efficiency sought
                      access to the U.S. Department of Treasury payment system to stop money from flowing to the U.S. Agency
                      for International Development, according to two people familiar with the matter.

                      DOGE’s efforts to stop USAID payments undermine assurances that the department gave to federal
                      lawmakers in a Tuesday letter that it sought only to review the integrity of the payments and had “read-only
                      access” to the system as part of an audit process.

                      The two people familiar with the matter spoke Thursday to The Associated Press on condition of anonymity
                      for fear of retaliation.

                      The actions by DOGE, a Trump administration effort to find ways to reduce the federal workforce, cut
                      programs and slash federal regulations, have raised concerns among civil servants, Democratic lawmakers
                      and others that Musk’s team is withholding funds appropriated by Congress to suit the president’s political
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                     USAID, a federal agency charged with delivering humanitarian assistance overseas, has been a particular
                     target of President Donald Trump and Musk, both of whom have argued that much of the agency’s spending
                     is wasteful. Supporters of the agency, however, say that it is essential for national security, helping counter
                     Russian and Chinese influence while providing humanitarian assistance across the globe.



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                     Judge orders Trump administration to temporarily allow USAID funds




                     Groups representing federal workers file suit to stop Trump's shutdown of USAID



                     A judge on Thursday sided with advocates and federal workers unions who sought to stop the department
                     from giving DOGE and Musk access to the payment systems. U.S. District Judge Colleen Kollar-Kotelly
                     restricted DOGE’s read-only access to Tom Krause, a software CEO, and Marko Elez, who reported to Krause
                     but has since left his role at Treasury. The White House did not immediately respond to a request for
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                     comment.

                     The Treasury Department’s Fiscal Service conducts over 1.2 billion transactions annually and accounts for
                     90% of federal disbursements, including for Social Security and Medicare.

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                     Krause, who is listed online as the CEO of Cloud Software Group, works at the department as a special
                     government employee and is subject to less stringent rules on ethics and financial disclosures than other
                     federal workers.

                     The department’s acting deputy secretary, David Lebryk, retired after more than 30 years of service when
                     Krause and DOGE requested access to sensitive data, the two people told The AP.

                     Trump ordered a funding freeze at USAID his first day in office, saying, “the United States foreign aid
                     industry” was “not aligned with American interests.” The funding freeze and subsequent stop-work orders
                     shuttered most U.S. programs, which are worth billions of dollars and are in more than 100 countries.

                     While the funding freeze is supposed to last for as little as 90 days, aid workers say the damage done to aid
                     work globally would require extensive investment and rebuilding to mend. Musk has tweeted repeated
                     criticisms and unsubstantiated accusations about USAID as his DOGE crew dismantles much of the agency.

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                     “Spent the weekend feeding USAID into the wood chipper,” Musk tweeted early this week.

                     The news that the department was trying to stop foreign aid payments was first reported by The New York
                     Times.



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                     Associated Press writers Ellen Knickmeyer and Lindsay Whitehurst contributed reporting from Washington.
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                                FATIMA HUSSEIN
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                                  FATIMA HUSSEIN
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                                  and any issue that relates to money.




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Treasury Sought to Freeze Foreign
Aid Payments, Emails Show
Trump administration appointees and allies of Elon Musk wanted to use the
Treasury’s sensitive payment system to block disbursements.

                                      By Andrew Duehren, Alan Rappeport and Theodore Schleifer

Feb. 6, 2025



In the days after President Trump took office, as Elon Musk’s team began
pressing for access to the Treasury Department’s payments system, officials
repeatedly said that their goal was to undertake a general review of the system.
They said they would observe, but not stop money from going out the door.

But emails reviewed by The New York Times show that the Treasury’s chief of
staff originally pushed for Tom Krause, a software executive affiliated with Mr.
Musk’s so-called Department of Government Efficiency, to receive access to the
closely held payment system so that the Treasury could freeze disbursements to
the U.S. Agency for International Development.

In a Jan. 24 email to a small group of Treasury officials, the chief of staff, Dan
Katz, wrote that Mr. Krause and his team needed access to the system so they
could pause U.S.A.I.D. payments and comply with Mr. Trump’s Jan. 20 executive
order to halt foreign aid.


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“To the extent permitted by law, we would like to implement the pause as soon
as possible in order to ensure that we are doing our role to comply with the E.O.,”
Mr. Katz wrote.

The emails viewed by The Times undercut the Treasury’s explanation for why
Mr. Krause and his team had been given access to the payment system last
week. That system disburses more than $5 trillion in funding on behalf of much
of the federal government.

The department, now led by Secretary Scott Bessent, has said that Mr. Krause, a
Treasury staff member, and his team are conducting an “operational efficiency
assessment” that does not involve blocking agency payments.

The possibility of systems at the Treasury’s little-known Bureau of the Fiscal
Service being used to stop congressionally authorized spending has stoked
alarm among Democrats, who have called for investigations and led protests at
the Treasury building.

David Lebryk, formerly the top career official at the Treasury, rebuffed the
request to grant access and pause the aid payments.

“I don’t believe we have the legal authority to stop an authorized payment
certified by an agency,” he wrote to the group on Jan. 24. Mr. Lebryk, who had
been a federal employee for more than 35 years, was pushed out of his job days
later for refusing to give Mr. Krause access to the system. Late on Jan. 31, a
Friday, Mr. Bessent authorized entry for a team led by Mr. Krause after Mr.
Lebryk’s departure.

On Jan. 25, Mr. Krause responded to Mr. Lebryk and said the department should
also weigh the legal consequences of the Treasury’s disbursing payments in
violation of the executive order.
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“I think this deserves serious consideration as well. I believe we can all feel
more comfortable that we hold payment at least to review the underlying
payment requests from U.S.A.I.D. now so that we can be given time to consult
State,” Mr. Krause wrote, referring to the State Department.

The Trump administration has said the access for Mr. Krause and his team is
limited. On Tuesday, the Treasury Department sent a letter to Congress stating
that “currently,” Mr. Krause and his team “will have read-only access, ” meaning
they could not change anything. After public sector unions sued over the issue, a
Justice Department lawyer said in court on Wednesday that only Mr. Krause and
Marko Elez, another Treasury employee, had been given access to information
in the system, which they had not shared outside the Treasury.

Mr. Elez, a former employee of Mr. Musk’s at both X and xAI, resigned on
Thursday, according to a White House official, after The Wall Street Journal
revealed that he had made racist posts on X.com. Mr. Elez did not return
requests for comment.

Mr. Elez, was one of several staffers that Mr. Musk’s team planned to install at
the Treasury. They also include Mr. Krause, a well-established Silicon Valley
software executive; Aram Moghaddassi, who has worked for both X and Mr.
Musk’s Neuralink; and Michael Russo, a Silicon Valley executive who has since
been named chief information officer of the Social Security Administration.

Mr. Bessent, in an interview on Wednesday with Larry Kudlow on the Fox
Business Network, defended the Musk initiative’s work and dismissed the
suggestion that the Treasury’s payment system had been compromised.

“Our payment system is not being touched,” he said, adding that the Treasury
was studying how to improve accountability, accuracy and the ability to trace
where money is going. Mr. Bessent said that any stoppage of payments would
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happen “upstream,” within agencies.

Mr. Bessent also described Mr. Musk as the greatest entrepreneur of his
generation and said that the backlash over his actions was happening because
he was shaking up the federal bureaucracy.

“They are moving a lot of people’s cheese here in the capital,” Mr. Bessent said.
“And when you hear you hear this squawking, then some status quo interest is
not happy.”

The push for access to the Treasury system came as the Trump administration
moved to dismantle U.S.A.I.D., the government’s lead agency for providing
humanitarian assistance globally. Much of the agency’s work force will be put on
leave this week, and contracts have been halted.

Agencies across the government send files of sensitive data to the Bureau of the
Fiscal Service, directing it to send money to individual Americans, contractors
or state governments. Treasury officials conduct a final round of checks on the
files, including by scanning them to see if any recipients are barred from
receiving government funds, before authorizing the payments, which are then
made by the Federal Reserve.

Because the process includes sensitive information about Americans, such as
bank account numbers, a relatively small number of Treasury officials are
typically involved.

Democrats have questioned whether Mr. Musk’s team in fact has only “read-
only” access to the payment system. In a post on X, Senator Sheldon
Whitehouse, a Rhode Island Democrat, wrote that Mr. Musk’s team could
“manipulate data, steal data, and leave back doors. Your privacy gone.”

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“The intern running Sheldon’s social media account seems very upset,” Mr.
Musk responded, adding a crying laugh emoji.

On Thursday, before news of Mr. Elez’s resignation, Judge Colleen Kollar-Kotelly
of the Federal District Court in Washington issued a temporary restraining order
in a suit challenging his and Mr. Krause’s access to the system. The agreement
with the Justice Department allowed Mr. Elez and Mr. Krause to have access to
the system but barring them from disclosing it to anyone outside of the Treasury
Department, including Mr. Musk.

Charlie Savage contributed reporting.

Andrew Duehren covers tax policy for The Times from Washington. More about Andrew Duehren

Alan Rappeport is an economic policy reporter, based in Washington. He covers the Treasury Department
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A version of this article appears in print on , Section A, Page 19 of the New York edition with the headline: Treasury Officials Sought
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Elon Musk’s Team Now Has Access to Treasury’s Payments System - The New York Times           2/17/25, 4:31 PM




Elon Musk’s Team Now Has Access
to Treasury’s Payments System
Treasury Secretary Scott Bessent gave Mr. Musk’s representatives at the so-
called Department of Government Efficiency a powerful tool to monitor and
potentially limit government spending.



By Andrew Duehren, Maggie Haberman, Theodore Schleifer and Alan Rappeport
Feb. 1, 2025



Treasury Secretary Scott Bessent gave representatives of the so-called
Department of Government Efficiency access to the federal payment system
late on Friday, according to five people familiar with the change, handing Elon
Musk and the team he is leading a powerful tool to monitor and potentially limit
government spending.

The new authority follows a standoff this week with a top Treasury official who
had resisted allowing Mr. Musk’s lieutenants into the department’s payment
system, which sends out money on behalf of the entire federal government. The
official, a career civil servant named David Lebryk, was put on leave and then
suddenly retired on Friday after the dispute, according to people familiar with
his exit.



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The system could give the Trump administration another mechanism to attempt
to unilaterally restrict disbursement of money approved for specific purposes by
Congress, a push that has faced legal roadblocks.

Mr. Musk, who has been given wide latitude by President Trump to find ways to
slash government spending, has recently fixated on Treasury’s payment
processes, criticizing the department in a social media post on Saturday for not
rejecting more payments as fraudulent or improper.

The Musk allies who have been granted access to the payment system were
made Treasury employees, passed government background checks and obtained
the necessary security clearances, according to two people familiar with the
situation, who requested anonymity to discuss internal arrangements. While
their access was approved, the Musk representatives have yet to gain
operational capabilities and no government payments have been blocked, the
people said.

Mr. Musk’s initiative is intended to be part of a broader review of the payments
system to allow improper payments to be scrutinized and is not an effort to
arbitrarily block individual payments, the people familiar with the matter said.
Career Treasury Department attorneys signed off on granting the access, they
added, and any changes to the system would go through a review process and
testing.

The Department of Government Efficiency, or DOGE, is not a government
department, but a team within the administration. It was put together at Mr.
Trump’s direction by Mr. Musk to fan out across federal agencies seeking ways
to cut spending, reduce the size of the federal work force and bring more
efficiency to the bureaucracy. Most of those working on the initiative were
recruited by Mr. Musk and his aides.
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Similar DOGE teams have begun demanding access to data and systems at
other federal agencies, but none of those agencies control the flow of money in
the way the Treasury Department does.

One of the people affiliated with DOGE who now has access to the payment
system is Tom Krause, the chief executive of a Silicon Valley company, Cloud
Software Group, according to one of the people familiar with the situation .

Last weekend, Mr. Krause had pushed Mr. Lebryk for entry into the system. Mr.
Lebryk refused and then was subsequently put on administrative leave,
according to people familiar with the matter.

A Treasury Department spokesman, a spokeswoman for DOGE and the White
House did not respond to requests for comment.

In a process typically run by civil servants, the Treasury Department carries out
payments submitted by agencies across the government, disbursing more than
$5 trillion in fiscal year 2023. Access to the system has historically been closely
held because it includes sensitive personal information about the millions of
Americans who receive Social Security checks, tax refunds and other payments
from the federal government.

Former officials said the onus was on individual agencies to ensure their
payments are proper, not the relatively small staff at the Treasury Department,
which is responsible for making more than one billion payments per year.

Mr. Lebryk, the career Treasury official who retired on Friday, had resisted
requests from members of Mr. Trump’s transition team for access to the data last
month. After Mr. Trump took office, the White House indicated that he should be
removed from the job and, according to a person familiar with the matter, Mr.
Bessent suggested putting him on leave.
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Democrats raised alarm this week that the Trump administration and Mr.
Bessent, who was just confirmed by the Senate this week, were compromising
the federal government’s payments system.

“To put it bluntly, these payment systems simply cannot fail, and any politically
motivated meddling in them risks severe damage to our country and the
economy,” Senator Ron Wyden of Oregon, the top Democrat on the Senate
Finance Committee, wrote in a letter to Mr. Bessent on Friday. “I can think of no
good reason why political operators who have demonstrated a blatant disregard
for the law would need access to these sensitive, mission-critical systems.”

On Saturday, Mr. Wyden expressed concern that access to the payment system
had been granted and pointed out Mr. Musk — a billionaire with a vast portfolio
— has potential conflicts of interest.

“Social Security and Medicare benefits, grants, payments to government
contractors, including those that compete directly with Musk’s own companies.
All of it,” he wrote on social media.

During the transition, Mr. Musk vocally opposed Mr. Bessent being picked as Mr.
Trump’s Treasury secretary. Mr. Musk, then just an empowered adviser to Mr.
Trump, went public with his opinion that he preferred Howard Lutnick, a Wall
Street executive, for the role because Mr. Bessent was “a business-as-usual
choice.” Mr. Lutnick became Mr. Trump’s choice for Commerce secretary.

Andrew Duehren covers tax policy for The Times from Washington. More about Andrew Duehren

Maggie Haberman is a White House correspondent, reporting on the second, nonconsecutive term
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Elon Musk’s Team Now Has Access to Treasury’s Payments System - The New York Times                                       2/17/25, 4:31 PM



Alan Rappeport is an economic policy reporter, based in Washington. He covers the Treasury Department
and writes about taxes, trade and fiscal matters. More about Alan Rappeport


A version of this article appears in print on , Section A, Page 18 of the New York edition with the headline: Musk’s Efficiency Team
Gains Full Access to Treasury’s Federal Payments System




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     POLITICS DONALD TRUMP ELON MUSK UNITED STATES DEPARTMENT OF THE TREASURY



     DOGE Aide Has Full Access To The Top
     Government Payment System: Reports
     The system is responsible for trillions in government payments annually.

             By Matt Shuham

     Feb 4, 2025, 01:28 PM EST


                                 928 COMMENTS




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An aide to Elon Musk has administrative privileges in the Treasury
Department’s payment system, according to two separate news reports
— something the White House has denied.


Musk is in charge of the so-called Department of Government Efficiency,
or DOGE, which is a “temporary organization” President Donald Trump
created via executive order rather than an official department.


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Within the organization, a coterie of young aides with no government
background have glommed onto a number of key choke points in the
federal government, including the Office of Personnel Management, the
General Services Administration and the Treasury Department. The
offices, respectively, are responsible for the federal government’s
workforce, its real estate, and its payment of a wide variety of funds,
including Social Security benefits and tax returns.                                                 Enlarged Prostate Has Nothing To Do
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The career civil servant who oversaw the Treasury Department’s
sensitive payment system recently retired after being put on
administrative leave; he had unsuccessfully tried to resist DOGE’s efforts
to gain access. Musk aides have since gained access to the system, but
White House press secretary Karoline Leavitt insisted to The New York
Times it was “read only” — meaning they couldn’t actually make any
                                                                                                    Marco Rubio Tells       JFK's Grandson
                                                                       000155
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changes to the system or to outgoing payments.                                                      Staff To 'Suspend'          Reacts To Donald
                                                                                                    Passport                    Trump's Planned
                                                                                                    Applications
                                                                                                    HuffPost US Politics With   Release
                                                                                                                                HuffPost       Of
                                                                                                                                         US Politics
But two new reports say otherwise.                                                                  'X' Gender Marker           Assassination Files

Wired reported early Tuesday that a 25-year-old Musk aide named
Marko Elez — an engineer who’d previously worked for Musk’s
companies X and SpaceX — had direct access to Treasury Department
               DOGE Aide Has Full Access To The Top Government Payment System: Reports
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systems responsible for “nearly all payments made by the US
government,” in the report’s words.
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Two unnamed sources told the publication that Elez had many                                                             Cat Trees Are Actually
administrator-level privileges, including the ability to write code on the                                              Really Important For Cats'
                                                                                                                        Well-Being, According To A
Payment Automation Manager and the Secure Payment System.                                                               Behaviorist


Between them, PAM and SPS are responsible for actual payment of
money through the Federal Disbursement Services, which is housed
                                                                                                                        34 Things You Can Buy
within the Treasury Department’s Bureau of the Fiscal Service. Federal                                                  Online For Problems You'd
Disbursement Services paid out $5.45 trillion in fiscal year 2024.                                                      Rather Not Broadcast


“You could do anything with these privileges,” one unnamed source with
knowledge of the system told Wired. Someone with the level of access                                                    This Backpack Has A
                                                                                                                        Secret Feature — And It’s
Elez has would typically be able to change user permissions or delete or
                                                                                                                        The TSA Hack You Never
modify files, according to the report.                                                                                  Knew You Needed


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Josh Marshall of Talking Points Memo confirmed Wired’s reporting,
writing that Elez not only had admin privileges but “has already made
extensive changes” to the code base for the payments systems. The
changes appeared to be related to potentially blocking payments and
potentially leaving less visibility into what has been blocked.


Elez received full admin-level access Friday, according to the report. He
                                                                                                                              1,847
has been working with some existing programming and engineering
                                                                                                         Comments posted on HuffPost today
staff at the department who appeared to want to prevent damage to the
systems, according to the report.                                                                                         Comment




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“Phrases like ‘freaking out’ are, not surprisingly, used to describe the
reaction of the engineers who were responsible for maintaining the
code base until a week ago,” Marshall wrote.

                                                                       000157
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Neither the Treasury Department nor Leavitt immediately responded to
HuffPost’s questions about the reports.


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          A 25-Year-Old With Elon Musk Ties
          Has Direct Access to the Federal
          Payment System
          The Bureau of the Fiscal Service is a sleepy part of the Treasury
          Department. It’s also where, sources say, a 25-year-old engineer
          tied to Elon Musk has admin privileges over the code that controls
          Social Security payments, tax returns, and more.




                                                                        000159
https://www.wired.com/story/elon-musk-associate-bfs-federal-payment-system/                                     Page 1 of 9
A 25-Year-Old With Elon Musk Ties Has Direct Access to the Federal Payment System | WIRED   2/17/25, 4:44 PM




          PHOTOGRAPH: BILL OXFORD/GETTY IMAGES




          A 25-year-old engineer named Marko Elez, who previously worked for two
          Elon Musk companies, has direct access to Treasury Department systems
          responsible for nearly all payments made by the US government, three
          sources tell WIRED.

          Two of those sources say that Elez’s privileges include the ability not just to
          read but to write code on two of the most sensitive systems in the US
          government: the Payment Automation Manager and Secure Payment
          System at the Bureau of the Fiscal Service (BFS). Housed on a secure
          mainframe, these systems control, on a granular level, government
          payments that in their totality amount to more than a fifth of the US
          economy.

          Despite reporting that suggests that Musk’s so-called Department of
          Government Efficiency (DOGE) task force has access to these Treasury
          systems on a “read-only” level, sources say Elez, who has visited a Kansas
          City office housing BFS systems, has many administrator-level privileges.
          Typically, those admin privileges could give someone the power to log in to
          servers through secure shell access, navigate the entire file system, change
          user permissions, and delete or modify critical files. That could allow
          someone to bypass the security measures of, and potentially cause
          irreversible changes to, the very systems they have access to.

          “You could do anything with these privileges,” says one source with
          knowledge of the system, who adds that they cannot conceive of a reason
          that anyone would need them for purposes of simply hunting down
          fraudulent payments or analyzing disbursement flow.

                                                                        000160
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A 25-Year-Old With Elon Musk Ties Has Direct Access to the Federal Payment System | WIRED   2/17/25, 4:44 PM




          "Technically I don't see why this couldn't happen," a federal IT worker tells
          WIRED in a phone call late on Monday night, referring to the possibility of a
          DOGE employee being granted elevated access to a government server. "If
          you would have asked me a week ago, I'd have told you that this kind of
          thing would never in a million years happen. But now, who the fuck knows."

          A source says they are concerned that data could be passed from secure
          systems to DOGE operatives within the General Services Administration.
          WIRED reporting has shown that Elon Musk’s associates—including Nicole
          Hollander, who slept in Twitter’s offices as Musk acquired the company, and
          Thomas Shedd, a former Tesla engineer who now runs a GSA agency, along
          with a host of extremely young and inexperienced engineers—have
          infiltrated the GSA and have attempted to use White House security
          credentials to gain access to GSA tech, something experts have said is highly
          unusual and poses a huge security risk.

          Elez, according to public databases and other records reviewed by WIRED,
          is a 25-year-old who graduated Rutgers University in 2021 and
          subsequently worked at SpaceX, Musk’s space company, where he focused
          on vehicle telemetry, starship software, and satellite software. Elez then
          joined X, Musk’s social media company, where he worked on search AI.
          Public Github repositories show years of software development, with a
          particular interest in distributed systems, recommendation engines, and
          machine learning. He does not appear to have prior government
          experience.

          Elez did not immediately respond to a request for comment. The White
          House and Musk did not immediately respond to requests for comment.




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          Got a Tip?

          Are you a current or former employee at the Treasury or Bureau of the
          Fiscal Service? Or other government tech worker? We'd like to hear from
          you. Using a nonwork phone or computer, contact the reporters securely on
          Signal at velliott88.18, dmehro.89, leahfeiger.86, and timmarchman.01.




          Broadly speaking, the US government pays out money in one of two ways.
          Agencies like the Department of Defense and the US Postal Service are
          legally authorized to originate, certify, and issue payments on their own.
          The vast majority of payments, though—including federal tax returns, Social
          Security benefits, Supplemental Security Income benefits, and veteran’s pay
          —flow through the Federal Disbursement Services, which according to
          Treasury records paid out $5.45 trillion in fiscal year 2024. The Bureau of
          the Fiscal Service, a nonpartisan body, is charged with directing this money
          appropriately, moving it from government accounts to recipients. The
          Payment Automation Manager and the Secure Payment System are the
          mechanisms through which the money is paid out.

          Control of those mechanisms could allow someone to choke off money to
          specific federal agencies or even individuals, a fear that Democrats have
          expressed about DOGE. On Monday, Senate Democrats warned of DOGE’s
          encroachment into the payment system. “Will DOGE cut funding to
          programs approved by Congress that Donald Trump decides he doesn’t
          like,” said Senator Chuck Schumer of New York. “What about cancer
          research? Food banks? School lunches? Veterans aid? Literacy programs?
          Small business loans?”

          The fight over whether DOGE could access Treasury systems led to a
                                                                        000162
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          previously reported standoff between acting Treasury secretary David
          Lebryk and Musk’s associates. Lebryk was placed on administrative leave
          last week and subsequently resigned.

          “Lebryk’s resignation set an example,” a source tells WIRED. “Any idea of
          resistance or noncompliance seems to be fading in the wake of that, and
          everything I have heard from leadership suggests they intend to give the
          ‘DOGE’ operatives what they are asking for.”

          Updated, 2/4/2025, 11:45 AM EDT: WIRED has updated the article to clarify
          on which mainframe the systems are housed.




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Elon Musk says DOGE staffer who resigned for racist X posts will be brought back                                                 2/17/25, 4:45 PM




        JD VANCE

                                  Elon Musk says DOGE sta0er who resigned for
                                  racist X posts will be brought back
                                  Marko Elez resigned after The Wall Street Journal reported he had posted racist
                                  messages to X that included “normalize Indian hate.”




                 Elon Musk in the U.S. Capitol on Dec. 5, 2024.
           Tom Williams / CQ-Roll Call, Inc via Getty Images file




                 Feb. 7, 2025, 1:30 PM EST / Updated Feb. 7, 2025, 3:21 PM EST
                                                                           000164
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Elon Musk says DOGE staffer who resigned for racist X posts will be brought back                                                 2/17/25, 4:45 PM



                 By Jason Abbruzzese

                 Elon Musk said Friday that he will bring back a DOGE staD member who
                 resigned after it was found that he had previously made racist remarks
                 online.

                 "To err is human, to forgive divine," Musk said in a repost to X of a post from
                 Vice President JD Vance that also supported the staDer's reinstatement.

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                 The staD member, 25-year-old Marko Elez, resigned from the Department of
                 Government EQciency (DOGE) Thursday after The Wall Street Journal
                 reported that he had made comments online that included supporting racism
                 and eugenics. The White House conVrmed to NBC News that Elez had
                 resigned.

                 Earlier Friday, Vance said that he would support Elez's rehiring.

                 Vance made the comments on X, reposting a poll from DOGE head Elon
                                                                           000165
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                 Musk asking if the staD member should be brought back.

                 “I obviously disagree with some of Elez’s posts, but I don’t think stupid social
                 media activity should ruin a kid’s life,” Vance wrote. “We shouldn’t reward
                 journalists who try to destroy people. Ever.”

                 “So I say bring him back,” Vance continued. “If he’s a bad dude or a terrible
                 member of the team, Vre him for that.”


                 President Donald Trump, when asked about Vance’s response during a news
                 conference, said, “I’m with the vice president.”




                                  JD Vance
                                  @JDVance · Follow

                      Here’s my view:

                      I obviously disagree with some of Elez’s posts, but I don’t
                      think stupid social media activity should ruin a kid’s life.

                      We shouldn’t reward journalists who try to destroy people.
                      Ever.

                      So I say bring him back.

                      If he’s a bad dude or a terrible member of… Show more

                              Elon Musk                  @elonmusk
                         Bring back @DOGE staffer who made inappropriate statements via a
                         now deleted pseudonym?

                      11:26 AM · Feb 7, 2025

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                 A Vance spokesperson declined to elaborate on the VP's post.

                 The Wall Street Journal said it reviewed archived posts from a deleted X
                 account used by Elez in which he posted messages such as “Just for the
                 record, I was racist before it was cool” and, “You could not pay me to marry
                 outside of my ethnicity.” “Normalize Indian hate,” he wrote in another post.
                 NBC News has not seen or veriVed those posts.

                 The Journal reported that the posts were made by an account, @nullllptr,
                 that previously went by @marko_elez, and that the account said they were an
                 employee at SpaceX and Starlink, matching Elez’s experience posted on his
                 personal website.

                 A text message and phone call to a number associated with Elez were not
                 immediately returned, and he did not comment to the Journal.


                 The incident comes as Musk’s DOGE has embarked on a wide-ranging eDort
                 to slash the government’s workforce. The Trump administration has also
                 sought to eliminate roles focused on social justice initiatives.

                 Elez was one of a cadre of young Musk hires who joined DOGE as part of
                 what Musk has said is an eDort aimed at “dismantling the radical-left shadow
                 government.” That has included tech-focused personnel with no government
                 experience, some of whom have left behind considerable social media
                 footprints.


                 Gavin Kliger, another DOGE staDer, was reported by Rolling Stone to have
                 previously reposted content from Nick Fuentes, a white nationalist who has
                 dined with President Donald Trump.

                 Kliger did not immediately respond to requests for comment sent via
                                                                           000167
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                 LinkedIn and email.

                 Rep. Ro Khanna, D-Calif., posted on X asking Vance if he'd tell Elez to
                 apologize for his anti-Indian post, noting that both their families' children
                 share Indian heritage. Vance's wife, Usha, is the daughter of Indian
                 immigrants.




                 Vance Vred back on X, charactizing Elez as a "kid" and saying that Khanna
                 was engaging in "emotional blackmail pretending to be concern."
                                                                           000168
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                 "You disgust me," Vance wrote.




                                Jason Abbruzzese


                 Jason Abbruzzese is the assistant managing editor of tech and science for NBC News Digital.



                                Henry J. Gomez, Peter Alexander and Katherine Doyle contributed.




                                                                           000169
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   Elon Musk said Donald Trump
   agreed USAID needs to be ‘shut
   down’
   By Jennifer Hansler, Alex Marquardt and Lex Harvey, CNN
       5 minute read · Updated 7:48 AM EST, Mon February 3, 2025




                                                                         000170
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   Alex Marquardt reports two top USAID security o`cials on leave amid dispute over DOGE access
                                                                                                    03:18 - Source: CNN




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   (CNN) — Elon Musk said President Donald Trump agreed the US Agency for International
   Development needs to be “shut down,” following days of speculation over the future of the
   agency after its funding was frozen and dozens of its employees were put on leave.

   “With regards to the USAID stuY, I went over it with (the president) in detail and he agreed
   that we should shut it down,” Musk said in a X Spaces conversation early Monday.

   Musk said he checked with Trump “a few times” and Trump conﬁrmed he wants to shut
   down the agency, which dispenses billions in humanitarian aid and development funding
   annually. CNN has reached out to the White House and USAID for comment.

   Sunday evening, before the X Spaces conversation, when asked for comment on USAID,
   Trump told reporters: “It’s been run by a bunch of radical lunatics, and we’re getting them
   out, and then we’ll make a decision” on its future.
                                                                         000171
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   Musk’s comments come after two top security o`cials at USAID were put on administrative
   leave Saturday night for refusing members of the Department of Government E`ciency
   access to systems at the agency, even when DOGE personnel threatened to call law
   enforcement, multiple sources familiar with the situation told CNN.

   Around 60 senior USAID staY were put on leave last week on accusations of attempting to
   circumvent Trump’s executive order to freeze foreign aid for 90 days. Another senior o`cial
   was put on leave for trying to reverse that move after ﬁnding no evidence of wrongdoing.

   In the X Spaces conversation early Monday, which he co-hosted with Republican Sen. Joni
   Ernst of Iowa and Vivek Ramaswamy – who was initially named co-chair of DOGE with Musk
   but has since left – the X owner called USAID “incredibly politically partisan” and said it has
   been supporting “radically left causes throughout the world including things that are anti-
   American.”

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   Musk said USAID is “beyond repair,” among other attacks he made against the agency
   created by Congress as an independent body.

   We don’t have “an apple with a worm in it,” he said. “We have a ball of worms.”

   “USAID is a ball of worms.”

   USAID was established in 1961 under President John F. Kennedy’s administration and is the
   US government’s humanitarian arm. It dispenses billions of dollars annually across the world
   in an eYort to alleviate poverty, treat diseases, and respond to famines and natural disasters.
   It also promotes democracy building and development by supporting non-government
   organizations, independent media and social initiatives.

   USAID is a key soft power tool of the US to foster relations with communities around the
   world, o`cials say, noting that US national security is approached with the “three D” pillars:
   defense, diplomacy and development, led, respectively, by the Defense Department, State
                                                                         000172
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   Department and USAID.



   DOGE personnel gained access to USAID ﬁles,
   sources say
   According to sources, personnel from the Musk-created o`ce ﬁrst physically tried to access
   the USAID headquarters in Washington, DC, and were stopped. The DOGE personnel
   demanded to be let in and threatened to call US Marshals to be allowed access, two of the
   sources said.

   The DOGE personnel wanted to gain access to USAID security systems and personnel ﬁles,
   three sources said. Two of those sources also said the DOGE personnel wanted access to
   classiﬁed information, which only those with security clearances and a speciﬁc need to
   know are able to access.

   Three sources told CNN that in the end, the DOGE personnel were eventually able to access
   the headquarters.

   The incident, which had not been previously reported, is the latest showdown as the Trump-
   a`liated DOGE seeks to exert increasing authority over the federal government as it aims to
   slash spending.

   In a letter to Secretary of State Marco Rubio Sunday, Democratic members of the US Senate
   Foreign Relations Committee requested “an immediate update about the access of USAID’s
   headquarters, including whether the individuals who accessed the headquarters were
   authorized to be there and by whom.”

   “The potential access of sensitive, even classiﬁed, ﬁles, which may include the personally
   identiﬁable information (PII) of Americans working with USAID, and this incident as a whole,
   raises deep concerns about the protection and safeguarding of matters related to U.S.
   national security,” the letter said.

   The Senators also wrote that “any eYort to merge or fold USAID into the Department of State
   should be, and by law must be, previewed, discussed and approved by Congress.

   Katie Miller, whom Trump named to DOGE in000173
                                              December, on Sunday appeared to conﬁrm that
https://www.cnn.com/2025/02/02/politics/usaid-officials-leave-musk-doge/index.html           Page 4 of 13
Elon Musk said Donald Trump agreed USAID needs to be ‘shut down’ | CNN Politics                          2/17/25, 4:46 PM


   Katie Miller, whom Trump named to DOGE in December, on Sunday appeared to conﬁrm that
   DOGE personnel had accessed classiﬁed information.

   “No classiﬁed material was accessed without proper security clearances,” she posted on X.

   On Sunday, in response to CNN’s report about the incident, Musk said that “USAID is a
   criminal organization.”

   “Time for it to die,” he posted on X.

                               RELATED ARTICLE
                               USAID website goes offline amid Trump administration’s freeze on foreign aid




   Other top Trump o`cials, such as Stephen Miller, who serves as deputy chief of staY for
   policy at the White House, have also taken aim at USAID, accusing its workforce of being
   overwhelmingly Democrats.

   On Saturday, USAID’s website went dark and a new page for the agency appeared on the
   State Department website. USAID’s X account also went oline Saturday.

   A source told CNN that the entire USAID public aYairs o`ce was put on leave and locked out
   of their systems.

   Shortly after being sworn in last month, Trump issued a sweeping executive order pausing all
   foreign aid for 90 days, leading to widespread confusion, layoYs and program shutdowns.

   USAID Director of Security John Voorhees and his deputy are among dozens of USAID
   o`cials who have been put on leave amid fears that the agency is being intentionally
   dismantled — a move that some aid o`cials argue would have massive negative
   implications.

   Aid o`cials argue the State Department isn’t equipped to take over and sustain USAID’s vast
   number of development projects. It would also erase, they argue, unique and essential soft
   power that can’t be replicated.

                                            000174 the expertise, the training to do that kind
   The State Department doesn’t “have the capacity,
https://www.cnn.com/2025/02/02/politics/usaid-officials-leave-musk-doge/index.html                            Page 5 of 13
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   The State Department doesn’t “have the capacity, the expertise, the training to do that kind
   of work. It is a completely separate line of eYort that is undertaken on the ground,” a former
   senior USAID o`cial said.

   “The one element of the US government bureaucracy on the ground in foreign places that
   has been able to get out beyond the wire and actually have a deeper understanding of the
   places in which we work is USAID,” the former o`cial continued, requesting anonymity due
   to growing and widespread fears of being targeted by the Trump administration.

   “That ability to work in that way, that culture — and it is a culture I think — gets lost. And
   with it, I think we lose an enormous, incredibly valuable tool of US foreign policy. We’re
   basically going to be punching with one arm behind our back,” the person said.

   This story and headline have been updated with additional reporting.



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    Weak Stream? Do this Before Bed                                               Cream Is "Absolutely Worth It"
    Sponsored: Natural Healthy Way                                                You won't see a product rescue aging skin
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        Two top security o!cials at USAID
        placed on leave, sources say
        By Margaret Brennan, Sophia Barko!, Jennifer Jacobs, Sara Cook
        Updated on: February 3, 2025 / 12:15 PM EST / CBS News




                                                                                                          More from CBS
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                                                                                                          Trump administration
                                                                                                          !res over 400 DHS
                                                                                                          employees as mass
                                                                                                          !rings continue


                                                                                                          CDC's "disease
                                                                                                          detectives" halved as
                                                                                                          part of DOGE cuts at
                                                                                                          health agencies


                                                                                                          Thousands of
                                                                                                          probationary federal
                                                                                                          health workers !red by
        Two top security o!cials at the U.S. Agency for International                                     letter this weekend
        Development have been placed on administrative leave, the latest
        in a series of suspensions and layo"s at the American government's                                Musk's DOGE is at the
                                                                                                          IRS, raising concerns
                                                                                         000176           about taxpayer data

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                                                                                       about taxpayer data
        primary humanitarian aid agency.                                               security


        President Trump is considering dramatic changes to USAID, as
        advisers examine where there's overlap with other agencies or
        where its spending runs counter to the president's stances.

        USAID Director for Security John Vorhees and Deputy Director for
        Security Brian McGill were put on leave Saturday night, two
        sources con#rmed to CBS News.                                                    TruHeight Vitamins
                                                                                         25% off your first
                                                                                         subscription!                         Shop
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        Multiple sources con#rmed to CBS News that the two top security                  TruHeight Kids.


        o!cials were #red for attempting to block the Elon Musk-run
        Department of Government E!ciency's (DOGE) access to classi#ed
        material in restricted areas. The reason for the #ring was #rst
        reported by the Associated Press.

        DOGE spokesperson Katie Miller did not respond to requests for
        comment, but did repost the AP article on X with the comment,
        "No classi#ed material was accessed without proper security
        clearances."




        Matt Hopson, who was recently appointed USAID chief of sta" by
        Mr. Trump, resigned Sunday, according to two current USAID
                                                                              000177
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        sta"ers. There was no mass email about it. The sta"ers said it
        happened after his involvement, alongside the two other security
        sta"ers, in blocking DOGE o!cials from getting access over the
        weekend.

        Vice President JD Vance is in charge of #guring out next steps for
        USAID reform, per one person familiar with Trump's decision. A
        spokesperson for Vance declined to comment.

        Mr. Trump told reporters Sunday night upon returning to
        Washington, D.C., from Palm Beach, Florida, that USAID has been
        run by "a bunch of radical lunatics."

        "We're getting them out," he said, "and then we'll make a decision."




        No executive order was imminent — o!cials are still in the
        planning phase, sources said last week. But the president is
        interested in reforming the agency, they said.

        One option is to possibly fold it into the State Department, but
        other possibilities are on the table, two sources told CBS News.

        Republican Rep. Brian Mast, chairman of the House Foreign A"airs
        Committee, which provides oversight of the State Department,
        said Sunday on "Face the Nation with Margaret Brennan" that
        USAID is "likely going to be rolled more closely under Secretary
        Rubio." USAID already reports to the Secretary of State but the
        Trump administration is looking at ways to combine it or fold it
        into the State Department.

        On Monday, USAID employees were instructed to stay out of
        headquarters, and sta"ers who came by the agency's annex to get
        their belongings found that turnstiles had been turned o" and they
        were escorted from the building.

        Mast did not detail what speci#c changes will be made but
        indicated that he intends to initiate changes via Congress as well.
        USAID was established in 1961 by an act of Congress.
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        "I would be absolutely for, if that's the path we go down, removing
        USAID as a separate department, and having it fall under whether
        the other parts of the United States, Department of State, because
        of its failure," Mast claimed on "Face the Nation."

        CBS previously reported that the person heading up the e"orts to
        reshape USAID is Pete Marocco, a former deputy assistant
        secretary of African A"airs at the Pentagon. Marocco is now
        serving in a senior directing role in the State Department's Foreign
        Assistance O!ce, which oversees foreign assistance programs
        administered by the State Department and USAID.




        Freezing foreign aid was a Trump campaign promise to only
        support e"orts that serve America's national security interest and
        to cut costs. However, foreign aid makes up just 1% of the federal
        budget.

        U.S. foreign aid agencies almost never directly implement aid
        programs, choosing to partner with non-governmental
        organizations, public international organizations, and sometimes
        foreign governments to carry them out. The Trump
        administration's 90-day freeze on almost all foreign aid means that
        these contractors are not being paid for work already in progress.

        With no indication that the aid freeze will be lifted soon,
        contractors are furloughing and/or terminating employees en
        masse.

        An aid worker with contracts around the world told CBS that
        organizations are expecting to face lawsuits in foreign countries
        from governments who consider them in breach.

        USAID viewed by some Trump o!cials as
        too in"uenced by "woke" politics
        Some top o!cials in the Trump administration view USAID,
        created by President John F. Kennedy to counter Cold War
        geopolitics, as an agency that has become overly in%uenced by left-
        wing and "woke" politics. They had privately voiced concerns that
                                                                              000179
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        it hasn't had enough oversight, including from Congress.

        Some in the administration, including Musk, have argued that
        Trump should shut USAID down altogether. On Sunday, Musk
        posted on his social media platform X: "USAID is a criminal
        organization. Time for it to die."

        But not all of Trump's top advisors agree with Musk, multiple
        sources said.




        USAID website goes dark, multiple aid
        agencies say they are hobbled by funding
        freeze
        The USAID website went o&ine on Saturday, and remained
        inaccessible on Sunday. Dozens of employees in the legislative and
        public a"airs o!ces at the agency suddenly lost system and email
        access on Saturday night, three sources told CBS News.

        Trump o!cials want to look into ways to streamline programs with
        a footprint in more than one government agency. USAID also
        contracts with multiple non-pro#ts to implement programs.

        As the Trump administration weighs restructuring USAID, the
        humanitarian aid program that does everything from funding polio
        and malaria eradication e"orts overseas to emergency response to
        natural disasters, and removing old U.S. bombs from battle#elds,
        aid organizations told CBS News that they are already preparing to
        lay o" thousands of U.S. based aid workers this week.

        Multiple aid organizations told CBS News that they are hobbled by
        Trump's funding freeze as contractors front money for projects
        and then apply for reimbursement from the U.S. government. As a
        result, the stop work order issued by Secretary of State Marco
        Rubio triggered #nancial crises at these international organizations
        who are also unable to receive backpay for work already
        performed, multiple aid organizations told CBS news.

        Tom Hart, President and CEO of InterAction told CBS News that
        even after Rubio issued waivers to some organizations, the changes
                                                                              000180
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        have not resulted in a %ow of funds.

         "The current reality is life-saving medications expiring on shelves
        while children fall ill. Food aid rotting in warehouses while families
        go hungry. This isn't just a humanitarian catastrophe—it's an
        unconscionable waste of taxpayer resources that undermines
        America's investments in global stability and human dignity."

        "This disruption is upending relationships built with communities
        over the last 60 years—relationships the Administration may #nd
        hard to restore after its review," Hart said.




        The Trump administration has disrupted operations at
        organizations that also seem to be consistent with the America
        First agenda and e"orts to stem illegal migration to the U.S. CBS
        News obtained a list of 13 organizations in El Salvador, Honduras,
        Mexico, Colombia and Guatemala whose e"orts are aimed at
        countering factors that drive migration. In El Salvador, the Skills
        for Employment project helps some 12,000 Salvadorans get jobs so
        they don't migrate to the U.S. In Honduras, E"ective Justice
        combats organizedf crime networks. In Colombia, the Venezuelan
        response ensures migrants do not migrate illegally to the U.S.

        Concerns over PEPFAR
        Another program, PEPFAR, the President's Emergency Plan for
        AIDS Relief, received a waiver to resume speci#c types of
        operations within their broad portfolio of AIDS relief and HIV
        services, three sources con#rmed this weekend to CBS News.
        Health o!cials indicated that they are still waiting to see how
        narrowly the services will be de#ned including the question of
        whether it will include preventative treatments. Former aid
        o!cials shared concerns that global health programs are not yet
        turned back on, including those aimed at preventing malaria and
        tuberculosis.

        "This is not a pause, it is a demolition," Atul Gawande, former
        USAID Global Health Director, told CBS News. "You cannot pause a
        %ight in midair, that's what they're trying to do."
                                                                              000181
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        The Trump administration has stipulated the review is to last 90
        days but the stop work order from Rubio immediately ceased
        operations for many organizations. Since the freeze is taking place
        while the review is being conducted, it has caused an immediate
        disruption with real world impact such as disruption of anti-viral
        medication to HIV positive individuals, including children.

        "There was a release of that hold that was put, that was authorized,
        but it shouldn't be the case that the American people fund HIV and
        AIDS drugs for 20 million people across Africa, where many of
        these countries are working very directly with our adversaries, like
        China," Mast told "Face the Nation," con#rming portions of
        PEPFAR had resumed. But he referred to it as a "grift" and raised
        questions about its fate.

        "That is an example of them taking us for granted," Mast said. "We
        need to be asking the question, should they be weaning o" of this,
        should we be paying for these very expensive HIV and AIDS
        drugs?"

        But these e"orts have been deemed in U.S. national security
        interests by multiple presidents, and a type of "soft power" that
        wins goodwill for the U.S. in the competition for in%uence against
        adversaries. It is now China, but during the Cold War when the
        established the prime competition was the Soviet Union, USAID
        e"orts were e"ective in Eastern Europe and elsewhere.




        CBS News reported last week that roughly 450 contractors were
        terminated from the Bureau for Global Health, which is
        responsible for overseeing the implementation of PEPFAR. More
        federal employees in the Global Health bureau have since been
        placed on administrative leave, raising concerns about how these
        programs will be implemented, despite the foreign assistance
        waiver for HIV/AIDS programs.




        More from CBS News

                                                                              000182
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   USAid

   Doge v USAid: how Elon Musk helped
   his acolytes inﬁltrate world’s biggest aid
   agency
   Exclusive: Takeover of USAid agency by Doge operatives
   seen as pilot for largeBscale overhaul of federal government




     People protest outside USAid’s headquarters in Washington DC on 3 February 2025.
                                                                                                               Most viewed
   Photograph: Mandel Ngan/AFP/Getty Images
                                                                                                                         The new world order is
               Andrew Roth in Washington                                                                                 exactly what it looks like.
                                                                                                                         Are we too frozen with fear
               Wed 5 Feb 2025 12.26 EST
                                                                                                                         to name it?
                                                                                                                         Zoe Williams

   USAid security personnel were defending a secure room holding sensitive
   and classiﬁed data in a standoﬀ with “department of government eﬃciency”
                                                                           000183
                                                                                                                         A ‘great shock’: Julianne
https://www.theguardian.com/us-news/2025/feb/05/musk-doge-takeover-usaid                                                                       Page 1 of 7
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   employees when a message came directly from Elon Musk: give the Doge                                        A ‘great shock’: Julianne
   kids whatever they want.                                                                                    Moore’s children’s book
                                                                                                               under review by Trump
   Since Donald Trump’s inauguration last month, a posse of cocksure young                                     administration
   engineers answering to Musk have stormed through Washington DC, gaining
                                                                                                               Jewish man mistakes two
   access to government computer systems as part of what Senator Chuck
                                                                                                               Israeli tourists for
   Schumer has called “an unelected shadow government … conducting a                                           Palestinians and opens ﬁre
   hostile takeover of the federal government”.                                                                on them in Miami
   The young men, who are all under the age of 26 and have almost no                                           ‘This is a coup’: Trump and
   government experience, have tapped into the treasury department’s federal                                   Musk’s purge is cutting
   payment system and vacuumed up employment histories at the oﬃce of                                          more than costs, say experts
   personnel management (OPM). Roughly 20 Doge employees are now working
   out of the Department of Education, the Washington Post has reported, and                                   Trump administration ﬁles
   have gained access to sensitive internal systems there too. On Wednesday,                                   ﬁrst supreme court appeal
   the Wall Street Journal reported they had inﬁltrated the Centers for Medicare                               over ﬁring of government
   and Medicaid Services and accessed key systems as well.                                                     watchdog

   The young engineers, whose identities have been conﬁrmed to the Guardian,
   wanted the same at USAid. One of them, Gavin Kliger, was a 25-year-old
   techie who has defended the failed attorney general nominee Matt Gaetz as a
   victim of the “deep state” and claimed he had left behind a seven-ﬁgure
   salary to join Doge and “save America”. Another, Luke Farritor, 23, was a
   former SpaceX intern who had been given top-level clearances to USAid
   systems and had requested similar to Medicare and Medicaid. A third,
   Jeremy Lewin, was reportedly assigned to the General Services
   Administration. A superior planned to lobby the CIA for a clearance for him
   after he failed to gain access to a secure area.

                      Some US oﬃcials had begun calling the young engineers
   the “Muskovites” for their aggressive loyalty to the SpaceX owner. But some
   USAid staﬀ used another word: the “incels”.

   The Guardian has identiﬁed three calls by Musk to USAid’s political
   leadership and security oﬃcers in which he demanded the suspensions of
   dozens of the agency’s leading oﬃcials, and cajoled and threatened senior
   USAid oﬃcials to give his acolytes private data and access to restricted areas.
   At one point, he threatened to call in the US Marshals Service.

   One USAid employee said that the calls by Musk, two of which have not been
   previously reported, showed he had eﬀectively usurped power at the agency
   even from the Trump administration’s political leadership. “Who is in
   control of our government?” the person said. “[Doge] basically showed up
   and took over.”

   In the Heritage Foundation’s Project 2025, USAid had been presented as a
   pilot test for a large-scale overhaul of the federal government that would
   downsize agencies and arbitrarily move federal employees to looser
   contracts that made them easier to ﬁre.

   “If the Trump administration is successful here, they’re going to try this
   everywhere else,” said Senator Andy Kim of New Jersey, a former USAid
   employee who came to protest alongside ﬁred and furloughed workers
   outside the agency’s headquarters on Monday. “This is just the beginning.”
                                                                           000184
https://www.theguardian.com/us-news/2025/feb/05/musk-doge-takeover-usaid                                                             Page 2 of 7
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      A building security oﬃcer stands at a checkpoint in the lobby of the USAid oﬃce in Washington.
   Staﬀers have been instructed via an email to stay out of the agency’s headquarters. Photograph:
   Shawn Thew/EPA

   But it has also been a primer on how Doge operatives have inserted
   themselves into federal agencies and cajoled and bullied their way to access
   their most sensitive systems. This account of Doge’s inﬁltration of USAid is
   based on interviews with more than a dozen current and former USAid, state
   department and other oﬃcials briefed on the events of the last week.

   Security staﬀ initially rebuﬀed the engineers’ eﬀorts to talk their way into
   the secure rooms, called sensitive compartmented information facilities
   (Scifs), because they didn’t have the necessary security clearances. But that
   evening, Musk phoned a senior oﬃcial at USAid to demand access for his
   subordinates, the ﬁrst of numerous calls to oﬃcials and employees of Doge
   at USAid that have continued into this week.

   Inside the building, chaos reigned. Areas that were once declared restricted,
   with limitations on electronics such as phones and watches, suddenly
   loosened their security protocols to allow in uncredentialed outsiders. Doge
   employees were said to obscure their identities to prevent online
   harassment, a tactic that was repeated at other agencies. And Peter Marocco,
   the controversial new director of foreign assistance at the state department,
   was stalking the halls and meeting in private with the Doge employees.

   By Friday, things had gone further downhill. After a tense all-hands meeting
   with senior staﬀ, and outsiders in the sixth-ﬂoor conference room, the young
   engineers rushed around the oﬃces with their laptops, plugging cords into
   computers and other electronics as they gathered data from the agency.

   After the meeting, Matt Hopson, a Trump appointee for USAid chief of staﬀ,
   abruptly resigned. Jason Gray, the acting administrator, was removed from
   his position. The secretary of state, Marco Rubio, was soon to announce that
   he was the new administrator of USAid and appoint Marocco as his deputy.
   Musk was closing in on his goal.
                                                                           000185
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   The Doge employees had open access to rooms throughout the sixth ﬂoor,
   including the oﬃces of the administrator’s suite. But the Scifs were still oﬀ
   limits.

   At USAid, a newly installed leadership was formally in charge. But the real
   power lay with Marocco and Doge, which was plotting how to wind down the
   agency, a plan that Trump endorsed on Tuesday afternoon as he conﬁrmed
   that teams were backed by the White House. That evening, USAid announced
   it would put all its direct-hire personnel around the world on administrative
   leave, a decision that would aﬀect thousands of employees and their
   families.

   Inside of USAid, the operation to shut down the decades-old operation was
   being run by Marocco, four engineers in their early 20s and the Doge
   leadership that contacted them by phone.

   “It’s all being driven through Doge right now,” said a current USAid oﬃcial,
   adding that Doge engineers in USAid headquarters continued to ﬁeld calls
   from Musk and Marocco on Monday. “The folks in the building are turning
   the system oﬀ for [USAid employees], they’ve kept a small number of people
   from the diﬀerent bureaus to help understand what programs will be kept
   and not kept, what the footprint will look like.”




      Signage for USAid is seen on a cargo container behind people sorting through salvageable items
   to be sold to junk shops in Manila, Philippines, on Monday. Photograph: Jam Sta Rosa/AFP/Getty
   Images

   The tension at USAid headquarters came to a head on Saturday evening,
   when Doge employees demanded access to the Scif on the agency’s sixth
   ﬂoor. They were stopped by the agency’s top security oﬃcer, John Voorhees.

   Among those present was Steve Davis, according to one current and one
   former USAid oﬃcial. Davis, a Musk deputy, has worked with the billionaire
   for more than 20 years at SpaceX and the Boring Company. He reportedly
   sometimes slept in the Twitter oﬃces to help Musk slash costs there after he
   acquired it in 2022.                                 000186
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   The argument over access to the Scif had grown verbally heated and senior
   Doge staﬀ threatened to call in US marshals to gain access to it. During that
   standoﬀ, according to one account made to the Guardian, a call was again
   made to Musk, who, as Bloomberg ﬁrst reported, repeated the threat to
   involve the US Marshals Service.

   Shortly after, Voorhees was placed on administrative leave and the Doge
   staﬀers entered the Scif. They took over the access control system and
   employee records. Within hours, the USAid website went down. Hundreds of
   employees were locked out of the system that weekend, and many still don’t
   know their status. (The Guardian has seen emails in which USAid
   administrators admit they do not know the employment states of current
   USAid oﬃcials.)

   “I’ve been furloughed, I guess?” said one contractor with 15 years of
   experience for the bureau for humanitarian assistance, where she had helped
   coordinate urgent responses in Ukraine, Gaza, Somalia and Latin America. “I
   don’t know what my status is but I don’t think I work here right now.”

   By Monday, Kliger wrote an email to all staﬀ at 12.42am to tell them not to
   bother coming into the building that day.

   The incident has illustrated how Doge employees with Musk’s backing were
   able to override USAid leadership and bypass government procedures for
   accessing restricted areas with classiﬁed materials, fueling criticism that his
   agency is a national security risk.

   “Did Secretary Rubio allow this kind of access by Musk’s employees?” asked
   Kim. “It worries me about USAid but if it’s happening here, I’m guessing it’s
   probably happening at all these other national security agencies.”

   Formally, Rubio has delegated responsibility to Marocco, who has been
   pressed by congressional staﬀers to give details of the changes aﬀecting
   USAid and the $40bn in foreign aid it manages each year.

                      “The question at hand is: who’s in charge of the state
   department?” Senator Brian Schatz told the Guardian. “So far the answer has
   been Pete Marocco.”

   Doge did not respond to questions about what security clearances, if any, the
   engineers held. “No classiﬁed material was accessed without proper security
   clearances,” wrote Katie Miller, a Doge spokesperson, on social media.

   But Scifs are regulated by a strict protocol and it is unclear who could have
   veriﬁed the Doge employees’ credentials and ﬁled the necessary paperwork
                                                                                   000187
https://www.theguardian.com/us-news/2025/feb/05/musk-doge-takeover-usaid                                                 Page 5 of 7
Doge v USAid: how Elon Musk helped his acolytes infiltrate world’s biggest aid agency | USAid | The Guardian   2/17/25, 5:00 PM



   to allow them to enter.

   Inside the building, staﬀers said that Doge cultivated a culture of fear.

   “It’s an extreme version of ‘who do you trust, when and how?’” said Kristina
   Drye, a speechwriter at the agency, who watched dozens of senior colleagues
   escorted out of the building by security. “It felt like the Soviet stories that
   one day someone is beside you and the next day they’re not.”

   People started meeting for coﬀee blocks away because “they didn’t feel safe
   in the coﬀee shops here to even talk about what’s going on”, she added.

   “I was in the elevator one morning and there was an older lady standing
   beside me and she had glasses on and I could see tears coming down under
   her glasses and before she got oﬀ her elevator she took her glasses oﬀ, wiped
   her eyes, and walked out,” she said. “Because if they see you crying, they
   know where you stand.”




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https://www.theguardian.com/us-news/2025/feb/05/musk-doge-takeover-usaid                                            Page 6 of 7
USAID website goes dark, staff emails deactivated amid DOGE takeover, source says | FedScoop                                                        2/17/25, 5:03 PM




    FEDERAL




    USAID website goes dark, sta! emails deactivated amid
    DOGE takeover, source says
    DOGE workers’ access to USAID systems signals an uncertain fate for the development agency.

    BY REBECCA HEILWEIL • FEBRUARY 2, 2025


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                                                                                                                                          More Like "is

                                                                                                                                          Treasury watchdog will audit DOG
                                                                                                                                          to payment systems

                                                                                                                                          BY MATT BRACKEN
    A view of the USAID sign above the entrance of the Ronald Reagan Building and International Trade Center in Washington, D.C. (Getty
    Images)

                                                                                                                                          AFGE says it will #ght mass federa
                                                                                                                                          refuting ‘performance’ claims

                                                                                                                                          BY MADISON ALDER




                                                                                        000189                                            DOGE ‘touch-base’ sessions with
https://fedscoop.com/usaid-website-goes-dark-staff-emails-deactivated-amid-doge-takeover-source-says/                                                    Page 1 of 5
USAID website goes dark, staff emails deactivated amid DOGE takeover, source says | FedScoop                                     2/17/25, 5:03 PM


                                                                                                                        DOGE ‘touch-base’ sessions with




    T
                he main website for USAID went offline this weekend and thousands of staffers may have                  preceded probationary terminatio
                                                                                                                SHARE
                                                                                                                        says
                lost access to their email accounts amid rumors that the Trump administration intends to
                eliminate the agency.                                                                                   BY CAROLINE NIHILL



                 The website went dark after staffers associated with the Elon Musk-led Department of
    Government Efficiency gained access to the domain and then blocked USAID employees, a person
    familiar with the matter told FedScoop. The source said around 2,000 email accounts associated with
    USAID workers have since been deactivated.


    USAID did not respond to a request for comment by the time of publication.


    The news follows a massive and sudden pause on American international aid that’s shaken global
    development groups charged with disbursing critical and life-saving resources.




    DOGE staffers have reportedly taken over other computer systems in the government, including in the
    Office of Personnel Management and the Treasury Department. The Trump administration has pulled
    down other government websites in recent days, including a Centers for Disease Control and
    Prevention data page and Census.gov, though both were later restored.




                     Written by Rebecca Heilweil
                     Rebecca Heilweil is an investigative reporter for FedScoop. She writes about the
                     intersection of government, tech policy, and emerging technologies. Previously she
                     was a reporter at Vox's tech site, Recode. She’s also written for Slate, Wired, the Wall
                     Street Journal, and other publications. You can reach her at
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    In "is Story

      UNITED STATES AGENCY FOR INTERNATIONAL DEVELOPMENT (USAID)

      DEPARTMENT OF GOVERNMENT EFFICIENCY (DOGE)




    More Scoops



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https://fedscoop.com/usaid-website-goes-dark-staff-emails-deactivated-amid-doge-takeover-source-says/                                 Page 2 of 5
USAID website goes dark, staff emails deactivated amid DOGE takeover, source says | FedScoop                                                   2/17/25, 5:03 PM




    Student group asks federal court to halt DOGE access to Education Department data
    The complaint from the University of California Student Association asks the court to stop the agency from providing DOGE with unauthorized access to
    personal and financial information.

    BY CAROLINE NIHILL




                                 Across the world, USAID workers’ government phones are being disconnected
                                 BY REBECCA HEILWEIL      CAROLINE NIHILL




                                 CIOs of USDA, USAID named agency leaders until Trump picks enter o$ce
                                 BY BILLY MITCHELL




    Software license purchases need better agency tracking, GAO says

    BY MATT BRACKEN




                                                                            000191
https://fedscoop.com/usaid-website-goes-dark-staff-emails-deactivated-amid-doge-takeover-source-says/                                               Page 3 of 5
USAid website offline as Trump moves to put agency under state department | Trump administration | The Guardian                     2/17/25, 5:03 PM



   Trump administration

   USAid website oﬄine as Trump moves
   to put agency under state department
   Move would threaten life=saving global humanitarian aid
   programs, from HIVBAids treatments to clean water access




     The USAid ﬂag outside the USAid building in Washington DC on 1 February 2025. Photograph:
   Annabelle Gordon/Reuters

   Edward Helmore
   Sat 1 Feb 2025 17.09 EST


   The website for the US Agency for International Development, or USAid,
   appeared to be oﬄine on Saturday, as the Trump administration moves to
   put the free-standing agency, and its current $42.8bn budget for global
   humanitarian operations, under state department control.

   A message stating that the “server IP address could not be found” appeared
   when attempts were made to access the website on Saturday.

   Two sources familiar with the discussions told Reuters on Friday that the
   Trump administration was moving to strip USAid of its independence as a
   government agency and put it under state department control.

   The apparent failure of the website comes after plaques embossed with the
   agency’s oﬃcial seal were removed on Friday, according to Reuters, a sign
   that the merger into the state department was in the works.

   The move comes as the Trump administration has vowed to overhaul the
                                                                                                             Most viewed
   distribution of foreign aid, saying last week it was freezing foreign aid while
   conducting a review to ensure that assistance worldwide is aligned with                                           The new world order is
                                                                                                                     exactly what it looks like.
   Trump’s “America First” foreign policies.
                                                                                                                     Are we too frozen with fear
   Current and former USAid oﬃcials said this week that a purge of senior staﬀ                                       to name it?
                                                                          000192                                     Zoe Williams

https://www.theguardian.com/us-news/2025/feb/01/usaid-website-offline-trump                                                              Page 1 of 4
USAid website offline as Trump moves to put agency under state department | Trump administration | The Guardian                     2/17/25, 5:03 PM

                                                                                                                    Zoe Williams
   appeared designed to silence any dissent and that bringing the agency under
   the state department would be a “seismic shift”.                                                                 A ‘great shock’: Julianne
                                                                                                                    Moore’s children’s book
   “This moves the United States government to a place where the                                                    under review by Trump
   humanitarian voice will not be in high-level policy discussions,” the oﬃcial                                     administration
   said.
                                                                                                                    Jewish man mistakes two
   In an opinion column in the Wall Street Journal, the US secretary of state,                                      Israeli tourists for
   Marco Rubio – who would assume oversight over USAid if it were or had been                                       Palestinians and opens ﬁre
                                                                                                                    on them in Miami
   placed under the state department – outlined a new US diplomatic focus on
   the western hemisphere.                                                                                          ‘This is a coup’: Trump and
   Rubio said he would make his ﬁrst trip as the nation’s most senior diplomat                                      Musk’s purge is cutting
                                                                                                                    more than costs, say experts
   to El Salvador, Guatemala, Costa Rica, Panama and the Dominican Republic.

   “These nations were neglected by past administrations that prioritized the                                       Trump administration ﬁles
   global over the local and pursued policies that accelerated China’s economic                                     ﬁrst supreme court appeal
   development, often at our neighbors’ expense,” Rubio wrote.                                                      over ﬁring of government
                                                                                                                    watchdog
   Reuters reported that the White House was exploring legal authority that
   Trump could use to issue an executive order to end USAid’s independence
   and that he could sign such a directive as soon as Friday night or Saturday.

   “Watch USAID tonight,” Chris Murphy, a Democratic senator and member of
   the Senate foreign relations committee, said in a post on X on Friday
   evening.

   Chuck Schumer, the Senate minority leader, citing a “rumor” that Trump
   planned to dissolve USAid as an independent agency, said in an X post that
   such a move would be “illegal and against our national interests”.

   But it is unclear whether the president has the legal authority to bypass
   Congress and order USAid’s merger into the state department.

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   If placed under the state department, USAid could become a more explicit
   armature of foreign policy goals than it has been as the world’s largest single
   donor of life-saving humanitarian operations.

   USAid has in the past been able to assist countries with whom the United
   States has no diplomatic relations, including Iran. A source at the agency told
   Reuters that the non-alignment with the US diplomatic mission had helped
   build bridges that might not have come to be under purely political
   objectives.

   Perhaps signaling the new administration’s plan to fold the agency under the
                                                                                  000193
https://www.theguardian.com/us-news/2025/feb/01/usaid-website-offline-trump                                                             Page 2 of 4
USAid website offline as Trump moves to put agency under state department | Trump administration | The Guardian   2/17/25, 5:03 PM



   state department, Trump has not nominated a person to run USAid.

   The costs of a freeze on US foreign aid grants is already being felt. Field
   hospitals in Thai refugee camps, landmine clearance in war zones, and drugs
   to treat millions suﬀering from diseases such as HIV are among the programs
   facing defunding.

   In ﬁscal year 2023, the United States disbursed $72bn of assistance
   worldwide on everything from women’s health in conﬂict zones to access to
   clean water, HIV/Aids treatments, energy security and anti-corruption work.
   It provided 42% of all humanitarian aid tracked by the United Nations in
   2024.

   Following Trump’s executive order last week, the state department issued
   worldwide stop-work directives, eﬀectively freezing all foreign aid with the
   exception of emergency food assistance in a move that experts warned
   risked killing people.

   Rubio earlier this week issued an additional waiver for “life-saving
   humanitarian assistance” while Washington undertakes the 90-day review.




                                                                          000194
https://www.theguardian.com/us-news/2025/feb/01/usaid-website-offline-trump                                           Page 3 of 4
000195
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000197
WATCH: Trump makes appearance with Musk, signs executive order downsizing federal workforce | PBS News                            2/17/25, 5:08 PM




WATCH: Trump makes appearance with Musk, signs executive
order downsizing federal workforce
Politics    Feb 11, 2025 6:08 PM EST



WASHINGTON (AP) — President Donald Trump made a rare appearance with Elon Musk, his most powerful adviser, in the Oval Office on
Tuesday before signing an executive order to continue downsizing the federal workforce.


Watch Trump and Musk speak to the media in the player above.


The Associated Press reviewed a White House fact sheet on the order, which is intended to advance Musk’s work slashing spending with
his Department of Government Efficiency.


Musk said there are some good people in the federal bureaucracy but they need to be accountable and called it an “unelected” fourth
branch.


“The people voted for major government reform and that’s what the people are going to get,” he said. “That’s what democracy is all
about.”


It was Musk’s first time taking questions from reporters since he joined the Trump administration as a special government employee
with sprawling influence over federal agencies. He’s also the world’s richest person and the owner of X, the social media platform
formerly known as Twitter.


Despite concerns that he’s amassing unaccountable power with little transparency, Musk described himself as an open book. He joked
that the scrutiny was like a “daily proctology exam.”


The White House fact sheet said that “agencies will undertake plans for large-scale reductions in force and determine which agency
components (or agencies themselves) may be eliminated or combined because their functions aren’t required by law.”


It also said that agencies should “hire no more than one employee for every four employees that depart from federal service.” There are
plans for exceptions when it comes to immigration, law enforcement and public safety.


Trump and Musk are pushing federal workers to resign in return for financial incentives, although their plan is currently on hold while a
judge reviews its legality. The deferred resignation program, commonly described as a buyout, would allow employees to quit and still
get paid until Sept. 30. Administration officials said more than 65,000 workers have taken the offer.
                                                                       000198
https://www.pbs.org/newshour/politics/watch-trump-makes-appearance-with-musk-signs-executive-order-downsizing-federal-workforce        Page 1 of 2
WATCH: Trump makes appearance with Musk, signs executive order downsizing federal workforce | PBS News                            2/17/25, 5:08 PM



Hundreds of people gathered for a rally Tuesday across the street from the U.S. Capitol in support of federal workers.


Janet Connelly, a graphic designer with the Department of Energy, said she’s fed up with emails from the Office of Personnel
Management encouraging people to take the deferred resignation program.


She tried to use her spam settings to filter out the emails but to no avail. Connelly said she has no plans to take the offer.


“From the get-go, I didn’t trust it,” she said.


Connelly said she thinks of her work as trying to do an important service for the American public.


“It’s too easy to vilify us,” she said.


Others have said fear and uncertainty have swept through the federal workforce.


“They’re worried about their jobs. They’re worried about their families. They’re also worried about their work and the communities they
serve,” said Helen Bottcher, a former Environmental Protection Agency employee and current union leader in Seattle.


Bottcher participated in a press conference hosted by Sen. Patty Murray, a Democrat from Washington.
Murray said workers “deserve better than to be threatened, intimidated and pushed out the door by Elon Musk and Donald Trump.” She
also said that “we actually need these people to stay in their jobs or things are going to start breaking.”


A government lawyer, who spoke to the Associated Press on the condition of anonymity because of fears of retaliation, said it was a
terrifying time to be a federal worker.


She said people are worried that their phones and computers are being monitored. She’s a single mother with a young daughter, and her
father is urging her to take a safer job in the private sector.


But she’s skeptical of the deferred resignation program, emphasizing that accepting the offer means workers can’t sue if they’re not paid
what they’re promised.


The idea, she said, was insane.


AP writers Martha Bellisle in Seattle, Rebecca Santana, Michelle L. Price and Brian Witte in Annapolis, Maryland contributed to this
report.


By — Chris Megerian, Associated Press




                                                                       000199
https://www.pbs.org/newshour/politics/watch-trump-makes-appearance-with-musk-signs-executive-order-downsizing-federal-workforce        Page 2 of 2
2/17/25, 9:35 PM                                   DOGE-Backed Halt at CFPB Comes Amid Musk’s Plans for ‘X’ Digital Wallet - Bloomberg




                   The lobby of the US Consumer Financial Protection Bureau headquarters as a worker removes belongings
                   from the building in Washington on Feb. 9. Photographer: Stefani Reynolds/Bloomberg

                   Politics + Technology

                   DOGE-Backed Halt at CFPB Comes
                   Amid Musk’s Plans for ‘X’ Digital Wallet
                   Government-efficiency team’s initial ‘read-only’ access expanded quickly
                   to encompass closely guarded data, internal emails say.
                   By Jason Leopold and Evan Weinberger
                   February 10, 2025 at 5:00 AM EST


                   In another weekend takeover of a federal agency’s operations, staffers from a
                   efficiency initiative led by billionaire Elon Musk helped to effectively shut
                   down the Consumer Financial Protection Bureau — as they gained access to a
                   array of the bureau’s protected information.

                   The actions began last Thursday, when four young staffers working under
                   Musk for the Department of Government Efficiency, or DOGE, showed up at
                   CFPB’s Washington headquarters. At first, they had what was described as
                   read-only access to a limited array of documents, including the agency’s
                   internal personnel files,Save
                                             procurement
                                                 now with arecords
                                                            special and
                                                                    offer.budgeting and financial
                                                      000200
                   data, according to an email shared among CFPB officials.
                                                           Subscribe now for
https://www.bloomberg.com/news/features/2025-02-10/doge-backed-halt-at-cfpb-comes-amid-musk-s-plans-for-x-digital-wallet?embedded-checkout=true   1/2
2/17/25, 9:35 PM                                   DOGE-Backed Halt at CFPB Comes Amid Musk’s Plans for ‘X’ Digital Wallet - Bloomberg

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2/17/25, 9:40 PM                                                Dozens of CFPB Workers Fired in After-Hours Blitz | WIRED




       MAKENA KELLY             DHRUV MEHROTRA             POLITICS          FEB 11, 2025 10:41 PM




      Dozens of CFPB Workers Fired in After-Hours Blitz
      Some affected employees of the Consumer Financial Protection Bureau
      were notified with an email that addressed them as [EmployeeFirstName]
      [EmployeeLastName], [Job Title], [Division].




                                                                000202
      The US Consumer Financial Protection Bureau headquarters in Washington, DC. PHOTOGRAPH: GETTY IMAGES



https://www.wired.com/story/dozens-of-cfpb-workers-terminated-in-after-hours-firing-blitz/?_sp=80a54680-3821-49d2-ac12-1b50408752c5.1739846334758   1/14
2/17/25, 9:40 PM                                                Dozens of CFPB Workers Fired in After-Hours Blitz | WIRED




                                                                                SAVE




      Dozens of Consumer Finance Protection Bureau employees were terminated on
      Tuesday evening, sources tell WIRED.

      The cuts largely targeted contractors and so-called probationary employees,
      workers who have served less than two years at the agency. Sources tell WIRED that
      the CFPB’s enforcement division was hit hard, but it’s unclear how many employees
      were let go.




      Politics Lab Newsletter by Makena Kelly
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      is shaping our political reality.




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      privacy policy.




      Workers were informed that they had been fired with a frenetic email delivered
      around 9 pm ET on Tuesday. An evidently failed mail merge meant that some
      affected employees were addressed as [EmployeeFirstName][EmployeeLastName],
      [Job Title], [Division].

      “This is to provide notification that I am removing you from your position of [Job
      Title] and federal service consistent with the above references,” the email from
      acting chief human capital officer Adam Martinez says. “Unfortunately, the Agency
      finds that that [sic] you are not fit for continued employment because your ability,
      knowledge and skills do not fit the Agency’s current needs.”
                                                                           000203


https://www.wired.com/story/dozens-of-cfpb-workers-terminated-in-after-hours-firing-blitz/?_sp=80a54680-3821-49d2-ac12-1b50408752c5.1739846334758   2/14
2/17/25, 9:40 PM                                                Dozens of CFPB Workers Fired in After-Hours Blitz | WIRED

      The firings follow a tumultuous few days at the CFPB. On Friday, staff for Elon
      Musk’s Department of Government Efficiency shut down a portion of the agency’s
      homepage after a day of struggling to obtain access to the CMS and other systems.
      WIRED reported last week that three DOGE staffers, including Gavin Kliger and
      Nikhil Rajpal, were given access to the CFPB’s HR, procurement, and financial
      infrastructure. The DOGE workers were later granted access to all of the agency’s
      systems on Friday, Bloomberg reported this week, including bank examination and
      enforcement records.

      Later on Friday evening, Russell Vought—President Trump’s newly confirmed
      director of the Office of Management and Budget—took over as the acting
      administrator for the CFPB late Friday evening, as first reported by The Wall Street
      Journal. Soon after, DOGE staff began sending out email requests asking CFPB
      managers to give Kliger additional access to agency systems, including physical
      access control system, payroll processing systems, and the ability to edit the CFPB’s
      website, sources tell WIRED.

      Just before 10:30 pm ET on Friday, sources say, someone who appeared to have
      administrative privileges accessed the agency server using Secure Shell, a protocol
      that allows remote control of a computer over a network. Bypassing the content
      management system, they unpublished the homepage file, causing a portion of the
      CFPB homepage to display a “404: Page not found” notice typical of a website that
      has been deleted or is otherwise missing. The remainder of the site was functional,
      including submission forms for industry whistleblowers and consumer complaints.

      Around 11 pm on Friday, the CFPB’s X account disappeared, and shortly after,
      according to a CFPB staffer, DOGE left the building.

      CFPB sources who spoke to WIRED described being blindsided by the DOGE staffers.
      "They said they would follow protocol but repeatedly did not," one says, noting that
      the level of access these staffers have could allow them to lock others out of the
      building, take down the website, and “obstruct the bureau’s ability to carry out its
      mandate.”


                                                                           000204


https://www.wired.com/story/dozens-of-cfpb-workers-terminated-in-after-hours-firing-blitz/?_sp=80a54680-3821-49d2-ac12-1b50408752c5.1739846334758   3/14
2/17/25, 9:40 PM                                                Dozens of CFPB Workers Fired in After-Hours Blitz | WIRED


         Got a Tip?


         Are you a current or former government worker with insight into what's going on? We'd like to hear from
         you. Using a nonwork phone or computer, contact the reporters securely using a personal device on Signal
         at makenakelly.32 and dmehro.89.



      One source at CFPB on Friday says they saw two young DOGE staffers wandering
      through the halls of the building trying to open doors.
      “DOGE pulled a Darth Vader in cloud city where they came in promising to respect
      our rules and ask for read access and then tonight [Friday] at 6 they took a heel turn
      and demanded website access,” another CFPB source told WIRED at the time.

      In a pair of emails sent Saturday and Monday, Vought effectively ordered all work at
      the agency to stop, freezing various enforcement efforts and work on regulations
      that would affect payment programs run by Big Tech companies.

      The CFPB has long been a target of both Elon Musk and conservatives more broadly;
      the Project 2025 chapter on financial regulatory agencies describes it as “a highly
      politicized, damaging, and utterly unaccountable federal agency” and calls to have it
      abolished. Musk wrote “RIP CFPB” with a gravestone emoji in an X post Friday
      afternoon. In November, he posted “Delete CFPB.” There are around 1,700
      employees in total at the agency.

      The CFPB was established by the 2010 Dodd-Frank Act, a sweeping piece of
      legislation that imposed significant regulatory reform in the wake of the 2008
      financial crisis. Its remit is to protect consumers from unfair or deceptive financial
      practices, and the agency claims to be responsible for $19.7 billion in consumer relief
      since its inception, as well as $5 billion in civil penalties.

      Some of those wins have come against payment processors including Block, which
      last month was ordered to pay $175 million in penalties for allegedly failing to
      sufficiently protect users of its Cash App from fraud. The CFPB also has an active
      lawsuit against JPMorgan Chase, Bank of America, and Wells Fargo for similar
      alleged failures on their shared payment app Zelle. Elon Musk will soon be in the
      peer-to-peer payments business as well,000205
                                               after X entered a partnership with Visa in
      late January.

https://www.wired.com/story/dozens-of-cfpb-workers-terminated-in-after-hours-firing-blitz/?_sp=80a54680-3821-49d2-ac12-1b50408752c5.1739846334758   4/14
2/17/25, 10:02 PM                                             Trump and Musk Go to War on the Consumer Financial Protection Bureau




                                                               'CONFLICT OF INTEREST'


                INSIDE TRUMP AND MUSK’S WAR ON THE
              CONSUMER FINANCIAL PROTECTION BUREAU
            Taking cops off the beat could be America’s loss, and Trump and Musk's personal
                                                 gain
                                                        By TIM DICKINSON, ANDREW PEREZ
                                                                        FEBRUARY 10, 2025




                                                                               000206


https://www.rollingstone.com/politics/politics-features/trump-musk-cfpb-consumer-financial-protection-bureau-1235262743/             1/17
2/17/25, 10:02 PM                                             Trump and Musk Go to War on the Consumer Financial Protection Bureau




                        President Donald Trump and Elon Musk on November 19, 2024 in Brownsville, Texas.
                                                                    BRANDON BELL/GETTY IMAGES




     The new boss at the Consumer Financial Protection Bureau had a jarring message for
     staffers Monday morning, in an internal memo leaked to Rolling Stone: “Stand down from
     performing any work task.”

     The message came from Russell Vought — a Project 2025 architect who was confirmed by
     the Senate last week to lead the Office of Management and Budget in the Trump White
     House. One of Vought’s first official acts was to seize the reins as acting director at CFPB, the
     agency designed by Congress to safeguard Americans from the predatory practices of Wall
     Street and other financial malefactors.

     The brainchild of now-Sen. Elizabeth Warren, the CFPB is one of the few agencies in
     Washington whose mission is to protect individual Americans against corporate power. It
     routinely orders large corporations to refund money to duped and abused consumers —
     more than $20 billion over the lifetime of the agency. It also wards against the kinds of
     systemic risks that led to the financial crisis000207
                                                     of 2008.

                                                                           A D V E RT I S E M E N T
https://www.rollingstone.com/politics/politics-features/trump-musk-cfpb-consumer-financial-protection-bureau-1235262743/             2/17
2/17/25, 10:02 PM                                             Trump and Musk Go to War on the Consumer Financial Protection Bureau
                                                                           A D V E RT I S E M E N T




     To insulate CFPB from partisan reprisal, it is funded by the Federal Reserve, meaning that a
     hostile congressional majority can’t zero out its budget. That CFPB’s funding mechanism
     was declared constitutional by the conservative-dominated Supreme Court just last year.

     Nuking the CFPB has long been a Republican priority. Project 2025, the conservative policy
     playbook Vouht played “an indispensable part” in developing, recommends abolishing the
     bureau, calling it “utterly unaccountable.” The Trump administration — marching to the
     tune of the de-facto head of government Elon Musk — is naturally seeking to hogtie the
     bureau and cut off its funding, moves that experts insist pose a major conflict of interest.

     Musk, the world’s richest man, wants to transform X (formerly Twitter) into a peer-to-peer
     payments platform, which would likely subject the company to CFPB regulation — so it’s
     no surprise he sees the bureau as a bugbear. He sicced his so-called Department of
     Government Efficiency (DOGE) minions on the agency last week, before tweeting out
     “CFPB RIP” adding a headstone emoji.


                                                                   EDITOR’S PICKS
                                                               The 100 Best TV Episodes of All Time




                                                                               000208


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                                                               The 250 Greatest Albums of the 21st Century So Far




                                                               The 500 Greatest Albums of All Time




                                                               The 200 Greatest Singers of All Time




     “It’s the USAID playbook,” a CFPB lawyer tells Rolling Stone, referring to the foreign aid
     agency Musk helped send through the “wood chipper” last week, shutting down life-saving
     relief operations across the globe.


                                                                           A D V E RT I S E M E N T




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     New administrations often put acting directors in charge of agencies and even pause
     substantive regulatory and legal work until permanent leaders can be put in charge.
     “Withdrawing rules that haven’t gotten into effect yet is not surprising or shocking to
     anyone,” says the lawyer, who spoke on condition of anonymity to avoid reprisal.

     But Vought has also taken CFPB examiners out of the field, a move the lawyer likens to
     taking cops off the beat. “It means that the CFPB is not going to uncover consumers being
     harmed,” he says. That includes people having their cars wrongly repossessed, debtors
     being charged abusive fees that keep them paying down their loans, and people with
     disabilities wrongly being denied student loan forgiveness.

     The CFPB is a unique agency, but the bureau lawyer draws a parallel to food safety: “The
     USDA secretary doesn’t need to pause meat inspections when they take office,” he says. “It
     suggests to me that they intend to fully cease operations.”

     Monday’s order for employees to “stand down” adds to a sense of dread around the bureau’s
     future. “There was still work to do,” the attorney says, ranging from resolving “legal
     questions around how to comply with executive orders” to managing vendors or
     responding to public record requests under the Freedom of Information Act (FOIA).


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     Vought tweeted Sunday that CFPB has become “a woke & weaponized agency” adding:
     “this must end.” He also announced that he is turning off the “spigot” to the CFPB — by
     refusing to draw new funding from the Federal Reserve, on the logic that the CFPB current
     cash-on-hand is “excessive.” (The bureau’s roughly $700 million reserve represents less
     than a year of funding; Musk has called on that money to be “returned.”)

                                             000210
     With Vought sending CFPB staffers home and barring them from conducting work, the
     acting director has also cleared the field for Musk’s controversial band of DOGE bros to
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     infiltrate the internal systems and records of the bureau. This represents a significant
     security risk for companies regulated by CFPB as well as potential conflict of interests for
     Musk, according to the bureau lawyer.

     “If I were a potential competitor of Elon Musk‘s planned payment app, I would be
     concerned about DOGE having access to my confidential supervisory information,” the
     lawyer says, using agency jargon for proprietary business information. This can include
     balance sheets, risk-management practices, and other “extremely private” information that
     is not releasable under FOIA. “Now Elon Musk gets to look at all of that,” the lawyer asserts.

     With communications staff idled, Rolling Stone reached out to Mark Paoletta, whom Vought
     identified in Monday’s memo as CFPB’s chief legal officer. Paoletta was reportedly
     responsible for issuing the controversial, now court-enjoined, Trump administration memo
     implementing a sweeping federal spending freeze. (He is also a close friend and vigorous
     defender of Supreme Court Justice Clarence Thomas.) Paoletta did not immediately
     respond to Rolling Stone questions.


                                                                           A D V E RT I S E M E N T




     A recent-former CFPB staffer echoes the concerns of the bureau lawyer that DOGE could
     misuse records that are intended to be confidential. Julie Margetta Morgan was an associate
     director of research, monitoring, and regulations with the bureau. She warns that Musk
     may now have “access to data about his competitors in a way that gives him a massive
     advantage.”

                                                                               000211
     Morgan adds that CFPB shutdown is rife with “conflict of interest” that runs all the way to
     the top. “You have multiple players in the Trump administration — including the president
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     himself — who have a personal financial stake in having a weak or non-existent regulator,”
     she says. “The steps they’ve taken over the last few days have a major downside for
     consumers, and a major upside for key players in the Trump administration.”

     Notably, the Trump family has made recent moves into the financial sector, infamously
     issuing crypto meme coins and launching World Liberty Financial, a firm that describes its
     mission as “dismantling the stranglehold of traditional financial institutions.”

     Speaking about Musk’s platform X and other Big Tech firms, Morgan says: “They want to
     play in the financial services space, but they don’t want to play by the same set of rules.
     They simply do not think that ought to be regulated by the same institutions that regulate
     big banks.”

     The assault on CFPB is just an opening salvo in a broader battle against financial regulation,
     Morgan warns. “It’s about opening the floodgates for big banks to have their way on
     financial services. It’s incredibly dangerous, both for individuals and for the economy as a
     whole,” she says, noting that CFPB is intended to help prevent another financial crisis.

     Vought’s shutdown orders and the intrusion of DOGE into the bureau have already
     provoked a legal reaction. CFPB union members have filed a pair of federal lawsuits against
     Vought. One seeks to have a judge enjoin his stop-work order unlawful as a violation of
     “separation of powers,” because Congress sets CFPB’s mission. The second seeks to block
     DOGE from accessing bureau records, including sensitive employee data.

     The CFPB lawyer is confident the essential work of consumer protection will be harder to
     kill than Vought & Co. believe, because the Consumer Financial Protection Act includes a
     little-known safeguard: “They will regret nuking the CFPB, especially once they realize that
     states can enforce the [law].”

     If the CFPB is hobbled expect states to “pick up the slack,” he says. “They won’t be as expert
     or have as many resources, but they would probably hire a bunch of us.”

     In the meantime there’s a personal cost for public employees caught in the crossfire of an
     ideological war. “It sucks,” says the lawyer. “I have kids. These people are trying to make us
     miserable for no reason.”
                                                                               000212
     IN THIS ARTICLE: BANKS, DONALD TRUMP, ELON MUSK, RUSSELL VOUGHT, TWITTER, WALL STREET



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                    The lobby of the US Consumer Financial Protection Bureau headquarters as a worker removes belongings
                    from the building in Washington on Feb. 9. Photographer: Stefani Reynolds/Bloomberg

                    Politics + Technology

                    DOGE-Backed Halt at CFPB Comes
                    Amid Musk’s Plans for ‘X’ Digital Wallet
                    Government-efficiency team’s initial ‘read-only’ access expanded quickly
                    to encompass closely guarded data, internal emails say.
                    By Jason Leopold and Evan Weinberger
                    February 10, 2025 at 5:00 AM EST


                    In another weekend takeover of a federal agency’s operations, staffers from a
                    efficiency initiative led by billionaire Elon Musk helped to effectively shut
                    down the Consumer Financial Protection Bureau — as they gained access to a
                    array of the bureau’s protected information.

                    The actions began last Thursday, when four young staffers working under
                    Musk for the Department of Government Efficiency, or DOGE, showed up at
                    CFPB’s Washington headquarters. At first, they had what was described as
                    read-only access to a limited array of documents, including the agency’s
                    internal personnel files,Save
                                              procurement
                                                  now with arecords
                                                             special and
                                                                     offer.budgeting and financial
                                                       000213
                    data, according to an email shared among CFPB officials.
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                    Then, late Friday night,uninterrupted
                                              the DOGE staffers access.
                                                                   were granted access to all the
                    CFPB’sGet
                            data systems, including sensitive bank examination and enforcement
                               the context behind every story for $1.99/month. Cancel anytime.
                    records, according to five people familiar with the matter and emails seen by
                    Bloomberg News. The people asked not to be identified, citing concerns over
                    potential retribution. By Sunday, the agency was a skeleton, with its funding
                    limited and activities suspended.
                                                              Or pay with credit card
                    Musk, whose social-media platform X has recently begun firming up plans to
                    enter the online payments industry, had already predicted the demise of the
                    consumer-watchdog agency. He didn’t respond to a request for comment.

                    The weekend’s events came after Russell Vought, who heads the White House
                    Office of Management and Budget, ordered wider access for DOGE, according
                    to an email to CFPB officials that was seen by Bloomberg. Vought sent the
                    email Friday evening, about 90 minutes before news broke that he’d also bee
                    named acting director of the financial-enforcement agency.

                    Vought is an architect of the Heritage Foundation’s influential and
                    controversial government-overhaul plan called Project 2025, which appears t
                    have guided DOGE’s attempts to dismantle portions of the federal
                    bureaucracy. Earlier this month, the team played a key role in the
                    administration’s effort to shut down the US Agency for International
                    Development, another longstanding conservative bête noire.

                    Bloomberg News sought comment from Musk, Vought, the DOGE team
                    members and the White House. None responded.

                    Bloomberg's FOIA expert uncovers interesting documents never seen before.
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                    A screenshot of the CFPB website’s home page taken on Feb. 9. Source: CFPB

                    ‘CFPB RIP’
                    Project 2025 calls for abolishing the CFPB, which Congress created as a
                    consumer watchdog in the wake of the financial crisis that precipitated the
                    Great Recession. On Saturday night, Vought sent an email instructing its
                    employees to stop “all supervision and examination activity” and “all
                    stakeholder engagement,” and he announced that he would decline additiona
                    funding for the bureau, saying its current account balance of $711.6 million is
                    “excessive.” Those steps came one day after Musk posted the message “CFPB
                    RIP” next to a tombstone emoji on his personal X account.

                    The CFPB is mandated to perform direct supervision on large banks and othe
                    companies it oversees. Supervision in the financial regulatory world means
                    that examiners look under the hood at a company’s operations.




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                    Elon Musk Photographer: Al Drago/Bloomberg


                    CFPB examiners have access to banks with $10 billion or more in assets, but
                    they also oversee debt collectors, payday and other online lenders, consumer
                    credit reporting companies, some fintechs and payments processors, and a
                    host of other companies that banking regulators don’t monitor. The agency’s
                    former director told a congressional panel last year that it had returned $20.7
                    billion to consumers since its inception.

                    The confidential supervisory information CFPB examiners collect is stored on
                    agency laptops and in its internal Supervision Examination System, a
                    Salesforce platform. That data — including customer information and
                    complaints; new products under development but not yet released to the
                    public; and financial information — is valuable and closely guarded, the five
                    people said.

                    While there’s no evidence that DOGE staffers have begun studying any of the
                    examination and enforcement records, employees of the financial-oversight
                    agency questioned the appropriateness of giving the government-efficiency
                    initiative the ability to access those records.
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                                            uninterrupted
                    Just nine days before his  DOGE team visited     access.
                                                                       CFPB, Musk’s X — the former
                    TwitterGet
                            — announced     that it every
                               the context behind   had struck   a deal
                                                          story for      with Visa
                                                                    $1.99/month.   to process
                                                                                 Cancel       peer-to-pee
                                                                                        anytime.
                    payments. Musk has publicly mused about expanding into payment-services
                    since he first took control of X in 2022. Entering that business could bring
                    CFPB oversight under rules the agency finalized in November. The records
                    DOGE can now access would include sensitive and potentially competitive
                                                 Or pay with credit card
                    information.

                    DOGE staffers
                    DOGE’s engagement with the consumer-protection agency unfolded over
                    several days and its scope gradually expanded.

                    On Friday, four DOGE staffers—Gavin Kliger, Luke Farritor, Nikhil Rajpal and
                    Jordan Wick — were described as needing to be onboarded and provided with
                    complete building access in an email sent to a half-dozen CFPB officials by
                    Chris Chilbert, the agency’s chief information officer. Two additional DOGE
                    team members, Christopher Young and Jeremy Lewin, who were provided
                    with CFPB email addresses, were copied on the correspondence.

                    In the email, which was seen by Bloomberg, Chilbert asked employees to give
                    the DOGE team the benefit of the doubt.

                    “I know there’s a lot going on in the press and on social right now,” Chilbert
                    wrote. “It’s hard to separate fact from fiction. Please reach out to me anytime
                    you have questions or concerns. I’m very proud of the work we've done to
                    build a strong technology foundation and I think we have a lot of good things
                    we can show” DOGE.

                    The team’s initial entry to CFPB Thursday had been accompanied by an
                    “Assignment Agreement,” or a memorandum of understanding between the
                    efficiency initiative and the consumer agency, a copy of which was seen by
                    Bloomberg News. It explained that authority for the CFPB operation emanate
                    from a Jan. 20 executive order. It also said that the scope of the DOGE team’s
                    efforts would include, “work on software modernization initiatives,” the
                    promotion of “inter-operability between agency networks and systems” and
                    the use of software engineering to “champion the use of modern technology
                                                 000217  Save now with a special offer.
                    development and management approaches.”
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                    documents   never seen before.
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                    The memorandum of understanding, which bore the seal of the Executive
                    Office of the President, says CFPB leadership will see to it that the DOGE will
                    “have full and prompt access to unclassified agency records, software system
                                                Or pay
                    and IT systems.” It notes that DOGEwith credit
                                                          “shall   card to rigorous data protection
                                                                 adhere
                    standards” and that CFPB should “ascertain and mitigate any conflicts of
                    interest or confidentiality protocols.”

                    Initially, CFPB officials were told that a DOGE team needed just “read only”
                    access to their human resources, procurement and finance systems. By Friday
                    evening, according to an email sent by Chilbert that was seen by Bloomberg
                    News, Vought had instructed CFPB to give DOGE administrative access — a
                    much broader form of permissioning.

                    The employees were forwarded an email sent to the agency by Vought.
                    Attached to it was the signed memorandum of understanding.

                    “I’m sending this e-mail in my capacity as acting director of the Bureau of
                    Consumer Financial Protection,” Vought wrote in the email, which was seen b
                    Bloomberg. “See attached letter which has been signed by me. This e-mail als
                    constitutes my authorization to begin work under the agreement.”

                    A few hours later, CFPB’s X account was deleted, and the home page of the
                    agency’s website was partially dismantled. Visitors to the website now see a
                    “404 page not found” message when visiting the home page, although links to
                    most pages are still accessible.

                    CFPB employees who read the memorandum of understanding started
                    backchannel discussions about it and raised red flags, according to the five
                    people familiar with the matter. They asked why DOGE would need to access
                    the human resources, finance and procurement data if its goal was to
                    modernize the agency’s software, the people said.

                    One employee sent an email to CFPB Chief Operating Officer Adam Martinez
                    and his aides, asking them tonow
                                            Save  “pause
                                                     with and ensure
                                                          a special
                                                      000218           that the systems that are
                                                                    offer.
                    being provided” to the DOGE team “are consistent with the law.” The email
                                                           Subscribe now for
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2/17/25, 10:05 PM                                  DOGE-Backed Halt at CFPB Comes Amid Musk’s Plans for ‘X’ Digital Wallet - Bloomberg

                    expressed concern aboutuninterrupted
                                               potential “actions access.
                                                                    that may accidentally lead to data
                    breaches, unintended access and other risks to the American public.”
                          Get the context behind every story for $1.99/month. Cancel anytime.

                    It’s unclear whether the employee received a response. Martinez didn’t
                    respond to a request for comment Sunday.

                                                              Or pay with credit card




                    The CFPB headquarters on Feb. 2. Photographer: Al Drago/Bloomberg


                    Chipotle Order
                    The DOGE team were given “senior advisor” titles at the agency and worked
                    from a conference room in the basement of CFPB’s headquarters. The CFPB’s
                    union attempted to greet them at the door, but the DOGE teams were
                    standoffish and didn’t talk to anyone, according to multiple people familiar
                    with the matter. The DOGE employees largely stayed in the basement; one wa
                    spotted emerging to pick up a Chipotle order for lunch in the CFPB lobby.

                    By Saturday afternoon, according to five people familiar with the matter, the
                    DOGE team’s administrative access had expanded, giving users the ability to
                    choose which of the agency’s internal systems they can explore.

                    That night, Vought began to lay
                                           Save nowthe groundwork
                                                    with              for overhauling and at least
                                                         a special offer.
                                                     000219
                    temporarily shutting down the CFPB. He sent an email to all the agency’s
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EXHIBIT II




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                                          IN THE UNITED STATES DISTRICT COURT
                                             FOR THE DISTRICT OF MARYLAND


                 J. DOE 1-26,

                                     Plaintiffs
                                                                           Case No. 25 8:25-cv-00462-TDC
                                          v.

                 ELON MUSK, in his official capacity,
                 UNITED STATES DOGE SERVICE, and
                 the DEPARTMENT OF GOVERNMENT
                 EFFICIENCY,

                                     Defendants


                                                    DECLARATION OF J. DOE 1


             I, J. Doe 1, pursuant to 28 U.S.C. § 1746, declare that the following statements are true and

             correct to the best of my knowledge and belief:

             1.         I am a plaintiff in this litigation, identified as “J. Doe 1” in the complaint.1

             2.         I am a personal services contractor (“PSC”) at the United States Agency for

             International Development (“USAID”) and have been with the agency since 2017.

             3.         My role is to coordinate humanitarian assistance. My main duties include managing a

             portfolio of partners and providing guidance to junior staff. Through work with USAID, I have

             deployed into dangerous areas around the world, including Pakistan.

             4.         Under the terms of my contract, the government cannot terminate the contract in the

             middle of the contractual period unless it provides at least 15 days advance notice. I was cut off

             from access to my work email without any advanced notice.




             1
                 A Motion to Proceed Under Pseudonyms is pending with the Court.
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             5.       As of February 17, I have been given access to my USAID email, and my devices and

             internal systems have been largely restored. However, I do not have access to the USAID

             financial system, which I previously used as part of my regular duties.

             6.       I have a voucher for reimbursement pending payment. I submitted this voucher for

             reimbursement to my Contracting Officer on February 7, during the week I was locked out of

             USAID systems. I was unable to get the approval because my team lead, who needed to sign off

             on it, was also locked out.The voucher process is separate from our regular payroll. I understand

             people are not being reimbursed for costs they incurred. If I had been able to send the request

             that day, it should have been paid by now. Instead, I re-submitted the request during the week of

             February 10, when my team was back online and my request is still pending.

             7.       I am not currently able to work under my normal conditions.

                  a. I do not have any emails from the week that I was locked out, which hindered my ability

                      to respond to information requests from my team for the latest status of our partners and

                      programs.

                  b. I have not been permitted to access my office building since January. I have cherished

                      personal items including personal photos, mementos from my time and work abroad,

                      which represent memories of major life experiences, as well as award and training

                      certificates at the office that document professional skills and accomplishments. I am

                      unable to retrieve these items and my understanding is that USAID offices are being

                      physically torn apart and relinquished to other agencies. I have no idea if I will ever see

                      these deeply personal belongings again. This adds insult to the injury that we, as USAID

                      personnel, have already experienced.

                  c. I am no longer able to approve reimbursement for our partner organizations, accept
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                      reports, or provide process guidance, which were part of my regular duties. Many of

                      these partners have emailed with great distress to indicate that though they have waivers

                      or exemptions, they will have to cease programming in the coming weeks due to lack of

                      funds and non-payment from USAID.

                  d. There have also been several directives regarding permitted and non-permitted external

                      communications that have impeded my normal duties, including direction not to email or

                      respond to the USAID Office of Inspector General (OIG) office, and only to provide

                      notifications through the online portal.

                  e. A small but telling point is that I have also been instructed to enter my hours into my

                      timesheet daily. While this may be normal in many offices, in mine most staff would fill

                      it out at the end of the pay period before the approval deadline. I believe that the direction

                      for daily time accounting is to ensure accuracy of the time records in the case of my

                      sudden placement on administrative leave or termination.


             8.       Many partners have said they will cease programming due to lack of funds and

             non-payment from USAID.


             9.       As a result of the dangerous nature of my job, specifically my deployment into conflict

             zones, my personnel and security clearance files contains highly sensitive personal

             information—social security number, passport information, personal references, foreign contacts,

             previous addresses, financial records, tattoo descriptions, a safety pass phrase, and my family

             members’ information. I am aware that government workers have, for some illogical reason,

             become public targets in a fraught environment and have been subject to doxxing, threats, and

             other harms. I fear that Defendants do not have the security clearance or training needed to


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             handle this type of extremely confidential information, and will use it to my and/or my family’s

             detriment.

             10.      I hereby declare under penalty of perjury that the foregoing is true and correct.

             Executed on the 17th day of February, 2025.



                                                                                   J. Doe 1


                                                                                   _______________________
                                                                                   Signature




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EXHIBIT III




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                                         IN THE UNITED STATES DISTRICT COURT
                                            FOR THE DISTRICT OF MARYLAND


                 J. DOE 1-26,

                                     Plaintiffs
                                                                           Case No. 25 8:25-cv-00462-TDC
                                         v.

                 ELON MUSK, in his official capacity,
                 UNITED STATES DOGE SERVICE, and
                 the DEPARTMENT OF GOVERNMENT
                 EFFICIENCY,

                                     Defendants

                                                   DECLARATION OF J. DOE 2


             I, J. Doe 2, pursuant to 28 U.S.C. § 1746, declare that the following statements are true and

             correct to the best of my knowledge and belief:

             1.         I am a plaintiff in this litigation, identified as “J. Doe 2” in the complaint.1

             2.         I am an employee at the United States Agency for International Development

             (“USAID”) and have been with the agency for over 10 years.

             3.         My main duties include technological responsibilities related to cybersecurity and

             privacy. My position involves extensive interaction with USAID’s information technology (“IT”)

             infrastructure, including its data security systems.

             4.         On January 30, 2025, I was working from the USAID office when I was told to provide

             systems access to individuals from DOGE.

             5.         I conducted research and determined that the individuals from DOGE who were trying to

             get access to these crucial systems have a history of issues with data misuse. I was alarmed and



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                 A Motion to Proceed Under Pseudonyms is pending with the Court.
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             raised this issue with my supervisors, indicating that the DOGE personnel should not obtain

             access.

             6.        However, I thereafter discovered that the DOGE personnel had already been given

             access. Furthermore, the DOGE personnel were given root access to USAID systems, the highest

             level of access one can obtain and which allows a person to take over a system. This includes the

             ability to modify, add, delete data, and create user accounts.

             7.        On Feb 1, 2025, DOGE personnel who did not have a security clearance, used their

             administrative rights to grant themselves access to restricted areas requiring security clearance. It

             is unclear what the DOGE personnel did with that access.

             8.        DOGE personnel have also taken over delegate rights to every USAID mailbox. With this

             they have the ability to see every email, delete, and send email on behalf of every user within

             USAID. I am also aware that there is rapid preparation to tear down the USAID network to

             create a condition where USAID employees will not have access to any facilities nor computing

             environment.

             9.        All of the classified systems in multiple USAID buildings have been dismantled and are

             not available to use. If there is information that is being shared with USAID on critical issues

             occurring around the world of a classified nature, which may only be accessed by USAID staff

             through the classified systems inside of the USAID systems, that access no longer exists because

             the IT infrastructure and access no longer exists.

             10.       On February 4, 2025, I was put on administrative leave and lost all access to USAID

             systems.


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             11.     On February 10, 2025, I was allowed back into the USAID system, apparently pursuant

             to a temporary restraining order in a separate lawsuit between different parties. I currently have

             access to my USAID email, but other USAID systems have been taken offline.

             12.     I understand that the DOGE personnel have administrative privileges into all the USAID

             systems and tools and that DOGE personnel took information out of the agency and sent it

             elsewhere.

             13.     DOGE's actions have caused me emotional injury, as I am aware of the extent of

             confidential information that has been breached by DOGE, including confidential information of

             USAID personnel, and the privacy laws broken.

             14.     Since Defendants began dismantling USAID, there has been a more than two-fold

             increase in the total number of security incidents flagged by our IT tools. This includes both

             incidents related to outside attacks and incidents related to internal use of sensitive data (e.g.

             individuals within USAID downloading materials that contain sensitive information, like social

             security numbers, which is flagged even when an individual is downloading their own

             information). This has overwhelmed the IT team responsible for responding to these incidents.

             Previously, the IT team could keep up with the incident response on essentially a daily basis but

             can no longer do so. This is a security issue in and of itself as the IT team is stretched thin and

             therefore cannot focus as much attention as needed on actually threatening incidents.

             15.     I understand that the USAID buildings/floors within buildings have been given to other

             agencies for other purposes, including allowing the breaking down of offices and cubicles.

             USAID staff and contractors who worked in the USAID buildings are not allowed inside, even to

             obtain personal belongings. Before I was no longer allowed in the USAID building I worked in, I
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             kept in my office photographs, awards, coins collected over the years, and other keepsakes. I no

             longer have access to these items.

             16.     My fellow USAID staff and I are locked out of our offices, and we were told to stay away

             from all USAID locations. While we have been away, the leases were allowed to expire as they

             sought other Agencies to occupy the buildings. I am aware that the headquarters location at the

             Ronald Reagan Building. 1300 Pennsylvania Ave. has been turned over to the Department of

             Homeland Security/ Customs and Border Protection. The building that I worked from, 500 D

             Street SW, is actively being shopped out to other Agencies. This is happening with no

             communications to employees other than that the buildings are closed until further notice.

             17.     Our regular activities are not being performed as the usual processes are not being

             followed and there is complete uncertainty about the path forward. No one knows who holds

             certain roles and how to advance through most processes as many of the leaders are not in their

             formal roles and most people are fearful of making any decisions. It is clear that the focus is on

             the total dismantling of the Agency and not its core functions, not the support functions that are

             codified by statute. This includes FITARA, FISMA, the Privacy Act, Section 508 of the

             Americans with Disabilities Act, E-Government Act of 2002, Government Performance and

             Results Act, the Paperwork Reduction Act and many more. The best description of the current

             environment is very tense and paralyzing.




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             18.     I hereby declare under penalty of perjury that the foregoing is true and correct.

             Executed on the 18th day of February, 2025.


                                                                                  J. Doe 2




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                                                                                  Signature




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EXHIBIT IV




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                                         IN THE UNITED STATES DISTRICT COURT
                                            FOR THE DISTRICT OF MARYLAND


                 J. DOE 1-26,

                                     Plaintiffs
                                                                           Case No. 25 8:25-cv-00462-TDC
                                         v.

                 ELON MUSK, in his official capacity,
                 UNITED STATES DOGE SERVICE, and
                 the DEPARTMENT OF GOVERNMENT
                 EFFICIENCY,

                                     Defendants

                                                   DECLARATION OF J. DOE 6
             I, J. Doe 6, pursuant to 28 U.S.C. § 1746, declare that the following statements are true and

             correct to the best of my knowledge and belief:

             1.        I am a plaintiff in this litigation, identified as “J. Doe 6” in the complaint.1

             2.         I am a personal services contractor (“PSC”) at the United States Agency for International

             Development (“USAID”) and have worked in this field for over 25 years.

             3.         I am a subject matter expert whose main duties include working on countering

             authoritarianism and foreign malign influence which undermines U.S. national security.

             4.         Under the terms of my contract, the government cannot terminate the contract in the

             middle of the contractual period unless it provides at least 15 days advance notice.

             5.         I was in Africa for work with USAID when the stop work order came out. I traveled back

             home to the United States and have thousands of dollars of travel costs reimbursement that is

             supposed to be covered by USAID.




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                 A Motion to Proceed Under Pseudonyms is pending with the Court.
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             6.       I lost access to my work email and USAID systems on February 2 and as of February 17,

             I still have no access. I have received no formal communication from anyone within the agency

             about my situation. I am in touch with my supervisor and Office Director daily and am in

             regular contact with my Contracting Officer. So far none of them has provided any notification

             of my status or other guidance to me.

             7.       I have requested support from the Helpdesk and received a response letting me know that

             I am not on the list for access and that any changes will need to be approved by political

             leadership.

             8.       I am not able to perform my duties and scope of work optimally or engage equally as a

             teammate as I do not have access.

             9.       Moreover, there is extreme confusion as to whether PSCs have been placed on

             administrative leave or not. Like many PSCs, I have received zero information regarding my

             employment status despite losing access to my account. While some PSCs have had their

             accounts restored, many have not. This is extremely frustrating and confusing.

             10.      My health insurance is primarily covered by USAID, and I do not know if I continue to

             have health insurance coverage or how long that coverage will last.

             11.      My livelihood is severely jeopardized by Defendants’ illegal activity.

             12.      I hereby declare under penalty of perjury that the foregoing is true and correct.

             Executed on the 17th day of February, 2025.


                                                                                   J. Doe 6

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EXHIBIT V




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                                          IN THE UNITED STATES DISTRICT COURT
                                             FOR THE DISTRICT OF MARYLAND


                 J. DOE 1-26,

                                      Plaintiffs
                                                                           Case No. 25 8:25-cv-00462-TDC
                                          v.

                 ELON MUSK, in his official capacity,
                 UNITED STATES DOGE SERVICE, and
                 the DEPARTMENT OF GOVERNMENT
                 EFFICIENCY,

                                     Defendants

                                                   DECLARATION OF J. DOE 7
              I, J. Doe 7, pursuant to 28 U.S.C. § 1746, declare that the following statements are true and

             correct to the best of my knowledge and belief:

              1.        I am a plaintiff in this litigation, identified as “J. Doe 7” in the complaint.1

              2.        I am a Civil Service Excepted (“CSE”) employee at the United States Agency for

             International Development (“USAID”) and have been with the agency for over 10 years.

              3.        I work in a bureau focused on disaster response.

              4.        On Sunday, February 2, USAID personnel were cut off from accessing USAID systems

             in droves.

              5.        On Monday, February 3, more USAID personnel were cut off from accessing systems.

             That morning, I spoke with the information technology (“IT”) personnel in my building. The IT

             team shared that representatives from DOGE had access to all systems. The IT personnel knew

             this because they were required to help the DOGE representatives obtain access. Two separate IT




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                 A Motion to Proceed Under Pseudonyms is pending with the Court.
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             personnel told me that the representatives from DOGE “have everything” and that they now have

             “the keys to the kingdom.”

              6.       On the morning of February 3, I was contacted by USAID personnel overseas who were

             stranded without access to government phone, laptop, and systems, including AtHoc and Scry,

             the apps used to disseminate emergency safety and security information/direction to colleagues.

             The systems to help the USAID people stranded overseas were shut down, and so I could not

             assist them.

              7.       On Tuesday, February 4, I went into the office and was eventually informed by

             colleagues that I and other personnel had to leave the building. I then went home to keep

             working. That evening, I was told I was put on administrative leave via an email from the

             USAID press email address, sent from one of DOGE’s representatives. Shortly after receiving

             this notice, I lost access to USAID systems.

              8.       On Sunday, February 9, apparently in response to a temporary restraining order issued in

             another lawsuit, I was given access to USAID systems.

              9.       I did not have access to the Abacus system until February 13. Our Bureau uses Abacus

             for award management, running reports on awards, partners, and tracking our available budget

             and funds. As of February 17, the Automated Directive System (ADS), which covers all internal

             USAID policy and guidance from everything to HR and timekeeping issues to acquisitions and

             assistance to non-governmental organizations, UN agencies and other Public International

             Organization (PIOs), and for-profit organizations, was still offline.




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              10.      Many PSCs were not paid for 2025 Pay Period 1 and did not receive their cost of living

             adjustment, and they were not paid for outstanding vouchers for travel, health insurance, and

             other reimbursable expenses.

              11.      The freeze on payment systems has also resulted in implementing partners being unable

             to get paid out for vouchers submitted for work already completed. World Food Program alone is

             owed over $819M for work already completed. Several non-governmental organizations have

             already had to close up shop.

              12.      Not all of my team members and colleagues have had their access to email and systems

             restored, and that has placed an extra burden on those of us who are able to continue working.

             Those without access are unable to use email, any of the databases including documents on the

             shared drives, and are unable to work on anything SBU (sensitive but unclassified), as SBU

             materials can only be completed on government systems.

              13.      As part of my job, I am expected to serve on Response Management Teams (RMT) in a

             classified Ops Center in DC and/or Disaster Assistance Response Teams (DART) overseas at any

             given moment. At this time, USAID no longer has the lease to our headquarters space in the

             Ronald Reagan Building, which therefore means that we don’t have access to any classified Ops

             Centers. Customs and Border Patrol has taken over our space. We have been told that no one

             from USAID will be allowed access to retrieve their personal items.

              14.      As a result of not having access to a classified Ops Center, we can not conduct regular

             operations for disaster response. This means that if an earthquake similar to the February 6, 2023

             earthquake in Turkey and Syria were to occur tomorrow, we would be unable to operate as

             normal. At this time, we have active RMTs for the Afghanistan, Ukraine, Sudan, Gaza, and
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             Yemen regions, however they do not have access to the classified Operations Center in the

             Ronald Reagan Building. Staff who had been delegated to short-term Tour of Duty (TDY)

             assignments on the respective DARTs have been called home, and the disaster responses are not

             able to function as normal.

              15.      I understand that the DOGE representatives have access to my personnel, medical, and

             security clearance files. These files have extremely sensitive information about me and my

             family members, including information that could subject me to harassment by DOGE members

             and/or by third parties. I am extremely worried about this prospect. Some of my colleagues have

             been doxxed, and so this concern is especially heightened.


              16.      I hereby declare under penalty of perjury that the foregoing is true and correct.

             Executed on the 17th day of February, 2025.


                                                                                    J. Doe 7


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EXHIBIT VI




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                                          IN THE UNITED STATES DISTRICT COURT
                                             FOR THE DISTRICT OF MARYLAND


                 J. DOE 1-26,

                                      Plaintiffs
                                                                           Case No. 25 8:25-cv-00462-TDC
                                          v.

                 ELON MUSK, in his official capacity,
                 UNITED STATES DOGE SERVICE, and
                 the DEPARTMENT OF GOVERNMENT
                 EFFICIENCY,

                                     Defendants

                                                   DECLARATION OF J. DOE 9

             I, J. Doe 9, pursuant to 28 U.S.C. § 1746, declare that the following statements are true and

             correct to the best of my knowledge and belief:

             1.         I am a plaintiff in this litigation, identified as “J. Doe 9” in the complaint.1

             2.         I am a personal services contractor (“PSC”) offshore at the United States Agency for

             International Development (“USAID”).

             3.         I am in a high-risk area in the Middle East.

             4.         On Monday, February 3, 2025, I tried to login to my USAID email account but was

             locked out. I received no warning or notification in advance of being shut out of USAID’s

             systems. My supervisor and Head of Mission were not informed in advance of the cutoff.

             5.         All of the contacts and the safety and security applications, including the SCRY

             application used to monitor and account for overseas personnel, were removed remotely from my

             USAID work phone. The SCRY application is the safety and security mechanism by which

             federal government staff overseas in dangerous areas indicate that they are in a dangerous

             situation and access help.

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                 A Motion to Proceed Under Pseudonyms is pending with the Court.
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             6.       I live with my family in the foreign country in which I am stationed and I am concerned

             for mine and my family’s safety. If there is an emergency, I hope we will be able to get out and

             be taken care of by USAID, but there is no guarantee as over the last few weeks, nothing done

             within USAID by Defendants has been according to protocol or implemented in a methodical,

             safe manner.

             7.       I have no idea what my status is each day. I continue to go into the office in order to

             execute my duties to the best of my ability despite not having access to any of the tools and

             resources required to do so.

             8.       As of February 17, 2025, I am still locked out of all USAID systems, including email,

             safety and security applications (including SCRY application), my calendar, Drive, and desktop.

             I have tried numerous times to reach out to different helpdesk lines in Washington, DC. The only

             response I have received is a message that the helpdesk confirms my account is disabled but that

             they can only tell me to contact political leadership in order to try to obtain my access to USAID

             systems.

             9.       Our Mission leadership and human resources held a meeting at the end of last week. They

             indicated that PSCs should prepare for when, not if, our contracts will be terminated. It is unclear

             whether the 30-day period to depart will apply to us as soon as the Temporary Restraining Orders

             in other cases lapse. It appears that even if we get approval to stay (e.g. to allow my child(ren) to

             finish the school year), we would no longer receive important provisions, like

             government-provided housing. I am scheduled to go on medical leave soon. If my contract is

             terminated before that time, I will lose the paid medical leave I have relied on.

             10.      I am under an incredible amount of emotional and psychological distress. My safety and

             my family’s safety weighs on my mind. I am worried and anxious about whether my family will


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             be uprooted in the next thirty days, including taking my child(ren) out of their school in the

             middle of the school year. I am distressed that I may lose my job without access to my salary,

             healthcare, and housing. And I am in emotional turmoil over the prospect of having a major

             medical event (I am already feeling the effects of this medical situation) without knowing that I

             will have access to my healthcare nor my paid medical leave. Additionally, the emotional and

             psychological distress from the situation within USAID exacerbates the effects of my medical

             situation.

             11.      I hereby declare under penalty of perjury that the foregoing is true and correct.




             Executed on the 18th day of February, 2025.




                                                                                   J. Doe 9



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EXHIBIT VII




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                                       IN THE UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF MARYLAND


              J. DOE 1-26,

                                   Plaintiffs
                                                                      Case No. 25 8:25-cv-00462-TDC
                                       v.

              ELON MUSK, in his official capacity,
              UNITED STATES DOGE SERVICE, and
              the DEPARTMENT OF GOVERNMENT
              EFFICIENCY,

                                   Defendants

                                                 DECLARATION OF J. DOE 12
             I, J. Doe 12, pursuant to 28 U.S.C. § 1746, declare that the following statements are true and


             correct to the best of my knowledge and belief:


             1.      I am a plaintiff in this litigation, identified as “J. Doe 12” in the complaint.


             2.      I am a personal services contractor (“PSC”) at the United States Agency for International


             Development (“USAID”).


             3.      My main duties include advocating for humanitarian assistance within the U.S.


             Government (USG) interagency, including training and preparing USG employees on supporting


             a USAID-led humanitarian response. I deploy to disasters around the world, often with 24 hours


             notice, and support steady-state capacity building and assessments to improve the execution of


             USAID-led humanitarian response.


             4.      On February 3, I lost access to USAID email and other systems. I have reported the lack


             of access to numerous entities within USAID and for several days received circular information
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             about how to resume access. I was originally told to contact HR, which I did via email and


             phone, and then was referred to USAID’s Chief Information Office (“CIO”), only to be


             re-referred to the original office.


             5.      On February 11, someone working in CIO responded to one of my requests to restore


             system connectivity with the following, “Hello, Thank you for contacting the Service Desk. Your


             account is disabled. Please contact your Bureau/political leadership for guidance on disabled


             accounts, not CIO. As this is a referral, this ticket will be resolved.” I continue to include human


             resources and CIO in my daily emails to the Contracting Officers, indicating that I do not have


             systems access.


             6.      The Agency is sending out important notices about the ongoing evolution of USAID to


             USAID email accounts only. Despite still being a PSC with USAID, I am unable to receive these


             notices.


             7.      I believe that I still have access to the emergency notification systems (“ENS”), because I


             had previously approved ENS alerts to be sent to my personal account. However, many of my


             colleagues had not previously chosen to opt into receiving ENS on their personal accounts and


             would not have access to ENS absent their USAID account. ENS provides updates on public


             safety and building safety. Relatedly, we continue to be barred from the USAID buildings and




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             have not received a formal notice of closure through ENS since February 6. Typically building


             closures are announced through ENS.


             8.       The leadership of my office have held important meetings related to the status of USAID


             and potential closure, however only staff with current access are permitted to attend. As a result,


             I have to rely on second hand information about the status of my future employment and other


             related topics.


             9.      My main concern is that the lifesaving work that USAID facilitated has stopped


             overnight. The recipients of USAID programming are some of the most vulnerable people in the


             world, and the cruel overnight closure of many USAID programs has increased human suffering


             around the world. I have spent the last few weeks weeping, nearly daily, as I think about the risk


             to people on the brink of death and utter devastation. For the last decade, I have worked in DC


             and almost 20 countries, supporting populations in crisis. I see the faces and stories that I've been


             privileged to serve and am heartbroken to think that in the course of one day many life saving


             programs and humanitarian activities---even those that were already funded---were halted. The


             international humanitarian system, which was formalized following the Second World War, has


             been shattered by Defendant Musk’s actions against USAID. Within a matter of days, Defendant


             Musk and DOGE dismantled a global system under the guise of a “90 Day Review.” I have


             experienced harm and moral injury as an anticipated good faith effort to honor the American

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             taxpayer was weaponized and used as a tool by Defendant Musk to dismantle an entire


             government agency and cancel life saving humanitarian assistance in the process.


             10.     I am very worried that I will not be reimbursed for expenses that are part of my

             compensation package. As a PSC, I pay upfront for entitlements such as health and life insurance

             and then submit vouchers for reimbursement. The USG is required to reimburse for allowable

             costs within 30 days of receipt, but PSCs have been informed that the systems that disburse the

             reimbursements are down per the interpretation of Executive Order 14169.

             11.     I am deeply concerned about my cybersafety and identity. Based on DOGE’s access to

             information, I believe that there is a credible threat to the security of individuals that speak out

             against the actions of Defendants Musk and/or DOGE. Moreover, I am concerned that action

             could be taken against me, through the use of facial recognition software, particularly as it relates

             to my participation in first amendment activity in my personal capacity and outside of work

             hours. I perceive a credible threat of being doxxed by Defendants Musk and DOGE, and fear that

             my family would also be implicated in a doxx.

             12.     I fear that Defendant Musk’s statements about USAID and federal workers have caused

             irreparable harm on the international stage. Due to the actions of Musk and DOGE, the

             humanitarian industry/professional community are severely damaged. Nearly all American aid

             workers are now at risk of unemployment or underemployment, should they decide to stay in this

             line of work. Defendant Musk and his team have disparaged USAID workers and stained our

             reputation internationally. Additionally, I have personally heard remarks that explicitly and

             implicitly accused USAID workers of being “corrupt” and “stealing from the American people.”

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             My family has reported to me that they have received questions from community members

             inquiring about the “lack of accountability and liberal corruption” within USAID, based on the

             comments that Defendant Musk has made about the Agency and its staff. I am afraid that nearly

             a decade of service to my country is being devalued and smeared in civil discourse.

             13. I hereby declare under penalty of perjury that the foregoing is true and correct.


                 Executed on the 17th day of February, 2025.


                                                                                  J. Doe 12



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EXHIBIT VIII




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                                        IN THE UNITED STATES DISTRICT COURT
                                           FOR THE DISTRICT OF MARYLAND


               J. DOE 1-26,

                                    Plaintiffs
                                                                       Case No. 25 8:25-cv-00462-TDC
                                        v.

               ELON MUSK, in his official capacity,
               UNITED STATES DOGE SERVICE, and
               the DEPARTMENT OF GOVERNMENT
               EFFICIENCY,

                                   Defendants

                                                   DECLARATION OF J. DOE 19

             I, J. Doe 19, pursuant to 28 U.S.C. § 1746, declare that the following statements are true and


             correct to the best of my knowledge and belief:


             1.        I am a plaintiff in this litigation, identified as “J. Doe 19” in the complaint.


             2.        I am a personal services contractor (“PSC”) at the United States Agency for


             International Development (“USAID”) and have been with the agency for over 7 years.


             3.       I was previously on assignment in Africa for 6 years with USAID, working on health


             programing.


             4.       I am in Asia on assignment with USAID and have been since 2023. My family and I


             moved to Asia for this position. I am a senior advisor responsible for supporting multiple


             countries in the region.




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             5.       On the morning of February 3, I was messaged by one of my direct reports who let me


             know that she was locked out of her account. I was locked out of my USAID email and systems


             a few hours later. I received no communication from the agency before being locked out.


             6.       I sent a message to the Information Technology (“IT”) Helpdesk who informed me that


             my account had been disabled but that they were not authorized to reinstate my account. I was


             also told to “have your career leadership reach out to political leadership.” I later reached out to


             the HR Helpdesk and was told “You are likely still on administrative leave, but HCTM [the HR


             department] is unable to confirm this for USPSC staff. Please consult with your cognizant


             contracting officer if you need assistance regarding your personal contract.” I have not been put


             on administrative leave and my contracting officer confirmed that I should continue reporting for


             duty as I have done each workday since February 3.


             7.       As of February 18, I am still locked out of all of my devices, including my work


             computer and G-Suite.


             8.       My contracting officer has also not been told what is going on or what I should expect


             regarding my employment.


             9.       I am emotionally and psychologically harmed by the actions taken by Defendants,


             including locking me out of all USAID systems. I have received no concrete information about


             my employment situation. I am the sole breadwinner for my family and the uncertainty

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             surrounding my access to USAID systems and my employment weighs on me heavily. I am


             worried that I may lose my job, my home, and my salary. I have already lost healthcare coverage


             as my insurance premium was up for annual renewal at the end of January and I have not been


             able to purchase a new policy with the uncertainty around where I will live and will therefore


             need coverage for the next year and whether or not I will be reimbursed for the premium as per


             the terms of my contract.


             10.      I have anxiety about whether my family will be uprooted out of Asia in the next thirty


             days as it is unclear how the 30-day order applies to me.


             11.      I hereby declare under penalty of perjury that the foregoing is true and correct.




             Executed on the 18th day of February, 2025.




                                                                                   J. Doe 19



                                                                                   _______________________
                                                                                   Signature




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EXHIBIT IX




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                                         IN THE UNITED STATES DISTRICT COURT
                                            FOR THE DISTRICT OF MARYLAND


                 J. DOE 1-26,

                                     Plaintiffs
                                                                           Case No. 25 8:25-cv-00462-TDC
                                         v.

                 ELON MUSK, in his official capacity,
                 UNITED STATES DOGE SERVICE, and
                 the DEPARTMENT OF GOVERNMENT
                 EFFICIENCY,

                                     Defendants

                                                  DECLARATION OF J. DOE 26

             I, J. Doe 26, pursuant to 28 U.S.C. § 1746, declare that the following statements are true and

             correct to the best of my knowledge and belief:

             1.         I am a plaintiff in this litigation, identified as “J. Doe 26” in the complaint.1

             2.         I am a Civil Service Excepted (CSE) employee at the United States Agency for

             International Development (“USAID”) and have been with the agency for over 13 years. I am a

             senior manager at USAID.

             3.         On February 3, I lost access to my USAID email and systems. I received no explanation

             for this but rather was just cut off from the systems. I could not email my supervisor and could

             not receive any message explaining admin leave. I emailed HR Helpdesk to request leave or

             access restored. HR Helpdesk responded letting me know that they could not confirm my status

             but the fact that I did not have systems access likely meant I was on admin leave status.

             4.         My email access was restored on Sunday, February 9, after a TRO in another lawsuit. I

             have systems access and have been teleworking but have no access to my work station in the

             Ronald Reagan Building.

             1
                 A Motion to Proceed Under Pseudonyms is pending with the Court.
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             5.      There is a substantial negative impact on my work and some limitations due to the

             current situation of uncertainty, no access to the building, and lack of fully functioning systems

             within the Agency. Examples include (1) some staff still don't have access to systems, (2) some

             staff who need to access classified email cannot do so, (3) staff members who onboarded

             recently still have not been issued their onboarding materials, (4) the lack of access to the Ronald

             Reagan Building hinders our ability to properly manage government records and hinders our

             office from the close collaboration that is integral to our functioning, (5) many key members of

             our workforce were institutional contractors whose contract was terminated with no warning

             mid-week, (6) the Agency financial system (Phoenix) has not been accessible or functional all

             week, preventing us from processing payments for staff and partners.

             6.      I understand that DOGE “broke” or “damaged” the system. The inability to use Phoenix

             has caused incredible hardship to the Agency worldwide.

             7.      Despite being initially told to report to work on Monday, February 10, I was subsequently

             told that my access to the Ronald Reagan Building was not allowed, due to the building lease

             having been signed over to Customs and Border Protection. At least one other colleague

             attempted to gain access to the building and was denied. This colleague (and some others) have

             their government-furnished equipment (laptop, phone) still in the building and have not been

             able to retrieve it all week.

             8.      The lack of access to the building is problematic because staff and leaders are not able to

             access resources they need in the building or any classified materials. The lack of access to this

             classified material and communications methods prevents us from participating in interagency

             discussions on national security issues.




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             9.      My job duties require access to physical records (files) in our office, the lack of which is

             problematic for the closeout of contracts that were terminated this week. The orderly and lawful

             closeout of these awards, including prompt payment, requires proper record keeping.

             10.     Many of the programs that our office implements were on a list of contracts to be

             terminated - an action that, once taken, cannot be reversed (and requires thousands of hours of

             effort and months of time to recompete).

             11.     As a result of the public smear campaign by Defendant Elon Musk against USAID and

             our staff, I feel unsafe.

             12.     I hereby declare under penalty of perjury that the foregoing is true and correct.




             Executed on the 17th day of February, 2025.

                                                                                   J. Doe 26



                                                                                   _______________________

                                                                                   Signature




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EXHIBIT X




   000258
000259
EXHIBIT XI




    000260
Opinion | Who Will Stand Up to Trump at High Noon? - The New York Times                              2/18/25, 8:25 AM




                                                  https://www.nytimes.com/2025/02/15/opinion/trump-musk-
                                                                        america.html




                                                             MAUREEN DOWD




 Who Will Stand Up to Trump at High Noon?
                                                                     Feb. 15, 2025




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                   By Maureen Dowd
                   Opinion Columnist, reporting from Washington




When I was a teenager, my older brother took me to see “Shane.”

I wasn’t that into westerns, and the movie just seemed to be about a little boy
running after Alan Ladd in the wilderness of the Tetons, screaming “Sha-a-a-a-
ne, come back!”

I came across the movie on Turner Classic Movies the other night, and this time
I understood why the George Stevens film is considered one of the best of all
time. (The A.F.I. ranks “Shane, come back!” as one of the 50 top movie lines of all
time.)

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https://www.nytimes.com/2025/02/15/opinion/trump-musk-america.html                                         Page 1 of 6
Opinion | Who Will Stand Up to Trump at High Noon? - The New York Times                2/18/25, 8:25 AM




The parable on good and bad involves a fight between cattle ranchers and
homesteaders. Ladd’s Shane is on the side of the honest homesteaders —
including an alluring married woman, played by Jean Arthur. Arriving in creamy
fringed buckskin, he is an enigmatic golden gunslinger who goes to work as a
farmhand. Jack Palance plays the malevolent hired gun imported by the brutal
cattle ranchers to drive out the homesteaders. Palance is dressed in a black hat
and black vest. In case you don’t get the idea, a dog skulks away as Palance gets
up in a saloon.

It’s so easy to tell the good guys from the bad guys, the right thing to do versus
the wrong. Law and order wasn’t a cliché or a passé principle that could be
kicked aside if it interfered with baser ambitions.

The 1953 film is also a meditation on American masculinity in the wake of World
War II. A real man doesn’t babble or whine or brag or take advantage. He stands
up for the right thing and protects those who can’t protect themselves from
bullies.

I loved seeing all those sentimental, corny ideals that America was built on, even
if those ideals have often been betrayed.

So it’s disorienting to have the men running America, Donald Trump and Elon
Musk, relish bullying people who can’t fight back and blurring lines between
good and bad.


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They should be working for us, but we suspect they’re working for themselves.
                                                                          000262
https://www.nytimes.com/2025/02/15/opinion/trump-musk-america.html                          Page 2 of 6
Opinion | Who Will Stand Up to Trump at High Noon? - The New York Times            2/18/25, 8:25 AM




After Elon met with Prime Minister Narendra Modi of India on Thursday, Trump
admitted that he wasn’t sure if Musk was there as a representative of the U.S.
government or as an American C.E.O. “I don’t know,” he said. “They met, and I
assume he wants to do business in India.”

Trump and Musk see government workers as losers for devoting themselves to
public service rather than chasing dollars.

Axios called their aggressive approach “masculine maximalism.”

“Trump and Musk view masculinity quite similarly: tough-guy language, macho
actions, irreverent, crude — and often unmoved by emotionalism, empathy or
restraint.”

The two are freezing programs, firing federal workers en masse, ripping apart
the government and decimating agencies with no precision, transparency or
decency.

Republicans are cowering, and Democrats are frozen like the townsfolk in
westerns when the bad guys take over.

Trump’s glowering mug shot even hangs outside the Oval, like an Old West
“Wanted: dead or alive” poster. And Musk, giving a news conference with his
son X Æ A-Xii on his shoulders, mirrored Palance with his black outfit, including
a Dark MAGA hat.

It’s bizarre to have the White House accusing judges who pause Trump’s
depredations for a constitutional review of provoking a constitutional crisis.

Trump and Elon are turning our values upside down. The president demands
fealty, even if he is asking his followers and pawns to do something illicit or
transgressive. Loyalty outweighs legality.
                                                                          000263
https://www.nytimes.com/2025/02/15/opinion/trump-musk-america.html                      Page 3 of 6
Opinion | Who Will Stand Up to Trump at High Noon? - The New York Times            2/18/25, 8:25 AM




He immediately purged federal prosecutors who worked on Jan. 6-related cases.
He ordered a McCarthyesque probe of thousands of F.B.I. agents who
investigated a bloody sack of the U.S. Capitol that endangered police officers and
lawmakers. So now the agents are the scofflaws, and the scofflaw is the
dispenser of “justice”?

Trump is even making it easier for American companies to bribe foreign
governments — something that’s not exactly an American ideal.

Danielle Sassoon, the acting U.S. attorney for the Southern District of New York,
whose office was prosecuting the corruption case against Mayor Eric Adams of
New York, resigned on Thursday before she could be fired, after Trump’s Justice
Department ordered her to drop the case against the mayor. Trump seemed
willing to let Adams, his latest sycophant, off the hook if he cooperated with the
administration’s deportation efforts. On Thursday, Adams granted immigration
officers access to the city’s jail.

On “Fox & Friends” on Friday, Adams sat with Tom Homan, Trump’s
monomaniacal border czar, who didn’t mince words.

“If he doesn’t come through, I’ll be back in New York City,” Homan said. “And we
won’t be sitting on the couch. I’ll be in his office, up his butt, saying, ‘Where the
hell is the agreement we came to?’”

Sassoon is a conservative legal star with Harvard and Yale degrees who clerked
for Antonin Scalia and is a contributor to the Federalist Society — and is, by the
way, going through all this mishegoss with a baby due in mid-March.

She is the heroine of the story, and Adams is the miscreant. But Trump and his
former lawyer, now the acting No. 2 at Justice, Emil Bove III, are trying to brand
her as incompetent and insubordinate and Adams as politically persecuted (like
                                                                          000264
https://www.nytimes.com/2025/02/15/opinion/trump-musk-america.html                      Page 4 of 6
Opinion | Who Will Stand Up to Trump at High Noon? - The New York Times            2/18/25, 8:25 AM




Trump).

Six more Justice Department officials quit after Sassoon, including the lead
prosecutor on the Adams case, a former Brett Kavanaugh clerk named Hagan
Scotten. Scotten wrote to Bove: “If no lawyer within earshot of the president is
willing to give him that advice, then I expect you will eventually find someone
who is enough of a fool, or enough of a coward, to file your motion. But it was
never going to be me.”

R.F.K. Jr., our new secretary of health and human services — as hard as that is to
believe — is hailed by Trump as a health savior, when he’s a dire threat to
America’s children with his dismissal of vaccines.

Most of the world sees Volodymyr Zelensky as a hero and Vladimir Putin as a
villain. I feel queasy when I hear President Trump talking dotingly about Putin,
a K.G.B.-trained thug. I’m sure that dogs skulk away from Putin as he walks by.

But Putin has made it his business to seduce the president, so the easily flattered
Trump sees Zelensky as the inevitable loser in his bid to keep Ukraine intact. As
the Pentagon chief, Pete Hegseth, put it, Zelensky needs to get with it and
understand “hard power realities,” like the reality that he’s not getting all of his
territory back.

On Ukraine joining NATO, Trump sounds like a Putin spokesman, asserting that
“Russia would never accept” that.

In a speech in Brussels on Thursday, Hegseth said, “We can talk all we want
about values. Values are important. But you can’t shoot values. You can’t shoot
flags. And you can’t shoot strong speeches. There is no replacement for hard
power.”

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But if we lose our values and abandon what those before us have fought for, are
we the same America? Our heroes preserved the Union and liberated Europe
from the Nazis. We’re supposed to be the shining city on the hill. It feels as if
we’re turning our country into a crass, commercial product, making it cruel, as
we maximize profits.

I hope, as President Trump and Elon Musk exercise their “masculine
maximalism,” they remember the words of John Wayne in the 1972 western “The
Cowboys”: “A big mouth don’t make a big man.”

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Maureen Dowd is an Opinion columnist for The Times. She won the 1999 Pulitzer Prize for distinguished
commentary. @MaureenDowd • Facebook


A version of this article appears in print on , Section SR, Page 3 of the New York edition with the headline: Shane, Come Back!
Hurry!!




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https://www.nytimes.com/2025/02/15/opinion/trump-musk-america.html                                                          Page 6 of 6
EXHIBIT XII




    000267
000268
EXHIBIT XIII




     000269
DOGE Immediately Regrets Firing Nuclear Weapons Workers | TIME                                                                              2/18/25, 8:26 AM




                                                                     POLITICS   TRUMP ADMINISTRATION



                     Trump Administration Fires, Then Rescinds
                        Firing of Nuclear Weapons Workers
                                                                             4 MINUTE READ




   Elon Musk walks to the Eisenhower Executive O5ce Building near the White House in Washington, D.C., on Feb. 13, 2025. Stefani Reynolds
   —Bloomberg/Getty Images

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https://time.com/7225798/doge-fires-national-nuclear-security-administration-energy-rehires-musk-trump/                                          Page 1 of 7
DOGE Immediately Regrets Firing Nuclear Weapons Workers | TIME                                                         2/18/25, 8:26 AM


                   BY TARA COPP AND ANTHONY IZAGUIRRE / AP    FEBRUARY 16, 2025 9:00 PM EST



                   WASHINGTON — The Trump Administration has halted the firings of hundreds
                   of federal employees who were tasked with working on the nation’s nuclear
                   weapons programs, in an about-face that has left workers confused and experts
                   cautioning that DOGE’s blind cost cutting will put communities at risk.


                   Three U.S. officials who spoke to The Associated Press said up to 350
                   employees at the National Nuclear Security Administration were abruptly laid
                   off late Thursday, with some losing access to email before they’d learned they
                   were fired, only to try to enter their offices on Friday morning to find they were
                   locked out. The officials spoke on the condition of anonymity for fear of
                   retaliation.



                   One of the hardest hit offices was the Pantex Plant near Amarillo, Texas, which
                   saw about 30% of the cuts. Those employees work on reassembling warheads,
                   one of the most sensitive jobs across the nuclear weapons enterprise, with the
                   highest levels of clearance.



                   The hundreds let go at NNSA were part of a DOGE purge across the Department
                   of Energy that targeted about 2,000 employees.



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                   “The DOGE people are coming in with absolutely no knowledge of what these
                   departments are responsible for,” said Daryl Kimball, executive director of the
                                                                           000271
https://time.com/7225798/doge-fires-national-nuclear-security-administration-energy-rehires-musk-trump/                     Page 2 of 7
DOGE Immediately Regrets Firing Nuclear Weapons Workers | TIME                                                        2/18/25, 8:26 AM



                   Arms Control Association, referencing Elon Musk’s Department of Government
                   Efficiency team. “They don’t seem to realize that it’s actually the department
                   of nuclear weapons more than it is the Department of Energy.”                          YOU MAY ALSO LIKE

                   Read More: Inside Elon Musk’s War on Washington                                        POLITICS

                                                                                                          Tesla
                   By late Friday night, the agency’s acting director, Teresa Robbins, issued a           Removed
                   memo rescinding the firings for all but 28 of those hundreds of fired staff            From
                                                   SIGN UP FOR OUR IDEAS NEWSLETTER POV                      SUBSCRIBE
                   members.                                                                               $400M
                                                                                                          Federal
                                                                                                          POLITICS
                                                                                                          Contract
                   “This letter serves as formal notification that the termination decision issued        White
                                                                                                          Amid
                                                                                                          House,
                   to you on Feb. 13, 2025 has been rescinded, effective immediately,” said the           Musk
                                                                                                          Trump
                   memo, which was obtained by the AP.                                                    Scrutiny
                                                                                                          Controversy:
                                                                                                          Social
                                                                                                          POLITICSMedia
                   The accounts from the three officials contradict an official statement from the        Post
                                                                                                          Who is
                   Department of Energy, which said fewer than 50 National Nuclear Security               Condemned
                                                                                                          Nancy
                   Administration staffers were let go, calling them “probationary employees”             Mace?
                   who “held primarily administrative and clerical roles.”                                What to
                                                                                                          Know
                                                                                                          POLITICS
                                                                                                          About
                   But that wasn’t the case. The firings prompted one NNSA senior staffer to post         Trump’s
                                                                                                          Her
                   a warning and call to action.                                                          Kennedy
                                                                                                          Political
                                                                                                          Center
                                                                                                          Career
                                                                                                          Takeover
                   “This is a pivotal moment. We must decide whether we are truly committed to
                                                                                                          Will
                   leading on the world stage or if we are content with undermining the very
                                                                                                          Reverberate
                   systems that secure our nation’s future,” deputy division director Rob Plonski         in
                   posted to LinkedIn. “Cutting the federal workforce responsible for these               Hollywood
                   functions may be seen as reckless at best and adversarily opportunistic at
                   worst.”


                   Read More: ‘The Worst I’ve Ever Seen’: Trump’s Mass Layoffs Leave Federal
                   Workers Baffled and Angry


                   While some of the Energy Department employees who were fired dealt with
                   energy efficiency and the effects of climate change, issues not seen as priorities
                   by the Trump Administration, many others dealt with nuclear issues, even if
                   they didn’t directly work on weapons programs. This included managing
                   massive radioactive waste sites and ensuring the material there doesn’t further
                   contaminate nearby communities.


                   That incudes the Savannah River National Laboratory in Jackson, South
                   Carolina; the Hanford Nuclear Site in Washington state, where workers secure
                   177 high-level waste tanks from the site’s previous work producing plutonium
                   for the atomic bomb; and the Oak Ridge Reservation in Tennessee, a Superfund
                   contamination site where much of the early work on the Manhattan Project was
                                                                         000272
https://time.com/7225798/doge-fires-national-nuclear-security-administration-energy-rehires-musk-trump/                    Page 3 of 7
DOGE Immediately Regrets Firing Nuclear Weapons Workers | TIME                                            2/18/25, 8:26 AM



                   done, among others.

                   U.S. Rep. Marcy Kaptur of Ohio and U.S. Sen. Patty Murray of Washington, both
                   Democrats, called the firings last week “utterly callous and dangerous.”


                   The NNSA staff who had been reinstated could not all be reached after they
                   were fired, and some were reconsidering whether to return to work, given the
                   uncertainty created by DOGE.


                   Many federal employees who had worked on the nation’s nuclear programs had
                   spent their entire careers there, and there was a wave of retirements in recent
                   years that cost the agency years of institutional knowledge.


                   But it’s now in the midst of a major $750 billion nuclear weapons
                   modernization effort—including new land-based intercontinental ballistic
                   missiles, new stealth bombers and new submarine-launched warheads. In
                   response, the labs have aggressively hired over the past few years: In 2023, 60%
                   of the workforce had been there five years or less.


                   Edwin Lyman, director of nuclear power safety at the Union of Concerned
                   Scientists, said the firings could disrupt the day-to-day workings of the agency
                   and create a sense of instability over the nuclear program both at home and
                   abroad.


                   “I think the signal to U.S. adversaries is pretty clear: throw a monkey wrench in
                   the whole national security apparatus and cause disarray,” he said. “That can
                   only benefit the adversaries of this country.”


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EXHIBIT XIV




    000274
Trump fires FAA air traffic control staff, just weeks after DC crash | AP News                                                  2/18/25, 8:27 AM




   POLITICS


   Trump begins firings of FAA air traffic control staff just weeks after fatal
   DC plane crash




                               BY TARA COPP
                               Updated 2:03 PM EST, February 17, 2025




                   WASHINGTON (AP) — The Trump administration has begun firing several hundred Federal Aviation
                   Administration employees, upending staff on a busy air travel weekend and just weeks after a January fatal
                   mid-air collision at Ronald Reagan Washington National Airport.
                                                                                 000275
https://apnews.com/article/doge-faa-air-traffic-firings-safety-67981aec33b6ee72cbad8dcee31f3437                                      Page 1 of 9
Trump fires FAA air traffic control staff, just weeks after DC crash | AP News                                                      2/18/25, 8:27 AM



                   Probationary workers were targeted in late night emails Friday notifying them they had been fired, David
                   Spero, president of the Professional Aviation Safety Specialists union, said in a statement.

                   The impacted workers include personnel hired for FAA radar, landing and navigational aid maintenance, one
                   air traffic controller told the Associated Press. The air traffic controller was not authorized to talk to the
                   media and spoke on condition of anonymity.

                   The National Air Traffic Controllers Association said in a brief statement Monday it was “analyzing the effect
                   of the reported federal employee terminations on aviation safety, the national airspace system and our
                   members.”

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                   Other FAA employees who were fired were working on an urgent and classified early warning radar system
                   the Air Force had announced in 2023 for Hawaii to detect incoming cruise missiles, through a program that
                   was in part funded by the Department of Defense. It’s one of several programs that the FAA’s National
                   Defense Program manages that involve radars providing longer-range detection around the country’s
                   borders.



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Trump fires FAA air traffic control staff, just weeks after DC crash | AP News                                                                     2/18/25, 8:27 AM




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                   Trump blames 'obsolete' US air traffic control system for the plane and chopper collision near DC




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                   Air traffic controllers were initially offered buyouts




                                                                                 000277
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Trump fires FAA air traffic control staff, just weeks after DC crash | AP News                                                      2/18/25, 8:27 AM



                   American Airlines jet collides with Army helicopter at Reagan Airport



                   Due to the nature of their work, staff in that office typically provide an extensive knowledge transfer before
                   retiring to make sure no institutional knowledge is lost, said Charles Spitzer-Stadtlander, one of the
                   employees in that branch who was terminated.

                   The Hawaii radar and the FAA National Defense Program office working on it “is about protecting national
                   security,” Spitzer-Stadtlander said. “I don’t think they even knew what NDP does, they just thought, oh no big
                   deal, he just works for the FAA.”

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                   “This is about protecting national security, and I’m scared to death,” Spitzer-Stadtlander said. “And the
                   American public should be scared too.”

                   Spero said messages began arriving after 7 p.m. on Friday and continued late into the night. More might be
                   notified over the long weekend or barred from entering FAA buildings on Tuesday, he said.




                                                                                 000278
https://apnews.com/article/doge-faa-air-traffic-firings-safety-67981aec33b6ee72cbad8dcee31f3437                                          Page 4 of 9
Trump fires FAA air traffic control staff, just weeks after DC crash | AP News                                                                                            2/18/25, 8:27 AM




                   President Donald Trump speaks to reporters after landing at Palm Beach International Airport in West Palm Beach, Fla ., Sunday, Feb. 16, 2025, after
                   attending the NASCAR Daytona 500 auto race. (Pool via AP)




                   Tesla CEO Elon Musk speaks before unveiling the Model Y at Tesla's design studio, March 14, 2019, in Hawthorne, Calif. (AP Photo/Jae C. Hong, File)



                   The employees were fired “without cause nor based on performance or conduct,” Spero said, and the emails
                   were “from an ‘exec order’ Microsoft email address” — not a government email address. A copy of the
                                                                                         000279
https://apnews.com/article/doge-faa-air-traffic-firings-safety-67981aec33b6ee72cbad8dcee31f3437                                                                                Page 5 of 9
Trump fires FAA air traffic control staff, just weeks after DC crash | AP News                                                        2/18/25, 8:27 AM



                   termination email that was provided to the AP shows the sending address from the address
                   “ASK_AHR_EXEC_Orders@usfaa.mail.outlook.com.”

                   The firings hit the FAA when it faces a shortfall in controllers. Federal officials have been raising concerns
                   about an overtaxed and understaffed air traffic control system for years, especially after a series of close
                   calls between planes at U.S. airports. Among the reasons they have cited for staffing shortages are
                   uncompetitive pay, long shifts, intensive training and mandatory retirements.

                   In the Jan. 29 fatal crash between a U.S. Army Black Hawk helicopter and American Airlines passenger jet,
                   which is still under investigation, one controller was handing both commercial airline and helicopter traffic at
                   the busy airport.




                   Just days before the collision, President Donald Trump had already fired all the members of the Aviation
                   Security Advisory Committee, a panel mandated by Congress after the 1988 PanAm 103 bombing over
                   Lockerbie, Scotland. The committee is charged with examining safety issues at airlines and airports.

                   Spitzer-Stadtlander suggested he was targeted for firing for his views on Tesla and X, formerly Twitter, not as
                   part of a general probationary-level sweep. Both companies are owned by Elon Musk, who is leading Trump’s
                   effort to cut the federal government.

                   Spitzer-Stadtlander is Jewish and was angered by Elon Musk’s straight arm saluting at Trump’s inauguration.
                   On his personal Facebook account he urged friends to get rid of their Teslas and “X,” or Twitter, accounts in
                   response.

                   That post drew the attention of a DOGE Facebook account, which reacted with a laughing emoji. Soon after,
                   he saw the same account reacting to much older posts through his personal Facebook feed.




                   “The official DOGE Facebook page started harassing me on my personal Facebook account after I criticized
                                                                                 000280
https://apnews.com/article/doge-faa-air-traffic-firings-safety-67981aec33b6ee72cbad8dcee31f3437                                            Page 6 of 9
Trump fires FAA air traffic control staff, just weeks after DC crash | AP News                                                                2/18/25, 8:27 AM



                   Tesla and Twitter,” Spitzer-Stadtlander wrote in a post over the weekend on Linked In. “Less than a week
                   later, I was fired, despite my position allegedly being exempted due to national security.”

                   He added: “When DOGE fired me, they turned off my computer and wiped all of my files without warning.”

                   Spitzer-Stadtlander said he was supposed to be exempted from the probationary firings because the FAA
                   office he worked in focused on national security threats such as attacks on the national airspace by drones.

                   The Musk-led Department of Government Efficiency did not immediately respond to a request for comment.
                   The firings were first reported by CNN.

                   —-

                   Associated Press writer Ellen Knickmeyer contributed from Washington.



                                TARA COPP
                                Copp covers the Pentagon and national security for the Associated Press. She has reported from Afghanistan,
                                Iraq, throughout the Middle East, Europe and Asia.




                                                                                   000281
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https://apnews.com/article/doge-faa-air-traffic-firings-safety-67981aec33b6ee72cbad8dcee31f3437                                                    Page 7 of 9
EXHIBIT XV




    000282
Musk's DOGE team to visit US FAA command center on Monday | Reuters                                                   2/18/25, 8:28 AM




      Musk's DOGE team
      to visit US FAA
      command center
      on Monday
      By David Shepardson
      February 16, 2025 11:44 PM
      EST · Updated a day ago




                                                                       000283
https://www.reuters.com/world/us/musks-doge-team-visit-us-faa-air-traffic-control-command-center-monday-2025-02-17/       Page 1 of 13
Musk's DOGE team to visit US FAA command center on Monday | Reuters                                                           2/18/25, 8:28 AM




      U.S. Transportation Secretary Sean Duffy speaks to reporters at
      the White House in Washington, U.S., January 30, 2025.
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          Summary            Companies
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           Trump administration wants to reform air
                                 World        Business          Markets             My News                    JC     Subscribe
           trafﬁc control systems
           Visit comes days after effort to ﬁre hundreds
           of probationarySustainability
                           FAA employees Legal
           White House said air trafﬁc controllers not
           eligible for incentive to quit
                                 Breakingviews           More


      WASHINGTON, Feb 16 (Reuters) - Personnel from
      Elon Musk's government downsizing team DOGE
      will visit the Federal Aviation Administration's Air
      Trafﬁc Control command center in Warrenton,
      Virginia, on Monday, as the Trump administration
      says it wants to reform the system.
                                                                                                                        Report this ad
      Transportation Secretary Sean Duffy disclosed the
      plan in a social media post on Sunday.

      DOGE personnel will "get a ﬁrsthand look at the
      current system, learn what air trafﬁc controllers
      like and dislike about their current tools, and
      envision how we can make a new, better, modern
      and safer system," he added.




                                                                       000284
https://www.reuters.com/world/us/musks-doge-team-visit-us-faa-air-traffic-control-command-center-monday-2025-02-17/               Page 2 of 13
Musk's DOGE team to visit US FAA command center on Monday | Reuters                                                         2/18/25, 8:28 AM




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      The Trump administration this month reversed
      course and denied participation to air trafﬁc
                                                                                                                      Report this ad
      controllers or security ofﬁcers of the
      Transportation Security Administration in a
      government incentive program to quit.

      On Saturday, the Professional Aviation Safety
      Specialists union said several hundred FAA
      probationary employees were among thousands
      ﬁred as part of a campaign by President Donald
      Trump and Musk to slash the U.S. bureaucracy.

      The union said the "draconian action will increase
      the workload and place new responsibilities on a
      workforce that is already stretched thin."




                                                                       000285
https://www.reuters.com/world/us/musks-doge-team-visit-us-faa-air-traffic-control-command-center-monday-2025-02-17/             Page 3 of 13
Musk's DOGE team to visit US FAA command center on Monday | Reuters                                                   2/18/25, 8:28 AM




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      The FAA did not immediately comment on
      Sunday.

      Musk, the chief executive of Tesla (TSLA.O) and
      SpaceX, said on X in response late on Sunday to
      the planned DOGE visit that the "safety of air
      travel is a non-partisan matter. SpaceX engineers
      will help make air travel safer."

      Musk previously cited concerns about the recent
      temporary failure of the FAA's NOTAM pilot
      alerting system, housed at the Virginia command
      center.

      This month Senator Maria Cantwell called on
      Duffy to bar Musk from involvement in FAA air
      space reform, citing conﬂicts of interest and
      saying SpaceX was ﬁned by the agency. SpaceX
                                                                       000286
https://www.reuters.com/world/us/musks-doge-team-visit-us-faa-air-traffic-control-command-center-monday-2025-02-17/       Page 4 of 13
Musk's DOGE team to visit US FAA command center on Monday | Reuters                                                   2/18/25, 8:28 AM



      did not comment late on Sunday.


              00:28 Coming up: US, Russian offic…




      The FAA handles an average of 45,000 daily
      ﬂights and says more than a quarter of the world’s
      scheduled ﬂights arrive at or depart from U.S.
      airports.

      Last week, two U.S. senators called for increased
      funding and stafﬁng for FAA air trafﬁc after a fatal
      midair collision highlighted the persistent lack of
      aviation safety personnel.

      Senators Jeanne Shaheen and John Hoeven said
      the FAA is more than 3,500 air trafﬁc controllers
      short of targeted stafﬁng levels. FAA controller
      stafﬁng has been ﬂat in recent years and is down
      10% from 2012.

      A January 29 collision between an American
      Airlines (AAL.O) regional jet and an Army
      helicopter killed 67 people near Washington
      Reagan National Airport in the deadliest U.S. air
      disaster in more than 20 years.

      Duffy says the administration plans to "make sure
      that America has the most innovative,
      technologically advanced air trafﬁc control
      system."
                                                                       000287
https://www.reuters.com/world/us/musks-doge-team-visit-us-faa-air-traffic-control-command-center-monday-2025-02-17/       Page 5 of 13
Musk's DOGE team to visit US FAA command center on Monday | Reuters                                                   2/18/25, 8:28 AM




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        Tax
        Credits           Sponsored         Sponsored
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        Charles
        Schwab

      He is reconsidering rules that let air trafﬁc control
      supervisors cut stafﬁng before the fatal collision.

      Duffy plans to soon announce steps to surge more
      air trafﬁc control training and applicants and will
      visit the FAA Academy in Oklahoma this week to
      meet air trafﬁc controller instructors and
      students.

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      Reporting by David Shepardson; Editing by Gerry Doyle
      and Clarence Fernandez


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EXHIBIT XVI




    000289
Musk’s DOGE seeks access to personal taxpayer data at IRS - The Washington Post                          2/18/25, 8:28 AM




                                                            Democracy Dies in Darkness




Musk’s DOGE seeks access to
personal taxpayer data, raising
alarm at IRS
The unusual request could put sensitive data about millions of American taxpayers in
the hands of Trump political appointees.
        February 16, 2025 at 10:12 p.m. EST
Updated February 16, 2025


     5 min                                8615



By Jacob Bogage and Jeff Stein


Elon Musk’s U.S. DOGE Service is seeking access to a heavily guarded Internal Revenue Service system that includes
detailed financial information about every taxpayer, business and nonprofit in the country, according to three people
familiar with the activities, sparking alarm within the tax agency.


Under pressure from the White House, the IRS is considering a memorandum of understanding that would give
officials from DOGE — which stands for Department of Government Efficiency — broad access to tax-agency
systems, property and datasets. Among them is the Integrated Data Retrieval System, or IDRS, which enables tax
agency employees to access IRS accounts — including personal identification numbers — and bank information. It
also lets them enter and adjust transaction data and automatically generate notices, collection documents and other
records.




                                                                        000290
https://www.washingtonpost.com/business/2025/02/16/doge-irs-access-taxpayer-data/                             Page 1 of 3
Musk’s DOGE seeks access to personal taxpayer data at IRS - The Washington Post                            2/18/25, 8:28 AM



According to a draft of the memorandum obtained by The Washington Post, DOGE software engineer Gavin Kliger is
set to work at the IRS for 120 days, though the tax agency and the White House can renew his deployment for the
same duration. His primary goal at the IRS is to provide engineering assistance and IT modernization consulting.


The agreement requires that Kliger maintain confidentiality of tax return information, shield it from unauthorized
access and destroy any such information shared with him upon the completion of his IRS deployment.


IDRS access is extremely limited — taxpayers who have had their information wrongfully disclosed or even
inspected are entitled by law to monetary damages — and the request for DOGE access has raised deep concern
within the IRS, according to three people familiar with internal agency deliberations who, like others in this report,
spoke on the condition of anonymity to discuss private conversations.


Kliger had not been granted IDRS access as of Sunday evening, according to a person with firsthand knowledge of
his movement and access at the tax agency, as acting IRS commissioner Doug O’Donnell had yet to finalize the
memorandum that would permit him to do more detailed work.


O’Donnell’s predecessor, Danny Werfel, resigned on Jan. 20, after Trump announced plans to replace him with
former congressman Billy Long (R-Missouri). Long has not yet been confirmed by the Senate.


The news comes as roughly 150 million taxpayers prepare to file returns by the April 15 deadline. In his first term,
Trump openly mused about sending IRS agents after political opponents, leaving agency officials on edge about the
IRS’s independence.


The tax agency’s systems are widely considered antiquated — many were built using computer coding language from
the 1960s — and overhauling the agency’s IT is in line with DOGE’s mandate to modernize government technology.
IRS contractors are generally provided system access to repair or maintain IDRS and similar data systems.


But it’s highly unusual to grant political appointees access to personal taxpayer data, or even programs adjacent to
that data, experts say. IRS commissioners traditionally do not have IDRS access. The same goes for the national
taxpayer advocate, the agency’s internal consumer watchdog, according to Nina Olson, who served in the role from
2001 to 2019.


“The information that the IRS has is incredibly personal. Someone with access to it could use it and make it public in
a way, or do something with it, or share it with someone else who shares it with someone else, and your rights get
violated,” Olson said.




                                                                        000291
https://www.washingtonpost.com/business/2025/02/16/doge-irs-access-taxpayer-data/                               Page 2 of 3
Musk’s DOGE seeks access to personal taxpayer data at IRS - The Washington Post                              2/18/25, 8:28 AM



A Trump administration official said DOGE personnel needed IDRS access because DOGE staff are working to
“eliminate waste, fraud, and abuse, and improve government performance to better serve the people.”


The official said the “DOGE mission … to bring much-needed efficiency to our bureaucracy” is being carried out
“legally and with the appropriate security clearances.”


A security clearance is not a sufficient credential for access to taxpayer systems, according to IRS procedures. IDRS
access is governed by compelling needs for tax administration, not national security.


“IDRS users are authorized to access only those accounts required to accomplish their official duties,” according to
IRS policy.


In a statement, White House spokesman Harrison Fields told The Post: “Waste, fraud and abuse have been deeply
entrenched in our broken system for far too long. It takes direct access to the system to identify and fix it. DOGE will
continue to shine a light on the fraud they uncover as the American people deserve to know what their government
has been spending their hard earned tax dollars on.”


Representatives from the Treasury Department and IRS did not immediately respond to requests for comment.


Kliger arrived unannounced at IRS headquarters on Thursday and was named senior adviser to the acting
commissioner. IRS officials were told to treat Kliger and other DOGE officials as contractors, two people familiar
said.


A White House official said Sunday, however, that DOGE personnel at the IRS were full agency employees and not
contractors.


Kliger met with Ken Corbin, the IRS’s chief of taxpayer services, and Heather Maloy, the agency’s top enforcement
official, during his first day at the agency’s headquarters, according to several of the people familiar with the
meetings. The agency is preparing for Trump-ordered layoffs, as soon as this week, that could hit roughly 10,000
probationary employees. Kliger has not returned to IRS headquarters since those initial meetings.




                                                                        000292
https://www.washingtonpost.com/business/2025/02/16/doge-irs-access-taxpayer-data/                                   Page 3 of 3
EXHIBIT XVII




     000293
Exclusive: Musk aides lock workers out of OPM computer systems | Reuters                                                     2/18/25, 8:34 AM




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      Exclusive: Musk
      aides lock workers
      out of OPM
      computer systems
      By Tim Reid
      February 2, 2025 5:32 PM
      EST · Updated 16 days ago




                                                                           000294
https://www.reuters.com/world/us/musk-aides-lock-government-workers-out-computer-systems-us-agency-sources-say-2025-01-31/       Page 1 of 15
Exclusive: Musk aides lock workers out of OPM computer systems | Reuters                                                        2/18/25, 8:34 AM




      [1/4] Protest outside the Ofﬁce of Personnel
      Management headquarters, Washington,
      D.C., February 2, 2025. REUTERS/Kent
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           Summary            Companies

            Musk aides restrict access to federal
            employee data systems
            Musk's team works around the clock, installs
            sofa beds at OPM
            Concerns include cybersecurity and lack of
            oversight


      WASHINGTON, Jan 31 (Reuters) - Aides to Elon
      Musk charged with running the U.S. government
      human resources agency have locked career civil
      servants out of computer systems that contain the
      personal data of millions of federal employees,
      according to two agency ofﬁcials.

      Since taking ofﬁce 11 days ago, President Donald
      Trump has embarked on a massive government
      makeover, ﬁring and sidelining hundreds of civil
      servants in his ﬁrst steps toward downsizing the
      bureaucracy and installing more loyalists.




                                                                           000295
https://www.reuters.com/world/us/musk-aides-lock-government-workers-out-computer-systems-us-agency-sources-say-2025-01-31/          Page 2 of 15
Exclusive: Musk aides lock workers out of OPM computer systems | Reuters                                                     2/18/25, 8:34 AM




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      Musk, the billionaire Tesla (TSLA.O) CEO and X
      owner tasked by Trump to slash the size of the 2.2
      million-strong civilian government workforce, has
      moved swiftly to install allies at the agency known
      as the Ofﬁce of Personnel Management.

      The two ofﬁcials, who spoke to Reuters on
      condition of anonymity for fear of retaliation, said
      some senior career employees at OPM have had
      their access revoked to some of the department's
      data systems.

      The systems include a vast database called
      Enterprise Human Resources Integration, which
      contains dates of birth, Social Security numbers,
      appraisals, home addresses, pay grades and
      length of service of government workers, the
      ofﬁcials said.
                                                                           000296
https://www.reuters.com/world/us/musk-aides-lock-government-workers-out-computer-systems-us-agency-sources-say-2025-01-31/       Page 3 of 15
Exclusive: Musk aides lock workers out of OPM computer systems | Reuters                                                     2/18/25, 8:34 AM




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      "We have no visibility into what they are doing
      with the computer and data systems," one of the
      ofﬁcials said. "That is creating great concern.
      There is no oversight. It creates real cybersecurity
      and hacking implications."

      Ofﬁcials affected by the move can still log on and
      access functions such as email but can no longer
      see the massive datasets that cover every facet of
      the federal workforce.

      Musk, OPM, representatives of the new team, and
      the White House did not immediately respond to
      requests for comment.

      OPM has sent out memos that eschew the normal
      dry wording of government missives as it
      encourages civil servants to consider buyout
                                                                           000297
https://www.reuters.com/world/us/musk-aides-lock-government-workers-out-computer-systems-us-agency-sources-say-2025-01-31/       Page 4 of 15
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      offers to quit and take a vacation to a "dream
      destination."




      Don Moynihan, a professor at the Ford School of
      Public Policy at the University of Michigan, said
      the actions inside OPM raised concerns about
      congressional oversight at the agency and how
      Trump and Musk view the federal bureaucracy.

      "This makes it much harder for anyone outside
      Musk's inner circle at OPM to know what's going
      on," Moynihan said.


      MUSK INFLUENCE

      A team including current and former employees
      of Musk assumed command of OPM on Jan. 20,
      the day Trump took ofﬁce. They have moved sofa
      beds onto the ﬁfth ﬂoor of the agency's                                   Sponsored Content
      headquarters, which contains the director's ofﬁce
      and can only be accessed with a security badge or
      a security escort, one of the OPM employees said.

      The sofa beds have been installed so the team
      can work around the clock, the employee said.        4 Tax-                               Are there 8 Ways             Tax
                                                           Smart                                surprises to                 Filing:
      Musk, a major donor to a famously demanding
                                                           Moves                                lurking in Prepare           Are You
      boss, installed beds at X for employees to enable
                                                    000298 You Can                              your       for Tax           Ready?
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                                                                                    You Can your               for Tax       Ready?
      them to work longer when in 2022 he took over                                 Still    estate            Filing
      the social media platform, formerly known as                                  Make for plan?             Season
      Twitter.                                                                      2024
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                           next big          Your
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        by
        Charles            Sponsored         Sponsored
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      "It feels like a hostile takeover," the employee
      said.

      The new appointees in charge of OPM have
      moved the agency's chief management ofﬁcer,
      Katie Malague, out of her ofﬁce and to a new
      ofﬁce on a different ﬂoor, the ofﬁcials said.

      Malague did not respond to a request for
      comment.

      The moves by Musk's aides at OPM, and upheaval
                                                                           000299
https://www.reuters.com/world/us/musk-aides-lock-government-workers-out-computer-systems-us-agency-sources-say-2025-01-31/             Page 6 of 15
Exclusive: Musk aides lock workers out of OPM computer systems | Reuters                                                     2/18/25, 8:34 AM



      inside the Treasury building caused by other Musk
      aides that was reported on Friday, underscore the
      sweeping inﬂuence Musk is having across
      government.

      David Lebryk, the top-ranking career U.S.
      Treasury Department ofﬁcial, is set to leave his
      post following a clash with allies of Musk after
      they asked for access to payment systems, the
      Washington Post reported on Friday.

      The new team at OPM includes software
      engineers and Brian Bjelde, who joined Musk's
      SpaceX venture in 2003 as an avionics engineer
      before rising to become the company's vice
      president of human resources. Bjelde's role at
      OPM is that of a senior adviser.

      The acting head of OPM, Charles Ezell, has been
      sending memos to the entire government
      workforce since Trump took ofﬁce, including
      Tuesday's offering federal employees the chance
      to quit with eight months pay.

      "No-one here knew that the memos were coming
      out. We are ﬁnding out about these memos the
      same time as the rest of the world," one of the
      ofﬁcials said.

      Among the group that now runs OPM is Amanda
      Scales, a former Musk employee, who is now
      OPM's chief of staff. In some memos sent out on
      Jan. 20 and Jan. 21 by Ezell, including one
      directing agencies to identify federal workers on
      probationary periods, agency heads were asked to
      email Scales at her OPM email address.

      Another senior adviser is Riccardo Biasini, a
                                                                           000300
https://www.reuters.com/world/us/musk-aides-lock-government-workers-out-computer-systems-us-agency-sources-say-2025-01-31/       Page 7 of 15
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      former engineer at Tesla and most recently a
      director at The Boring Company, Musk's tunnel-
      building operation in Las Vegas.

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      Reporting by Tim Reid; Editing by Ross Colvin and
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EXHIBIT XVIII




     000302
                                         Exhibit 18:

          List of officers in Executive Office of the President who are appointed by Senate
                                                consent



Statute                                        Position(s)

15 U.S.C. § 1023(a)(2)                         Executive Office of the President a Council of
                                               Economic Advisers

42 U.S.C. § 6612                               Director of the Office of Science and
                                               Technology, Director, Associate Director, of
                                               the National Science Foundation

42 U.S.C. § 4342                               Chair Council on Environmental Quality,

19 U.S.C. § 2171(b)                            Office of the Trade Rep., US Trade Rep.,
                                               Deputy Trade Rep., Chief Intellectual
                                               Property Negotiator, and Chief Agricultural
                                               Negotiator

6 U.S.C. § 1500(b)                             National Cyber Director

31 U.S.C. § 502                                Deputy Director of the Office of Management
                                               and Budget

44 U.S.C. § 3503(b)                            Office of Information and Regulatory Affairs

41 U.S.C. § 1102(b                             Office of Federal Procurement Policy

31 U.S.C.A. § 504(b)                           Office of Federal Financial Management a
                                               Controller,

21 U.S.C. § 1703(a)(1)(A)                      Office of National Drug Control Policy:
                                               Director




                                           000303
EXHIBIT XIX




    000304
99/03 (revised) reorganization plan and report                                                                                         2/17/25, 6:52 PM



                                                                                                                  Other State Department Archive Sites




                 The State Department web site below is a permanent electronic archive of information released online from January 1, 1997 to
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                 2009.state.gov for information from that period. Archive sites are not updated, so external links may no longer function. Contact
                 us with any questions about finding information. NOTE: External links to other Internet sites should not be construed as an
                 endorsement of the views contained therein.




                           Reorganization Plan and Report (revised March 1999)
                           Submitted Pursuant to Section 1601 of the Foreign Affairs Reform and
                           Restructuring Act of 1998, as Contained in Public Law 105-277
                           Re-posted from the USIA web site April 14, 1999



         Foreword
         The Foreign Affairs Reform and Restructuring Act of 1998 provides the authority to implement the
         Administration's plan to reorganize and strengthen the foreign affairs agencies. This initiative, which
         the President announced on April 18, 1997, emerged from productive consultations with the
         Congress and enjoys bipartisan support. Under the leadership of Vice President Gore, the
         Reorganization Plan and Report being submitted today were designed with careful attention to
         preserve the unparalleled capabilities and skills of the foreign affairs agencies and their personnel.
         Reorganization enhances the ability of the United States to meet the international challenges of the
         next century by placing arms control and nonproliferation, public diplomacy, and sustainable
         development at the heart of our foreign policy. The Administration will work closely and
         cooperatively with the Congress to implement this integration.

         This Reorganization Plan and Report, developed through the cooperative efforts of the Department of
         State, the Arms Control and Disarmament Agency, the United States Information Agency, and the
         United States Agency for International Development, describe how reorganization will be
         implemented. As a result, U.S. foreign policy will benefit in a number of important ways:

         · Integrating ACDA into State will better combine its unique negotiating, verification, and technical
         expertise with State's broad diplomatic expertise and regional experience so as to strengthen policies
         on arms control, nonproliferation, and other political-military affairs. Integration will also establish a
         structure within State that will preserve unique arms control and nonproliferation perspectives.

         · Integrating USIA and bringing public diplomacy insights into play sooner will result in more
         effective policies that are persuasive to foreign audiences. The infusion of USIA's strategic approach
         to public diplomacy, open style, close ties with non-governmental organizations (NGOs), technology
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         for open communications, and skillful Internet use will make U.S. foreign policy more agile.


         · The strengthened State-USAID tie will enhance the cohesiveness of our foreign policy and
         sustainable development and humanitarian programs, which promote reform and conflict resolution
         and help vulnerable people in many areas of the world.

         · The integration of policy support and management functions will create possible streamlining
         opportunities.

         The human dimension of reorganization is vital. Specific positions are being identified for every
         employee who will be transferred. There are no plans for a reduction-in-force, although over time
         integration will yield efficiencies as well as improve effectiveness. The Act gives the Secretary of
         State the flexibility needed to align people and positions most effectively.

         As integration advances, State will continue intensive efforts to reinvent itself. Integration offers
         more scope for this and widens the circle of opportunity to restructure and adopt best practices. State
         has already taken some important steps. The Under Secretaries have assumed responsibility as State's
         Corporate Board, chaired by the Deputy Secretary. Performance Planning has been redesigned
         greatly to enhance the alignment of strategy and resources.

         Finally, increased efficiency is very important, but is not, by itself, enough to assure U.S. leadership
         in the world. For this, the foreign affairs agencies must have the wherewithal to meet growing
         responsibilities and take full advantage of new opportunities. American strength today results from
         our predecessors' bold decisions and timely investments, beginning with Lend Lease and the
         Marshall Plan. The Administration's plan does not propose anything this expensive, but we have to
         do better in order to seize the initiative. Embassy bombings in East Africa, the international financial
         crisis, instability in the Middle East, Kosovo, and Russia, and risks that nuclear, biological, and
         chemical weapons will proliferate show how the world remains dangerous and uncertain. Therefore,
         it is vital that our country has the resources it needs for a strong foreign policy that serves America's
         interests.


                                                    Reorganization Plan
         Section 1. Status of Agencies.
         (a) Arms Control and Disarmament Agency. Effective April 1, 1999, the Arms Control and
         Disarmament Agency shall be abolished in accordance with the Foreign Affairs Agencies
         Consolidation Act of 1998 (the "Act"), Subdivision A, Foreign Affairs Reform and Restructuring Act
         of 1998, as contained in Division G of Pub. Law 105-277.

         (b) International Development and Cooperation Agency. Effective April 1, 1999, the
         International Development and Cooperation Agency shall be abolished in accordance with the Act.

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         (c) United States Information Agency. Effective October 1, 1999, the United States Information
         Agency shall be abolished in accordance with the Act.

         (d) United States Agency for International Development. Effective April 1, 1999, the United
         States Agency for International Development shall continue as an independent establishment in the
         Executive Branch.

         Section 2. Transfer of Functions.
         (a) Arms Control and Disarmament Agency. Effective April 1, 1999, all functions and authorities
         of the Arms Control and Disarmament Agency shall be transferred to the Secretary of State in
         accordance with title XII of the Act.

         (b) International Development and Cooperation Agency. Effective April 1, 1999, functions and
         authorities of the International Development and Cooperation Agency shall be transferred to the
         Secretary of State in accordance with title XIV of the Act.

         (c) United States Agency for International Development. Effective no later than April 1, 1999, the
         following functions of the United States Agency for International Development shall be transferred
         to the Secretary of State in accordance with title XV of the Act:

         (1) functions related to the Press Office; and

         (2) functions related to retirement counseling and processing, location of headquarters mainframe
         computer operations, storage of employees' household goods and other transportation and storage
         services, and such other functions as the United States Agency for International Development and the
         Department of State may agree.

         The transfer of functions provided for in paragraph (2) shall be through memoranda of understanding
         between the United States Agency for International Development and the Department of State.

         (d) United States Information Agency. Effective October 1, 1999, all functions of the United States
         Information Agency, except those transferred to the Broadcasting Board of Governors under
         subsection (e) of this section, shall be transferred to the Secretary of State in accordance with title
         XIII of the Act, including functions associated with the Bureau of Information, the Bureau of
         Educational and Cultural Affairs, the Office of Research and Media Reaction, and Worldnet
         interactive dialogues and other similar overseas public diplomacy programs.

         (e) Broadcasting Board of Governors. Effective October 1, 1999, functions of the United States
         Information Agency related to international broadcasting shall be transferred to the Broadcasting
         Board of Governors in accordance with title XIII of the Act, including functions associated with the
         International Broadcasting Bureau, the Voice of America, Radio and TV Marti, Radio Free
         Europe/Radio Liberty, and Radio Free Asia, but excluding Worldnet interactive dialogues and similar
         overseas public diplomacy programs.

         Section 3. Transfer of Personnel.
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         Personnel of the Arms Control and Disarmament Agency, the United States Agency for International
         Development, and the United States Information Agency shall be transferred to the Department of
         State and the Broadcasting Board of Governors in accordance with the Act and this Plan.

         Section 4. Transfer and Allocation of Funds.
         (a) Arms Control and Disarmament Agency. Effective April 1, 1999, the current and expired
         accounts of the Arms Control and Disarmament Agency shall become separate accounts of the
         Department of State. Funds currently available in the current year account shall be available for
         obligation and expenditure for purposes authorized by law. Funds in expired accounts shall continue
         to be available for adjustment and liquidation of obligations until such accounts are closed as
         required by law, at which time any remaining funds shall be returned to the General Fund of the U.S.
         Treasury.

         (b) United States Agency for International Development. Effective no later than April 1, 1999,
         unobligated current year funds associated with the functions described in section 2(c)(1) of this Plan
         shall be transferred to the Secretary of State for appropriate allocation. Unliquidated obligations and
         related budget authority associated with such functions shall not be transferred. Funds associated
         with the functions described in section 2(c)(2) shall be transferred to the Department of State in
         accordance with memoranda of understanding between the United States Agency for International
         Development and the Department of State.

         (c) United States Information Agency. Effective October 1, 1999, funds appropriated to the United
         States Information Agency shall be transferred and allocated as follows:

         (1) International Information Programs Accounts. Expired International Information Program
         Accounts shall become separate accounts of the Department of State. Funds in expired accounts shall
         continue to be available for adjustment and liquidation of obligations until such accounts are closed
         as required by law, at which time any remaining funds shall be returned to the General Fund of the
         U.S. Treasury. Funds that remain available for obligation and expenditure in an International
         Information Programs account shall be transferred to the Secretary of State for appropriate allocation,
         except that such amounts as are associated with international broadcasting functions described in
         section 2(e) of this Plan shall be transferred to the Broadcasting Board of Governors for appropriate
         allocation. Funds that are deobligated and remain available for obligation and expenditure shall
         likewise be transferred to the Secretary of State and the Broadcasting Board of Governors for
         appropriate allocation.

         (2) Technology Fund. Funds that remain available for obligation and expenditure in the Technology
         Fund shall be transferred to the Secretary of State as a separate account for appropriate allocation,
         except that such funds associated with international broadcasting functions described in section 2(e)
         of this Plan shall be transferred to the Broadcasting Board of Governors for appropriate allocation.
         Unliquidated obligations and related budget authority shall be transferred to the same account and
         shall continue to be available for adjustment and liquidation. Funds that are deobligated and remain
         available for obligation and expenditure shall be transferred to the Secretary of State and the
         Broadcasting Board of Governors for appropriate allocation.
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         (3) Foreign Service National Separation Liability Trust Fund. Funds that remain available for
         obligation and expenditure in the United States Information Agency Foreign Service National
         Separation Liability Trust Fund shall be transferred to the Department of State's Foreign Service
         National Separation Liability Trust Fund, except that such funds associated with international
         broadcasting functions described in section 2(e) of this Plan shall be transferred to the Broadcasting
         Board of Governors Foreign Service National Separation Liability Trust Fund. Unliquidated
         obligations and related budget authority shall continue to be available for adjustment and liquidation
         in a separate account of the Department of State, except that unliquidated obligations and related
         budget authority associated with international broadcasting functions described in section 2(e) of this
         Plan shall be transferred to the Broadcasting Board of Governors Foreign Service National
         Separation Liability Trust Fund.

         (4) Buying Power Maintenance Account. All amounts in the United States Information Agency
         Buying Power Maintenance Account shall be transferred to the Department of State's Buying Power
         Maintenance Account, except for amounts associated with international broadcasting functions
         described in section 2(e) of this Plan, which shall be transferred to the Broadcasting Board of
         Governors Buying Power Maintenance Account.

         (5) Suspense Deposits Abroad. The United States Information Agency Suspense Deposits Abroad
         account shall become a separate account of the Department of State. All amounts identified and
         validated shall be transferred to the Department of State's Suspense Deposit Abroad account, except
         for amounts associated with international broadcasting functions described in section 2(e) of this
         Plan, which shall be transferred to the Broadcasting Board of Governors Suspense Deposit Abroad
         Account.

         (6) United States Information Agency Trust Funds Account. The United States Information Agency
         Trust Funds Account shall become a separate account of the Department of State. Funds currently
         available in this account shall be available for obligation and expenditure for purposes authorized by
         law, except that funds associated with international broadcasting functions described in section 2(e)
         of this Plan shall be transferred to the Broadcasting Board of Governors Trust Funds Account.
         Unliquidated obligations and related budget authority shall continue to be available for adjustment
         and liquidation, except that unliquidated obligations and related budget authority associated with
         international broadcasting functions described in section 2(e) of this Plan shall be transferred to the
         Broadcasting Board of Governors Trust Funds Account.

         (7) Other Active Accounts. The following accounts shall become separate accounts of the
         Department of State: East-West Center, North/South Center, Educational and Cultural Exchange,
         National Endowment for Democracy, American Studies Endowment Fund, Israeli Arab Scholarship
         Fund, Eastern Europe Student Exchange, Russian Far East Technical Assistance, and United States
         Information Agency Office of the Inspector General. Funds currently available in these accounts
         shall be available for obligation and expenditure for purposes authorized by law. Funds in expired
         accounts shall continue to be available for adjustment and liquidation of obligations until such
         accounts are closed as required by law, at which time any remaining funds shall be returned to the
         General Fund of the U.S. Treasury.

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         (8) Transfer to the Broadcasting Board of Governors. In addition to the accounts otherwise referred
         to in this subsection, the following accounts shall be transferred to the Broadcasting Board of
         Governors: Radio Construction, International Broadcasting Operation, Broadcasting to Cuba, Radio
         Free Asia, Israel Radio Relay Station, and certain Grants and Expenses accounts. Funds currently
         available in these accounts shall be available for obligation and expenditure for purposes authorized
         by law. Funds in expired accounts shall continue to be available for adjustment and liquidation of
         obligations until such accounts are closed as required by law, at which time any remaining funds
         shall returned to the General Fund of the U.S. Treasury.

         (9) Inactive Accounts. Upon the request of the United States Information Agency, the Department of
         Treasury shall close all inactive accounts associated with the United States Information Agency. Such
         closure shall occur on or before September 30, 1999.

         (d) Authority to Reallocate. Nothing in this section shall be construed as prohibiting the Secretary
         of State or the Broadcasting Board of Governors from reallocating funds allocated under this section,
         as appropriate, in accordance with law.

         Section 5. Disposition of Property, Facilities, Contracts, Records, and
         Other Assets and Liabilities
         (a) Arms Control and Disarmament Agency. All property, facilities, contracts, records and other
         assets and liabilities of the Arms Control and Disarmament Agency shall be transferred to the
         Secretary of State for appropriate allocation.

         (b) Certain Functions of the United States Agency for International Development. All property,
         facilities, contracts and other assets and liabilities related to the functions transferred pursuant to
         section 2(c) of this Plan shall be transferred to the Secretary of State for appropriate allocation.

         (c) United States Information Agency. All property, facilities, contracts and other assets and
         liabilities related to the functions transferred pursuant to section (2)(d) of this Plan shall be
         transferred to the Secretary of State for appropriate allocation.

         (d) Broadcasting Board of Governors. All property, facilities, contracts and other assets and
         liabilities related to the functions transferred pursuant to section (2)(e) of this Plan shall be
         transferred to the Broadcasting Board of Governors for appropriate allocation.

         Section 6. Reorganization of the Department of State.
         (a) Under Secretaries of State. There shall be within the Department of State an Under Secretary of
         State for Arms Control and International Security and an Under Secretary of State for Public
         Diplomacy and Public Affairs.

         (b) Senior Adviser for Arms Control, Nonproliferation, and Disarmament. Effective April 1,
         1999, the Under Secretary for Arms Control and International Security shall also serve as the Senior
         Adviser to the President and the Secretary of State on Arms Control, Nonproliferation and
         Disarmament. Subject to the direction of the President, the Under Secretary may attend and
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         participate in meetings of the National Security Council in his role as Senior Adviser.

         (c) Arms Control, Nonproliferation and Verification. Effective April 1, 1999, there shall be within
         the Department of State a Bureau of Arms Control and a Bureau of Nonproliferation, each of which
         shall be headed by an Assistant Secretary of State. The position of a Special Adviser for Verification
         and Compliance shall also be established, who shall report directly to the Under Secretary of State
         for Arms Control and International Security. Presidential Special Representatives shall report to the
         Secretary through the appropriate Assistant Secretary, who will provide support for such Special
         Representatives, and the Under Secretary of State for Arms Control and International Security. A
         scientific and policy Advisory Board on arms control, nonproliferation and disarmament shall report
         to the Secretary through the Under Secretary of State for Arms Control and International Security.
         The Bureau of Political-Military Affairs shall continue as a bureau within the Department of State.
         The Secretary of State shall allocate personnel and currently available funds allotted to the
         Department of State's Bureau of Political-Military Affairs to the Bureau of Arms Control and the
         Bureau of Nonproliferation in an amount appropriate to the transfer of activities to such bureaus.

         (d) Public Diplomacy. Effective October 1, 1999, there shall be within the Department of State a
         Bureau of Educational and Cultural Affairs, which shall be headed by an Assistant Secretary of State.
         In addition, there shall be an Office of International Information Programs, which shall be headed by
         a Coordinator for International Information Programs, who shall report directly to the Under
         Secretary of State for Public Diplomacy and Public Affairs.

         (e) Support functions. Budget, administrative, personnel, information technology, security,
         legislative, legal and other support activities of the Arms Control and Disarmament Agency and the
         United States Information Agency transferred to the Department of State by the Act shall be
         consolidated, as appropriate, with the Department of State's Bureau of Financial Management and
         Policy, Bureau of Administration, Bureau of Personnel, Bureau of Information Resource
         Management, Bureau of Diplomatic Security, Bureau of Legislative Affairs, Office of the Legal
         Adviser and other Department offices.

         Section 7. Additional Transitional Matters.
         (a) To the Secretary of State. Any functions, assets, liabilities, contracts, property, records, facilities
         and unexpended balances of appropriations, authorizations, allocations or other funds, transferred
         under the Act to the Secretary of State or the Department of State but not otherwise provided for in
         this Plan shall be transferred to the Secretary of State for appropriate allocation.

         (b) To the Broadcasting Board of Governors. Any functions, assets, liabilities, contracts, property,
         records, facilities and unexpended balances of appropriations, authorizations, allocations or other
         funds, transferred under the Act to the Broadcasting Board of Governors or its Chairman but not
         otherwise provided for in this Plan shall be transferred to the Broadcasting Board of Governors for
         appropriate allocation.

         Section 8. Construction and Relationship with Other Laws.
         (a) Construction. Nothing in this Plan or its accompanying Report shall be construed as derogating
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         from or limiting any authority conferred by the Act on any Department or agency or on the President,
         the Secretary of State, the Administrator of the United States Agency for International Development,
         the Broadcasting Board of Governors or its Chairman, the Director of the Office of Management and
         Budget or any other official, including the authority to request and make incidental dispositions of
         personnel, assets, liabilities, grants, contracts, property, records, and unexpended balances of
         appropriations, authorizations, allocations and other funds held, used, arising from, available to, or to
         be made available in connection with functions transferred by the Act.

         (b) Relationship with Other Laws. Nothing in this Plan or its accompanying Report shall be
         construed as derogating from or limiting any authority conferred by any other law on any
         Department or agency or on the President, the Secretary of State, the Administrator of the United
         States Agency for International Development, the Broadcasting Board of Governors or its Chairman,
         the Director of the Office of Management and Budget or any other official, to take appropriate
         measures, including the authority further to reorganize or to reallocate positions or funds, consistent
         with any applicable provision of law, including those governing reprogramming and transfer of
         funds.

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         EXECUTIVE SUMMARY
         The reorganization of the foreign affairs agencies will preserve and improve U.S. leadership for a
         new century that will pose new threats and opportunities. The risks posed by chemical, biological,
         and nuclear weapons may grow as numerous new state and non-state actors, some with interests
         inimical to our own, try to obtain those weapons. Democracies, citizen organizations, and market
         structures will become more prominent around the world, and Americans will feel the effects of
         decisions they make, outside traditional government-to-government channels. As developing
         countries add to the international economy, environmental and demographic pressures can challenge
         American prosperity and security, as well as our humanitarian instincts. By integrating our national
         arms control, nonproliferation, public diplomacy, and sustainable development efforts into a single
         foreign affairs structure, we will be better able to prepare, prevent, and when necessary respond.

         The Administration will work closely and cooperatively with the Congress to implement this historic
         reorganization. The plan is designed around our greatest strengths -- the abilities and expertise of our
         dedicated public servants in the foreign affairs agencies
                                                          000313 and the message America brings to the
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         world. Reorganization will make clear that we are creating an international affairs structure that
         serves the times by functioning better, faster, more flexibly, and efficiently.

         The United States Information Agency (USIA) and the Arms Control and Disarmament Agency
         (ACDA) will be abolished and integrated into State, the Broadcasting Board of Governors (BBG)
         will become an independent executive branch entity, and the International Development Cooperation
         Agency will be eliminated. The Administrator of the United States Agency for International
         Development (USAID) will be under the direct authority and foreign policy guidance of the
         Secretary of State, and USAID's press office and certain administrative functions will move to State.
         About seven thousand USIA personnel -- Foreign Service, Civil Service, and Foreign Service
         Nationals -- are involved. Nearly three thousand will go to the BBG and the remainder will join
         State, as will about 250 ACDA and a few USAID employees. Under the provisions of the Foreign
         Affairs Reform and Restructuring Act of 1998, all personnel and positions shall be transferred to State
         at the same grade or class, with the same rate of basic pay or basic salary, and with the same tenure
         held immediately preceding transfer.

         Arms Control, Nonproliferation, and International Security
         ACDA will be abolished on April 1, 1999. The integrated foreign policy missions of ACDA and
         State's Political-Military Affairs Bureau (PM) will be under the policy oversight of the Under
         Secretary for Arms Control and International Security. The Under Secretary will also be Senior
         Adviser to the President and the Secretary of State on Arms Control, Nonproliferation, and
         Disarmament. Five current bureaus (four in ACDA and PM) will be reduced to three in State, all
         under the policy oversight of the Under Secretary. An office reporting directly to the Under Secretary
         will advise on verification and compliance issues. During the transition period, the Director of ACDA
         has been "double-hatted" as Acting Under Secretary. Under the Act, a scientific and policy Advisory
         Board will be established to advise and make recommendations to the Secretary of State on U.S.
         arms control, nonproliferation, and disarmament policy and activities.

         Public Diplomacy and Public Affairs
         USIA will be abolished on October 1, 1999. Public diplomacy programs -- designed to understand,
         inform, and influence foreign audiences -- will be under the direction of a new Under Secretary for
         Public Diplomacy and Public Affairs who will provide policy oversight over two bureaus and one
         office.

         The Bureau of Educational and Cultural Affairs will be responsible for educational and cultural
         programs. The current commitment to academic and professional exchange programs will continue
         unabated. A separate Office of International Information Programs will produce information
         programs and products tailored for foreign opinion-makers. Its information efforts will focus on
         foreign audiences in recognition of the intent of Congress to separate overseas public diplomacy
         efforts from information efforts which inform the press and the American public about foreign
         policy. The Bureau of Public Affairs will be expanded by incorporating press relations offices of all
         four foreign affairs agencies and the Foreign Press Centers now operated by USIA. Public diplomacy
         staffs will be added to State's regional and functional staffs and bureaus.
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         Consistent with the Act, international broadcasting will remain an essential instrument of U.S.
         foreign policy. The BBG will be under the foreign policy guidance of the Secretary of State, who will
         have a seat on the BBG replacing the USIA Director. The Secretary and the Board will, however,
         respect the professional independence and integrity of the BBG's International Broadcasting Bureau
         (IBB) and its Voice of America, surrogate broadcasting services, and grantees. In cooperation with
         USIA and the BBG and IBB, State is developing mechanisms to transfer to the BBG and IBB those
         funds, resources, and personnel commensurate with administrative and other support they now
         receive from USIA.

         International Development
         IDCA will be abolished on April 1, 1999. USAID will be a separate agency, and its Administrator
         will be under the direct authority and foreign policy guidance of the Secretary of State. To maximize
         consistency with overall U.S. international affairs priorities, the Secretary will ensure coordination
         among agencies of the United States Government in carrying out the policies contained in relevant
         foreign assistance legislation. The Secretary will coordinate development and other economic
         assistance, and review USAID's strategic plan and annual performance plan, annual budget
         submission and appeals, and allocations and significant (in terms of policy or money)
         reprogrammings of development and other economic assistance. In this context, the Secretary will
         delegate or re-delegate to USAID the functions and authorities that USAID needs to carry out its
         mission. Under the direct authority and foreign policy guidance of the Secretary, the Administrator
         will create development policy, implement development and other economic assistance programs,
         and manage and administer assistance programs. State and USAID will establish more mechanisms
         for consultation and coordination. The International Cooperative Administrative Support Services
         (ICASS) system will be the basis for shared administrative services for USAID missions overseas.

         Policy Support and Management Functions
         · Legal Affairs -- ACDA's and much of USIA's legal staffs will join State's Legal Adviser's Office.
         The Legal Adviser will be assisted by a new Associate Legal Adviser, whose portfolio will be
         devoted primarily to arms control and nonproliferation issues, and an Assistant Legal Adviser for
         Public Diplomacy.
         · Congressional Liaison -- Units of ACDA and USIA will join State's Bureau of Legislative Affairs,
         providing new senior policy advisers.
         · Press and Public Affairs -- Press relations staffs from all four agencies will be drawn together
         under the Bureau of Public Affairs, which will be responsible for issuing all press statements and
         press releases for State and USAID.
         · Management -ACDA's and USIA's central management functions will be integrated in units under
         the oversight of the Under Secretary of State for Management. These functions include information
         resource management, overseas facilities and operations, domestic facilities, logistics, diplomatic
         security, financial management, grants, human resources, and training.
         · Executive Offices -- At the bureau level the new administrative units will be similar to current State
         models.

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         State Reinvention
         Reinvention of State will be accelerated and bolstered by new talents, strengths, and assets acquired
         through enhanced integration of foreign affairs agencies. State has already taken significant
         reinvention steps:

         · The Under Secretaries have assumed responsibility as the Corporate Board, meeting weekly under
         the chair of the Deputy Secretary to address major cross-cutting issues and conduct strategic
         planning.
         · Performance Planning has been redesigned to align strategy and resources better under the
         International Affairs and State Strategic Plans.
         · State's Overseas Staffing Model is helping prioritize and define staffing levels for the next century at
         our missions in the field.
         · State has revitalized capital planning for facilities and investment in information systems, two
         critical but high-cost areas.
         · State has consolidated its information technology (IT) professionals into a new Bureau of
         Information Resource Management under the leadership of the Chief Information Officer, creating a
         strong focus on IT issues and modernization.
         · State has developed and implemented the International Cooperative Administrative Support Service
         (ICASS), a transparent system which maximizes shared administrative services for agencies abroad.
         ICASS uses the concept of best practices and considers the cost and quality of services.
         · State has reengineered its logistics system and built a nimble structure which delivers improved
         responsiveness and customer service, incorporates electronic commerce and features an Internet
         acquisition website, with information on procurement opportunities at State's installations
         worldwide.
         · State has created a new Bureau of Western Hemispheric Affairs, by moving Canada into the former
         Bureau of Inter-American Affairs. This change emphasizes the importance of NAFTA and is an
         example of our strengthened policy focus on economics and global issues.

         But this is only the beginning. Bringing together the talented professionals of State, USIA, and
         ACDA in a single organization will afford opportunities for further reinvention. The Administration
         will be examining steps to better integrate related activities now conducted in several places in State
         and USAID, and to otherwise improve our ability to deal with both traditional and new problems.


         I. The Department of State

         The plan to reorganize the foreign affairs agencies called for a foreign policy apparatus to meet the
         demands of a new era in international relations. The structure proposed for State reflects this
         mandate. It was designed with careful attention to the Vice President's anticipation that
         reorganization preserve the unique skills and capabilities of all foreign affairs agencies and their
         personnel. The design strengthens the arms control, nonproliferation, and political-military missions,
         and more closely integrates public diplomacy and assistance activities into overall U.S. foreign
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         policy and the conduct of diplomatic relations. It puts missions and resources into a more unified
         structure.

         How Reorganization Makes U.S. Foreign Policy Stronger
         Reorganization of the foreign affairs agencies will strengthen our ability to achieve U.S. international
         affairs goals. Integrating the mission, programs, and personnel of USIA will bring public diplomacy
         to the core of foreign policy, yielding a stronger capability to understand, inform, and influence
         foreign publics and policy-makers. USIA's public diplomacy and communications professionals will
         infuse State with their own sophisticated information management skills and media tools. When
         public diplomacy perspectives come into play from the outset as policy is formulated, U.S. policy
         articulation will be clearer and more persuasive to foreign publics and governments.

         Integration of arms control, nonproliferation, and disarmament functions with international security
         assistance activities will complement the activities of each and strengthen the effectiveness of the
         whole. Consistent with our objective to ensure a strengthened role for arms control and
         nonproliferation at State, the lead for all new negotiations on these issues and related policy
         development and backstopping will reside in the functional bureaus. The Secretary of State will be
         better able to assess treaty verification and compliance, lead the interagency nonproliferation process,
         and play an enhanced role in the arms control interagency process. State will also be better able to
         contribute to the coordination of foreign and defense policy and deploy more effectively the broad
         tools of diplomacy to promote arms control and nonproliferation. The new structure will bring
         greater focus to priority defense policy issues -- preventing the proliferation of weapons of mass
         destruction and overseeing the transfer and control of conventional arms and technologies.

         What State Will Look Like
         The movement of boxes on organization charts is less important than the impact on mission, but
         State will look different. The incorporation of USIA and ACDA functions will add one new Under
         Secretary and greatly expand the portfolio and reporting structure of another. It will consolidate six
         bureaus from two agencies into three State bureaus and one major office. Integration will join more
         than 4,000 skilled American and Foreign Service National personnel, including public diplomacy
         experts, communications and media specialists, treaty negotiators, nonproliferation experts, and
         verification analysts, with colleagues at State. All full-time permanent positions from ACDA and
         USIA (except for those associated with the Broadcasting Board of Governors) and eight USAID
         positions will be transferred to State. Also to be transferred are all part-time, intermittent, and
         temporary positions and the full range of program and support funding.

         A new Under Secretary of State for Public Diplomacy and Public Affairs will exercise policy
         oversight for the Bureau of Educational and Cultural Affairs, the Office of International Information
         Programs, and the Bureau of Public Affairs.

         The Bureau of Educational and Cultural Affairs will be responsible for exchange and academic
         programs. The Office of International Information Programs will produce information programs and
         products tailored to influence foreign opinion makers. This Office will focus on programs and
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         products for foreign audiences in recognition of the intent of Congress to separate overseas public
         diplomacy efforts from information efforts which inform the press and the American public about
         foreign policy. State's Bureau of Public Affairs will be expanded by incorporating the press relations
         offices of all four foreign affairs agencies and the Foreign Press Centers now operated by USIA.
         USAID will retain its non-press public affairs functions. The Bureau will continue to inform
         domestic audiences and the press about U.S. foreign affairs activities. It will also continue to sponsor
         outreach and domestic speakers programs to engage the American public on foreign policy issues.
         State's regional and functional staffs and bureaus will acquire public diplomacy staffs. Regional
         bureaus will assume oversight responsibility for field public diplomacy operations.

         The addition of ACDA's arms control, nonproliferation, disarmament, and verification functions will
         strengthen the role of the transformed Under Secretary for Arms Control and International Security,
         enhancing State's capabilities in international security matters. The Under Secretary will also serve as
         Senior Adviser to the President and the Secretary of State on Arms Control, Nonproliferation, and
         Disarmament. State will integrate the operations of the Bureau of Political-Military Affairs (PM)
         with those of ACDA. The Under Secretary will provide policy oversight for three bureaus.

         · The Bureau of Arms Control will be responsible for international agreements on conventional,
         chemical/biological, and strategic forces, treaty verification and compliance, and supporting ongoing
         negotiations, policy-making, and interagency implementation efforts. The Bureau will have an
         enhanced role in the NSC-chaired arms control interagency policy process.

         · The Bureau of Nonproliferation will lead efforts to halt the spread of nuclear, chemical, biological,
         and conventional weapons and missiles capable of delivering weapons of mass destruction, secure
         nuclear materials in the New Independent States of the former Soviet Union, and promote protection
         of nuclear materials worldwide. The Bureau will have primary responsibility for leadership in the
         interagency policy process for nonproliferation issues.

         · The Bureau of Political-Military Affairs will retain most of its current international security policy
         and operational functions. It will be responsible for issues relating to security assistance, arms
         transfers, defense trade controls, and political-military and defense cooperation in critical
         infrastructure protection, contingency planning, crisis management, and peacekeeping. The Assistant
         Secretary for Political-Military Affairs will contribute significantly to stronger State efforts on
         regional security issues and better articulation of State's views on defense policies with foreign
         policy implications.

         · A Special Adviser reporting directly to the Under Secretary will advise on verification and
         compliance issues and prepare compliance reports to Congress.
         After two years, all regional and functional staff and bureau configurations will be reviewed to
         determine whether the present structure remains the best one.

         What will not change in State as it incorporates elements of USIA and ACDA into Congressional,
         legal, press, and management operations is the quality of these critical functions. The Secretary of
         State will continue to receive top-notch legal advice, but this advice will support a broader
         programmatic mandate. She will still be supported on Capitol Hill by legislative experts, but they
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         will represent an expanded portfolio of policy interests. The spectrum of management support
         operations will continue, but with newly integrated resources, facilities, and efficiencies.

         State will have a closer relationship to USAID. The International Development Cooperation Agency
         will be abolished, and the USAID Administrator will be under the direct authority and foreign policy
         guidance of the Secretary of State. In this context, the Secretary will review USAID's strategic plan
         and annual performance plan, annual budget submission and appeals, and allocations and significant
         reprogrammings of development and other economic assistance. The two agencies will expand
         shared administrative functions.

         Our posts and missions abroad will be even more integrated than now. Public Affairs Officers will
         become embassy and mission section heads. ACDA overseas administrative units will be integrated
         with embassy and mission administrative sections. USAID budgeting and planning at overseas
         missions will be consistent with overall Mission Performance Plans, and the Chief of Mission will
         approve the USAID mission's country assistance strategy and assessment of program performance
         and request for resources. State and USAID will utilize the International Cooperative Administrative
         Support Service (ICASS) system to maximize shared administrative services consistent with its goals
         of quality and cost-effectiveness.

         People - Our Greatest Asset
         State will offer more career opportunities to both the Civil Service and the Foreign Service. Civil
         Service employees will be able to compete for positions among a wider field of career possibilities,
         the breadth of which will particularly benefit former ACDA and USIA employees. In keeping with
         the changing requirements of international affairs in the 21st century, State will offer more
         opportunities for retraining and upgrading skills.

         USIA brings to State an innovative system for career development and training for Civil Service
         employees. For State to reach its potential, greater personnel flexibility and opportunities for
         overseas tours for Civil Service employees will be essential. State Foreign Service personnel will
         benefit from the opportunity to bid on and serve in new positions in arms control, nonproliferation,
         and public diplomacy -- acquiring needed skills in these fields, which are so essential to modern
         diplomacy. The merger of USIA into State will bring about a fifth Foreign Service career cone -
         public diplomacy. Public diplomacy officers will be able to bid on Washington assignments which
         include public diplomacy and public affairs positions in the regional and functional bureaus, as well
         as assignments in other cones. USIA executive officers will become administrative officers in State
         and be able to bid on all administrative assignments as well as on assignments in other cones. New
         access to multi-functional assignments will give these officers opportunities for advancement to a
         wider range of senior positions, and give officers in other cones more exposure to public diplomacy
         and communications skills needed in the age of information.

         Collectively, all State elements must focus more on training our foreign national colleagues, who
         make such important contributions to our overall efforts abroad.

         Reorganization and Reinvention
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         Reorganization will streamline administrative and management operations and lead to greater
         efficiencies while building on the diverse strengths of the merging organizations and their employees.
         Prior to ICASS, independent agencies operating at the same posts overseas inevitably brought a
         degree of redundancy to their administrative functions. Important operating efficiencies have been
         achieved through ICASS. At home, State will achieve efficiencies by merging State and USIA
         administrative systems in such areas as payroll and accounting. Over time, other systems and
         especially communications technology will be merged. For example, USIA will bring to State a
         strong technical capacity for open communications, greater Internet access, and other
         communications tools that will complement State's extensive secure communications network.

         Reinvention at State will be accelerated and bolstered by integration as new talents, strengths and
         assets are brought in, affording more opportunities for reinvention. State will also initiate new
         reinvention efforts building on the strengths which come from integration. State has already
         taken a number of steps which reflect its strong emphasis on improving effectiveness and building a
         firmer foundation for effective integration; these are detailed in Chapter VIII.



         II. The Arms Control, Nonproliferation, and
         International Security Mission

         What Will Happen to the U.S. Arms Control and
         Disarmament Agency (ACDA)
         Current Responsibilities
         ACDA's mission is to strengthen national security by formulating, advocating, negotiating,
         implementing, and verifying effective arms control, nonproliferation, and disarmament policies,
         strategies, and agreements. ACDA also ensures that arms control concerns are fully integrated into
         the development and conduct of U.S. national security policy. In addition, ACDA's Director
         functions as the principal adviser to the President, the National Security Adviser, and the Secretary of
         State on arms control, nonproliferation and disarmament matters.

         ACDA's four bureaus have specialized expertise and responsibility in the following areas:

         · Intelligence, Verification, and Information Management -- Covers the full panoply of arms
         control intelligence, verification, compliance, and technology issues.

         · Multilateral Affairs -- Develops U.S. policy, strategy, and tactics for multilateral negotiations and
         implementation, including the Chemical and Biological Weapons Conventions, the Comprehensive
         Nuclear Test Ban Treaty, and the Fissile Material Cutoff Treaty; staffs and backstops these efforts,
         and leads ACDA efforts on conventional arms control in Europe.
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         · Nonproliferation and Regional Arms Control -- Develops and implements policies for
         nonproliferation of nuclear, chemical, biological, and conventional weapons and missile delivery
         systems, export controls for related U.S. products, and regional arms control measures.

         · Strategic and Eurasian Affairs -- Leads U.S. efforts in nuclear arms control with the New
         Independent States (NIS) of the former Soviet Union and China, including the Strategic Arms
         Reduction (START) I and II, and negotiations on future reductions, Intermediate-Range Nuclear
         Forces (INF), and Anti-Ballistic Missile (ABM) treaties.

         The Under Secretary for Arms Control and International Security Affairs (T) provides policy
         oversight of and coordinates arms control, nonproliferation, and security assistance policy for State.
         The Bureau of Political-Military Affairs (PM) is responsible for formulating and implementing
         policies on such national security issues as nonproliferation of weapons of mass destruction and
         missile technology, nuclear and conventional arms control, arms export controls, and regional
         security assistance programs and initiatives. PM also acts as State's primary liaison with the
         Department of Defense on security assistance issues and on the implications of U.S. foreign policy.

         Personnel
         ACDA currently has 245 full-time permanent positions, 48 reimbursable positions, and three non-
         reimbursable ones.

         Within State, PM has 262 full-time permanent positions and 29 non-reimbursable ones. The Under
         Secretary's office has a staff of nine full-time permanent positions.

         Key Issues Considered
         The security issues facing America today are quite different from those of 10 years ago. The macro
         issues include:

         · Nonproliferation -- Nonproliferation of dangerous weapons and technologies, encompassing
         weapons of mass destruction and advanced conventional weapons and delivery systems, has high
         priority. Decades of work have put norms and regimes in place, but much work with problem states
         lies ahead. Integrating the assets of ACDA and State will help implement international structures
         already in place and address current proliferation challenges.

         · Critical Infrastructure Protection -- Safeguarding the nation's critical infrastructure from a new
         category of threats to national security posed by and to interconnected information systems is
         emerging as a key issue. Along with countering the smuggling of nuclear materials, critical
         infrastructure protection (CIP) involves coordination with domestic as well as defense agencies and
         other countries. Under the new structure, we will be equipped to address this growing security
         problem by increasing and consolidating our resources devoted to it.

         · Force Reduction -- Reducing forces is also a priority. Major negotiations are anticipated on START
         III and are underway on the adaptation of the Conventional Armed Forces in Europe (CFE) treaty. A
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         large number of existing agreements need to be implemented.

         · Defense Policy -- When military force is used in support of diplomacy, State plays a major role in
         shaping defense policies that have major foreign policy implications. The new structure reallocates
         resources for this function and makes it a primary role of PM.

         · Monetary Incentives -- These have become increasingly important in today's diplomacy. Nunn-
         Lugar assistance, which helps the NIS countries decommission weapons and convert from military to
         peacetime industries, is a creative way to advance foreign policy goals, in this case with Department
         of Defense funds. State should have the capability to participate actively in long-term planning and
         current programming to support optimum use of funds to promote arms control objectives.

         Proposed Integration into State
         Under the guidelines set out in the Vice President's plan, integrating ACDA into State will preserve
         and strengthen the effectiveness of the arms control, nonproliferation, disarmament, and security
         assistance functions. After considering a wide range of possible groupings, a streamlined structure
         was chosen that will reduce the number of bureaus in the two agencies from five to three and cut the
         number of executive-level Presidential appointees from eight to four. To increase efficiency and
         facilitate allocation of resources, a single administrative office will be established to support the three
         bureaus. The role of each new unit will be as follows.

         Under Secretary
         On April 18, 1997, the President announced that the ACDA Director would be double-hatted as the
         Under Secretary for Arms Control and International Security and then the two positions will be
         merged as Under Secretary/Senior Adviser to the President and Secretary of State, who will be able
         to communicate with the President through the Secretary of State. In the capacity of Senior Adviser,
         the Under Secretary will attend and participate, at the direction of the President, in NSC and its
         subordinate meetings (Presidential Decision Directive 65). The office will have 13 full-time
         permanent positions (four from ACDA and nine from State). The Under Secretary will exercise
         policy oversight for three bureaus: Arms Control, Nonproliferation, and Political-Military Affairs.

         Special representatives and envoys now reporting to the ACDA Director will be supported by the
         relevant Assistant Secretary and report to this Assistant Secretary and the Under Secretary.

         A new scientific and policy Advisory Board on arms control, nonproliferation and disarmament,
         authorized by the Foreign Affairs Reform and Restructuring Act of 1998, will report to the Secretary
         through the Under Secretary, who will maintain operational authority over the Board, including
         designation of members and staff (two full-time permanent positions from ACDA).

         The verification and compliance function will be managed through both an oversight unit and a staff
         support unit. A Special Adviser for Verification and Compliance, with a staff of six full-time
         permanent positions and one reimbursable position, all from ACDA, will report directly to the Under
         Secretary on critical verification and compliance issues and prepare compliance reports to Congress.
         Thus the Under Secretary will receive verification and compliance assessments independent of the
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         bureaus responsible for negotiating and implementing agreements. In addition, a larger group of
         verification and compliance specialists in the Bureau of Arms Control will provide policy, technical,
         and analytical support.

         Additionally, four positions (two full-time permanent, one reimbursable, and one non-reimbursable -
         all from ACDA) will move to the Bureau of Intelligence and Research to provide direct intelligence
         support as well as a robust interface with the Intelligence Community.

         Political-Military Affairs Bureau
         The Political-Military Affairs Bureau will support the Secretary and the Under Secretary in playing a
         larger role in security and defense policy. It will provide analytical support for the Secretary and the
         Under Secretary on defense-related foreign policy issues, contribute to the coordination of
         peacekeeping and other military operations, and assume greater responsibilities with regard to crisis
         management. The Bureau will be responsible for a cluster of issues involving arms transfers and
         defense trade controls, and political-military and defense cooperation in critical infrastructure
         protection, and will support the Under Secretary in coordinating security assistance. The Assistant
         Secretary for Political-Military Affairs will contribute to a stronger State effort on regional security
         issues and give State a more informed voice on defense policies with major foreign policy
         implications.

         The Bureau will have 142 full-time permanent positions (nine from ACDA and 133 from PM), one
         reimbursable position (from ACDA), and 23 non-reimbursable ones (all from PM).

         Arms Control Bureau
         The Arms Control Bureau will support the Secretary and the Under Secretary in leading efforts to
         negotiate new agreements, primarily START III and other future strategic arms control agreements,
         and negotiating efforts in the Conference on Disarmament (CD), e.g., fissile material cutoff treaty,
         ban on the transfer of antipersonnel landmines. It will have the equally important task of
         implementing a large number of existing agreements, including ABM, INF, START I, START II,
         CWC, and BWC, and of preparing to implement CTBT. The Bureau will assume the U.S. lead for
         negotiations and policy development related to Confidence and Security-Building Measures
         (CSBMs), Open Skies, Dayton Article V negotiations, verification and information for European
         arms control, have responsibilities with respect to CFE Treaty issues, and participate fully in the Task
         Force on CFE under the Under Secretary.

         The Verification and Compliance staff will contribute primarily to ongoing negotiations, technology
         policy coordination, policy analysis, information management, arms control efforts relative to critical
         infrastructure protection, and interagency implementation efforts.

         Consistent with our objective to ensure a strengthened role for arms control and nonproliferation in
         State, the lead for all negotiations on these issues and related policy development and backstopping
         will reside in the new functional bureaus. But, because of the sensitive stage of current negotiations
         on CFE and directly related CSBMs, these negotiations will temporarily continue to be handled
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         under existing arrangements with the regional bureaus, under the direction of the Under Secretary,
         along with a Special Representative and Task Force under the Under Secretary's leadership,
         established for policy direction and coordination with all relevant bureaus and offices. This
         arrangement will be reviewed in 1999 with a view to consolidating the lead in the Arms Control
         Bureau at the earliest practicable date.

         The Bureau will have 144 full-time permanent positions (109 from ACDA and 35 from PM), 37
         reimbursable positions (all from ACDA), and four non-reimbursable ones (two from PM and two
         from ACDA).

         Nonproliferation Bureau
         One goal of integrating ACDA and State is to give new emphasis to a broad range of efforts to curb
         proliferation of dangerous weapons and delivery systems. The Nonproliferation Bureau's role is to do
         this, including by supporting the Secretary and the Under Secretary in leading the nonproliferation
         interagency policy process.

         The Bureau will be responsible for nuclear nonproliferation, e.g., supporting the International Atomic
         Energy Agency (IAEA), implementing the Nuclear Non-Proliferation Treaty (NPT), securing nuclear
         materials in the NIS, disposing of stockpiles of fissile materials, advancing civil nuclear cooperation
         under safe and sound conditions, and promoting effective protection, control, and accounting of
         nuclear material worldwide. It will press for nonproliferation of chemical and biological weapons
         and missiles, and promote restraint in transfers of conventional arms. The Bureau will also pursue
         regional and bilateral initiatives designed to reduce proliferation pressures and destabilizing arms
         acquisitions.

         As part of the consolidation of activities in ACDA and State, some staff will be shifted in order to
         expand critical nonproliferation efforts and enhance State's security assistance capabilities.

         The Bureau will have 130 full-time permanent positions (48 from ACDA and 82 from PM), six
         reimbursable positions (all from ACDA), and four non-reimbursable ones (all from PM).

         Executive Office
         A single Executive Office, reporting to the Assistant Secretary for Nonproliferation, will provide the
         full range of administrative support services to all three bureaus. It will have 38 full-time permanent
         positions (26 from ACDA and 12 from PM).




         Positive Outcomes
         The three-bureau structure will put the Secretary and State in a strong position to:

         · Bring foreign policy considerations to bear on defense issues;
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         · Negotiate, implement, and verify arms control agreements; and
         · Pursue effective policies for nonproliferation of dangerous weapons.

         This structure will also provide the Under Secretary with effective tools to carry out other elements
         of the President's decision, including advising the Secretary and the President on arms control,
         nonproliferation, and disarmament, assessing verification and compliance, leading the
         nonproliferation interagency process, and playing a stronger role in the interagency arms control
         process.

         The integrated structure is designed to focus more effort on the priority issues of defense-related
         foreign policy, security assistance, and the transfer and control of conventional arms and
         technologies.

         III. The Public Diplomacy and Public Affairs
         Missions

         We place very high priority on public diplomacy with foreign audiences, and are firmly committed to
         integrating public diplomacy more fully into foreign policy. Our goal is to strengthen public
         diplomacy through its integration into the policy process. Negotiations on such issues as NATO
         enlargement, Iraqi sanctions, and global climate change show the value of being proactive in
         informing and influencing foreign publics, NGOs, and others. These audiences are playing greater
         roles on international issues as communications improve and pluralism expands. When public
         diplomacy strategies are applied from the outset as policy is formulated, policy and its articulation
         will improve and be more persuasive to foreign publics and policy-makers.

         What Will Happen to the U.S. Information Agency
         (USIA)
         Current Responsibilities
         Public diplomacy promotes U.S. national security and other interests by seeking to understand,
         inform, and influence foreign publics and policy-makers, and by broadening the dialogue between
         American citizens and institutions and their counterparts abroad. In comparison, public affairs is the
         provision of information to the press, the American people, and others about the policies and
         activities of the U.S. government.

         Different aspects of the public diplomacy mission roughly correspond to the role of each of the
         Agency's current major programmatic elements (current USIA broadcasting functions are enumerated
         in Chapter IV on International Broadcasting):

         · Bureau of Information (I), Area Offices, and USIS Posts Abroad -- Inform and seek to influence
         foreign opinion-makers by presenting U.S. positions
                                                       000325on policy issues through a variety of products,
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         including the daily Washington File, expert speakers (in person and in digital video or telepress
         conferences), Information Resource Centers overseas, electronic journals and Web sites, and print
         publications.
         · Bureau of Educational and Cultural Affairs (E), Area Offices, and USIS Posts Abroad --
         Broaden long-term dialogue with foreign publics through a variety of person-to-person exchanges,
         including the Fulbright Program for scholars, teachers, and students; the International Visitors
         program to bring foreign leaders to the U.S.; Citizen Exchanges efforts to develop international
         exchange programs through nonprofit American institutions; and programs to affiliate U.S. and
         foreign academic institutions, advise foreign students about American colleges and universities,
         foster the teaching abroad of U.S. studies and the English language, and strengthen educational
         institutions abroad.

         · Office of Research and Media Reaction (R) -- Seeks to understand foreign publics through
         opinion polling abroad and, utilizing reporting from USIS posts abroad and other media, to analyze
         attitudes toward U.S. policies and activities in the foreign media.

         Personnel
         USIA currently has 6,715 full-time permanent positions, of which 2,689 are engaged in broadcasting
         activities. The remaining 4,026 consist of 652 Americans and 2,080 Foreign Service Nationals (FSN)
         overseas, and 1,294 positions in the U.S.

         Key Issues Considered
         Budget Structure -- Funding for public diplomacy (excluding exchange and academic programs,
         which have and will continue to have their own appropriations) will be incorporated through
         increases to existing Congressional appropriations to State for Diplomatic and Consular Programs
         Abroad, the Security and Maintenance of Buildings Abroad, Representation Allowances,
         Emergencies in the Diplomatic and Consular Service, and the Capital Investment Fund. In the
         appropriation for Diplomatic and Consular Programs Abroad, State will separately plan for, identify,
         and account for public diplomacy resources for programs and products aimed at foreign audiences,
         and foreign national personnel and other programmatic expenses of public diplomacy sections of
         embassies and missions abroad and in appropriate offices in State.

         Organizational Structures -- We examined ways to promote maximum appropriate synergy of
         public diplomacy and public affairs activities under the oversight of the new Under Secretary for
         Public Diplomacy and Public Affairs.
         Smith-Mundt and Zorinsky Amendments -- In legislation over the years, Congress has restricted
         USIA's public diplomacy apparatus from being used to influence U.S. public opinion. The Foreign
         Relations Authorization Act of 1972 amended the Smith-Mundt Act of 1948 to include a ban on
         disseminating within the United States any "information about the United States, its people, and its
         policies" prepared for dissemination abroad. The Zorinsky Amendment added a new prohibition: "no
         funds authorized to be appropriated to the United States Information Agency shall be used to
         influence public opinion in the United States, and no program material prepared by the United States
         Information Agency shall be distributed within the United States." The Foreign Affairs Reform and
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         Restructuring Act of 1998 (the Act) addresses the application of these restrictions to State, giving it
         the flexibility to allocate personnel and other resources effectively and efficiently. In integrating
         USIA, State will observe all applicable legal restrictions.

         Consistent with Congressional intent, public diplomacy information efforts will focus on programs
         and products for foreign audiences. Exchange programs will continue to engage American and
         foreign participants and organizations under the Mutual Educational and Cultural Exchange Act of
         1961 (Fulbright-Hays).

         Public diplomacy has diplomatic aspects. As an example public diplomacy officers engage foreign
         audiences with techniques, language skills, and area knowledge not duplicated in domestic public
         affairs activities. At the same time, much policy content in public diplomacy and public affairs is the
         same for foreign and domestic audiences, e.g., State's daily press briefings and fact sheets on policy
         issues. These messages are delivered both to domestic and foreign audiences by many of the same
         media, e.g., CNN, the World Wide Web, and international wire services. More than half of the
         journalists whom State serves on a daily basis work for foreign media, and State and USIA web
         pages can be accessed from anywhere.

         Proposed Integration into State
         Under Secretary
         The Under Secretary for Public Diplomacy and Public Affairs will advise the Secretary on public
         diplomacy and public affairs and provide policy oversight for the Bureau of Public Affairs; the
         Bureau of Educational and Cultural Affairs, which will be responsible for exchange and academic
         programs; and the Office of International Information Programs, which will produce public
         diplomacy programs and products tailored to influence foreign opinion-makers. The Under Secretary
         or his or her designee will also chair the interagency Core Group on international public information
         (IPI), which will develop and coordinate U.S. public information strategies and activities to address
         regional and transnational threats and crises. The office will have nine full-time permanent positions,
         all from USIA.

         Bureau of Educational and Cultural Affairs
         The bureau will be formed from the staff of USIA's current Bureau of Educational and Cultural
         Affairs. Additionally, a
         staff of twelve full-time permanent positions, formerly in the USIA General Counsel's office, will
         report to the Assistant Secretary and be responsible for exchange visitor program designations; one
         additional full-time permanent position, responsible for film attestations under the Beirut
         Convention, will also transfer to the Assistant Secretary's office; as will nine positions involved in
         grants management that were originally in the USIA central contracts office.

         The Assistant Secretary will also be supported by the continuing efforts of the Cultural Property
         Advisory Committee and the Fulbright Scholarship Board (three full-time permanent positions).

         It will have 286 full-time permanent American positions domestically, plus 11 overseas.
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         Office of International Information Programs
         International information activities will continue to emphasize rapid response, cross-functional
         teamwork, and field orientation. Thus, the achievements of USIA's innovative Bureau of
         Information, launched four years ago as a Reinvention Laboratory based on Vice President Gore's
         National Performance Review and the best practices of private industry, will be maintained and
         strengthened under the leadership of the Coordinator for International Information Programs.

         These public diplomacy products will be available to all bureaus and overseas posts, to provide them
         with the assistance they need to advance U.S. interests abroad. Public diplomacy programs will be
         prepared in response both to Washington initiatives and to post needs. Guided by country
         information, including polling data, and other available information, the assistance provided in these
         programmatic packages, will enable the field to aggressively promote our foreign policy goals
         through world-class information services.

         There will be a total of 219 full-time permanent American domestic positions plus 16 overseas
         American and one FSN, including the former Office of Strategic Communications (six full-time
         permanent positions and one non-reimbursable position).

         Bureau of Public Affairs
         The three USIA foreign press center operations and its offices in Washington, New York, and Los
         Angeles (24 full-time permanent positions) will be transferred to the Bureau of Public Affairs. One
         position from ACDA's Bureau of Public Affairs will transfer to State's Office of the Historian,
         located in PA.

         BBG personnel who carry out Worldnet TV interactives (12 full-time permanent positions) will be
         transferred to State's Bureau of Public Affairs, as will the BBG's Foreign Broadcast Support Unit
         (eight full-time permanent positions). Worldnet TV interactives will continue to promote dialogues
         with foreign audiences via international satellite programs.

         Public Diplomacy in Regional and Functional Staffs and Bureaus
         USIA's area offices will integrate where practical and efficient into State's regional bureaus (123 full-
         time permanent positions), building on the successful European Bureau/Office of West European
         Affairs model. These will coordinate public diplomacy activities of their respective embassies and
         missions abroad. Overseas 445 full-time permanent American positions and 1,720 FSN positions will
         engage in public diplomacy work.

         Public diplomacy personnel (initially 25 full-time permanent positions, drawn from USIA's staff,
         area, and support offices) will be added to State's functional staffs and bureaus. These units will
         advise on policies from a public diplomacy perspective, and help develop public diplomacy strategies
         on regional and thematic basis to promote such U.S. national goals in areas such as counter terrorism,
         narcotics, arms control, and nonproliferation.

         Other Public Diplomacy Integration
         State's International Affairs Strategic Plan will encompass public diplomacy goals, and respective
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         Bureau and Mission Performance Plans will reflect targets and projects for each region, country, and
         functional area.

         USIA's Office of Research and Media Reaction will be merged with into the Bureau of Intelligence
         and Research. We will look to even more sophisticated ways to understand and evaluate trends in
         foreign opinion. The Office has a public opinion research function (35 full-time permanent positions)
         and a media reaction division (six full-time permanent positions).

         The Bureau of Educational and Cultural Affairs and the Office of International Information Programs
         will be supported by a single administrative office drawn from existing support positions, plus the
         transfer of 32 full-time permanent positions from USIA's current Management Bureau, which has
         been providing support services.

         Similar State and USIA information-related support functions will be combined into existing State
         structures. USIA's print operations and associated support (22 American and 91 foreign national full-
         time permanent positions) will join State's. Domestic library activities will be combined (two full-
         time permanent positions.) Efforts to promote U.S. foreign policy on the Internet will be combined
         and coordinated.

         Positive Outcomes
         This structure will bring together all elements charged with presenting and interpreting U.S. foreign
         policy to public audiences. It will give public diplomacy practitioners greater access to the foreign
         policy formulation process. The new structure will ensure that the policy content of State's domestic
         and international outreach programs is consistent and coordinated, yet tailored for specific target
         audiences. It will ensure that all applicable legal requirements are adhered to. And it will strengthen
         State's Bureau of Public Affairs by increasing its press expertise.

         By placing public diplomacy staffs in State's regional and functional staffs and bureaus, the new
         structure will offer a better integrated mechanism for identifying and acting on priority public
         diplomacy issues, and coordinating Washington resources with the needs of the field. International
         broadcasting will preserve its editorial integrity while adding new services and maintaining close ties
         with State, complementing other U.S. public diplomacy efforts in support of U.S. foreign policy
         interests.


         IV. INTERNATIONAL BROADCASTING

         Open communication of ideas and information to the people of the world is a critical element of U.S.
         foreign policy. The mission of conveying news and information is carried out, in substantial part, by
         the Voice of America and other U.S. Government-funded international broadcasters.

         What Will Happen to the Broadcasting Board of
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         Governors (BBG)
         Current Responsibilities
         All nonmilitary U.S. Government-funded international broadcasting, including the Voice of America
         and surrogate broadcasting, is administered through the BBG. It has nine presidentially appointed,
         Senate-confirmed members, including the USIA Director. The BBG is a self-governing element
         within USIA, and receives administrative, technical, and management support from other elements of
         USIA.

         Broadcasting seeks to inform and influence foreign publics. The key elements are:

         · International Broadcasting Bureau (IBB) -- The Voice of America, the Worldnet Television and
         Film Service, and Radio and TV Marti broadcast international news, commentaries, editorials,
         roundtable discussions, features and programming about the United States, its people, and its foreign
         policies. VOA broadcasts more than 900 hours of programming per week in 53 languages, and
         reaches an estimated 86 million people each week from IBB transmitter stations worldwide and
         through leased satellite links.

         · BBG Grantees -- The BBG grantees, including Radio Free Europe/Radio Liberty (which
         incorporates Radio Free Iraq and the Farsi language service) and Radio Free Asia, broadcast local,
         regional, and international news and seek to inform and influence foreign publics. The grantees are
         private, non-profit organizations which receive all of their funding from the BBG.


         Personnel
         At present, 2,689 full-time permanent employees of USIA are employed directly in broadcasting
         activities. Additional USIA employees, both domestically and internationally, provide support
         services to the BBG and its elements. The BBG grantees separately employ broadcast staffs that are
         not employees of USIA.

         Future International Broadcasting
         Under the Foreign Affairs Reform and Restructuring Act of 1998, the BBG will become an
         independent federal entity by October 1, 1999. Consistent with the Act, international broadcasting
         will remain an essential instrument of U.S. foreign policy. The Board (including the Secretary of
         State, who will be a statutory member of the Board) and State will respect the professional
         independence and integrity of U.S. international broadcasting.

         The Director of the IBB, as mandated by the Act, will organize a coordinating committee to examine
         and make recommendations to the Board on long-term broadcasting strategies.

         Key Issues Considered
         The principal issue considered in connection with the pending independence of the BBG was the
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         identification of the support resources of USIA currently used by the BBG and its elements. Under
         the Act, those activities now in USIA which are dedicated to carrying out the broadcasting function
         will be located in the BBG when it becomes a separate entity. In addition, the Secretary of State, with
         the concurrence of the BBG, will transfer to the BBG funds, resources and personnel commensurate
         with the administrative, management and other support they currently receive from USIA.

         Personnel, salaries, operating funds, and equipment commensurate with the support currently
         provided by USIA to the BBG and the IBB will be transferred in support areas such as
         administration, technology, legal, marketing, EEO, management, personnel, payroll, accounting,
         security, and contracting. The transfer will be made on a pro-rata basis using current (FY-99) assets
         as the baseline. In some cases, the services necessary to support a new, stand-alone agency (including
         start-up costs) are higher than the services currently provided to the BBG. In these cases, the
         additional resource requirements will be filled by State's adjusting the transfer or a reallocation of
         resources within the BBG. Sixty-six USIA full-time permanent positions, including three from
         USIA's special complements, will be transferred to the BBG to provide administrative support (48),
         legal support (seven), program direction (three), FOIA (two), and equal opportunity activities (six).
         The 48 administrative support positions consist of: four management positions, four budget positions,
         three personnel positions, two training positions, seven contracting positions, two contracting policy
         positions, 13 security positions, six information technology positions, 1 general administrative
         position, two travel and transportation positions, three mail and messenger positions, and one
         printing position. Twenty-three additional full time permanent positions will shift to State to provide
         reimbursable support in financial services (20) and declassification (three).

         Additionally, five full-time permanent American positions and 30 foreign national ones will be
         transferred to the BBG to direct and provide placement services for radio and TV material to foreign
         broadcasters. These American positions will be drawn from USIA's special complements. The
         foreign national positions will be derived from overseas support positions as they become vacant
         during integration, and not later than the end of FY-00 (nine have already been identified). Additional
         placement support will continue to be available for a transition period on a non-reimbursable basis
         for at least two years.

         With respect to transfers from the BBG to State, the BBG will transfer twelve full-time permanent
         positions directly responsible for producing interactives and providing technical support and the
         funds associated with the function. The BBG will also transfer the eight full-time permanent
         positions of the Foreign Broadcast Support Unit (FBSU) to the Foreign Press Centers. The FBSU
         facilitates the visits of foreign broadcasters to the United States, and this mission is more consistent
         with State's public affairs mission than with the journalistic mission of the BBG and the IBB.

         The Secretary of State will have access to the facilities and services of the BBG television studios
         and the BBG worldwide satellite capabilities for interactive dialogues as has been past practice. State
         will be able to use the technical facilities of the BBG on a non-reimbursable basis to broadcast
         interactive dialogues worldwide. Policy interactive dialogues will become the responsibility of State
         and continue to be produced from the BBG studios. Some of these interactive dialogues will allow
         for the appearance of individuals located at Main State and the Foreign Press Center. The cooperative
         professionalism that has marked past working relationships will continue in the future.
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         Positive Outcomes
         Pursuant to the Act, the BBG will become an independent federal entity. This provides a "firewall"
         between State and the broadcasters to ensure the integrity of journalism.
         The Act thus ensures that the credibility and journalistic integrity of broadcasting will be preserved
         and enhanced. International broadcasting is, and should remain, an essential important instrument of
         U.S. foreign policy, by telling America's story and otherwise serving broad American foreign policy
         objectives. The Secretary of State will provide foreign policy guidance to the BBG.



         V. The Development Assistance Mission

         What Will Happen to the U.S. Agency for
         International Development (USAID)
         Consistent with the President's decision in April 1997 and the Foreign Affairs Reform and
         Restructuring Act of 1998 (the Act), USAID will remain a distinct agency with a separate
         appropriation. The USAID Administrator will be under the direct authority and foreign policy
         guidance of the Secretary of State. Under the direction of the President, the Secretary will coordinate
         all U.S. development and other economic assistance except activities related to export promotion and
         to international financial institutions and certain other financial assistance. The Act abolishes the
         International Development Cooperation Agency (IDCA). It requires that USAID integrate its press
         office and certain administrative functions with State.

         Abolition of IDCA and Delegation of Authorities
         Several steps will be taken to implement the Act and the President's decision so as to provide for the
         "direct authority" relationship. In essence, the "dotted" organizational line between USAID and State
         will be filled in, with the Administrator having most authorities derived by redelegation from the
         Secretary of State. Under the direct authority and foreign policy guidance of the Secretary, the
         Administrator will carry out the approved overall assistance and economic cooperation strategy.

         In accordance with the Act, Reorganization Plan No. 2 of 1979 -- which established IDCA, with
         USAID as a component, and granted it primary responsibility for establishing overall development
         assistance policy and coordinating international development activities supported by the United
         States -- will cease to be effective as of April 1, 1999. The effective repeal of this Plan and the
         enactment of conforming amendments contained in the Act returns those functions now vested in
         IDCA or its director back to USAID or the Secretary of State, as was the case by statute prior to 1979
         Plan.

         Executive Order 12163, which delegated most Foreign Assistance Act development and other
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         economic assistance-related authorities to IDCA, will be amended to delegate assistance functions
         vested by law in the President to the Secretary of State, except for those reserved to the President or
         specifically delegated to another agency. This will be the same framework that existed prior to the
         establishment of IDCA. The Act also establishes USAID as a U.S. government agency.

         To maximize consistency with overall U.S. international affairs priorities, the Secretary of State will
         coordinate development and other economic assistance. The Secretary will ensure coordination
         among agencies of the United States Government in carrying out the policies contained in relevant
         foreign assistance legislation. In keeping with USAID's status as a distinct agency and recognizing
         that the USAID Administrator is under the Secretary's direct authority and foreign policy guidance,
         the Secretary will review USAID's strategic plan and annual performance plan, annual budget
         submission and appeals, and allocations and significant (in terms of policy or money)
         reprogrammings of development and other economic assistance.

         In this context, the Secretary of State will delegate or redelegate to USAID the functions and
         authorities needed to carry out its mission. These include authorities to:

         · Receive apportionments for development and other economic assistance appropriations;

         · Create policies for development and other economic assistance programs;

         · Implement development and other economic assistance programs; and

         · Manage and administer assistance programs, including the requisite personnel authorities.

         In carrying out its functions and authorities under the direct authority and foreign policy guidance of
         the Secretary, USAID will consult as appropriate with State.

         State-USAID Policy and Resource Coordination
         The leadership of both State and USAID recognize the need for effective coordination consistent
         with strong accountability and a clear division of responsibility. The promotion of the sustainable
         development mission will remain a priority objective of the closer State-USAID relationship at all
         levels. Broad foreign policy coherence is best assured through strategic planning and resource
         allocation processes as described in this chapter, which align USAID resources in support of foreign
         policy priorities and allow the sustainable development mission to be carried out effectively. Under
         the direct authority and foreign policy guidance of the Secretary, the Administrator will create
         development policy, implement development and other economic assistance programs, and manage
         and administer these programs. State and USAID will establish a number of regular mechanisms to
         enhance consultation and coordination, including in the field, in Washington at the bureau level, and
         in the relationship of USAID and State activities on global issues. These mechanisms will include:

         · Coordination in Strategic Planning -- Both State and USAID develop strategic plans in the
         context of the Government Performance and Results Act (GPRA). State coordinates with USAID in
         developing the "International Affairs Strategic Plan," and USAID's "Strategic Framework" is
         coordinated with this Plan.
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         · Coordination in Washington -- Preparation of Bureau Performance Plans at State will involve full
         consultation with USAID, which will participate in the Secretary's reviews of such Plans and in
         reviews of Mission Performance Plans (MPPs). Under the direction of the Secretary, other specific
         coordination mechanisms will be established, including a more structured system for coordination
         among State and USAID bureaus.

         · Coordination in the Field -- Close coordination in the field is at the heart of an effective State-
         USAID relationship. USAID overseas missions will participate actively in the MPP process, and
         their budgeting and planning will be consistent with MPPs. Chiefs of Mission will approve USAID
         missions' multi-year country assistance strategies and annual assessments of program performance
         and requests for resources (R-4), both of which will be consistent with USAID's GPRA-mandated
         Strategic Plan. The principal USAID official at post is a member of the country team. Unless
         otherwise provided, the Chief of Mission will have primary responsibility for the annual performance
         rating of this official, and Chief of Missions and appropriate USAID Assistant Administrators will
         agree on a specific work plan for the official.

         · Informal and Other Coordination -- Both agencies' officials will participate in a range of staff
         meetings, interagency groups, task forces, bi-national commissions, and other international meetings
         where they will coordinate their activities. Day-to-day exchanges of information and clearance of
         messages will constitute an important form of coordination. Informal coordination, including
         frequent telephone calls and "dropping by," will be valuable. These relationships are less visible than
         formal arrangements, but they play an essential role in identifying early on issues of importance to
         both institutions.

         Coordination of U.S. Assistance
         Consistent with the Act, the Secretary of State will exercise new authorities in the coordination of
         U.S. development and other economic assistance. Coordination activities of the Secretary, under the
         direction of the President, will include: (1) approving an overall assistance and economic cooperation
         strategy; (2) ensuring program and policy coordination among USG agencies in carrying out the
         policies set forth in the Foreign Assistance Act of 1961, the Arms Export Control Act, and other
         relevant assistance acts; (3) pursuing coordination with other countries and international
         organizations; and (4) resolving policy, program, and funding disputes among U.S. government
         agencies. Coordination of activities relating to promotion of exports of U.S. goods and services,
         however, will continue to be primarily the responsibility of the Secretary of Commerce, and
         coordination of activities relating to U.S. participation in international financial institutions and
         organization of multilateral efforts aimed at currency stabilization, currency convertibility, debt
         reduction, and comprehensive economic reform programs will continue to be primarily the
         responsibility of the Secretary of the Treasury.

         The Secretary of State will establish effective mechanisms to seek to resolve disputes among U.S.
         government agencies whose activities are covered by the Act. These mechanisms will build on field
         coordination, including cooperative efforts of all agencies at post to prepare MPPs and align plans of
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         agencies in the field to MPP goals and strategies. In Washington, the Secretary will oversee the
         coordination of assistance, supported by State-chaired mechanisms at various levels which will
         involve U.S. government agencies that fund and deliver U.S. assistance.

         Due to the need for high-profile interagency coordination at the startup of assistance to Central and
         Eastern Europe and the New Independent States of the former Soviet Union, the Congress mandated
         establishment of special Coordinators at State to oversee all development and other economic
         assistance to these areas. There are close professional relationships and interactions between USAID
         offices and the offices of the Coordinators. This process has contributed to achieving our objectives
         in these regions, where U.S. assistance is a critical part of U.S. foreign policy.

         USAID already carries out highly effective donor coordination in the field, through international
         organizations and in contacts with donor governments and NGOs. State, in consultation with USAID,
         will continue to represent the United States in treaty negotiations on development-related issues. The
         Administrator, in appropriate coordination with the relevant State bureaus, will continue to be the
         principal U.S. government contact with development ministers from other donor nations and
         represent the United States at OECD Development Assistance Committee meetings, development
         activities of international financial institutions (e.g., World Bank Consultative Group meetings), and
         United Nations development agencies. State will use its diplomatic mandate in support of
         development policy to advance U.S. foreign policy interests.

         Integration of Press Office and Certain Administrative Functions
         On April 1, 1999, USAID's press office will be merged with State's Bureau of Public Affairs, which
         will be responsible for issuing all USAID press statements and press releases. The eight USAID full-
         time permanent press relations officers will become State public affairs officers. They will provide
         full, coordinated media support services to USAID's Administrator, Deputy Administrator, Assistant
         Administrators, and regional and functional bureaus.

         Reorganization will include the consolidation of certain USAID administrative functions with those
         of State. Three years ago, State and USAID began to consolidate overlapping administrative support
         functions. A memorandum of understanding between the two agencies specifies four areas for shared
         services that provide logical, efficient, and effective operations. These services are:

         · Support -- State will process the retirement of USAID Foreign Service Officers and provide
         retirement counseling. USAID now uses the same travel contract as State and has co-located its
         headquarters mainframe computer operations with State's. The two agencies will implement a
         number of other small agreements for joint headquarters services.

         · ICASS -- State and USAID have implemented International Cooperative Administrative Support
         Service (ICASS) to maximize shared administrative services, using the concept of best practices and
         considering the cost and quality of services. Requests for exceptions to the use of ICASS as the
         service provider will be referred to Washington.

         · Training -- USAID will expand its use of State training services, e.g., foreign language training.
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         State and USAID will also develop professional and technical training programs together to the
         maximum extent possible.

         · Storage -- State will accommodate USAID's needs for storage of employees' household goods. The
         two agencies already share other transportation and storage services.

         Additionally:

         · Housing -- At all overseas locations the two agencies will operate under a unified Housing Board
         and joint State/USAID regulations will be issued on utilizing a single housing pool for short-term
         leased units.

         · Security -- State and USAID will review their security services to determine what further
         coordination can be achieved.

         · Other Functions -- State and USAID will continue to explore other efficient ways to coordinate or
         consolidate as many administrative functions as possible.




         VI. Policy Support Functions

         A. Under Secretarial Staffs
         Current Responsibilities
         State's five Under Secretaries (for Political Affairs, Economic, Business, and Agricultural Affairs,
         Arms Control and International Security Affairs, Management, and Global Affairs) and its Counselor
         are both advisers to the Secretary and policy makers in their own right on selected issues. They do
         not have "action" responsibility for policy and program implementation -- this belongs to the
         Assistant Secretaries who report to them. The Under Secretaries have personal staffs of about a
         dozen.

         ACDA's Office of the Director consists of a Director and Deputy Director; a military liaison officer;
         a Special Representative who performs Ambassador-at-Large like responsibilities; a Special
         Representative who serves as the Chief Science Adviser; a Counselor; an advance planning director
         who also serves as the Executive Director of the Director's Advisory Committee; the agency's EEO
         supervisory official; and staff support.

         USIA's Office of the Director consists of the Offices of the Director, Deputy Director, Counselor,
         Strategic Communications, and Research and Media Reaction.

         Personnel
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         For the purpose of comparison, the office of State's Under Secretary for Political Affairs consists of
         12 full-time permanent positions.

         ACDA's Office of the Director has 12 full-time permanent positions and a reimbursable one, not
         including positions in its Executive Secretariat.

         USIA's Office of the Director has 14 full-time permanent positions, not including positions in its
         Executive Secretariat.

         Key Issues Considered
         The new Under Secretary for Arms Control and International Security and the new Under Secretary
         for Public Diplomacy and Public Affairs will advise the Secretary on policy issues that are similar to
         those they managed as agency heads. However, a number of structural issues require changes in
         transforming both current Directors' offices into Under Secretarial offices:

         · Size/Structure of Staffs: ACDA and USIA agency chiefs have larger and more functionally
         diversified staffs than State's Under Secretaries.
         · Deputies: ACDA's and USIA's Deputy Directors have no counterparts in an Under Secretary's
         office.
         · Adjunct Offices: ACDA's and USIA's adjunct offices were functionally analyzed to determine if
         they should be located in the new Under Secretaries' offices, established elsewhere in State, or
         abolished and their functions transferred to other offices in the newly consolidated State.
         · Special Representatives: A number of arms control special representatives report to the ACDA
         Director; while in State, special envoys typically report to either the Secretary or an Assistant
         Secretary.

         Proposed Integration into State
         ACDA
         The office of the new Under Secretary for Arms Control and International Security/Senior Adviser to
         the President and the Secretary of State for Arms Control, Nonproliferation and Disarmament will be
         structured along the lines of the current Under Secretary for Arms Control and International Security
         Affairs with thirteen full-time permanent positions, drawn from the ACDA Director's office (two)
         and ACDA's Executive Secretariat (two) and the former State Under Secretary's office (nine). Other
         positions in the Director's office will move elsewhere in the new structure.

         The office will take on the new functions of advising the Under Secretary in the role of Senior
         Adviser to the President and the Secretary of State. The staff will assist the Under Secretary in
         communicating with the President through the Secretary of State, developing and maintaining senior-
         level contacts and procedures for rapid interface with other U.S. government agencies, and
         coordinating the Under Secretary's participation in senior-level interagency meetings, including NSC
         and its subordinate meetings (Presidential Decision Directive 65). Because of the unique defense
         liaison role that the Under Secretary plays, the State senior military advisor will also report to the
         Under Secretary. Positions from the ACDA Director's immediate office will transfer to the
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         Nonproliferation Bureau (two), the Arms Control Bureau (two), the Political-Military Affairs Bureau
         (one), the Congressionally authorized Advisory Board (one), the Office of Equal Employment
         Opportunity and Civil Rights (one), and the Legal Advisor's Office (one).

         The Special Adviser for Verification and Compliance will report directly to the Under Secretary on
         critical verification and compliance issues. Special representatives and envoys reporting to the
         ACDA Director will report to the appropriate Assistant Secretary and the Under Secretary. The
         scientific and policy Advisory Board on arms control, nonproliferation and disarmament will report
         to the Secretary through the Under Secretary, who will maintain operational authority over the Board,
         including designating its members and staff.

         USIA
         The office of the new Under Secretary for Public Diplomacy and Public Affairs will be structured
         similarly to the other Under Secretaries. The Under Secretary will have a staff of nine. Four other
         positions in the Director's office will move to public diplomacy support units in the functional
         bureaus, and one position will move to the Office of the Under Secretary for Management. Six of the
         Office of Strategic Communications full-time permanent positions plus a reimbursable one will move
         to the Office of International Information Programs to provide analysis and program support; the
         seventh will transfer to State's Policy Planning Staff. The positions in the Office of Research and
         Media Reaction will be shifted to the Bureau of Intelligence and Research (41 full-time permanent
         positions).

         Positive Outcomes
         · Establishment of new Under Secretaries in State with unique roles reflecting authorities transferred
         from the ACDA and USIA Directors, thereby strengthening State's policy and programmatic
         capabilities and their coherence.
         · Establishment of a structure within State to ensure that unique arms control and nonproliferation
         perspectives will continue to be available at the highest levels of the U.S. government, including the
         President.
         · Establishment of an entity which provides independent arms control and nonproliferation
         verification and compliance assessments.
         · Provide oversight for State's new interagency leadership role on nonproliferation.
         · Ensure better integration of public diplomacy in international affairs strategic planning, including
         through the presence of the Under Secretary for Public Diplomacy and Public Affairs on the
         Corporate Board.

         VI. Policy Support Functions

         B. Executive Secretariat
         Current Responsibilities
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         State's Executive Secretariat is a distinct organizational entity. The Executive Secretariat equivalents
         at USIA and ACDA are both situated within their Directors' offices.

         State's Executive Secretariat (S/S) manages, coordinates, tracks and records the information and
         work flows among the Secretary of State, other State principals, and bureaus within State; and
         between State and the interagency community. It is State's principal tasking organization, particularly
         in overseeing the preparation of briefing materials for State principals and assigning actions. It takes
         the lead in coordinating crisis management. It also provides administrative support for the Offices of
         the Secretary, other State principals, and special envoys. Its subordinate components include the:

         · Executive Office (S/S-EX), which provides centralized administrative support and information
         management functions for State principals, offices reporting directly to the Secretary, and the
         Bureaus of Public Affairs and Legislative Affairs.
         · Operations Center (S/S-O), which handles crisis management, briefs/alerts State officials,
         distribution of sensitive information, and supports principals' communications needs around-the-
         clock.
         · Secretariat Staff (S/S-S), which oversees the preparation and clearance of briefing material for the
         Secretary and other principals, coordinates the Secretary's travel, and manages interagency
         communications.
         · Record Management (S/S-RMD), which indexes, records, distributes, and archives the Secretary's
         and other principals' decisions, and documents and tracks Presidential and State principals'
         correspondence.


         ACDA's Office of the Executive Secretary (ACDA/D/EX) manages, coordinates, tracks, and records
         the information and work flows among the Director, Deputy Director, other ACDA principals and the
         Agency's bureaus and offices; and between the ACDA and the interagency community. It is ACDA's
         principal tasking organization for overseeing the preparation of briefing and action materials for
         ACDA principals. It communicates formally ACDA's views and is the formal recipient of other
         Executive branch views. It monitors ACDA's representation in interagency meetings and represents
         the Director and the Deputy Director in planning for diplomatic events. It has the lead responsibility
         for assigning and maintaining records and for assigning access to limited distribution, highly
         sensitive documents. It maintains ACDA's deadlines, both internal and external. It has no round-the-
         clock facility.

         USIA's Secretariat tasks, tracks, reviews and records the flow of information, briefing materials and
         correspondence to and from USIA's Director and Deputy Director, both within the agency and
         between it and the interagency community. Its Operations Center, distinct from the Secretariat,
         provides round-the-clock digests of print and electronic media (domestic and foreign), transcripts of
         public events, other public documents, briefing material and the latest press guidance for Washington
         agencies and overseas posts. It also monitors key media round-the-clock, and provides emergency
         support to official international exchange visitors. It takes the lead in coordinating the clearance
         process for VOA editorials.

         Personnel
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         There are 142 full-time permanent positions in State's Executive Secretariat.

         ACDA's Executive Secretariat consists of seven full-time permanent positions.

         USIA's Secretariat and Operations Center consist of 23 full-time permanent positions.

         Key Issues Considered
         The Executive Secretariats of all three agencies perform essentially the same functions for their
         principals. Their consolidation raises a number of issues:

         · Functions: While functions are largely the same for all three secretariats, they are distributed
         differently among each secretariat's component parts.
         · Systems: Document archiving, tracking and retrieval systems must be consolidated and
         harmonized.
         · Operations Centers: The functions of the USIA Operations Center, which were different, were
         analyzed and allocated.

         Proposed Integration into State
         State
         State's Executive Secretariat will be reorganized to prepare for the influx of new functions. A
         Correspondence and Records division (S/S-CR) will be established on the foundation of the existing
         Record Management division
         (S/S-RMD). It will have units responsible for records management and research, tracking and tasking
         correspondence for the Secretary and other principals, and managing the interagency calendar and
         associated functions. The Secretariat Staff division (S/S-S) will have oversight of the tasking and
         tracking of memoranda for the Secretary and other State principals and for coordinating the
         Secretary's overseas travel. The Operations Center (S/S-O) will integrate additional personnel from
         the USIA Operations Center to expand core responsibilities, including enhanced press/public affairs
         activities and expanded crisis management support operations. The Executive Office
         (S/S-EX) will continue to provide centralized administrative and information management support.

         ACDA
         The functions of ACDA's Executive Secretariat will be reallocated to:

         · Under Secretary's Staff: To provide programmatic support for the Under Secretary, who also
         serves as Senior Adviser to the President and the Secretary of State for Arms Control,
         Nonproliferation, and Disarmament.
         · S/S-CR and the Bureau of Legislative Affairs: Task and track general and Congressional
         correspondence addressed to the Under Secretary.
         · S/S and S/S-CR: Serve as the Under Secretary's coordinator of interagency communications.
         · S/S-CR and S/S-O: Distribute and store classified and highly sensitive material.
         · S/E-EX: Provide administrative and information management support for the Under Secretary's
         office.
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         · Under Secretary's Staff and S/S-CR: Maintain a formal record of the Under Secretary's decisions
         and actions.
         · The Bureau of Administration: Process Congressional, FOIA, Privacy Act, and document
         subpoena requests.
         · S/S-O: Provide 24-hour alert, briefing, crisis coordination, and principal locator services.

         ACDA's Executive Secretariat's seven full-time permanent positions will move to the staff of the
         Under Secretary for Arms Control and International Security (two), to the Under Secretary's
         subordinate bureaus (two to PM and two to AC), and to State's Executive Secretariat systems staff
         (one).

         USIA
         The functions of USIA's Executive Secretariat will be reallocated to:

         · Under Secretary's Staff: Provide programmatic support for the Under Secretary to carry out his
         duties.
         · S/S-CR and the Bureau of Legislative Affairs: Task and track general and Congressional
         correspondence addressed to the Under Secretary.
         · S/S and S/S-CR: Serve as the Under Secretary's coordinator of interagency communications.
         · S/S-CR and S/S-O: Distribute and store classified and highly sensitive material.
         · S/S-EX: Provide administrative and information management support for the Under Secretary's
         office.
         · Under Secretary's staff and S/S-CR: Maintain formal record of the Under Secretary's decisions
         and actions.
         · The Bureau of Administration: Process Congressional, FOIA, Privacy Act, and document
         subpoena requests.
         · S/S-O: Provide 24 hour alert, briefing, crisis coordination and principal locator services, and rapid
         response to urgent public affairs needs for overseas posts, including transcripts, press guidance and
         media summaries.
         · S/S-O and the Office of International Information Programs: Conduct 24-hour global media
         monitoring and provide information and summaries of foreign affairs coverage - on general and
         specific issues -- to senior officials in Washington and overseas.
         · The Bureau of Public Affairs and the Office of International Information Programs: Manage
         the repository of transcripts of public statements and appearances by U.S. government officials, and
         of press guidance and releases of U.S. Government agencies, and serve as principal point of contact
         for non-urgent information for press officers in the field.
         · S/S-S: Coordinate clearance process for Voice of America editorials.
         · The Bureau of Educational and Cultural Affairs: Provide duty officer for after-hour contact by
         exchange visitor program participants.

         USIA's Executive Secretariat's 10 full-time permanent positions will move to State's Executive
         Secretariat (seven) and to Legislative Affairs (three). Of the USIA Operations Center's 13 full-time
         permanent positions, four will move to the functional staffs and bureaus for public diplomacy work,
         seven will join the State Operations Center, and two will transfer to State's Executive Secretariat
         administrative office. One additional full-time permanent position, from USIA's Management
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         Bureau, will shift to State's Executive Secretariat systems office to support the Bureau of Legislative
         Affairs and a second one from USIA's special complements will move to the staff of the Foreign
         Service Grievance Board.

         Positive Outcomes
         · Increased responsiveness to overseas crisis management and information requirements.
         · Centralized correspondence processing.
         · Centralized interagency communications and scheduling.
         · Improved document tasking, tracking and retrieval.


         VI. Policy Support Functions

         C. Congressional Relations
         Current Responsibilities
         State, ACDA, and USIA have units devoted to Congressional relations, charged with roughly the
         same responsibilities for their subject areas. State's Bureau of Legislative Affairs (H) coordinates
         legislative activity for State and advises the Secretary of State and other State officials on legislative
         matters concerning all international affairs policy and funding issues. The Bureau's primary mission
         is to ensure that the Secretary's policies are reflected throughout the legislative process. H serves as
         the primary liaison between the Congress and the Executive Branch (including OMB and other
         governmental agencies) on foreign policy legislative matters as well as State's authorization
         legislation and two appropriations bills, the Commerce, Justice, State and Foreign Operations
         appropriations.

         ACDA's Office of Congressional Affairs (CA) is responsible for the legislative implications of arms
         control, nonproliferation, and disarmament proposals, policies, and activities, including treaty
         ratifications. It advises the Director on legislation and Congressional views; arranges briefings for
         legislators/staffs; arranges Congressional appearances; coordinates Agency responses to the
         Congress; and obtains Congressional approval of the budget. The office provides routine status
         reports on arms control and nonproliferation diplomatic efforts to the Senate Arms Control Observer
         Group and the House Arms Control Observer Group. It also serves as the Agency's liaison with
         OMB.

         USIA's Office of Congressional and Intergovernmental Affairs (CL) is the principal point of contact
         on public diplomacy issues and programs with the Congress, Executive Branch legislative offices,
         and state and local officials. The office is responsible for all aspects of the Agency's authorization
         legislation and, in conjunction with the Agency comptroller, appropriations legislation as well. CL
         advises the Director and other top Agency officials on Congressional views and develops and
         implements legislative strategy for USIA. CL coordinates Agency legislative activity, prepares
         Agency officials for Congressional appearances, keeps interested Members and staff informed of
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         Agency activities which affect them or their constituents. CL also conducts outreach with state and
         local government officials.

         Personnel
         State's Bureau of Legislative Affairs has 48 full-time permanent positions.

         ACDA's Office of Congressional Affairs has four full-time permanent positions.

         USIA's Office of Congressional and Intergovernmental Affairs has eight full-time permanent
         positions.

         Proposed Integration into State
         The new structure will have four deputy assistant secretaries (DASs) and four senior policy advisers
         (SPAs), a plan that will maintain the H Bureau's current DAS structure and create two new SPA
         positions. These new SPA positions will act as direct liaisons to the proposed new Under Secretaries
         and provide leadership and expertise within H on arms control and nonproliferation and public
         diplomacy.

         State's Bureau of Legislative Affairs will absorb most of the staff positions of the USIA legislative
         affairs operation, as well as some from their Secretariat operations and several administrative support
         positions.

         Of USIA's eight positions, six will transfer to H, one to the Bureau of Democracy, Human Rights and
         Labor (along with the international labor portfolio), and one to the Bureau of Public Affairs (along
         with the state and local government relations portfolio). Additionally, the three positions from
         USIA's Secretariat staff which support Congressional correspondence will be transferred to H, along
         with one position from USIA's Management Bureau.

         All four positions from ACDA will go to H.

         Each State Under Secretary will have a senior individual within Legislative Affairs, a Deputy
         Assistant Secretary (DAS) or Senior Policy Advisor (SPA), who will oversee issues under the Under
         Secretary's purview.

         Each Under Secretary will designate a point of contact in his/her office for the DAS or SPA and the
         relevant Legislative Management Officer (LMO). This is a collateral duty which will not require a
         full-time position.

         The Bureau of Legislative Affairs will continue to shepherd the authorization and appropriations bills
         through the Congress, working closely with those offices, particularly the Chief Financial Officer,
         which have responsibility for preparation of the budget.

         Positive Outcomes
         These proposals will provide for the unified representation to the Congress of State's views on the
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         widest range of foreign policy issues. State principals can be sure that their Congressional priorities
         will be brought to the attention of the Secretary and addressed through her frequent testimony and
         meetings on the Hill.


         VI. Policy Support Functions

         D. Legal Affairs
         Current Responsibilities
         State's Legal Adviser (L) provides legal advice and services to the Secretary -- and through her to the
         National Security Council (NSC) and the President -- as well as to other State offices. These
         activities include:

         · Bringing legal considerations to bear in formulating and carrying out U.S. foreign policy and in
         administering the Department, including the Foreign Service;
         · Participating in international negotiations and representing the U.S. in international conferences
         having legal content;
         · Representing the U.S. in international litigation and assisting the Department of Justice in domestic
         litigation involving State;
         · Serving as State's point of contact with Justice, Treasury, and other law enforcement agencies on
         sensitive operations and prosecutions that may affect the conduct of U.S. foreign policy;
         · Chairing the Department's advisory committees on public and private international law.

         ACDA's Office of the General Counsel, responsible for legal matters arising from arms control,
         nonproliferation, and disarmament activities of the U.S. government, provides legal advice and
         assistance to the Director -- and through him to the NSC and the President -- as well as to other
         ACDA offices. These activities include:

         · Participating throughout the negotiation, conclusion, ratification, and implementation of arms
         control treaties and agreements;
         · Interpreting legislation affecting the field of arms control, nonproliferation, and disarmament,
         including representing ACDA with respect to proposed and pending legislation;
         · Providing legal support in ratification and interpretation of arms control treaties, including drafting
         implementing legislation and the article-by-article analysis for transmittal by the President to the
         Congress;
         · Providing legal support for arms control initiatives by the President, the Director, and the different
         bureaus of ACDA; and
         · Addressing arms control legal issues at courses, seminars, and conferences.

         USIA's General Counsel's Office (GC) provides legal services to all Agency elements (with the
         exception of the immediate legal needs of the Broadcasting Board of Governors) in support of
         USIA's domestic and international activities. These activities include:
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         · Drafting and interpreting statutes and regulations;
         · Preparing for and negotiating site agreements, educational and cultural exchange agreements, and
         other international agreements;
         · Addressing requests for immunity from judicial seizure;
         · Representing the Agency in administrative litigation;
         · Assisting the Department of Justice in judicial litigation; and
         · Providing advice on matters as diverse as telecommunications issues, cultural property, labor
         relations, and ethical constraints on the activities of Agency officials.

         Personnel
         The Office of the Legal Advisor (L) within State has 165 full-time permanent positions.

         ACDA's Office of the General Counsel (GC) has 14 full-time permanent positions and a
         reimbursable one.

         USIA's Office of the General Counsel (GC) has 62 full-time permanent positions.

         Key Issues Considered
         The task force considered a range of issues, including: the number and level of officials in the Legal
         Adviser's Office charged with providing legal support for transferred functions; the placement of
         functions currently residing in General Counsels' offices which might be placed elsewhere in the new
         structure; the necessity for any internal management changes; and the April 1997 White House
         statement which indicated that ACDA's legal functions will be preserved.

         Proposed Integration into State
         General
         USIA legal staff will be transferred to the BBG in proportion to the amount of work currently
         performed by USIA's General Counsel's office for broadcasting components (seven full-time
         permanent positions). All other full-time permanent USIA legal staff (13 full-time permanent
         positions) and all ACDA legal staff positions will transfer to the Office of the Legal Adviser. One
         computer support position from USIA's Management Bureau will transfer to the Office of the Legal
         Adviser.

         All but one SES position currently assigned for legal functions in each of the three agencies will be
         transferred to the newly integrated Legal Adviser's Office and assigned SES responsibilities.

         Certain ACDA and USIA attorneys and support staff will be transferred to the appropriate
         management offices in the Legal Adviser's Office.

         The newly integrated Legal Adviser's Office will perform only legal functions. Non-legal functions
         will be transferred to other bureaus where these functions either are more compatible with the
         mission of that bureau or can be more effectively managed.
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         FOIA, privacy, and declassification functions of ACDA and USIA will be transferred to State's
         Bureau of Administration and to the BBG. ACDA's efforts are currently conducted entirely by
         rehired annuitants. Ten full-time permanent positions (two on FOIA and eight on declassification)
         will move from USIA, including three to provide declassification support to the BBG on a
         reimbursable basis. Five additional positions from declassification will move to public diplomacy
         efforts in the functional staffs and bureaus. Two full-time permanent positions working on FOIA will
         be transferred to the BBG.

         USIA Specific
         The USIA General Counsel will become the General Counsel to the BBG.

         A new Assistant Legal Adviser for Public Diplomacy and associated staff will be established in the
         Office of the Legal Adviser.

         USIA's attestation function -- reviewing films to determine whether they are of "international
         educational value" and thus warrant favorable export treatment under the Beirut Agreement -- will be
         transferred to the Bureau of Educational and Cultural Affairs (one full-time permanent position).

         The USIA Exchange Visitors visa waiver review procedure will be transferred to the Bureau of
         Consular Affairs (12 full-time permanent positions).

         The Exchange visa program designation function will become a staff element in the office of the
         Assistant Secretary for Educational and Cultural Affairs (12 full-time permanent positions).

         Seven full-time permanent positions will transfer to the BBG.

         ACDA Specific
         The ACDA General Counsel will become the Associate Legal Adviser for Arms Control and
         Nonproliferation and will report to the Legal Adviser.

         A new Assistant Legal Adviser for Arms Control and Nonproliferation and associated staff will be
         established and will report to the Associate Legal Adviser.

         All 14 full-time permanent positions and a reimbursable one will transfer to State plus two additional
         full-time permanent positions from elsewhere in the agency.

         Positive Outcomes
         The Secretary and other State principals will receive top-quality legal services from an integrated
         office under the direction of the Legal Adviser. Full integration of the arms control specialty into the
         Legal Adviser's Office will best preserve ACDA's unique legal functions. This arrangement will
         allow the Legal Adviser and client bureaus to draw upon the broad-ranging expertise of the Legal
         Adviser's Office. The Legal Adviser's Office will maintain its active recruitment program, which
         attracts some of the best lawyers in the country, as well as procedures for hiring experts in particular
         fields where appropriate. Client bureaus will provide travel funds adequate to preserve the legal
         functions of the lawyers participating in delegations, commissions and discussions.
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         VI. Policy Support Functions

         E. Press and Constituent Relations
         Current Responsibilities
         Public affairs is the provision of information to the press, the American public, and others concerning
         the goals, policies, and activities of the U.S. government. Public diplomacy seeks to promote the
         national interest of the U.S. through understanding, informing, and influencing foreign publics.

         · State's Bureau of Public Affairs (PA) provides information to various publics
         concerning the goals and development of U.S. foreign policy. Through dialogue with the media,
         individual citizens, and groups, it attempts to foster understanding of the importance of American
         leadership and engagement in the world. PA directs public affairs strategies, coordinates interagency
         public affairs activities, and serves as a principal adviser to the Secretary, senior State officials, and
         others in the U.S. government.
         · USIA's Office of Public Liaison (PL) is responsible for planning, directing,
         coordinating, implementing, and evaluating USIA's domestic public affairs program and for
         developing its communication strategy. PL provides information about the Agency's policies,
         mission, and programs to the general public, the communications media, academic and educational
         institutions, and government and non-governmental organizations.
         · ACDA's Office of Public Affairs (PA) disseminates and coordinates public
         information concerning arms control, nonproliferation, and disarmament. The office handles media
         outreach, coordinates press guidance on Agency issues, plans and coordinates press conferences and
         interviews with ACDA officials, and is responsible for a comprehensive Speaker's Program.
         · USAID's Press Relations Division (AID/LPA/PR) manages the communication
         of the Agency's mission, goals, and activities to the American public, primarily through the media. It
         is part of USAID's Bureau for Legislative and Public Affairs.
         · USIA's Foreign Press Centers in Washington, New York and Los Angeles deal with
         visiting and U.S.-based foreign media.

         Personnel
         State's PA bureau is staffed by 117 full-time permanent positions.

         USIA's Office of Public Liaison has 12 full-time permanent positions.

         ACDA's Office of Public Affairs has eight full-time permanent positions.
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         USAID's Press Relations Division has eight full-time permanent positions.

         USIA's Foreign Press Centers have 24 full-time permanent positions.

         USIA's Broadcasting Bureau has eight full-time permanent positions in its Foreign Broadcast
         Support Unit and 12 who carry out Worldnet television policy interactives.

         Key Issues Considered
         The major issues of integrating press relations functions into State are part of the larger issue of
         integrating USIA's public diplomacy mission into State.

         Proposed Integration into State
         The domestic press functions of USIA, ACDA, and USAID will be integrated into PA's Office of
         Press and Media Relations. USAID's press officers will become State Public Affairs Officers. USIA's
         Office of Public Liaison will integrate with PA.


         Existing press relations resources will be restructured into four inter-related offices in PA. The
         Assistant Secretary for Public Affairs will have overall managerial responsibility and the Principal
         Deputy Assistant Secretary will have day-to-day responsibility for the activities of these offices.
         They, in turn, will be responsible to the Under Secretary for Public Diplomacy and Public Affairs and
         the Secretary of State.

         The Domestic Press Office (a.k.a. "the Press Office") will be responsible for day-to-day relations
         with domestic and
         foreign media on major foreign policy matters, and for supporting media and public affairs events
         involving the Secretary or her deputies in the U.S. and overseas. This office will be staffed with
         positions presently in the Press Office and two transferred from USIA's Office of Public Liaison.

         The Foreign Press Centers Office will be responsible for day-to-day relations with U.S.-based and
         visiting foreign-based media whose areas of inquiry fall outside those already described above. The
         Centers' efforts will continue to focus on briefings, programs, and direct contact by press officers and
         other specialists with foreign journalists.

         The Centers in Washington, New York, and Los Angeles will remain where they are to serve their
         clientele, but will coordinate and integrate their daily operations with other offices of PA, under the
         daily direction of the Principal Deputy Assistant Secretary/Deputy Spokesman. Foreign Press Center
         operations will remain nearly identical to their current set-up (24 full-time permanent positions).
         Expertise from USAID's press relations office will also be available to address assistance issues.

         The Media Outreach Office will continue to be responsible for providing policy information to
         national and major regional media in a proactive fashion, and for reaching out to specialty, local,
         ethnic and other niche media organizations, all with the objective of better fulfilling our obligation to
         explain U.S. foreign policy and the U.S. role in world affairs to the broadest possible audiences,
         including those that have not traditionally been engaged by State and other foreign affairs agencies.
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         The office will also be responsible, in concert with other bureaus as appropriate, for handling of
         media interviews of State principals other than the Secretary. Staff will consist of the present
         positions, augmented by two full-time permanent positions from USIA's Office of Public Liaison and
         expertise from USAID's Office of Press Relations.

         A Multimedia Office will be responsible for television and certain other multimedia functions. Eight
         full-time permanent positions in the BBG's Foreign Broadcast Support Unit will shift to this office,
         as will BBG personnel who carry out Worldnet television policy interactives (12 full-time permanent
         positions.)




         Press Functions at USIA, USAID and ACDA
         USIA's Office of Public Liaison will have its positions transferred to corresponding parts of State's
         Bureau of Public Affairs. Those presently supporting "speaker programs" (four full-time permanent
         positions) will be transferred to PA's Office of Public and Intergovernmental Liaison to continue
         similar functions and activities there. Those working on "press relations" (four full-time permanent
         positions) will be transferred (two positions each) to the Press Office and to Media Outreach. One
         position working with LAN computer and related matters will be transferred to the Public
         Communications office, where such activities are concentrated within the Bureau of Public Affairs.
         One position will be transferred to the Public Affairs front office. And, two positions will become
         part of public diplomacy units in the functional bureaus.

         USAID's Office of Press Relations (eight full-time permanent positions) will be integrated into the
         Bureau of Public Affairs.

         The public affairs positions of the Arms Control and Disarmament Agency (eight full-time
         permanent positions) will be transferred: two to the Assistant Secretary for NP, two to the Assistant
         Secretary for AC, two to PM, one to the Office of the Historian in PA, and one to the Bureau of
         Administration.

         The Bureau of Public Affairs will be supported by an administrative office drawn from existing staff,
         plus 15 positions from USIA's former Management Bureau, which has been providing central
         support.

         Positive Outcomes
         The Under Secretary for Public Diplomacy and Public Affairs, having responsibility for both foreign
         and domestic audiences, will help ensure a consistent, coordinated, and timely message, as well as
         appropriate priorities for projects. With the merging of USIA's Foreign Press Centers into the Bureau
         for Public Affairs, the media will benefit from a coherent message emanating from a single source.


         VII. Management Functions
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         Overview
         Integrating management support functions into a single organization is in most cases a
         straightforward exercise. The State organizational structures reflect the needs of larger and,
         consequently, more complex and specialized units. Thus, in general, the current State organizational
         structures are more appropriate for the consolidated State organization. Furthermore, aside from the
         relative sizes of the agencies, there are more similarities in management operations than there are
         differences. Conforming changes in some management policies and procedures will need to be made
         to become one smoothly functioning organization. The most important task is to bring the people in
         the organizations together with the leadership, structures, and tools appropriate for a high-
         performance organization.

         One major challenge is the technological difficulty of uniting the three agencies. Separate electronic
         mail systems and computer databases that often cannot talk to each other will be expensive to
         standardize.

         Another challenge is to achieve the proper balance of responsibilities between central management
         functions and bureau-level management. There is no one "right" answer, since the most cost-efficient
         and program-effective solution in one case may not apply to others.

         A final requirement is to appropriately apportion support resources to the Broadcasting Board of
         Governors from USIA's central management and policy support structure.

         Coordinating implementation of the reorganization among the various management functions must
         also be done in such a way that essential operations are not disrupted despite the additional workload.

         Though there will be some downstream savings from consolidated management functions, there will
         be no short-term ones. In fact, costs are likely to rise over the next several fiscal years as relocation
         costs are borne and incompatible information technologies are conformed. Additionally, there will be
         some incremental costs in establishing the Broadcasting Board of Governors as an independent
         entity, absorbing potential immediate savings.
         In addition to the position transfers outlined in the sections that follow, full-time permanent positions
         will transfer from USIA's central management staff to: the Office of Resource, Plans and Policy
         (one), the Office of Management, Policy and Planning (one), and the executive office of the Bureau
         of Administration (five).

         VII. Management Functions

         A. Budget and Finance
         Current Responsibilities
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         Each of the three affected agencies has units with similar responsibilities for budgeting, accounting,
         financial management operations, budget presentation to OMB and Congress, execution of financial
         plans, and liaison on financial matters with Treasury, GAO, and other U.S. government agencies. The
         respective units are:

         · State -- Chief Financial Officer, heading the Bureau of Financial Management and Policy (FMP)
         and reporting to the Under Secretary for Management.
         · ACDA -- Financial Manager, who reports to the Director of Administration.
         · USIA -- Director of the Office of the Comptroller, who reports to the Agency Associate Director
         heading the Bureau of Management.

         Personnel
         State's Bureau of Financial Management and Policy has 559 permanent full-time positions; 357
         American and the remainder, foreign nationals.

         ACDA's Financial Management Division has seven full-time permanent positions. Its payroll and
         accounting services are executed by the General Services Administration.

         USIA's Office of the Comptroller has 86 full-time permanent positions.

         Key Issues Considered
         Appropriation Structure -- USIA and ACDA operating accounts will be merged into State's D&CP
         and S&E accounts. Funding for USIA overseas public diplomacy programs and products, including
         foreign national program salaries, will be allotted separately to respect all applicable legal
         restrictions. The appropriations for exchanges and the specialized activities such as the East West
         Center and the North South Center will be retained.

         Single Payroll System -- Payroll system transfers are recognized as having a tremendous impact on
         employees in a reorganization because of the devastating impact on morale should pay not be
         received on time. The transition to a single payroll system is a critical priority for implementing the
         integration and system improvements are already underway.

         Integrating Budget Submissions -- USIA's and ACDA's FY-00 budget requirements are being
         incorporated into the President's budget request for the Department of State. BBG will develop its
         first independent budget for FY-00.

         Integrating Financial Accounting -- ACDA's FY-99 appropriation, and its prior year balances will
         be shifted to State as of April 1, 1999. USIA's prior year balances will be shifted to State as of
         October 1, 1999.

         Structure and Autonomy -- As members of State's Corporate Board, the Under Secretaries will play
         a vital role in resource management decisions, particularly those involving bureaus within their areas
         of responsibility.

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         Proposed Integration into State
         ACDA's and USIA's central financial management functions will be integrated into State's, with
         conversion to common financial management systems, including single budget, accounting, and
         payroll systems.

         The FMP Office of Budget and Planning (FMP/BP) will handle budget formulation, presentation, and
         financial planning for all State appropriations. USIA and ACDA operating accounts will be merged
         into parallel State appropriations, with a separate allotment process established for overseas public
         diplomacy programs and products. Separate appropriations will be retained for the exchange program
         and for the current specialized activities like the East West Center and the North South Center.

         Sixty-eight permanent full-time positions will transfer from USIA to the Chief Financial Officer, 66
         from the Office of the Comptroller, one from the Executive Office, and one from the Office of
         Technology. The remaining positions from the Office of the Comptroller will be transferred to other
         offices within State (one to Legislative Affairs, 10 to regional bureaus, one to the Bureau of
         Administration, three to the administrative office supporting the Bureau of Educational and Cultural
         Affairs and the Office of International Information Programs, two to the administrative office
         supporting the Assistant Secretary for Public Affairs, and one to the Bureau of Administration. Four
         positions will transfer to the BBG. Also, since BBG plans to obtain financial services from State,
         twenty of the positions transferred to State will provide those services to the BBG on a reimbursable
         basis.

         Six of the ACDA positions will provide financial management services to the executive office for the
         bureaus under the Under Secretary for Arms Control and International Security, with the seventh
         position moving to the Bureau of Administration. State's Financial Services Centers (FSCs) currently
         provide disbursing, accounting, and payroll services for State, as well as USIA and ACDA at
         overseas posts. With integration, the services to the former USIA and ACDA overseas operations will
         continue. The BBG will reimburse for these services under ICASS.

         Positive Outcomes
         Key programs will be put under the direct leadership of the Secretary. Integration will facilitate
         stronger links between resource allocations and our international affairs strategic goals, giving the
         Secretary greater resource flexibility to set priorities.

         Consolidation of three currently separate sets of financial management systems will bring about
         future cost savings, streamlining, and process improvements through applying best practices. At the
         same time, it will create a wider field for career development and growth in the financial
         management field.

         VII. Management Functions

         B. Domestic Facilities                                           000352
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         Current Responsibilities
         State's Deputy Assistant Secretary for Operations (A/OPR) supervises four offices which exercise
         oversight for federally owned and leased domestic properties and provide support services for State's
         operations. They are responsible for domestic operations at 85 locations.

         · The Office of Facilities Management Services (FMS) conducts all buildings maintenance
         operations.
         · The Office of General Services Management (GSM) coordinates and provides support services
         for conference planning and diplomatic events, and manages the State's technical services unit,
         employee services center, diplomatic conference and reception rooms, authentications staff, and
         motor pool.
         · The Office of Real Property Management (RPM) manages the Master Real Estate Plan for
         domestic real property including acquisition, and manages the assignment, design and fit-out of
         internal space.
         · The Office of Projects Management (PM) oversees long-range planning and the implementation
         of major construction projects.

         USIA has two units within its Bureau of Management's Office of Administration that provide similar
         services at 18 locations.

         ACDA has a small General Services staff that provides administrative support and oversees facilities
         management at four locations.

         Personnel
         Currently State has a total of 132 full-time permanent positions that support domestic facilities and
         services.

         USIA has 17 full-time permanent positions providing domestic facilities support.

         ACDA' General Services staff has seven full-time permanent positions.

         Key Issues Considered
         A/OPR will assume, under the terms and conditions of existing leases, the management and
         operation of USIA real estate and building facilities, except those units being transferred to the BBG.

         To the extent possible, USIA headquarters staff members being incorporated into State will be moved
         to existing State facilities, with the eventual goal of integrating most staff members in the Foggy
         Bottom area. Duplicate support facilities in other areas will also be consolidated as soon as possible.
         This consolidation will permit the cancellation of some leases.

         Proposed Integration into State
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         USIA's domestic facilities and support staffs (17 full-time permanent positions) will transfer to
         A/OPR and consolidate with parallel offices in Facilities Management (A/OPR/FMS), General
         Services (A/OPR/GSM), Real Estate Management (A/OPR/RPM), or Projects Management
         (A/OPR/SP/P). Aditionally, two full time permanent positions will also shift, one each from USIA's
         human resources and technology units. ACDA's General Services staff (seven full-time permanent
         positions) will transfer to the Executive Office of the bureaus under the oversight of the Under
         Secretary for Arms Control and International Security Affairs (five) and the Bureau of
         Administration (two).

         The number of facilities to be managed and the workload will remain the same for the time being,
         though facilities are already being reviewed to determine if and when they can be consolidated.

         Positive Outcomes
         A centralized domestic facilities program will realize efficiencies over time. Capable professional
         staffs will be combined and permit a greater depth of expertise. When the headquarters elements of
         three Foreign Service agencies are combined within the Foggy Bottom area and support elements are
         combined at appropriate locations, economies of scale will permit identification of facilities and
         support services that could be eliminated. The General Services Administration and vendors will also
         benefit by having a single point of contact within State.

         VII. Management Functions
         C. EEO
         Current Responsibilities
         Government-wide Equal Employment Opportunity Commission regulations (29 C.F.R. 1614.102)
         govern EEO programs at State, ACDA, and USIA. The Deputy Assistant Secretary of State, and the
         Directors of EEO at ACDA and USIA, serve as principal advisers to their respective agency heads.
         Each recommends changes in policies and procedures to insure nondiscrimination in all programs or
         activities conducted and/or funded by their respective agencies.

         Personnel
         State's Office of Equal Opportunity and Civil Rights (S/EEOCR) has a total of 17 full-time
         permanent positions.

         At USIA 12 full-time permanent positions are assigned to the Office of Civil Rights.

         ACDA has one full-time permanent position located in the Director's Office.

         Key Issues Considered
         High-Level Attention -- Reporting relationships differ among the organizations. At USIA, the
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         Director of Civil Rights for EEO reports directly to the head of the Agency. At ACDA, the EEO
         manager reports directly to the ACDA Deputy Director. At State, the Deputy Assistant Secretary of
         S/EEOCR reports to the Deputy Secretary on questions of policy, but as a practical matter works
         closely with the Under Secretary for Management on day-to-day operations.

         Proposed Integration into State
         EEO programs will remain a vital element of State's management priorities and the new structure
         will consolidate existing USIA, ACDA, and State program personnel. The Director of the office, who
         will operate at the level of Assistant Secretary, will continue to receive routine guidance and support
         from the Under Secretary for Management, but will also continue to report to the Secretary and have
         access on any EEO concerns. Six of USIA's positions and the ACDA position will transfer to State.
         The other six USIA positions will transfer to the BBG.

         Positive Outcomes
         As a result of a consolidated, experienced staff, several underdeveloped programs like EEO
         Counseling, Alternative Dispute Resolution, Disability, and Civil Rights Compliance programs will
         be enhanced. The integration of new staff from USIA and ACDA, which include three Foreign
         Service positions, will also increase S/EEOCR's ability to address the needs of State's employees at
         posts abroad.

         VII. Management Functions

         D. Grants
         Current Responsibilities
         USIA and, in select circumstances, State make grants (transfers of money to non-governmental
         entities) to accomplish public purposes. Grant authorities, procedures, and limitations are determined
         by statute, and differ from program to program. USIA grants functions are focused on Fulbright,
         Expert Speakers, and International Visitor programs.

         Personnel
         In State, the Bureau of Administration's Office of the Procurement Executive establishes and
         oversees grants policy and the respective operating or program office handles grants execution. State
         does not identify personnel resources separately for grants because of the small volume involved.

         In USIA, the Grants Division in the Office of the Agency Procurement Executive has ten full-time
         permanent positions. There is also a grants management division of three full-time permanent
         positions in the Office of the Executive Director of the Bureau of Educational and Cultural Affairs.

         ACDA has no full-time personnel associated with this function.
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         Key Issues Considered
         Authority -- The appropriate focus of grants authority, with respect to centralization or
         decentralization, is to balance the need to place grant office authority close to the program office
         familiar with the program requirements and limits, while providing central expertise, policy, and
         oversight.

         Overseas -- Recognizing that the effectiveness of the public diplomacy mission depends on the
         flexibility of Public Affairs Officers overseas to issue grants, the consolidated State structure will
         retain the current practice.

         Proposed Integration into State
         The establishment of State-wide policy will remain in the Office of the Procurement Executive.
         Grants execution domestically and overseas will continue to operate in the appropriate operating or
         program office. A unit of nine, specializing in public diplomacy exchanges, will be located in the
         Bureau of Educational and Cultural Affairs. One position will transfer to the BBG.

         Positive Outcomes
         There will be compliance with good management practices and grants law and regulation, and
         maintenance of current program flexibility essential to accomplish the mission.


         VII. Management Functions
         E. Human Resources
         Current Responsibilities
         At State, the formulation and implementation of personnel policies and programs for Civil Service,
         Foreign Service, and foreign national personnel are vested in the Bureau of Personnel (PER), under
         the leadership of the Director General of the Foreign Service and Director of Personnel (DG), and the
         Under Secretary for Management.

         ACDA's Office of Personnel General Services (A/PGS), reporting to the Director of Administration,
         provides the full range of personnel functions for ACDA's civil service personnel.

         USIA's Office of Human Resources (M/HR), reporting to the Associate Director for Management,
         provides personnel services similar to those provided by the Bureau of Personnel at State, for Civil
         Service, Foreign Service and foreign national personnel.

         Personnel
         State's PER has 312 full-time permanent positions.
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         ACDA's Personnel Office has eight full-time permanent positions.

         USIA's Office of Human Resources has 53 full-time permanent positions devoted to personnel
         activities.

         Key Issues Considered
         Employees -- The Foreign Affairs Reform and Restructuring Act states that all personnel and
         positions of USIA and ACDA shall be transferred to State at the same grade or class, with the same
         rate of basic pay or basic salary rate, and with the same tenure held immediately preceding transfer.
         This includes foreign national personnel overseas. Consideration of the impact of reorganization on
         employees has also been a central concern of the collective planning effort.

         While the intent of the reorganization is not downsizing per se, there may be streamlining and
         position savings in some areas down the road after implementation is complete. Policies are being
         designed to review all Civil Service vacancies and hold those which could be needed for "at-grade"
         assignments upon integration. This includes an OPM- approved policy to advertise vacancies to
         ACDA, USIA and State before going to outside sources. All overseas posts have been instructed to
         develop plans to maximize the utilization of USIA and State foreign national personnel. While no
         agency can guarantee future actions, the intent is that any downsizing will occur gradually through
         normal attrition and sound work force management and planning. All the tools available will be
         utilized to minimize adverse impact on the workforce.

         Communication -- Uncertainty concerning potential RIFs, downsizing, assignment changes, and
         inequities is normal in any large-scale reorganization, and employee morale and productivity might
         fall if these concerns are not adequately addressed. Timely and open communications are essential.
         Prompt decisions on organizational structure, followed by individual assignments, will help to
         alleviate uncertainty. Discussions will also continue with the employee organizations, AFGE and
         AFSA. Other strategies to help employees cope with these changes will include training for
         supervisors and managers, as well as staff, and provision of counseling services.

         Integration of Foreign Service Systems -- With integration, a fifth generalist cone, called Public
         Diplomacy, will be created. USIA's administrative generalists will become State administrative
         officers. New specialist skill codes will be developed in State for USIA printing specialists,
         information resource officers, and English language officers. Policy differences such as time in class,
         tenuring, threshold window, assignments and promotion precepts will be addressed and resolved,
         with best practices considered.

         Decentralization -- There is general support for continuing State's current move toward
         decentralized authority by allowing bureaus to classify and staff positions at the GS-13 level and
         below, and provide performance management and employee relations services. State may engage in
         pilot programs for extended delegations to bureaus based on the skills and experience of the
         executive director's staff.

         Proposed Integration into State
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         Seven ACDA positions will move to the executive office of the bureaus under the Under Secretary
         for Arms Control and International Security, with the remaining position moving to the Bureau of
         Personnel.

         USIA human resources positions will move to the administrative office supporting the Bureau of
         Educational and Cultural Affairs and the Office of International Information Programs (six), the
         Bureau of Public Affairs (three), the Bureau of Administration (one), and the Bureau of Personnel
         (41), plus two additional positions from USIA's detail complement that had been detailed to the
         Board of Examiners. Three positions will transfer to the BBG.

         USIA's detail (22), pipeline (57), and training (45) complements encompass 124 full-time permanent
         positions after reductions from the FY-99 number for: budgetary adjustments (seven) and transfers to
         the BBG (eight), plus permanent shifts of personnel currently detailed to the Board of Examiners
         (two) and the staff of the Foreign Service Grievance Board (one).

         Positive Outcomes
         Integrating similar functional responsibilities and eliminating redundancies could over time increase
         efficiency in personnel operations by allowing currently underserved issues to receive more time and
         attention. Moving away from separate agency regulations and procedures to a common system based
         on best practices will lead to better personnel policies and processes.

         Steps will also be investigated to encourage all personnel to consider opportunities in the new areas
         of arms control, nonproliferation and public diplomacy. The integration has the potential to provide
         opportunities for work in a wider range of organizational units within State. Furthermore, because of
         the shifts being made, many employees will have the opportunity to obtain new skills.

         VII. Management Functions
         F. Information Technology
         Current Responsibilities
         Information technology (IT) organizations are responsible for acquiring, maintaining, and
         standardizing information equipment and operating systems which help accomplish the agency's
         mission and manage its resources. Information resources include computers, networks, other office
         automation equipment, and telephone and communications equipment. A critical component of IT
         management is planning and policy formulation for information resource strategies.

         State's Bureau of Information Resource Management (IRM), under the direction of the Chief
         Information Officer (CIO), manages all these activities for State. The geographic and functional
         bureaus have responsibility for their particular IT systems related programs.

         Information technology resources are generally dispersed throughout a large organization, in addition
         to centralized IT management units. These dispersed IT resources generally provide for operations of
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         specific programs (e.g., export controls, consular systems) or give immediate support for
         administration of office automation and networks. This section focuses primarily on the structure of
         centralized IT functions.

         Personnel
         State's IRM has a domestic staff of 470 full-time permanent positions.

         USIA's Office of Technology within its Management Bureau has 125 permanent full-time positions.

         ACDA has 15 full-time permanent positions working on information management and computer
         operations.

         Key Issues Considered
         · Open Communication -- The three agencies' current IT systems do not offer common e-mail
         connections. USIA operates in an open, unclassified IT environment with internet connections. For
         national security reasons, ACDA operates almost exclusively in a classified environment. State
         operates open systems, unclassified but controlled systems, and classified systems. Complicating any
         solution is the absence of U.S. Government approved technology to establish safe "firewalls," which
         will allow multiple classification levels on one set of equipment.

         · Standardized Systems and Software -- Development of a common architecture for equipment and
         software is critical for effective information management operations. Establishing these standards
         will permit maximum effective use of available capital funds.

         Proposed Integration into State
         Centralized IT functions will be provided by State IRM, strengthened with positions from USIA.
         Positions supporting particular programmatic functions will remain located in that program unit.

         Several operations of the merged entities will be combined quickly because they are essentially alike:
         communications centers, telephone services, mainframe operations, Strategic IRM Planning, and
         CIO support.

         Steps to strengthen information technology operations will include:

         · Identify redundant or "stovepipe" operating systems for elimination, with the goal of standardizing
         on as few systems as possible;
         · Consolidate existing database management systems;
         · Determine new hardware requirements for desktop systems, file servers, minicomputers,
         mainframes, and related peripherals.

         An expanded network management center in IRM will provide critical enterprise-wide 24-hour
         service to support network operations.

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         An expanded Information Help Desk will provide one-stop shopping for customers seeking
         information on resolution of problems having to do with IRM-supported products and services.

         Of USIA's 125 positions, 96 will transfer to the IRM Bureau, one to the Chief Financial Officer, one
         to the Bureau of Administration, one to the Legal Adviser's Office, 20 to the administrative office
         supporting the Bureau of Educational and Cultural Affairs and the Coordinator for International
         Information Programs. Six will go to the BBG.

         ACDA's decentralized IT operation will move to the bureaus under the policy oversight of the Under
         Secretary for Arms Control and International Security. Thirteen full-time permanent positions will be
         located in the Arms control Bureau, one positions will transfer to the Bureau of Administration, and
         one position will transfer to the Bureau of International Organization Affairs to support IT operations
         in Geneva.

         Positive Outcomes
         Combined central IT management and policy will allow more effective use of scarce resources and
         more rational planning and acquisition programs.

         The Bureau of Administration's Diplomatic Telecommunications Service Program Office (DTS-PO)
         will continue to provide long-haul telecommunications support to both the integrated State operations
         and to all the other agencies located at diplomatic and consular posts.

         VII. Management Functions
         G. Logistics
         Current Responsibilities
         The Office of Logistics Management at State is responsible for a variety of functions, including
         supply, transportation, and procurement.

         ACDA's logistics operations are split among three divisions in its Office of Administration: Financial
         Management (travel), Contracting, and Personnel and General Services (transportation, mail,
         property management, and printing).

         USIA has logistics operations in the Bureau of Management's Offices of Administration (M/A) and
         Contracts (M/K). A small staff provides logistics support for Printing Services of the Information
         Bureau.

         Personnel
         State has 214 full-time permanent positions engaged in logistics functions.

         USIA has 75 full-time permanent positions engaged in logistics management.
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         ACDA has six full-time permanent positions engaged in logistics operations.

         Key Issues Considered
         Separate Authorities -- Arms control, nonproliferation and public diplomacy will not retain agency-
         type authority, such as procurement. Customer service teams will provide high-quality service to
         these functions.

         Logistics Information Systems -- Few systems are shared between agencies. Integration will require
         a mixture of using best practices systems and creation of new systems.


         Proposed Integration into State
         The structure designed to implement State's reengineered logistics processes will serve as the basis
         for the consolidated logistics operation. Expanded logistics operations for the consolidated agencies
         will be organized, under the direction of a Deputy Assistant Secretary, around work processes in
         three offices:

         · Operations Management,
         · Acquisitions Management, and
         · Program Management.

         Of USIA's 76 full-time permanent positions (including one in their Comptroller's office), 65 will
         transfer to the Bureau of Administration, and 11 to the BBG. Three additional full-time permanent
         positions, providing passport and visa support, will transfer to the administrative office supporting
         the Bureau of Educational and Cultural Affairs and the Office of International Information Programs
         (two) and the administrative office supporting the Bureau of Public Affairs (one).

         Four ACDA full-time permanent positions will transfer to the Bureau of Administration and two to
         the Nonproliferation Bureau. One additional full-time permanent position will also move to logistics
         from elsewhere in the agency.

         Positive Outcomes
         Integration will permit State to expand its reengineering design to serve arms control,
         nonproliferation, and public diplomacy activities. The timing of the reorganization will permit the
         incorporation of USIA and ACDA business requirements and practices into new logistics process
         implementation.

         Redundant operations (e.g., warehousing, diplomatic pouch and mail) will be merged or phased out
         to permit further streamlining. Additional economies of scale will over time result from including
         USIA and ACDA requirements in contract and vendor management initiatives and from
         consolidating distribution channels and logistics systems.

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         VII. Management Functions
         H. Overseas Facilities
         Current Responsibilities
         State's Foreign Buildings Office (FBO), located in the Bureau of Administration, acts as the single
         real property manager for U.S. government diplomatic and consular property abroad. FBO activities
         include: determining building funding priorities; design, construction, acquisition, sale, maintenance,
         and utilization of real properties; use of sales proceeds; and providing direction on foreign buildings
         matters to regional bureaus and other agencies. FBO already provides a broad array of these services
         to ACDA and USIA.

         Personnel
         FBO has 382 full-time permanent positions domestically and 174 Foreign Service full-time
         permanent positions (primarily facilities managers) overseas.

         The overseas property management responsibilities of ACDA's Executive Director in Geneva are
         limited to serving as the administrative liaison with the U.S. Mission there and the U.S. Embassy The
         Hague. ACDA has no full-time positions with overseas property management responsibilities.

         USIA has 10 full-time permanent positions in the Bureau of Management responsible for design,
         technical assistance, overseas procurement, safety, and facilities security.

         Key Issues Considered
         · Consolidation
         Consideration was given to physical consolidation of all USIA overseas activities into current State
         facilities, but it was determined that such a collocation would be prohibitively expensive.


         · Representational Considerations
         Representational housing, china, glassware, and silverware are not provided for any heads of section
         at State. This will be a change for the USIS Public Affairs Officers (PAOs), who currently, as head of
         an agency at post, automatically receive such items. Post Housing Boards will give appropriate
         consideration to functional needs when making assignments for PAOs arriving from the summer of
         1999 onward.

         Proposed Integration
         ACDA's and USIA's existing functions will be incorporated into FBO, building on FBO's broad
         mission, experience, and scope of operations, and the extensive property management services FBO
         already provides to both ACDA and USIA. Support activities will continue without interruption.
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         USIA staff, including designers, architects, physical security personnel, safety officer, and facilities
         security personnel will join FBO. Personnel transferred from USIA to FBO are expected to assume
         duties closely related to their current activities. Because ACDA does not dedicate full-time resources
         to property management, no personnel will be transferred.

         At overseas locations all agencies will operate under a unified Housing Board. Joint State/USAID
         regulations will be issued on utilizing a single housing pool for short-term leased units.

         Positive Outcomes
         More comprehensive services and programs will be available for all personnel in the areas of safety,
         security, and in-house construction and design expertise.

         Longer-term implementation of integrated facilities management overseas will result in more
         efficient utilization of space, reduced service costs, and fewer personnel necessary for space
         management.

         VII. Management Functions
         I. Overseas Operations
         Current Responsibilities
         State has an overseas presence at some 260 locations worldwide. Most of these include not only State
         personnel but personnel from many other agencies as well.

         USIS (the United States Information Service, as USIA is known overseas) currently has a separate
         agency identity within the embassy. A Public Affairs Officer (PAO) heads the USIS unit with its own
         resource allocations. In practice, however, public diplomacy functions are already partially integrated
         at post. PAOs consult regularly with the Ambassador and country team colleagues, and USIS country
         program plans track closely with overall mission goals and objectives. USIA already receives many
         administrative services from State, although USIS operations provide varying degrees of their own
         administrative and program support.

         ACDA's most significant overseas presence is in Geneva, where it is engaged in several critical roles,
         including supporting ongoing arms control negotiations in the Conference on Disarmament. In The
         Hague, ACDA leads the U.S. Delegation to the international organization implementing the
         Chemical Weapons Convention; and, in Vienna, it has staffs addressing implementation and
         adaptation of the European conventional arms control agreements and the Comprehensive Test Ban
         Treaty. Currently, ACDA receives most of its overseas administrative services from State.

         Personnel
         State's overseas presence includes 4,100 American and 7,600 full-time permanent Foreign Service
         National (FSN) positions.
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         USIA's area offices overseas would encompass 191 locations with 478 full-time permanent American
         positions and 1,958 full-time permanent FSNs (not including the 30 which are shifting to the BBG),
         plus an additional seven Americans who are carried on USIA Washington's rolls.

         ACDA's three overseas locations are staffed by fourteen full-time permanent positions.

         Key Issues Considered
         Consolidation at Small Posts -- Personnel at smaller posts often perform both program and
         administrative functions; thus it is more difficult to realign duties to consolidate program and
         administrative support functions into separate positions.

         Consolidation of USIS and State Information Systems -Information technology support activities
         are an integral component of USIS and State operations at overseas posts. In some instances, USIS
         computer support personnel may have program responsibilities involving contact with foreign
         publics and development of program products, as well as specialized technical responsibilities. State
         information systems personnel at posts have responsibility for communications and office support
         networks, as well as for systems that support program activities, such as consular work. The goals for
         consolidating USIS and State information systems overseas are to:

         · Maintain the level and quality of all computer systems and applications;
         · Use skilled computer personnel (likely to be in short supply) to the maximum benefit of all
         operations at post;
         · Develop and implement a post plan to fully integrate all computer system operations.

         This is a case where additional changes in position allocation may occur over the near term as
         experience dictates.

         Proposed Integration into State
         USIS overseas positions will be transferred to the respective regional bureaus, with appropriate field
         budget transfers as well. The PAO will head the embassy public diplomacy section and report to the
         Deputy Chief of Mission. The public diplomacy section will be on a par with the consular, economic,
         administrative, and political sections in an embassy. Current USIS Branch Public Affairs offices,
         located where there are no State offices, will be re-titled in line with State nomenclature.

         In keeping with the principle that the core functions of USIS will be preserved, the composition of
         the public diplomacy section and its resources will not drastically

         change (445 full-time permanent American positions). Several functions closely tied to public
         diplomacy such as program planning and budgeting, program logistics, and grant administration will
         remain in the public diplomacy section. FSNs with these functions will remain in the public
         diplomacy section (1,720 full-time permanent positions).

         General administrative functions (e.g., personnel, financial management, transportation, and
         information technology) will be integrated with the administrative section. USIS executive officer
         positions (26) will become State administrative positions, as will seven USIS regional management
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         officer positions. FSN positions with purely administrative duties will be assigned to mission
         administrative sections (238 full-time permanent positions). Further adjustments may also be made
         as circumstances warrant. Additionally, 30 full time permanent foreign national positions are being
         transferred to the BBG.

         Six full-time permanent foreign national positions, currently providing printing services in Vienna,
         will shift to the Bureau of Administration.

         In Geneva, interagency arms control delegations will be supported administratively by the U.S.
         Mission. Support functions currently performed by ACDA will transfer to the mission's
         administrative section, with provision for a conference services officer to coordinate arms control
         delegation requirements.

         Positive Outcomes
         The Country Team approach will continue, with preservation of the strong role of public diplomacy.

         Public diplomacy and arms control and nonproliferation functions will be supported effectively at
         overseas posts.

         Integration of administrative support will provide a more streamlined structure with potential for
         future savings.



         VII. Management Functions
         J. Records and Publishing Services
         Current Responsibilities
         Within State's Bureau of Administration, the Deputy Assistant Secretary for Records and Publishing
         Services (A/RPS) is responsible for a variety of information-related programs and functions. A/RPS'
         activities include all information programs covering access, privacy, and national security
         classification and declassification management (mandated by the Freedom of Information Act,
         Privacy Act, and Executive Order 12958, among others); traditional records management;
         congressional and judicial document production; central archives; research; and State's Library. Also
         under the A/RPS umbrella are the Multi-Media Publishing Services operation (i.e., Printing) and
         Directives Management (including regulations and Paperwork Reduction Act).

         ACDA's and USIA's related information programs are located in a number of different organizations
         including the USIA's General Counsel's Office (GC), Bureau of Management (Office of
         Administration, M/A) and Bureau of Information (I), and ACDA's Bureau of Intelligence,
         Verification, and Information Management, and its Office of Public Affairs.

         Personnel                                                        000365
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         State's A/RPS has a staff of 237 full-time permanent positions.

         Parallel programs in USIA involve full-time permanent positions in: printing operations both at
         headquarters and overseas, 19 American and 91 foreign national positions (I, M/A and EEN);
         directives staff, two positions (M/A); library and records management, four positions (I); FOIA
         operations, four positions (GC); and declassification operations, 13 positions (GC).

         The records management and declassification programs are the only related programs in ACDA,
         involving one full-time permanent employee in the Office of Public Affairs and one in the
         Intelligence, Technology, and Analysis Division of the Bureau of Intelligence, Verification, and
         Information Management.

         Key Issues Considered
         · Statutory Compliance
         Since many of the program activities are driven by legal mandates (e.g. FOIA, Privacy Act, E.O.
         12958, Federal Records Act) or traditional organizational activities (such as libraries and printing
         plants), there is considerable commonality in function and programmatic requirements.

         · Corporate Archives
         Throughout its history, State has maintained a central record collection documenting the conduct of
         foreign policy and its other business requirements. Neither ACDA nor USIA has such a resource, and
         thus there is a need to integrate records life-cycle requirements as an ongoing part of program
         responsibilities, as well as a corporate record resource.


         Proposed Integration into State
         The reorganization of State, ACDA, and USIA entities will be relatively easy to accomplish because
         they are essentially alike. For example, there are already joint State/ACDA/USIA regulations;
         USIA's historical declassification review activity required by E.O. 12958 is already collocated with
         State's facility; and the ACDA Library has already been merged with State's. Because separate
         facilities will continue for some time, a Library annex will temporarily remain at the former USIA
         headquarters.

         From USIA, eight full-time permanent declassification positions will transfer to the Bureau of
         Administration, including three that will provide this service to the BBG on a reimbursable basis; the
         remaining five positions will provide public diplomacy support in the functional bureaus and staffs.
         Two full time permanent FOIA positions each will transfer to the Bureau of Administration and to
         the BBG.

         Two ACDA positions will transfer to the Bureau of Administration.

         Two USIA full-time permanent positions for domestic library support, two for records management,
         and two for directives will transfer to the Bureau of Administration.

         Nineteen full-time American positions (14 domestic
                                                      000366and five overseas), and 91 full-time permanent
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         FSN positions (85 in Manila and six in Vienna) will transfer to the Bureau of Administration to
         provide printing services. One full time permanent American position will transfer to the BBG.

         Positive Outcomes
         Integrated programs will enable the new organization to implement best business practices --
         especially through leveraging technologies -- and thereby increase the potential of achieving
         increased economies and efficiencies.


         VII. Management Functions
         K. Security
         Current Responsibilities
         State, ACDA, USAID, and USIA all have similar responsibilities for ensuring the protection of
         personnel, facilities, and national security information. However, State is responsible for managing
         and providing security at overseas posts.

         At State, the Bureau of Diplomatic Security (DS) manages the security programs, including
         formulating security policy and implementing programs to provide a secure environment for the
         conduct of U.S. diplomacy.

         ACDA's Security Division is in its Office of Administration.

         USIA's Security Office is part of the Management Bureau.

         USAID's Security Office reports to the Administrator.

         Personnel
         DS has 800 full-time permanent positions. An additional 371 American positions and 317 foreign
         national positions perform security-related functions overseas under the regional bureaus.

         ACDA has six full-time permanent positions, plus one reimbursable position, in its Security Division.

         USIA has 48 full-time permanent positions in its Office of Security.

         USAID has 35 full-time permanent positions in its Office of Security.

         Key Issues Considered
         · ACDA Investigations
         ACDA by law has been required to contract for personnel investigations with the successor
         privatized entity formerly in the Office of Personnel Management. DS will take on this responsibility
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         with no increase in investigations staff.


         · Integrating Systems
         Because of cost, there will not be an immediate standardization of common domestic security
         systems. Separate systems will continue for at least 12-18 months beyond the effective date of
         integration. Systems in the former USIA building will gradually be converted to the State system.

         · USAID Security Office
         Because of recent Congressionally mandated changes to the structure of USAID's security function,
         State and AID will review their operations to determine what further coordination can be achieved.

         Proposed Integration into State
         There will be complete integration of the personnel and material resources of the ACDA and USIA
         security units into DS. All currently conduct operations in accord with the same or similar executive
         orders, statutes, and regulations. Individual customer demands and requirements are also similar in
         each agency. Personnel from each agency possess the same qualifications, experience, and security
         clearances.

         From ACDA, four full-time permanent positions and one reimbursable one will transfer to DS, one
         full-time permanent position will transfer to the Bureau of Intelligence and Research, and one full-
         time permanent position will transfer to the Executive Office supporting the bureaus under the
         direction of the Under Secretary.

         From USIA, 32 full-time permanent positions will transfer to DS, two to the Bureau of
         Administration, one to the Bureau of Information Resource Management, and 13 to the BBG.

         Positive Outcomes
         Reorganization will integrate the security responsibilities of two agencies into DS, making it better
         able to promote efficiency, ensure uniformity of standards, and provide better service. After
         integration is complete, DS will be able to further streamline its operations and eliminate overlapping
         overseas coverage.

         VII. Management Functions

         L. Statutory Procurement Functions
         Office of the Procurement Executive (A/OPE)
         and
         Office of Small and Disadvantage Business Utilization (A/SDBU)
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         Current Responsibilities
         A/OPE is responsible for establishing overall State guidance and regulations regarding acquisition
         and grants policies and procedures for both domestic and overseas contracting activities in
         accordance with statutory and regulatory requirements.

         A/SDBU is responsible for the implementation and supervision of State's procurement activities
         related to small and disadvantaged business and women-owned business in accordance with statutory
         and regulatory requirements.


         USIA's Procurement Executive has similar policy responsibilities. This office also performs the
         SDBU function, which at State is performed by a separate office, A/SDBU. USIA's unit also has two
         operational functions which award and administer grants and contracts.

         ACDA has an operational office and no formal policy function.

         Personnel
         A/OPE consists of 15 full-time permanent positions. A/SDBU consists of five full-time permanent
         positions.

         In USIA, the Policy and Procedures Staff of their Office of Contracts has four full-time permanent
         positions, which perform both the acquisition and grant policy function and the SDBU function.

         ACDA has no formal policy program.



         Key Issues Considered
         · Authority
         The best approach is to maintain the current centralized policy oversight system, which operates well
         at both agencies. The operational work of awarding and administering contracts and grants will
         continue to be handled within the various contracting activities.

         · Overseas

         State will continue to provide centralized acquisitions and grants expertise and training to overseas
         contracting and grant officers.

         Proposed Integration into State
         USIA's Policy and Procedure Staff will be transferred as follows: two full-time permanent positions
         to the Bureau of Administration (one to A/OPE and one to A/SDBU), and two full-time permanent
         positions to the BBG.

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         No staff from ACDA will be transferred.

         Positive Outcomes
         Enhancing efficiency, there will be one acquisition and grant policy system, and one small and
         disadvantaged business unit. This constitutes "one-stop shopping" for customers of these services.

         VII. Management Functions
         M. Training
         Current Responsibilities
         At State, implementation of training policies and programs is vested in the Director of the Foreign
         Service Institute (FSI). FSI provides language, area studies, career development and functional
         training to employees of State and other agencies.

         USIA has a training division within its Office of Human Resources.

         ACDA's Office of Personnel and General Services (A/PGS), reporting to the Director of
         Administration, deals with training matters. ACDA contracts with government and non-government
         vendors to provide training.

         Personnel
         State's FSI has 394 full-time permanent positions and 178 in its training complement.

         USIA's Office of Human Resources devotes 16 full-time permanent positions to its training activities
         and has a training complement of 45.

         ACDA's Personnel Office devotes less than one full person year to the training oversight function.

         Key Issues Considered
         Training will be a key component in the successful integration of USIA and ACDA into State. The
         new Division of Public Diplomacy in FSI's School of Professional and Area Studies will be charged
         not only with tradecraft training for public diplomacy professionals, but with assuring that an
         understanding of public diplomacy as a critical tool of foreign policy is reflected throughout the FSI
         curriculum.

         Training will also be critical to addressing employees' concerns and needs for information throughout
         the transition process and to ensure that employees of State, USIA and ACDA have the training
         required to make integration succeed.

         Proposed Integration into State
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         Thirteen USIA full time permanent positions from its Human Resources training division will
         transfer to FSI and one will transfer to the Bureau of Personnel. Two positions will transfer to the
         BBG. ACDA has no full-time trainers and no positions will be transferred. Also, one full-time
         permanent position will transfer to FSI from USIA's Office of Administration in its Management
         Bureau.

         USIA training complement, equivalent to 45 full-time permanent positions, will shift to FSI.

         FSI's School of Professional and Area Studies will be restructured to include a new Division of
         Public Diplomacy. USIA's emphasis on technology training and foreign national personnel training
         will continue.

         Positive Outcomes
         Integration of USIA and ACDA training programs into the Foreign Service Institute will ensure that
         foreign affairs professionals from a wide array of disciplines have increased opportunities to
         understand the central role of arms control, nonproliferation and public diplomacy in American
         foreign policy. ACDA and USIA employees joining State will have access to FSI's broad range of
         course offerings, including language and area studies, professional development, and management
         and leadership training.

         Bringing former ACDA and USIA employees together in the classroom with their new State
         colleagues will also build a common sense of mission, professionalism, and esprit for all involved.


         VIII. Reinvention
         Reinvention is a fact of life at State, and a dynamic process. The Secretary has called for continual
         reinvention of State's operations in the face of declining budgets, increasing demands, novel
         challenges, and new technologies. Her confidence in the creativity of State's people - its main
         resource - and insistence that they be allowed to make important decisions are a firm foundation for
         the integration of foreign affairs agencies. With the introduction of new expertise and backgrounds,
         integration will be a very significant step forward in making our foreign policy more agile, coherent,
         and relevant for the new challenges of the 21st century.

         It is commonplace to note changes in the world. But it is worth highlighting those that directly affect
         the context in which State operates. In the past decade, many new international actors - countries,
         corporations, and non-governmental organizations - have joined the international community.
         Subjects often hidden from international view - internal rivalries and hatred, especially - have
         become regular subjects of international action. Information moves faster and with fewer restrictions
         than ever before. Thankfully, citizens around the world have become more important than ever in the
         formulation, execution, and evaluation of the way governments operate.

         In the last six years, State's operating budgets have declined by 17% in real terms, forcing us into a
         substantial and ongoing reorientation of our priorities. Our discretionary Economic Support Fund
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         budget has been cut by two-thirds, leaving us with minimal funds to respond to unanticipated
         emergencies. During this time, the number of U.S. embassies has increased by 16, and State's
         consular workload -- which is required to protect America's borders and Americans overseas -- has
         increased by 22%. Meanwhile, turbulence around the world from the Balkans to the Persian Gulf to
         Central Africa and East Asia has generated new threats to American interests and new demands on
         America's international affairs resources.

         The current reorganization builds on efforts undertaken throughout the 1990's to improve the
         efficiency and effectiveness of State operations.


         These efforts include the State 2000 exercise, undertaken in 1992-93; the National Performance
         Review in 1993; the Strategic Management Initiative of 1995 and the creation of the Strategic Plan
         for International Affairs in 1997.

         These initiatives reflect an ongoing, continuous effort within the Department to eliminate duplication,
         ensure accountability, set clear strategic goals and achieve results. They reflect, as well, the increased
         importance of economic and global issues, and the need to obtain and install improved information
         technology.

         A vital lesson of the past decade is that management is a dynamic process. Plans developed one year
         may need to be changed as early as the next, in response to changing events.

         For example, no planner a decade ago would have envisioned the need for the U.S. to open 14 new
         embassies within the territory of the then-still existing Soviet Union. But we have done this, in order
         to protect our vital security interest in preventing the spread of nuclear arms and expertise, to ensure
         the flow of petroleum to world markets, and to promote democratic practices, including economic
         reform.

         In coping with change, State has not sought not so much to reinvent the wheel, but rather to find new
         uses for the wheels we have. In Bosnia and Herzegovina, we have developed a range of partnerships,
         with institutions that include NATO, the OSCE and the Office of the High Representative, to carry
         out the military and civilian components of the Dayton accords. In Kosovo, the OSCE is organizing a
         ground verification force, backed by a NATO-led extraction force, both of which complement
         diplomatic efforts sponsored by the Contact Group and humanitarian relief efforts provided by the
         UN and others.

         The purpose of such arrangements is to ensure that the United States does not bear an unfair share of
         the costs and risks of such operations, and to take advantage of the specific capabilities different
         institutions are able to contribute to such missions.

         We have also been retooling our normal operations. The Secretary forged a strong basis for policy
         reinvention by forming the Under Secretaries into a Corporate Board chaired by the Deputy
         Secretary, and strengthening the authority of the Assistant Secretaries to emphasize their primary
         policy and resource allocation role. These innovations have fostered increased strategic vision and
         operational effectiveness. The introduction of strategic planning has given the Secretary a powerful
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         new tool for aligning resources with policy and for managing government-wide efforts to achieve
         U.S. international affairs goals. The International Affairs Strategic Plan provides a conceptual
         framework of national interest and strategic goals. The new Mission Performance Plans for overseas
         missions and the Bureau Performance Plans for headquarters offices link resources and programs,
         providing better integration of U.S. activities, and building a structure for measuring performance.
         This new orientation to showing results is entirely consistent with the Government Performance and
         Results Act (GPRA).

         We are also working to ensure that we have the right people and expertise in the right places
         overseas. The Overseas Staffing Model has helped to set priorities and define staffing levels for our
         posts abroad. We have expanded significantly the place of other agencies in our embassies. This
         expertise, whether in development, international crime, environmental matters, arms control,
         nonproliferation, public diplomacy, or other specialties, gives our ambassadors the tools they need to
         represent America adequately. The heads of these posts now are required to prepare annual mission
         plans that integrate all these multi-dimensional activities into a coherent strategy tied to resources.
         This provides for accountability.

         We are changing the location and size of our missions as necessary. In several countries we have
         established one- or two-person posts so that American interests are represented on the ground where
         important decisions are made. Our presence in Banja Luka and Mostar in Bosnia has been integral to
         implementation of the Dayton Agreement. The Secretary has just announced the opening of a small
         American Presence Post in Lyon, France, to reflect U.S. interests in that important commercial
         center. When appropriate, we have established regional centers so that transnational issues can be
         handled consistently throughout affected areas rather than by officers separated by boundaries.

         State has made several organizational changes which have enhanced effectiveness. The newly-
         created Bureau of Western Hemispheric Affairs, which now includes Canada, emphasizes the
         importance of NAFTA and is an example of our strengthened policy focus on global issues and
         economics. State has created a Chief Information Officer position and consolidated all domestic
         information technology (IT) personnel into the new Bureau of Information Resource Management
         (IRM) under the CIO's leadership, focused on IT issues and modernization. State has improved its
         crisis management capabilities by combining its three separate 24-hour emergency operations centers
         into one, merging its security and intelligence staffs with its Operations Center to provide one central
         monitoring, alerting, and crisis management organization. The unified State Operations Center has
         strengthened links with sister centers at other government agencies to coordinate their activities and
         eliminate redundancies. State has worked closely with other agencies to carry out a review of the
         interagency crisis management process, which clarified agency roles and responsibilities for handling
         crises abroad.

         The 1990s have also seen a steady stream of innovative management initiatives at State. The
         development and implementation of the ICASS system is an impressive example of State's creativity
         and leadership. Melding best practices and incorporating a wide range of ideas, State has built a fair,
         transparent system that benefits all agencies with personnel overseas. ICASS has generated much
         new thinking on other ways to provide improved administrative support to the overseas workforce.
         State has reached out and joined forces with other foreign affairs agencies, offering to share its
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         contracts and support structures, in order to consolidate overlapping administrative support functions.
         These efforts have succeeded, achieving significant efficiencies. State, ACDA, USIA and USAID
         now share a common travel management contract, while State, USIA and USAID use the same
         contracts for packing, storing and shipping household effects for employees transferring abroad.
         State's transportation division provides cost effective services to 30 other government agencies, using
         the Working Capital Fund as an effective partnering medium.

         State undertook a major overhaul of its logistics system, conducting a classic reengineering effort to
         build a nimble structure featuring improved responsiveness and customer service. The logistics
         acquisition system now incorporates electronic commerce, eliminating paper transactions and
         reducing processing time for some procurement actions from two weeks to one day. State has
         established an Internet acquisition website, which offers the vendor community information on
         worldwide procurement opportunities at State and provides procurement guidance to vendors and
         contracting officers alike.

         State has revitalized its capital planning process for facilities, a critical high-cost support area. Its
         asset management program identifies surplus overseas properties for sale, generating capital to
         construct new facilities.
         To keep those facilities in order, State has established a professional facilities maintenance program
         to meet the challenge of providing safe, operational facilities in difficult security environments.
         Emphasis on energy efficiency has translated into significant cost avoidance at our high energy-
         consumption posts.

         Domestically, State has pursued a facilities plan to consolidate its operations in the Foggy Bottom
         area. By acquiring less expensive office space adjacent to Main State, it has closed distant annexes in
         more expensive leased space, saving money and increasing efficiency by bringing more employees
         onto the Foggy Bottom campus.

         Computer modernization has been a difficult issue. State began the decade with an enormous
         installed base of outmoded legacy systems and few resources available for modernization. IRM is
         aggressively pursing capital investment, desktop productivity systems and the expansion of e-mail
         and shared information systems. To target scarce funds most efficiently, State has introduced an IRM
         Program Board to screen proposed projects and has adopted an agency-wide strategy for information
         technology modernization called "ALMA" -- A Logical Modernization Approach. Under ALMA,
         State has focused on best practices and commercial off-the-shelf systems in order to achieve
         efficiencies at the lowest cost.

         State's emphasis on innovation has realized additional benefits through new programs such as the
         Diplomatic Telecommunications Service Program Office's International Voice Gateway, which
         makes better use of State's worldwide telecommunications network to extend and improve voice
         capabilities at overseas posts, saving millions of dollars annually for all agencies. Another example is
         the Domestic Enterprise Backbone Network (E-Net), which provides voice, video and high-speed
         data to users at a lower cost, with improved performance, flexibility and security. E-Net is centrally
         managed by the IRM bureau and paid for by its customers on a fee-for-service basis.

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         The Consular Affairs Bureau has been highly successful in applying technology to meet the growing
         demand for visa and passport services. The use of visa fees, as noted above, has reduced pressure to
         obtain additional funding for these enhancements. Increasing the number of visa waiver countries has
         helped significantly in managing the workload, and State is pursuing additional prospects for the visa
         waiver program consonant with border security.

         Just as ICASS revolutionized the service relationship between State and other agencies overseas,
         increased reliance on the Working Capital Fund has brought similar dramatic change in State's
         domestic support structure. To improve accountability and ensure that support services were being
         used efficiently, State expanded the use of the Working Capital Fund (WCF) to provide a variety of
         services, such as motor pool, telecommunications, and publishing and graphics services. Under the
         WCF system, customers pay for services they actually use, instead of drawing free services from a
         centrally-funded provider. Introducing a supply and demand dimension has brought more efficient
         operations by helping service providers tailor services to areas of highest demand and making
         customers aware of, and responsible for, the costs of services they consume.

         State has undertaken a number of personnel initiatives to improve the effectiveness and productivity
         of the workforce. The American Family Member Associates program, which makes greater use of
         the skills of Foreign Service family members at overseas posts, and increased use of local hiring
         programs are providing much needed support staffing at overseas missions at lower costs. The
         Consular Associates program is providing us with rapid reserves at our busiest consular sections.
         State strengthened its Foreign Service promotion precepts and renewed its emphasis on creating truly
         multifunctional officers to assure our Foreign Service cadre will have the depth of experience and
         expertise in regional, multinational and global issues as well as the resource management skills
         required to guide our nation's foreign policy in the 21st century. State has reinvented career
         development programs for its Civil Service workforce to increase training and mobility, including
         expanded opportunities for service at overseas posts. Chaired by the Under Secretary for
         Management, State's Council on Equality reflects Secretary Albright's commitment to increasing
         State's diversity and ensuring a fair and supportive workplace for all of State's Civil and Foreign
         Service employees.

         The most important, and difficult, form of reinvention is cultural - a challenge to the way we operate.
         The Secretary has made clear that diplomacy requires outreach - far beyond the ministry buildings
         too often thought of as the home of diplomats. This outreach starts with the American people, who
         must understand the value of our foreign policy, for without their support our foreign policy cannot
         succeed. Our Bureau of Public Affairs has redesigned its outreach efforts to contact opinion leaders,
         involved public groups, and other affected by our foreign policy.

         We are also reaching for new ways to conduct policy. Around the world citizen groups and the
         private sector have emerged as powerful voices in diplomacy. The Secretary has insisted on finding
         ways to identify the concerns of those groups, work with them when consistent with U.S. interests,
         and communicate closely when our interests diverge so that U.S. concerns will be understood. This
         will require a continual commitment by State to openness, outreach, and public diplomacy. Our
         advances in information technology are intended to facilitate such communication; our reinvention of
         public affairs is meant to build on the efforts we have made; and the integration of public diplomacy
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         will make us even more effective in achieving these goals.

         IX. Implementation
         Following the submission of this Report, a process and structure will be established to implement the
         integration of USIA, ACDA, and parts of USAID into State. The structure will include
         implementation teams for specific areas, a supporting infrastructure to manage the process, and a
         leadership group to provide strategic direction, make decisions, and set priorities. It will also provide
         an avenue for consultations with the Congress,

         Implementation Teams
         Implementation teams will be established to execute specific tasks in the integration plan. Leadership
         for the teams will be drawn from the responsible functional areas in the current organizations to
         assure that those who implement the plans will be responsible and accountable for the results. (For
         example, a senior member of the Director General's staff will chair the human resources team; a
         senior member of the Bureau of Administration's staff will head the facilities team.) The first task for
         each team will be to develop a detailed action plan and timeline for implementation.

         Special Coordinator for Reorganization
         An Office of the Special Coordinator for Reorganization will be established to provide the
         infrastructure for the implementation process. The Coordinator will have overall responsibility and
         will chair the Reorganization Coordinating Committee (see below). Day to day operations will be
         under the direction of a Deputy Coordinator assisted by a small staff which will facilitate the work of
         the implementation teams and identify issues that require resolution. The Special Coordinator's staff
         will also include a communications unit which will serve as the focal point for outreach to
         headquarters and field personnel to ensure that implementation of the reorganization plan is
         conducted in a transparent, open environment. The unit will regularly seek feedback from employees
         about issues of particular concern. The Coordinator and Deputy Coordinator will work closely with
         the respective legislative affairs, public affairs, personnel, legal offices, and others, will respond to
         Congressional interests, as well as those of other agencies and the public, as implementation moves
         forward.

         The Special Coordinator's Office will coordinate all implementation tasks, direct production of a
         master action plan, and maintain master and project timelines. This office will coordinate among
         functional area responsibilities (e.g., space or payroll) to ensure orderly integration action among the
         different implementation tasks, track progress toward milestones, ensure best practices are
         considered, and identify any roadblocks to implementation.

         Coordinating Committee
         A Coordinating Committee, chaired by the Special Coordinator, and composed of Assistant
         Secretary-level officials from each of the agencies, will provide strategic direction. The Committee
         will provide appropriate senior level support in resolving issues and keeping the integration effort on
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         schedule. The Chair will report regularly on the integration effort to the Corporate Board.

         Timeline
         ACDA: All personnel (American and foreign national; full-time, part time, intermittent, temporary,
         when actually employed; and detailees) and funding related to ACDA integration will be transferred
         on April 1, 1999. Given the relatively small size of ACDA, and the fact that its personnel operate
         under Civil Service regulations, we expect that we will need to make only minor readjustments after
         that date. Implementation of office space changes will take longer but will be resolved before
         December 31, 1999, when the General Services Administration is scheduled to begin renovation of
         the space that ACDA currently occupies in the old wing of the State complex.

         Overseas, on April 1, 1999, ACDA negotiating personnel will become State employees and will
         continue to operate as delegations to their respective entities, with administrative support assumed, to
         the extent that it is not already, by State administrative sections in the embassies or missions in the
         host cities.

         USIA: All personnel (American and foreign national; full-time, part time, intermittent, temporary,
         when actually employed; and detailees) and funding related to USIA integration will be transferred
         by October 1, 1999. Differing Foreign Service regulations and policies will be conformed. Payroll,
         accounting and personnel systems will be coordinated. All personnel will be reassigned to positions
         in the new State organizational structure or the Broadcasting Board of Governors. During the six
         months that follow (October 1, 1999 to March 30, 2000), some personnel adjustments may be needed
         to provide for a more efficient and effective operation.

         Given the overall shortage of office space in Foggy Bottom, and the upcoming renovation of the
         Main State complex, it will be some time before all current USIA program personnel can be
         relocated to Main State. Implementation will concentrate on establishing the office of the Under
         Secretary, combining Executive Secretariat functions, and relocating USIA area office personnel and
         other public diplomacy personnel who will be attached to State's functional bureaus to Main State.
         Efforts will also commence to relocate USIA management personnel to Main State and the various
         State annexes and support facilities where parallel functions are currently carried out, both in the
         Washington area and elsewhere in the United States and overseas.

         Overseas, on October 1, l999, USIS personnel will become part of the responsible State bureau for
         their respective operation, and will become part of the State contingent of the embassy, mission, or
         consulate where they are located, or continue to operate Branch Public Affairs offices where there is
         no State entity present. Those engaged in programmatic activities will become members of public
         diplomacy sections. Those engaged in basic administrative operations will be assigned to State
         administrative sections. Given the relatively large number of foreign national employees involved,
         and the fact that many now perform multiple duties on behalf of USIS, or operate and maintain
         equipment that is not common with State, minor additional staffing adjustments for foreign national
         employees can be anticipated over the next several years as restructuring and retirements occur, and
         equipment changes.

         Also, on October 1, 1999, USIS regional and support
                                                       000377operations will transfer to State. Such
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         operations will remain intact or become part of one of State's regional support operations. Though no
         major changes are anticipated, minor adjustments in regional responsibilities and locations may
         occur as part of integration during the next two or three fiscal years.

         Conforming changes will be made as appropriate to any orders or directives, including regulations,
         that may be required to carry out the integration.

         X. Other Reporting Requirements

         Recommendations for Legislation Necessary to Carry
         Out Changes Relating to Personnel and Incidental
         Transfers
         The Act provides broad authorities to State for transfers of personnel and incidental transfers in
         connection with reorganization. To date, State has not identified any need for additional legislation
         necessary to carry out the changes set forth in the Act with respect to personnel and incidental
         transfers.

         Additional Reporting Requirement On Funding For
         Public Affairs And Public Diplomacy Programs
         Pursuant to Sec. 1333 (d) of The Act, the following additional information is provided:

         (1) $9,860,000 was obligated by the Department of State for public affairs programs during fiscal
         year 1998, and on the personnel and support costs for such programs. As of September 30, 1998,
         $9,058,000 was expended.

         (2) $1,129,067,000 was appropriated to USIA for its public diplomacy programs during fiscal year
         1998, and on the personnel and support costs for such programs. As of September 30, 1998,
         $1,095,127,000 was obligated and $851,859,000 was expended.

         (3) In FY 2000, USIA public diplomacy programs and related program support functions will be
         merged with the Department of State. The President's budget for FY 2000 requests $696,320,000 for
         former USIA public diplomacy activities. Of this amount, $233,320,000 is requested for bureaus and
         offices directly conducting former USIA public diplomacy activities, and $257,700,000 is requested
         for educational and cultural exchange and information activities. Other supporting resources will be
         aligned to functions directly related to regional, functional, and management staffs and bureaus of the
         Department. For former USIA public affairs activities that will be merged with the Department's
         Bureau of Public Affairs, the FY 2000 request seeks $6,545,000. Funds to be transferred from USIA
         for public diplomacy programs will be transferred effective October 1, 1999 and will consist of
         unliquidated balances and unobligated balances for no-year and multi-year appropriations.
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         The BBG will submit its own fiscal year 2000 budget.
         [end of document]



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